                             Case 23-10000-BLS                       Doc 1        Filed 01/02/23            Page 1 of 304

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 District of Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Tentrr, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               47            3054018
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  25 West 39th Street
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              Suite No. 7007                                               _______________________________________________
                                              ______________________________________________
                                                                                                           P.O. Box

                                              New York                         NY   10018
                                              ______________________________________________               New York
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                            USA
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.tentrr.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor
               Tentrr, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             454110
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ✔ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                 
                                                        ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                          ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor
               Tentrr, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            ✔ No
                                         
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         
                                         ✔ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
             Tentrr, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     ✔ Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors                           ✔ 100-199
                                                                             10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        
                                                                             ✔ $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                       ✔
                                                                             $1,000,001-$10 million                      $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                             1/2/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8 /s/Anand Subramanian
                                             _____________________________________________
                                                                                                          Anand Subramanian
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   CEO
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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             Tentrr, Inc.
Debtor      _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Frederick B. Rosner
                                          _____________________________________________            Date            1/2/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Frederick B. Rosner
                                         _________________________________________________________________________________________________
                                         Printed name
                                         The  Rosner Law Group LLC
                                         _________________________________________________________________________________________________
                                         Firm name
                                          824 N. Market Street, Suite 810
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Wilmington                                                         DE        19801
                                         ____________________________________________________            ____________ ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 777-111
                                         ____________________________________
                                                                                                         rosner@teamrosner.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         3995
                                         ______________________________________________________ ____________
                                                                                                             DE
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                       RESOLUTION
                                       TENTRR, INC.
                                   DECEMBER 30, 2022


At a duly noticed telephonic meeting of the Board of Directors of Tentrr, Inc. (“Tentrr” or the
“Company” at which all directors were present held on December 30, 2022, the following
resolution was passed unanimously:
WHEREAS, the Company expanded quickly due to increased demand during the coronavirus
pandemic;
WHEREAS, demand has not kept up with the Company’s rapid expansion, causing a cash flow
problem;
WHEREAS, many of the Company’s cash flow problems are attributable to its equipment lease
with Farnam, the terms of which the Board considers to be unfair and inappropriate and not
reflective of the market;
WHEREAS, the Company has made sustained efforts to bring the Farnam equipment lease into
market terms, but has not succeeded in doing so;
WHEREAS, the Board believes the Company will be best positioned to deal with the Farnam
equipment lease problem in a Chapter 11 proceeding by utilizing the tools available through the
United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”);
WHEREAS, the Board has a good faith belief that the Company can successfully reorganize and
provide greater value to all constituencies through a Chapter 11 reorganization proceeding then
by any other action;
 WHEREAS, the Board has reviewed and considered materials presented by legal and financial
advisors of the Company regarding the liabilities and liquidity situation of Tentrr, the strategic
alternatives available to it, and the impact of the foregoing, the availability of financing both in
and outside of chapter 11, as well as the impact of the proposed filing on the business of Tentrr;
WHEREAS, the Board has received advice from the legal and financial advisors of Tentrr
regarding the possible need to wind up, liquidate or to restructure its debt, and especially options
to resolve the situation with Farnam, and has fully considered each of the strategic alternatives
available to Tentrr, and the impact of the foregoing on the business, the assets and the
stakeholders of Tentrr;
WHEREAS, the Board has previously approved the terms of a debtor-in-possession financing in
the case of a Chapter 11 filing, and believes that the Company has arranged sufficient financing
for a successful reorganization through Chapter 11;
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WHEREAS, the Board, based on advice from legal and financial advisors, has determined that in
order to preserve the assets and going concern value of Tentrr, it is in the best interests of Tentrr
and all of its stakeholders for Tentrr to file a petition under chapter 11, title 11, of the United
States Code and to elect treatment pursuant to subchapter V;
WHEREAS, the Board has further reviewed and considered the recommendations of the legal
advisors to and management of Tentrr regarding the relief that would be necessary and advisable
to obtain from a Bankruptcy Court to allow Tentrr to effectively transition into a chapter 11
under title 11 of the United States Code (collectively, the “First Day Relief”);
WHEREAS, the Board has determined in a proper exercise of its business judgment, and after
numerous opportunities to question the Company’s legal advisors and management, that it is fair,
appropriate, advisable, necessary, and in the best interests of Tentrr, its secured and unsecured
creditors, equity holder, employees, and other stakeholders that Tentrr file or cause to be filed a
voluntary petition for relief under the provisions of chapter 11, subchapter V, of the Bankruptcy
Code and to seek the First Day Relief;
WHEREFORE, the Board desires to hereby adopt the following resolutions:


RESOLVED, it is desirable and in the best interests of Tentrr, its secured and unsecured
creditors, equity holders, employees, and other stakeholders, that Tentrr (i) file or cause to be
filed a voluntary petition for relief pursuant to the provisions of chapter 11 of the Bankruptcy
Code, (ii) elect treatment pursuant to subchapter V of the Bankruptcy Code, and (iii) seek the
First Day Relief;


RESOLVED, that Anand Subramanian (“Subramanian”), acting alone, be, and hereby is,
authorized and empowered to execute and file on behalf of Tentrr all petitions, schedules, lists
and other motions, papers or documents which he deems to be necessary or advisable, and to
take any and all actions that he deems necessary or proper to obtain relief pursuant to chapter 11
of the Bankruptcy Code, subchapter V, and to obtain the First Day Relief;


RESOLVED that Subramanian be, and hereby is, authorized and directed to serve as an
Authorized Signatory on behalf of the Company, and to take any actions which he deems
necessary or advisable in connection with, any case commenced by Tentrr under the Bankruptcy
Code, and all related matters, including, without limitation, appointing additional Authorized
Signatories as he sees fit without further resolution and determining venue without further
resolution, and any such prior actions taken by Subramanian or any other party in furtherance of
the resolutions herein are hereby ratified in their entirety;
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RESOLVED, that the Authorized Signatory be, and hereby is, authorized and directed in the
name and on behalf of Tentrr to employ the law firm of Mayerson & Hartheimer, PLLC (“M &
H”), as general bankruptcy counsel to represent and assist Tentrr in carrying out its duties under
the Bankruptcy Code upon such terms and conditions as the Authorized Signatory deems
appropriate, and any prior actions in connection with the employment of Mayerson &
Hartheimer, PLLC, are hereby ratified in their entirety;


RESOLVED, that the Authorized Signatory be, and hereby is, authorized and directed in the
name and on behalf of of Tentrr to employ the law firm of The Rosner Law Group LLC
(“Rosner”), as its local Delaware bankruptcy counsel to assist M&H in carrying out its duties as
general bankruptcy counsel and to advise the Company with respect to Delaware law and custom
upon such terms and conditions as the Authorized Signatory deems appropriate, and any prior
actions in connection with the employment of Rosner are hereby ratified in their entirety;


RESOLVED, that the Authorized Signatory be, and hereby is, authorized and directed in the
name and on behalf of Tentrr to employ Aaron Feldon and Johnny Chau as its financial advisors
to continue with their present responsibilities and to represent and assist Tentrr in carrying out its
financial duties under the Bankruptcy Code upon similar terms to their present employment and
upon such terms and conditions as the Authorized Party deems appropriate, and any prior actions
in connection with the employment of Mr. Feldon and Mr. Chau are hereby ratified in their
entirety;


RESOLVED, that the Authorized Signatory be, and hereby is, authorized and directed in the
name and on behalf of Tentrr to employ the firm of Omni Agent Solutions (“Omni”) to assist
with preparation of the chapter 11 petition, the schedules, and the Statement of Financial Affairs
and to assist with service, claims, noticing and solicitation to the extent the Authorized Signatory
deems necessary, upon such terms and conditions as the Authorized Party deems appropriate,
and any prior actions in connection with the employment of Omni are hereby ratified in their
entirety;


RESOLVED, that the Authorized Signatory be, and hereby is, authorized and directed in the
name and on behalf of Tentrr to employ any other professionals to assist Tentrr in carrying out
its duties under the Bankruptcy Code and to take any and all actions to advance the rights, duties
and obligations of Tentrr, including, without limitation, counsel, accountants, financial advisors,
and appraisers, upon such terms and such conditions as the Authorized Party deems appropriate;


RESOLVED, that the Authorized Signatory is hereby authorized and directed in the name and on
behalf of Tentrr to execute appropriate retention agreements, pay appropriate retainers, and cause
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to be filed all appropriate applications for authority to retain the services of the foregoing
professionals as necessary or appropriate;


RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatory, each and every member of senior management of Tentrr, whether now
existing or subsequently appointed, and their designees, shall be, and each of them, acting alone,
hereby is, authorized, directed, and empowered in the name of and on behalf of Tentrr to take or
cause to be taken any and all such further actions, to execute and deliver any and all agreements,
certificates, instruments, and other documents, and to pay all expenses, including filing fees, in
each case as in such officer’s judgment shall be necessary or desirable to fully carry out the
intent and accomplish the purposes of the Resolutions adopted herein;


RESOLVED, that the Authorized Signatory be, and hereby is, authorized and directed on behalf
of and in the name of Tentrr to negotiate, finalize, and execute, in his sole discretion, all
documents relating to the debtor-in-possession financing and use of cash collateral previously
approved by this Board, and all actions previously taken with respect to such debtor-in-
possession financing and use of cash collateral are hereby ratified and approved;


RESOLVED, that the Authorized Party is hereby authorized and directed to open such debtor-
in-possession bank account or accounts in the name of Tentrr at such bank as he deems
appropriate and with such signatories as he deems appropriate, and to transfer any or all funds
currently in bank accounts of Tentrr to the debtor-in-possession bank account (s) in accordance
with any orders entered by the Bankruptcy Court with respect to the Company’s cash
management;


RESOLVED that all acts, actions and transactions relating to the matters contemplated by the
foregoing Resolutions done in the name of and on behalf of Tentrr, which acts would have been
approved by the foregoing Resolutions except that such acts were taken before these Resolutions
were adopted, are hereby in all respects approved and ratified in their entirety; and


RESOLVED, that any member of senior management of Tentrr may certify a copy of these
Resolutions as being in full force and effect until they are withdrawn in writing by the
Authorized Signatory, and a copy of these Resolutions shall be filed in the records of Tentrr.
                                                 *     *
I, Anand Subramanian, the chief Executive Officer of Tentrr, Inc., hereby certify under penalty
of perjury that the foregoing resolution was duly adopted on December 30, 2022, and remains in
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full force and effect without any new amendments or substitutions as of this 2nd day of January,
2023.


                                                    /s/ Anand Subramanian
                                                    Anand Subramanian
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Fill in this information to identify the case:

Debtor name         Tentrr, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 2, 2023                 X /s/ Anand Subramanian
                                                           Signature of individual signing on behalf of debtor

                                                            Anand Subramanian
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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      Fill in this information to identify the case:

                  Tentrr, Inc
      Debtor name __________________________________________________________________

                                                                                  Delaware
      United States Bankruptcy Court for the: ______________________ District of _________
                                                                             (State)
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________
                                                                                                                                           amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                              12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and   Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     email address of creditor     (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
      Farnam Street Financial Inc. 952-908-0850             Trade Debt                           C,U,D
1
      5850 Opus Pkwy, Ste 240                                                                                                                       $1,373,459
                                   accounting@farnamstreet.
      Minnetonka, MN 55343                                                                                                                          .31
                                   net

2
  Celtic Bank                               800-509-6191                    Loan                                                                    $250,000.0
  268 South State St.                      help@celticbank.com                                                                                      0
  Suite 300
  Salt Lake City, Utah 84111
3
  RealDecoy US Inc.                        (613) 234-9330                   Services                                                                $78,180.00
  1000 N West St, Ste 1200
  Wilmington, DE 19801

     IPFS of New York, LLC                 800-888-3050                     Loan
4                                                                                                                                                    $59,565.1
     170 Northpointe Pkwy, Ste
                                                                                                                                                    4
     300
     Amherst, NY 14228
     Brex Inc.                             833-228-2044                     Trade Debt
5                                                                                                                                                   $51,000.00
     12832 Frontrunner Blvd, Ste           notices@brex.com
     500
     Draper, UT 84020
6    NP Accel, LLC                         ar@npaccel.com                   Services             C,U,D                                              $49,440.00
     750 B St, Ste 1400
     San Diego, CA 92101
      Finn Dixon & Herling LLP             203-325-5000                     Legal Services                                                          $32,360.70
7
      6 Landmark Sq, Ste 600               ktroy@fdh.com
      Stamford, CT 06901

      Ansel Jason Sears                    917-750-1826                     Professional
8                                                                                                                                                   $20,214.58
      110 Florence Avenue                  jaysears@jaysears.com
      Rye, NY 10580



    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 1
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    Debtor       Tentrr, Inc
                 _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                         professional        unliquidated, total claim amount and deduction for value of
                                                                         services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                              partially         value of           claim
                                                                                                              secured           collateral or
                                                                                                                                setoff

      Finn Partners                        Evelyn Yap
9                                                                   Professional   C,U,D.                                                         $13,000.00
      301 East 57th Street                 212-715-1600
                                                                    Services
      New York NY, 10022                   evelyn.yap@finnpartners.
                                           com
      James Berger                         James Berger
10                                                                  Legal Services                                                                $12,037.50
      505 West 37th St, Ste 211            917-449-2846
      New York, NY 10018                   jamesberger2001@gmail
                                           .com
      Clique Affiliate Marketing           435-252-3955                                                                                           $8,581.44
11                                                                  Professional   C,U,D.
      760 Aspen Drive                      bboyd@cliqueaffiliate.co Services
      Park City, UT 84098                  m

   Grimes Professional Dirt                985-788-8201
12                                                                Professional                 C,U,D.                                             $7,700.00
   Busters                                 grimescleaning@yahoo.c Services
   17 Hollycrest Blvd                      om
   Covington, LA 70433
   Impact Tech, Inc.                       805-324-6021                  IT                                                                      $4,221.88
13                                                                                             C,U,D
   223 E. De La Guerra Street              privacy@impact.com            Services
   Santa Barbara, CA 93101

   Gutterson & Cohen Tax       631-629-4344
14                                                    Professional                             C,U,D.                                             $3,750.00
   Specialists, LLC            mmccarthy@ajccpapc.co Services
   445 Broadhollow Rd, Ste 230 m
   Melville, NY 11747
   Sensible Weather Co.        424-367-1964           Insurance
15                                                                                                                                                $3,458.99
   730 Arizona Avenue          accounting@sensiblewea
   Santa Monica, CA 90401      ther.com

16
     UPS                                                                 Shipping                                                                 $2,563.28
     PO Box 809488                                                       Services
     Chicago, IL 60680

17   Pax Builders                          (715) 664-8307                Construction                                                             $1,800.00
     156 Reid Watson Rd                                                  Services
     Deer Lodge, TN 37726
     Uline Ship Supplies                   262-612-4200
18                                                                       Supplier                                                                 $1,591.89
     PO Box 88741
     Chicago, IL 60680

   Aspira Connected                        ar@AspiraConnect.com          Professional
19                                                                                                                                                $1,094.80
   Experiences                                                           Services
   PO Box 840480
   Dallas, TX 75284
   Robert Daniel                           robertdaniel824@gmail.c
20                                                                 Consulting                                                                     $1,000.00
   319 Congressional Drive                 om
                                                                   Services
   Morganville, NJ 07751




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 2
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                                         United States Bankruptcy Court
                                                   District of Delaware
 In re   Tentrr, Inc.                                                                 Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Tentrr, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

1. West Venture Partners, L.P.

2. Tribeca Venture Partners, LLC




January 2, 2023                                 /s/ Anand Subramanian
Date                                            Anand Subramanian
                                                CEO
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                                               United States Bankruptcy Court
                                                          District of Delaware
 In re   Tentrr, Inc.                                                                            Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     January 2, 2023                                /s/ Anand Subramanian
                                                         Anand Subramanian/CEO
                                                         Signer/Title
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Aboudi Kabbani                        Adam Kessler                                Adobe Inc.
29325 CA-41                           3516 Sunbelt Dr                             345 Park Ave
Coarsegold CA 93614                   Clarksville TN 37042                        San Jose CA 95110
USA                                   USA                                         USA


AgileBits, Inc.                       Aircall.io, Inc                             Alexandria Dowdy
4711 Yonge St Fl 10                   233 Park Ave S Fl 11                        446 Hill Rd
Toronto Ontario M2N 6K8               New York NY 10003                           Birdsboro PA 19508
Canada                                USA                                         USA


Algolia, Inc.                         Alli AI LLC.                                Allison Madziar
301 Howard St Ste 300                 5810 Shelby Oaks Dr Ste B                   711 Oak St
San Francisco CA 94105                Memphis TN 38134                            Essexville MI 48732-1526
USA                                   USA                                         USA


Alyson Eastman                        Amazon Web Services, Inc.                   Amy Randolph
75 Mt Independence Rd                 410 Terry Avenue North ATTN: AWS Legal      1431 Hye Albert Rd
Orwell VT 05760                       Seattle WA 98109-5210                       Hye TX 78635
USA                                   USA                                         USA


Anand Subramanian                     Andrew Ranck                                Angela Timmons
54 Cranbury Neck Road                 2367 Groninger Valley Rd                    7917 Hunters valley rd
Cranbury NJ 08512                     Mifflin PA 17058                            Mariposa Ca 95338
USA                                   USA                                         USA


Anna Frumes                           Anna Sides                                  Ansel Jason Sears
Underhill rd                          2106 nw 90th street                         110 Florence Avenue
Catskill NY 12414                     Seattle WA 98117                            Rye NY 10580
USA                                   USA                                         USA


AppHub LLC                            Apple, Inc.                                 Asana, Inc.
PO Box 953                            1 Apple Park Way                            633 Folsom St Ste 100
Cheshire CT 06410                     Cupertino CA 95014                          San Francisco CA 94107
USA                                   USA                                         USA


Autumn Sepulveda                      Avalara, Inc.                               BEAR LAKE MONSTER STORAGE
10672 Ridgetop Rd                     255 S King St Ste 1800                      85 North 395 West HIghway 89
Whitmore CA 96096                     Seattle WA 98104                            Garden City UT 84028
USA                                   USA                                         USA


Ben Glenn                             Bitly, Inc.                                 Brett Solomano
36000 US-101                          139 5th Ave Fl 5                            Adamana Road
Willits CA 95490                      New York NY 10010                           Adamana AZ 86028
USA                                   USA                                         USA


Brex                                  Brian Polnasek                              Bruce Langlois
12832 Frontrunner Blvd                452 North Rd.                               11630 East Fulton St
Suite 500                             Stroudsburg PA 18360                        Lowell MI 49331
Draper UT 84020                       USA                                         USA
USA
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Caitlyn Merriam                      Carlene Davila                          Carol Boom
44 East Street                       Clarence Harris Rd                      329 US Hwy 158
Claremont NH 03743                   Burlington Flats NY 13315               East Gatesville NC 27938
USA                                  USA                                     USA

Carrie Brown                         Casey McCarthy                          CELONIS, INC
1696 Cutbanks Rd                     30-44 29th Street                       One World Trade Center
Pamplin VA 23958                     Apt 6S                                  87th Floor NY 10007
USA                                  Astoria NY 11102                        USA
                                     USA
Charles Socks Jr.                    Checkr, Inc.                            Cheryl Peacock
9089 Valley Rd                       1 Montgomery St Ste 2400                205 Goldie Garrett Rd
Berkeley Springs WV 25411            San Francisco CA 94104                  Marble NC 28905
USA                                  USA                                     USA

Chris Tyler                          Christine Serpas                        Clique Affiliate marketing
6510 South 6th Street,               18388 Co Rd 65                          760 Aspen Drive
Klamath Falls OR 97603               Moffat CO 81143                         Park City UT 84098
USA                                  USA                                     USA

Courtney Bostwick                    Craig Pearson                           Curt Cragg
2564 Innisfail Ln                    3218 Zacks Fork Rd.                     225 Bear Bluff Ln
Clemmons NC 27012-8693               Lenoir NC 28645                         Walling TN 38587
USA                                  USA                                     USA

Dan Wood                             Dane & Annemarie Eglie                  Datadog, Inc.
3559 Willow Way                      2618 County Road                        620 8th Ave Fl 45
Portola CA 96122                     Guffey CO                               New York City NY 10018
USA                                  USA                                     USA

Dave Reese                           Davenport Land & Garden                 DAVENPORT LAND AND GARDEN
308 High Ridge Rd                    PO Box 229                              PO BOX 229
Delta PA 17314                       Davenport NY 13750                      DAVENPORT NY 13750
USA                                  USA                                     USA

David Allan Delanoy                  Dawn Stiefeld                           Decathlon Alpha IV, L.P.
112 Barrys Rd                        5317 S greensferry rd                   1441 West Ute Boulevard,
Effort PA 18330                      Coeur d'Alene ID 83814                  Suite 240
USA                                  USA                                     Park city UT 84098
                                                                             USA
Denise Kamer                         Diana Saucedo                           Dillard Waring
315 Ridge Rd                         3445 Wynola Rd.                         331 Talerico Rd
Southampton Township NJ 08088        Julian CA 92036                         Ghent NY 12075
USA                                  USA                                     USA

Dominick D'Agostino                  Dropbox, Inc.                           Dustin Moon
3641 Condor Road                     301 Howard Ste 200                      Boulder Creek Area
Levittown NY 11756                   San Francisco CA 94105                  Boulder Creek CA 95006
USA                                  USA                                     USA
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Earl Valdez                              Ellen Cervoni                          Emily Simpson Ramirez
16578 CO-142                             3268 Dolphsburg Rd                     1155 Panther Branch Road
San Luis CO 81152                        Montour Falls NY 14865                 Bryson City NC 28713
USA                                      USA                                    USA

Esteban Andres Vargas                    Evan Schwartz                          Facebook, Inc.
153 Hawthorne Ave                        35 Bell hollow rd                      1601 Willow Rd
Unit 204                                 Putnam Valley NY 10579                 Menlo Park CA 94025
Central Islip NY 11722                   USA                                    USA
USA
Farnam Street Financial Inc.             Feedback Group LLC                     Figma, Inc.
5850 Opus Parkway                        St Nicholas Pl                         760 Market St Fl 5
Suite 240                                Leicester Leicester LE1 4LD            San Francisco CA 94102
Minnetonka MN 55343                      United Kingdom                         USA
USA
Finn Dixon & Herling LLP                 Finn Partners                          Florence Behavin
6 Landmark Square                        301 East 57th Street                   15984 County Rd 75.1
Suite 600                                New York NY 10022                      Trinidad CO 81082
Stamford CT 06901-2704                   USA                                    USA
USA
Freightwise, LLC                         FullStory, Inc.                        Gareth Chisholm
214 Centerview Dr                        1745 Peachtree Rd NW Ste G             250 Seeley St
#100                                     Atlanta GA 30309                       16
Brentwood TN 37027                       USA                                    Brooklyn NY 11218
USA                                                                             USA
Getwebcraft Limited                      Ghost Foundation Ltd                   GitHub, Inc.
Klimentos 41-43                          160 Robinson Road #14-04               88 Colin P Kelly Jr St
Klimentos Tower                          Sbf Ctr Singapore 68914                San Francisco CA 94107
Flat/Office 25                           Singapore                              USA
Nicosia 1061
Cyprus
Google LLC                               Google Workspace                       Greg Haugen
1600 Amphitheatre Parkway                1600 Amphitheatre Parkway              5th Ave
Mountain View CA 94043                   Mountain View CA 94043                 Deer Park WI 54007
USA                                      USA                                    USA

Grimes Professional Dirt Busters         GrubHub Holdings, Inc.                 Guesty, Inc.
17 Hollycrest Blvd                       PO Box 71649                           2 Eliezer Kaplan St
Covington LA 70433                       Chicago IL 60694-1649                  Tel Aviv Tel Aviv
USA                                      USA                                    Israel

Gutterson & Cohen Tax Specialists, LLC   House of Hope (Bryan Braddock)         Hubspot Inc.
445 Broadhollow Road                     404 Freight Rd.                        25 1st St Fl 2
Ste 230                                  Florence SC 29505                      Cambridge MA 02141
Melville NY 11747                        USA                                    USA
USA
Impact Tech, Inc.                        INDUSTRIOUS                            Intuit Limited
223 E. De La Guerra Street               25 W 39TH STREET                       8046 S Shawnee St
Santa Barbara CA 93101                   NEW YORK NY 10018                      Aurora CT 80016
USA                                      USA                                    USA
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IPFS of New York, LLC               Jacob Goodman                         Jacob Zobrist
170 Northpointe Pkwy                10101 NE Knight Rd                    113 Robertson Rd
Ste 300                             Bainbridge Island WA 98110-4109       Ashland City TN 37015
Amherst NY 14228                    USA                                   USA
USA
James Berger                        James Chinchiolo                      James Hanley
505 West 37th Street                11560 N Lower Sacramento Rd           531 Meade Rd
Suite 211                           Lodi CA 95242                         Jefferson NY 12093
New York NY 10018                   USA                                   USA
USA
Jamila Norman                       Jammie Schmunk                        Jared and JenPetsche
902 Pinehurst Terrace Southwest     County Rd 414                         1190 Chute Rd
Atlanta GA 30310                    Jewett TX 75846                       Golden CO 80403
USA                                 USA                                   USA

Jeni Carriere LaDuke                Jessica Brooke Salyer                 Jim Anthony
8114 County Road 56                 1460 La France St NE                  1201 Edwards Mill Rd
Glenn CA 95943                      Unit 510                              Raleigh NC 27607
USA                                 Atlanta GA 30307-2973                 USA
                                    USA
Jim Keener                          Joe Bailey                            John Hurni
1897 Crowfoot Rd                    5317 S Greensferry Rd                 3000 KY-39
Eagle Point OR 97524                Coeur d'Alene ID 83814                Crab Orchard KY 40419
USA                                 USA                                   USA

Jon-Roy Sloan                       Jotform, Inc.                         Julie Zajac
1333 Ridge Rd                       4 Embarcadero Ctr Ste 780             1591 Moon Rd
Dickson TN 37055                    San Francisco CA 94111                Columbus PA 16405
USA                                 USA                                   USA

Justin Dugyon                       Karen Wertman                         Kate Whalen
2464 Pheasant Hollow Drive          1913 Route 25A                        158 Fox Farm Hill Road
West Sacramento CA 95691            Orford NH 03777                       North Berwick ME 03906
USA                                 USA                                   USA

Kathy Gilmartin                     Kelly Spangler                        Klaviyo, Inc.
1543 Beahm Town Rd                  216 Hinckley Ridge Road               125 Summer St Fl 6
Culpepper VA 22701                  Blue Hill ME 04614                    Boston MA 02111
USA                                 USA                                   USA

Krista Dostert                      Kristen Clayton                       Kristie Lowery Gray
63 Rocky Point Road                 7550 Lower Bowl Road                  192 Hunters Lane
Stockton Springs ME 04981           Peoa UT 84061                         Sweeney TX 77480
USA                                 USA                                   USA

Larissa Hayward                     Laura Bujjoni                         Laura Rode
1708 Rolling Hills Dr               41300 SW Laurelwood Rd,               274 Thayer Rd
Tobyhanna PA 18466-3659             Gaston OR 97119                       Hartwick NY 13348
USA                                 USA                                   USA
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Lauren Knaffo                        Linda Williams                         Lucid Software Inc.
799 S 3rd Street                     28770 NW Quail Run Dr                  10355 S Jordan Gateway
Apt 3513                             Gaston OR 97119                        Suite 150 South Jordan UT 84095
Harrison NJ 07029                    USA                                    USA
USA
Mallorie Hurst                       Marie Ramos                            Mark West
805 Breezygrass Way                  294 WA-409                             236 County Road 19
Georgetown TX 78626-2164             Cathlamet WA 98612                     Norwich NY 13815
USA                                  USA                                    USA

Mel Atkinson                         Melissa Trader                         Michael Manning
5600 FM 3021,                        Huerfano                               27 Langthronn Dr
Brownwood TX 76801                   Gardner CO 81040                       West Shokan NY 12494
USA                                  USA                                    USA

Michael Burton                       Michelle Schroeder                     Mike and Rhonda Lutt
8442 E McNelly Rd                    1197 Hamburg Rd                        2828 Blyburg Rd
Bentonville AR 72712                 Bakersville NC 28705                   Homer NE 68030
USA                                  USA                                    USA

Mirna & Seth Shumate                 Monalisa Weber                         Naomi Umhey
3525 Shacklett Rd.                   7828 Brest Station Rd.                 16 Kinsey Rd.
Murfreesboro TN 37129                Baconton GA 31716                      Phoenicia NY 12464
USA                                  USA                                    USA

Natasha Houston                      Nathan Trappe                          Niccole Cox
320 Massena Road                     101 Simpson St                         1081 old barn road
Victoria TX 77905                    Carrboro NC 27510-1235                 Seeley lake MT 59868
USA                                  USA                                    USA

Nick Corp                            NP Accel, LLC                          Patrick Gallagher
17668 Colony Rd,                     750 B St                               5034 Cowart Ct
Bow WA 98232                         Suite 1400                             Murrells Inlet SC 29576-5437
USA                                  San Diego CA 92101                     USA
                                     USA
Paul George                          Paul Robert Weber                      Pax Builders
673 Red Hill Knolls Rd               304 W 117th Street                     156 Reid Watson Rd
Grahamsville NY 12740                Apt 5F                                 Deer Lodge TN 37726
USA                                  New York NY 10026                      USA
                                     USA
Pearse Marschner                     Postman, Inc.                          R Software Inc.
314 Wenger Lane                      55 2nd St Ste 300                      2 Shaw Alley
Woodstock VA 22664                   San Francisco CA 94105                 San Francisco CA 94105
USA                                  USA                                    USA

RA Outdoors, LLC dba Aspira          RealDecoy US                           RealDecoy US Inc.
PO Box 840480                        1000 N West St                         1309 Carling Ave Unit E2
Dallas TX 75284                      Ste 1200                               Ottawa Ontario K1Z 7L3
USA                                  Wilmington DE 19801                    Canada
                                     USA
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Rebecca OHerron                        Regina Montalvo                        Robert Daniel
616 Deep Run Rd                        2130 Wynola rd                         319 Congressional Drive
Cartersville VA 23027                  Julian CA 92036                        Morganville NJ 07751
USA                                    USA                                    USA

Robert Petrucci                        Russell Fitzpatrick                    Ryan Velgersdyk
31400 SW 194 th Ave                    82 Beasley Mine Rd.                    3705 S. Amy Cir.
Homestead FL 33030                     Franklin NC 28734                      Sioux Falls SD 57103
USA                                    USA                                    USA

Scott Ewing                            Sean Fassett                           Semrush, Inc.
540 North Fishtrap Rd                  13 Raymond Ave                         800 Boylston St Ste 2475
Easley SC 29640                        Oneonta NY 13820-1151                  Boston MA 02199
USA                                    USA                                    USA

Sensible Weather Co.                   Shelby Ortenzio                        SHLEPPERS MOVING AND STORAGE
730 Arizona Avenue                     14200 Avalon Rd Apt 420                434 EAST 165TH ST
Santa Monica CA 90401                  Winter Garden FL 34787-8600            BRONX NY 10456
USA                                    USA                                    USA

Shopify, Inc.                          Slab, Inc.                             Slack Technologies, LLC
16150 Aviation Loop 15429              340 S Lemon Ave #8017                  500 Howard St
Brooksville FL 34604                   Walnut CA 91789                        San Francisco CA 94105
USA                                    USA                                    USA

SmartBear Software, Inc.               Stephen Schembari                      Stripe
450 Artisan Way                        948 Peekskill Hollow Rd                185 Berry St
Somerville MA 02145                    Putnam Valley NY 10579                 #550
USA                                    USA                                    San Francisco CA 94107
                                                                              USA
Stripe, Inc.                           Susan Engel                            Talon.One, GmbH
510 Townsend St                        2390 West Lake Road                    One Boston Place Suite 2600
San Francisco CA 94103                 Penn Yan NY 14527                      Boston MA 02108
USA                                    USA                                    USA

Tammy Hall Smith                       TC Simmons                             Terence Banks
26479 Barretts Church Rd               37 Eddings Point Rd. St.               6653 Celt Rd
Sedley VA 23878                        Helena Island SC 29920                 Stanardsville VA 22973
USA                                    USA                                    USA

Tiffani Koschitzki                     Treewolf West                          Twilio Inc.
118 Castle Rd                          236 County Road 19                     101 Spear St Fl 1
Catskill NY 12414                      Norwich NY 13815                       San Francisco CA 94105
USA                                    USA                                    USA

Uline Ship Supplies                    UPS                                    Wanda Preece
PO Box 88741                           PO Box 809488                          3030 NC-102 West
Chicago IL 60680-1741                  Chicago IL 60680-9488                  Chocowinity NC 27817
USA                                    USA                                    USA
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Webflow, Inc.                        Wesley Swee                           Willoughby Marketing, LLC
398 11th St 2nd Floor                21880 Maramec Spring Drive            44 Berry Street, Apt 4F
San Francisco CA 94103               St. James MO 65559                    Brooklyn NY 11249
USA                                  USA                                   USA

Zapier, Inc.                         Zavier (D'Andrea) Boykin              Zebrafish Labs, Inc.
243 Buena Vista Ave                  800 U.S. 191 suite 76                 423 Tehama St
Sunnyvale CA 94086                   Chambers AZ 86502                     San Francisco CA 94103
USA                                  USA                                   USA

Zebulon Jensen                       Zendesk, Inc.                         Zowie, Inc.
230 N Arrowhead Ln                   989 Market St                         8 The Grn
Mesquite NV 89027                    San Francisco CA 94103                Dover DE 19901
USA                                  USA                                   USA
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                                                           Tentrr, Inc.
                                                           Profit and Loss
                                                       January - October, 2022


                                                                                                                TOTAL
Income
 40000 Booking Revenues
 Signature Booking Revenue - OTA
  40020 3rd Party Site Rental Fees                                                                          753,801.08
  40022 3rd Party Cleaning Fees                                                                                  65.00
  40023 3rd Party Late Cancel Fees                                                                           15,237.75
 Total Signature Booking Revenue - OTA                                                                      769,103.83
 Signature Booking Revenue - Tentrr.com
  40001 Tentrr.com Rental Fees                                                                             1,246,605.45
  40002 Tentrr.com Extras                                                                                    64,325.63
  40003 Tentrr.com Cleaning Fees                                                                                895.00
  40004 Tentrr.com Late Cancel Fees                                                                          24,492.07
  40005 Tentrr.com Discounts                                                                                 -10,754.39
  40007 Tentrr.com Booking Fees                                                                             196,507.22
 Total Signature Booking Revenue - Tentrr.com                                                              1,522,070.98
 State Park Revenue
  40100 State Park Booking Fee - Tentrr.com                                                                  35,949.95
  40101 Maine State Parks Rental Fees
   40101b Tentrr.com Maine Revenue                                                                           17,051.00
   40101c OTA Maine Revenue                                                                                  23,730.80
  Total 40101 Maine State Parks Rental Fees                                                                  40,781.80
  40102 Michigan State Parks Rental Fees
   40102a State Site Michigan Revenue                                                                       132,411.00
  Total 40102 Michigan State Parks Rental Fees                                                              132,411.00
  40104 Louisiana State Parks Rental Fees
   40104b Tentrr.com Louisiana Revenue                                                                       67,470.00
   40104c OTA Louisiana Revenue                                                                              10,012.80
  Total 40104 Louisiana State Parks Rental Fees                                                              77,482.80
  40105 West Virginia State Parks Rental Fees
   40105a State Site West Virginia Revenue                                                                   62,529.00
   40105b Tentrr.com West Virginia Revenue                                                                   21,736.00
   40105c OTA West Virginia Revenue                                                                          27,046.36




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                                                         Tentrr, Inc.
                                                         Profit and Loss
                                                      January - October, 2022


                                                                                                               TOTAL
  Total 40105 West Virginia State Parks Rental Fees                                                        111,311.36
  40106 New York State Parks Rental Fees
   40106b Tentrr.com New York Revenue                                                                       42,836.00
   40106c OTA New York Revenue                                                                                8,985.79
  Total 40106 New York State Parks Rental Fees                                                              51,821.79
  40108 Mississippi State Park Rental Fees
   40108b Tentrr.com Mississippi Revenue                                                                    72,376.00
   40108c OTA Mississippi Revenue                                                                           27,865.10
  Total 40108 Mississippi State Park Rental Fees                                                           100,241.10
  40109 Nebraska State Park Rental Fees
   40109b Tentrr.com Nebraska Revenue                                                                       13,596.00
   40109c OTA Nebraska Revenue                                                                                3,674.00
  Total 40109 Nebraska State Park Rental Fees                                                               17,270.00
  Total State Park Revenue                                                                                 567,269.80
 Total 40000 Booking Revenues                                                                             2,858,444.61
 40200 Site Sales Revenue
  40205 Moose Membership                                                                                  1,310,059.18
  40215 Rabbit Subscriptions                                                                                   -622.00
 Total 40200 Site Sales Revenue                                                                           1,309,437.18
 40260 Tentrr Pass Revenue                                                                                  15,000.00
 40300 Mercantile Sales                                                                                     64,076.23
  40300a Mercantile Shipping Income                                                                           3,892.29
  40300b Mercantile Refunds                                                                                  -1,121.21
 Total 40300 Mercantile Sales                                                                               66,847.31
 40350 Partnership Revenue                                                                                  59,400.00
 40360 Sensible Weather Revenue                                                                             15,865.05
Total Income                                                                                             $4,324,994.15
Cost of Goods Sold
 50000 CampKeeper Payouts
  50001 CampKeeper Payouts - Tentrr.com                                                                    939,871.21
  50002 CampKeeper Payouts - 3rd Party                                                                     482,167.44
 Total 50000 CampKeeper Payouts                                                                           1,422,038.65




                                   Accrual Basis Tuesday, December 27, 2022 11:36 AM GMT-05:00                    2/9
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                                                        Tentrr, Inc.
                                                        Profit and Loss
                                                    January - October, 2022


                                                                                                           TOTAL
50005 State Parks Cost of Sales
50010 State Parks Payouts
 50013 SP Payouts - MI State Parks
  50013a SP Payouts - MI State Parks - State Site                                                        13,843.10
 Total 50013 SP Payouts - MI State Parks                                                                 13,843.10
 50015 SP Payouts - ME State Parks
  50015b SP Payouts - ME State Parks - Tentrr.com                                                        33,488.80
 Total 50015 SP Payouts - ME State Parks                                                                 33,488.80
 50016 SP Payouts - LA State Parks                                                                        1,918.48
  50016b SP Payouts - LA State Parks - Tentrr.com                                                         5,790.11
 Total 50016 SP Payouts - LA State Parks                                                                  7,708.59
 50017 SP Payouts - WV State Parks                                                                         390.22
  50017a SP Payouts - WV State Parks - State SIte                                                        12,505.80
  50017b SP Payouts - WV State Parks - Tentrr.com                                                         8,680.71
 Total 50017 SP Payouts - WV State Parks                                                                 21,576.73
 50018 SP Payouts - NY State Parks                                                                         358.15
  50018b SP Payouts - NY State Parks - Tentrr.com                                                         5,801.46
 Total 50018 SP Payouts - NY State Parks                                                                  6,159.61
 50021 SP Payouts - MS State Parks                                                                        4,449.41
  50021b SP Payouts - MS State Parks - Tentrr.com                                                         6,047.65
 Total 50021 SP Payouts - MS State Parks                                                                 10,497.06
 50022 SP Payouts - NE State Parks
  50022b SP Payouts - NE State Parks - Tentrr.com                                                         2,190.63
 Total 50022 SP Payouts - NE State Parks                                                                  2,190.63
 50032 SP Payouts - TX State Parks                                                                          40.40
Total 50010 State Parks Payouts                                                                          95,504.92
50020 State Park Maintenance Costs
 50024 SP Maintenance Costs - UT State Parks                                                              2,688.90
 50026 SP Maintenance Costs - LA State Parks                                                                76.29
 50028 SP Maintenance Costs - NY State Parks                                                              5,000.00
Total 50020 State Park Maintenance Costs                                                                  7,765.19
Total 50005 State Parks Cost of Sales                                                                   103,270.11
50100 3rd Party Channel Fees
50103 Guesty Fees                                                                                       107,145.15
50104 Homeaway Fees                                                                                       9,249.60
50106 Sensible Weather Fees                                                                              16,974.63
50107 Misc. OTA Fees                                                                                     39,594.65
Total 50100 3rd Party Channel Fees                                                                      172,964.03




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                                                           Tentrr, Inc.
                                                           Profit and Loss
                                                       January - October, 2022


                                                                                                                 TOTAL
 50200 Mercantile COGS                                                                                        32,688.79
  50200a Mercantile Shipping, Freight & Delivery                                                                3,242.98
 Total 50200 Mercantile COGS                                                                                  35,931.77
 Other Costs - COS
  50400 Stripe Transaction Fees                                                                               87,009.65
  50410 Quickbooks Transaction Fees                                                                           31,001.17
  50420 US Credit Merchant Fee                                                                                  1,867.67
 Total Other Costs - COS                                                                                     119,878.49
Total Cost of Goods Sold                                                                                   $1,854,083.05
GROSS PROFIT                                                                                               $2,470,911.10
Expenses
 60050 Charitable Donations                                                                                     1,000.00
 60090 Design Services                                                                                           900.00
 Advertising & Marketing Roll-Up
  60000 Advertising and Marketing
  60001 SEO                                                                                                  145,230.48
  60002 Google Ads                                                                                           252,448.38
  60003 Facebook Ads                                                                                         134,560.45
  60004 Digital Ad Spending                                                                                         0.00
  60006 Marketing                                                                                             28,500.00
  60007 Content Production                                                                                      1,000.00
  60009 Print Media                                                                                             1,991.36
  60011 Promotional Spending & SWAG                                                                             3,670.58
  60012 PR & Events                                                                                           47,737.44
  60013 Branding & Materials                                                                                    2,641.60
  60014 Photography / Video                                                                                     6,421.27
  60015 Lead Generation Expenses                                                                                3,350.00
  60018 Promotional Gift Cards Issued                                                                         46,466.71
  60019 3rd Party Software & Tools                                                                            12,000.00
  60020 Partnership Expenses                                                                                    8,900.00
  60021 Affiliate Marketing                                                                                   40,608.17
  Total 60000 Advertising and Marketing                                                                      735,526.44
 Total Advertising & Marketing Roll-Up                                                                       735,526.44
 Equipment and Machinery Lease & Rental Rollup
  60390 Equipment and Machinery Lease & Rental
  60390a Equipment                                                                                          1,867,268.76
  Total 60390 Equipment and Machinery Lease & Rental                                                        1,867,268.76
 Total Equipment and Machinery Lease & Rental Rollup                                                        1,867,268.76




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                                                        Tentrr, Inc.
                                                        Profit and Loss
                                                    January - October, 2022


                                                                                                           TOTAL
G&A Overhead Roll-Up
60300 G&A Overhead
 60303 Insurance
  60303a General Liability                                                                              107,980.10
  60303c D&O                                                                                              7,329.48
  60303d Cyber                                                                                           29,510.26
  60303e EPL                                                                                              5,906.66
  60303f Auto Insurance                                                                                   3,110.52
 Total 60303 Insurance                                                                                  153,837.02
 60304 Dues & Subscriptions                                                                               9,524.27
 60305 Filing Fees                                                                                        8,573.51
 60306 Bank Fees & Interest Expense
  60306a Bank Service Charges                                                                              506.73
  60306b Financing Fees                                                                                   2,705.97
  60306c Shopify Fees                                                                                     1,192.82
 Total 60306 Bank Fees & Interest Expense                                                                 4,405.52
 60308 Conferences and Seminars                                                                           6,630.92
Total 60300 G&A Overhead                                                                                182,971.24
Total G&A Overhead Roll-Up                                                                              182,971.24
HR & Personnel Roll-Up
60100 HR & Personnel
 60101 Payroll
  60102 Corporate                                                                                       370,833.40
  60103 Marketing
  60103a Marketing (W2)                                                                                 411,437.50
  60103b Marketing (1099)                                                                                 8,421.17
  Total 60103 Marketing                                                                                 419,858.67
  60104 Platform                                                                                        377,823.79
  60105 Demand                                                                                          112,287.88
  60106 Supply and Logistics
  60106a Logistics (W-2)                                                                                160,450.53
  60106b Logistics (1099)                                                                                91,444.73
  60106c Supply CDR (W-2)                                                                               258,416.58
  60106d Supply CSS (W-2)                                                                               203,745.64
  60106e CDR/CSS (1099)                                                                                  31,749.07
  60106k Sales (W2)                                                                                     102,833.33
  60106l Sales (1099)                                                                                    68,866.39




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                                                           Tentrr, Inc.
                                                           Profit and Loss
                                                       January - October, 2022


                                                                                                                TOTAL
  Total 60106 Supply and Logistics                                                                          917,506.27
  60107 Customer Service
   60107a Customer Service (W-2)                                                                            320,106.00
   60107b Customer Service (1099)                                                                            82,630.78
  Total 60107 Customer Service                                                                              402,736.78
  60108 CampGuides
   60108a CampGuide (W-2)                                                                                    93,037.44
   60108b CampGuide (1099)                                                                                  212,299.39
  Total 60108 CampGuides                                                                                    305,336.83
  60109 Talent Acquisition                                                                                   77,638.94
  60123 Commissions                                                                                         130,000.00
  60124 Employee Bonuses                                                                                     52,000.00
 Total 60101 Payroll                                                                                       3,166,022.56
 60125 Payroll Benefits
  60126 Healthcare Premium                                                                                  144,567.00
  60127 Dental Premium                                                                                       10,852.99
  60128 Vision Premium                                                                                         1,785.16
  60129 Life Insurance                                                                                          335.49
 Total 60125 Payroll Benefits                                                                               157,540.64
 60130 Payroll Taxes
  60131 Social Security                                                                                     145,976.76
  60132 Medicare                                                                                             37,559.79
  60133 FUTA                                                                                                   2,225.90
  60134 SUI                                                                                                  16,076.78
  60135 NY MCTMT                                                                                                 -14.67
 Total 60130 Payroll Taxes                                                                                  201,824.56
 60140 HR and Payroll Processing Fees
  60141 TriNet PEO                                                                                           49,951.17
  60142 Gusto                                                                                                  9,388.64
 Total 60140 HR and Payroll Processing Fees                                                                  59,339.81
 60150 Other Payroll Expenses
  60152 Workers Comp                                                                                           7,168.70
  60153 COBRA Admin                                                                                             750.00
 Total 60150 Other Payroll Expenses                                                                            7,918.70
Total 60100 HR & Personnel                                                                                 3,592,646.27
Total HR & Personnel Roll-Up                                                                               3,592,646.27
Materials & Install
60190 Materials & Install (Non-CapEx)                                                                        12,867.86
Total Materials & Install                                                                                    12,867.86




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                                                          Tentrr, Inc.
                                                          Profit and Loss
                                                      January - October, 2022


                                                                                                             TOTAL
Office & Other Roll-Up
60200 Office & Other
 60210 NYC Office
  60210a Rent - NYC Office                                                                                  4,795.00
  60210b Telecom - NYC Office                                                                              18,823.59
  60210d Office Supplies - NYC Office                                                                       4,608.38
  60210g Postage & Delivery - NYC Office                                                                     732.21
  60210h Moving & Storage - NYC Office                                                                     11,437.50
 Total 60210 NYC Office                                                                                    40,396.68
 60220 Oneonta, NY
  60220a Rent - Oneonta, NY                                                                                22,000.00
  60220c Telecom - Oneonta, NY                                                                              2,264.60
  60220d Utilities - Oneonta, NY                                                                            8,224.75
  60220e Office Supplies - Oneonta, NY                                                                       509.49
  60220f Repairs & Maintenance - Oneonta, NY                                                                 543.05
  60220g Garbage Removal - Oneonta, NY                                                                     10,080.78
 Total 60220 Oneonta, NY                                                                                   43,622.67
 60240 Auto Expense
  60243 Repairs and Maintenance                                                                             2,254.91
  60245 Other                                                                                                319.75
  60247 Parking and Tolls                                                                                     66.99
 Total 60240 Auto Expense                                                                                   2,641.65
 60250 Travel & Entertainment
  60251 Travel (Airfare & Hotels)                                                                          37,413.64
  60252 Entertainment & Meals                                                                              22,329.55
  60253 Transportation                                                                                     53,215.66
  60254 Office Outings                                                                                       617.68
  60255 Travel Meals                                                                                        5,446.89
  60256 Employee Tentrr Trips                                                                              10,523.74
 Total 60250 Travel & Entertainment                                                                       129,547.16
Total 60200 Office & Other                                                                                216,208.16
Other OpEx Roll-Up
 60900 Other OpEx
  60990 Test Transactions                                                                                    510.05
 Total 60900 Other OpEx                                                                                      510.05
Total Other OpEx Roll-Up                                                                                     510.05
Total Office & Other Roll-Up                                                                              216,718.21




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                                                             Tentrr, Inc.
                                                             Profit and Loss
                                                         January - October, 2022


                                                                                                                     TOTAL
 Professional Services Roll-Up
  60500 Professional Services
  60501 Accounting | Finance                                                                                     155,581.24
  60502 Legal & iBanking                                                                                          69,518.00
  60503 Recruiting                                                                                                80,576.24
  60504 Technology Consultants                                                                                     7,800.00
  60505 Tech Outsourcing                                                                                         164,560.00
  60507 Advertising & Marketing Consultants                                                                        4,150.00
  60508 Sales Consultants                                                                                        130,872.91
  60509 Misc Consultants                                                                                          36,730.00
  Total 60500 Professional Services                                                                              649,788.39
 Total Professional Services Roll-Up                                                                             649,788.39
 Research and Development                                                                                        188,420.00
 Tech & Product Roll-Up
  60400 Tech & Product
  60401 Technology
   Google Cloud                                                                                                   30,685.90
   Tech Software and Services                                                                                    186,634.18
   Web Hosting                                                                                                    48,714.01
  Total 60401 Technology                                                                                         266,034.09
  60402 Website
   e-commerce Website                                                                                                923.36
   Website Domain                                                                                                    725.49
  Total 60402 Website                                                                                              1,648.85
  Total 60400 Tech & Product                                                                                     267,682.94
 Total Tech & Product Roll-Up                                                                                    267,682.94
Total Expenses                                                                                                $7,715,790.11
NET OPERATING INCOME                                                                                         $ -5,244,879.01
Other Income
 80000 Other Income                                                                                                1,416.58
 80001 Sales Tax Vendor Credit                                                                                        57.26
Total Other Income                                                                                                $1,473.84
Other Expenses
 70000 Taxes                                                                                                       1,069.00
  70002 New York State                                                                                             2,775.00
  70004 Utah Taxes                                                                                                   100.00
  70005 LouisianaTaxes                                                                                               550.00
  70006 Mississippi Taxes                                                                                             25.00
  70007 North Carolina Taxes                                                                                         200.00
 Total 70000 Taxes                                                                                                 4,719.00




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                                                           Tentrr, Inc.
                                                           Profit and Loss
                                                       January - October, 2022


                                                                                                                   TOTAL
 70010 Sales Tax Paid                                                                                          132,403.29
 70050 Interest Expense                                                                                        387,229.64
 70100 Depreciation Expense
  70101 Vehicles                                                                                                 1,944.40
  70102 Tools / Equipment                                                                                        1,587.34
  70104 Computers                                                                                               15,914.47
  70106 Farnam Capitalized Materials                                                                         1,688,789.55
 Total 70100 Depreciation Expense                                                                            1,708,235.76
 70200 Amortization Expense
  70202 Domain                                                                                                     333.30
  70203 Farnam Capitalized Install                                                                             476,215.10
 Total 70200 Amortization Expense                                                                              476,548.40
 79000 Other Expense Writeoffs                                                                                      79.00
 Reconciliation Discrepancies                                                                                      -14.82
Total Other Expenses                                                                                        $2,709,200.27
NET OTHER INCOME                                                                                           $ -2,707,726.43
NET INCOME                                                                                                 $ -7,952,605.44




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                                                          Tentrr, Inc.
                                                      Statement of Cash Flows
                                                       January - October, 2022


                                                                                                                 TOTAL
OPERATING ACTIVITIES
 Net Income                                                                                                -7,960,895.99
 Adjustments to reconcile Net Income to Net Cash provided by operations:
 11002 CampKeeper Receivables:Moose Sales (A/R)                                                              -78,820.00
 11011 CampKeeper Receivables:Michigan State Parks (A/R)                                                     -10,008.90
 11014 CampKeeper Receivables:Louisiana State Parks (A/R)                                                      -7,329.00
 11015 CampKeeper Receivables:West Virginia State Parks (A/R)                                                -36,685.98
 11200 Accounts Receivable                                                                                    17,900.00
 11210 OTA Receivables                                                                                       -53,530.03
 12050 Inventory Asset:Inventory Asset - Mercantile                                                                0.00
 12060 Inventory Asset:Farnam Capitalized Materials                                                        -2,325,903.19
 12060a Inventory Asset:Farnam Capitalized Materials:Accumulated Depreciation                              1,688,789.55
 12070 Farnam Capitalized Install                                                                           -899,405.43
 12070a Farnam Capitalized Install:Accumulated Amortization                                                  476,215.10
 12500 Prepaid Expenses                                                                                      -54,010.72
 12510 Lowes Escrow                                                                                          -22,349.81
 12602 Deferred CK Expense:Deferred CK Expense - Tentrr                                                      -97,775.65
 12603 Deferred CK Expense:Deferred CK Expense - 3rd Party                                                   -46,418.89
 12604 Deferred Discounts                                                                                        932.01
 12605 Deferred 3rd Party Channel Fees                                                                         -5,736.54
 12607 Shopify Account                                                                                          -401.10
 12608 Deferred Shopify Fees                                                                                      -24.91
 12612 Temporary Clearing Account                                                                                  0.00
 12614 QB Site Sales Clearing Account                                                                          8,932.45
 101 Vehicles:Trailers:Depreciation                                                                            1,944.40
 12701 Computers:Accumulated Depreciation - Computers                                                         15,914.47
 12702a Domain Name:Accumulated Amortization - Domain Name                                                       333.30
 12703a Equipment:Accumulated Depreciation - Equipment                                                           254.04
 Tools & Machinery:Tools & Machinery - Oneonta, NY (CapEx):Accumulated Depreciation - T&M Oneonta, NY          1,333.30
 12710 Accounts Payable OpEx                                                                                 663,652.44
 12752 Brex                                                                                                    6,132.22
 20001 Accrued Expenses:Accrued Employee Reimb Payable                                                         -2,707.63
 20002 Accrued Expenses:Accrued Legal Fees                                                                    32,326.40
 20004 Accrued Expenses:Accrued Expenses Misc                                                               -162,800.00
 20005 Accrued Bonuses                                                                                       -26,991.95
 20006 Accrued Commissions                                                                                   -37,963.48
 20026 National Partners PFco of NY                                                                            7,477.83
 20027 IPFS of New York                                                                                       32,859.44
 20032 Deferred Revenue:Deferred Booking Fees                                                                  -9,061.40
 20034 Deferred Revenue:Deferred Tentrr Site Rental Fees                                                     -12,644.80
 20035 Deferred Revenue:Deferred 3rd Party Site Rental Fees                                                    1,829.69
 20036 Deferred Revenue:Deferred Extras                                                                         -522.80
 20038 Deferred Revenue:Deferred Cleaning Fees                                                                  -295.00
 20039 Deferred Revenue:Deferred 3rd Party Cleaning Fees                                                           0.00



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                                                          Tentrr, Inc.
                                                     Statement of Cash Flows
                                                      January - October, 2022


                                                                                                                     TOTAL
  20057 Gift Cards                                                                                                13,276.09
  20058 Deferred Mercantile Sales                                                                                  1,473.91
  20071 Partner Fees Owed:CK Fees Owed                                                                           -15,731.69
  20072a Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - MI                                          5,102.60
  20072c Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - ME                                         -8,265.35
  20072d Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - LA                                          9,549.56
  20072e Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - WV                                          9,956.82
  20072f Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - NY                                          2,048.37
  20072h Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - MS                                           -562.08
  20072i Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - NE                                          1,808.13
  20072j Partner Fees Owed:State Park Fees Owed:State Park Fees Owed - TX                                            268.60
  20073 Partner Fees Owed:OTA Fees Owed                                                                           14,030.09
  20082a Farnam Lease Liability:Farnam Lease TE123118-001                                                       -323,835.96
  20082b Farnam Lease Liability:Farnam Lease TE123118-002                                                       -687,276.30
  20082d Farnam Lease Liability:Farnam Lease TE123118-004                                                      3,225,308.67
  20090 Sales Tax Payable                                                                                           -497.79
  Payroll Liabilities:Wages Payable                                                                              -25,042.15
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:                                 1,287,050.95
Net cash provided by operating activities                                                                    $ -6,673,845.04
INVESTING ACTIVITIES
 100 Vehicles:Trailers:Original cost                                                                                   0.01
 12080i TentKits:TentKits Deployed (Combined Tentkits)                                                            26,140.46
 12700 Computers:Computers - CapEx                                                                               -26,753.11
 12703 Equipment:Equipment - CapEx                                                                                -1,524.21
 Computers                                                                                                             -0.01
 Equipment                                                                                                             -0.01
 Tools & Machinery                                                                                                     0.00
 Tools & Machinery:Tools & Machinery - Oneonta, NY (CapEx)                                                             0.03
 Vehicles:Trailers                                                                                                     0.03
 Security Deposits:Farnam Financial Inc.:Lease TE123118-005                                                     -260,637.99
Net cash provided by investing activities                                                                     $ -262,774.80
FINANCING ACTIVITIES
 Decathlon Loan                                                                                                  216,075.23
 Preferred Stock:Claude Wasserstein                                                                                  332.80
Net cash provided by financing activities                                                                       $216,408.03
NET CASH INCREASE FOR PERIOD                                                                                 $ -6,720,211.81
Cash at beginning of period                                                                                    6,873,088.33
CASH AT END OF PERIOD                                                                                           $152,876.52




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           GUTTERSON & COHEN TAX SPECIALISTS LLC
           445 BROADHOLLOW ROAD STE 230
           MELVILLE, NY 11747




                       TENTRR, INC.
                       25 W. 39TH STREET, 7TH FLOOR
                       NEW YORK, NY 10018

                       !100180!




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04-01-21
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                                         CLIENT'S COPY
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                                                                        Direct Deposit/Debit Report


Name: TENTRR,            INC.                                                                              Employer Identification Number:   XX-XXXXXXX

                                                                                                                                    Debit/Deposit
  Unit            Form          Name of Financial Institution     Account Type     Routing Number       Account Number                  Date        Amount

                                                                                                                                  DEBIT
MS       83-105           SILICON VALLEY BANK                   CHECKING         121140399 3302551386                             10/11/22                   25.
                                                                                                                                  DEBIT
NC       CD-405           SILICON VALLEY BANK                   CHECKING         121140399 3302551386                             10/11/22                   200.
                                                                                                                                  DEBIT
NJ       CBT-100          SILICON VALLEY BANK                   CHECKING         121140399 3302551386                             10/11/22                   769.
                                                                                                                                  DEBIT
NY       CT-3             SILICON VALLEY BANK                   CHECKING         121140399 3302551386                             10/11/22                   997.
                                                                                                                                  DEBIT
NY       CT-3M            SILICON VALLEY BANK                   CHECKING         121140399 3302551386                             10/11/22                   253.
                                                                                                                                  DEBIT
VT       CO-411           SILICON VALLEY BANK                   CHECKING         121140399 3302551386                             10/11/22                   300.




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           GUTTERSON & COHEN TAX SPECIALISTS LLC
               445 BROADHOLLOW ROAD STE 230
                    MELVILLE, NY 11747
                       631-629-4344

                                                      October 11, 2022

TENTRR, INC.
25 W. 39TH STREET, 7TH FLOOR
NEW YORK, NY 10018




                        S T A T E M E N T


PREPARATION OF 2021 CORPORATION RETURN(S).....               $ 2250.00
ADDITONAL STATES                                               1500.00
                                                             }}}}}}}}}
        AMOUNT DUE                                           $ 3750.00
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                        GUTTERSON & COHEN TAX SPECIALISTS LLC
                           445 BROADHOLLOW ROAD STE 230
                                  MELVILLE, NY 11747
                                     631-629-4344

OCTOBER 11, 2022



TENTRR, INC.
25 W. 39TH STREET, 7TH FLOOR
NEW YORK, NY 10018


TENTRR, INC.:

WE HAVE PREPARED AND ENCLOSED YOUR 2021 CORPORATION INCOME TAX RETURNS FOR
THE YEAR ENDED DECEMBER 31, 2021.

THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO HAVE IT
TRANSMITTED ELECTRONICALLY TO THE IRS, PLEASE SIGN, DATE, AND RETURN FORM 8879-C
TO OUR OFFICE. WE WILL THEN SUBMIT YOUR ELECTRONIC RETURN TO THE IRS. DO NOT
MAIL THE PAPER COPY OF THE RETURN TO THE IRS.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.

THE CALIFORNIA FORM 100 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE FTB, PLEASE SIGN, DATE AND
RETURN FORM 8453-C TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC RETURN TO
THE FTB. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE FTB.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.

THE CALIFORNIA ESTIMATED INCOME TAX DUE DATES AND REQUIRED PAYMENTS ARE AS
FOLLOWS:

      INSTALLMENT NO. 4 BY 12/15/22 . . . . . . $800

THESE PAYMENTS MUST BE FILED AND PAID ELECTRONICALLY VIA THE FRANCHISE TAX
BOARD WEBSITE AT:

WWW.FTB.CA.GOV/PAY


THE FLORIDA FORM F-1120 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE FLORIDA DOR, PLEASE CONTACT
OUR OFFICE. WE WILL THEN SUBMIT YOUR ELECTRONIC RETURN TO THE FLORIDA DOR. DO
NOT MAIL THE PAPER COPY OF THE RETURN TO THE FLORIDA DOR.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.

THE GEORGIA FORM 600 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE GA DOR, PLEASE SIGN, DATE AND
RETURN FORM 8453-C TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC RETURN TO
THE GA DOR. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE GA DOR.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.
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THE LOUISIANA FORM CIFT-620 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF
YOU WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE LDR, PLEASE SIGN, DATE AND
RETURN FORM LA8453C TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC RETURN
TO THE LDR. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE LDR.

NO PAYMENT IS REQUIRED AS YOU ARE TO RECEIVE A REFUND IN THE AMOUNT OF $550.

THE MAINE FORM 1120ME RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE ME DOR, PLEASE CONTACT OUR
OFFICE. WE WILL THEN SUBMIT YOUR ELECTRONIC RETURN TO THE ME DOR. DO NOT MAIL
THE PAPER COPY OF THE RETURN TO THE ME DOR.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.

THE MISSISSIPPI FORM 83-105 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF
YOU WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE MS DOR, PLEASE SIGN, DATE
AND RETURN FORM 8453-C TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC RETURN
TO THE MS DOR. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE MS DOR.

YOUR BALANCE DUE OF $25 WILL BE AUTOMATICALLY WITHDRAWN FROM THE BANK
ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE FORM 83-105 BALANCE
DUE. REFER TO FORM 83-105 ON THE DIRECT DEPOSIT/DEBIT REPORT FOR COMPLETE
ACCOUNT INFORMATION.

THE NH BUSINESS ENTERPRISE/PROFITS TAX FORM BT-SUMMARY RETURN HAS BEEN
PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO HAVE IT TRANSMITTED
ELECTRONICALLY TO THE NH DRA, PLEASE CONTACT OUR OFFICE. WE WILL THEN SUBMIT
YOUR ELECTRONIC RETURN TO THE NH DRA. DO NOT MAIL THE PAPER COPY OF THE RETURN
TO THE NH DRA.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.

THE NEW JERSEY FORM CBT-100 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF
YOU WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE NEW JERSEY DOR, PLEASE
CONTACT OUR OFFICE. WE WILL THEN SUBMIT YOUR ELECTRONIC RETURN TO THE NEW
JERSEY DOR. DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE NEW JERSEY DOR.

YOUR BALANCE DUE OF $769 WILL BE AUTOMATICALLY WITHDRAWN FROM THE BANK
ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE FORM CBT-100 BALANCE
DUE. REFER TO FORM CBT-100 ON THE DIRECT DEPOSIT/DEBIT REPORT FOR COMPLETE
ACCOUNT INFORMATION.

THIS RETURN INCLUDES A PENALTY FOR UNDERPAYMENT OF ESTIMATED TAX OF $19.

THE NEW YORK FORM CT-3 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE NYSDTF, PLEASE SIGN, DATE AND
RETURN FORM TR-579-CT TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC RETURN
TO THE NYSDTF. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE NYSDTF.

YOUR BALANCE DUE OF $997 WILL BE AUTOMATICALLY WITHDRAWN FROM THE BANK
ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE FORM CT-3 BALANCE
DUE. REFER TO FORM CT-3 ON THE DIRECT DEPOSIT/DEBIT REPORT FOR COMPLETE
ACCOUNT INFORMATION.

THIS RETURN INCLUDES A PENALTY FOR UNDERPAYMENT OF ESTIMATED TAX OF $78.

THE NEW YORK ESTIMATED INCOME TAX DUE DATES AND REQUIRED PAYMENTS ARE AS
FOLLOWS:
            Case 23-10000-BLS         Doc 1     Filed 01/02/23   Page 40 of 304




      INSTALLMENT NO. 4 BY 12/15/22 . . . . . . $2,670

THESE PAYMENTS MUST BE FILED AND PAID ELECTRONICALLY VIA THE NEW YORK STATE
CORPORATION TAX WEBSITE AT:

HTTPS://WWW.TAX.NY.GOV/ONLINE/


THE NORTH CAROLINA FORM CD-405 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING.
IF YOU WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE NCDOR, PLEASE CONTACT
OUR OFFICE. WE WILL THEN SUBMIT YOUR ELECTRONIC RETURN TO THE NCDOR. DO NOT
MAIL THE PAPER COPY OF THE RETURN TO THE NCDOR.

YOUR BALANCE DUE OF $200 WILL BE AUTOMATICALLY WITHDRAWN FROM THE BANK
ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE FORM CD-405 BALANCE
DUE. REFER TO FORM CD-405 ON THE DIRECT DEPOSIT/DEBIT REPORT FOR COMPLETE
ACCOUNT INFORMATION.

THE NORTH CAROLINA BUSINESS CORPORATION ANNUAL REPORT SHOULD BE MAILED AS
SOON AS POSSIBLE TO:

             SECRETARY OF STATE
             BUSINESS REGISTRATION DIVISION
             POST OFFICE BOX 29525
             RALEIGH, NC 27626-0525


ENCLOSE A CHECK OR MONEY ORDER FOR $25, PAYABLE TO SECRETARY OF STATE.

THE PENNSYLVANIA FORM RCT-101 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING.
IF YOU WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE PADOR, PLEASE SIGN, DATE
AND RETURN FORM PA-8879-C TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC
RETURN TO THE PADOR. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE PADOR.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.

THE TENNESSEE FORM FAE 170 SHOULD BE MAILED ON OR BEFORE DECEMBER 15, 2022 TO:

             TENNESSEE DEPT. OF REVENUE
             ANDREW JACKSON STATE OFFICE BLDG.
             500 DEADERICK STREET
             NASHVILLE, TN 37242

YOU HAVE A BALANCE DUE OF $240.

PAYMENT MUST BE MADE ELECTRONICALLY VIA THE TENNESSEE DEPT. OF REVENUE
WEBSITE AT:

HTTPS://TNTAP.TN.GOV/ESERVICES/_/


THE UTAH FORM TC-20 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH
TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE USTC, PLEASE CONTACT OUR OFFICE.
WE WILL THEN SUBMIT YOUR ELECTRONIC RETURN TO THE USTC. DO NOT MAIL THE PAPER
COPY OF THE RETURN TO THE USTC.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.
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THE VERMONT FORM CO-411 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE VT DOT, PLEASE SIGN, DATE AND
RETURN FORM 8879-VT-C TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC RETURN
TO THE VT DOT. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE VT DOT.

YOUR BALANCE DUE OF $300 WILL BE AUTOMATICALLY WITHDRAWN FROM THE BANK
ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE FORM CO-411 BALANCE
DUE. REFER TO FORM CO-411 ON THE DIRECT DEPOSIT/DEBIT REPORT FOR COMPLETE
ACCOUNT INFORMATION.

THE NEW YORK CITY FORM NYC-2 RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF
YOU WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE NYC DOF, PLEASE SIGN, DATE
AND RETURN NYC-579-COR TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC
RETURN TO THE NYC DOF. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE NYC DOF.

NO PAYMENT IS REQUIRED WITH THIS RETURN WHEN FILED.

THE NEW YORK FORM CT-3M RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
WISH TO HAVE IT TRANSMITTED ELECTRONICALLY TO THE NYSDTF, PLEASE SIGN, DATE AND
RETURN FORM TR-579-CT TO OUR OFFICE. WE WILL THEN SUBMIT THE ELECTRONIC RETURN
TO THE NYSDTF. DO NOT MAIL A PAPER COPY OF THE RETURN TO THE NYSDTF.

YOUR BALANCE DUE OF $253 WILL BE AUTOMATICALLY WITHDRAWN FROM THE BANK
ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE FORM CT-3M BALANCE
DUE. REFER TO FORM CT-3M ON THE DIRECT DEPOSIT/DEBIT REPORT FOR COMPLETE
ACCOUNT INFORMATION.

THIS RETURN INCLUDES A PENALTY FOR UNDERPAYMENT OF ESTIMATED TAX OF $10.

COPIES OF THE RETURNS ARE ENCLOSED FOR YOUR FILES. WE SUGGEST THAT YOU RETAIN
THESE COPIES INDEFINITELY.

VERY TRULY YOURS,



ALAN J. COHEN
           Case 23-10000-BLS        Doc 1      Filed 01/02/23   Page 42 of 304


                 2021 TAX RETURN FILING INSTRUCTIONS
                        U.S. CORPORATION INCOME TAX RETURN

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                      $                        0
            LESS: PAYMENTS AND CREDITS     $                        0
            PLUS: INTEREST AND PENALTIES   $                        0
            NO PAYMENT REQUIRED            $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. TO HAVE IT
            TRANSMITTED ELECTRONICALLY TO THE IRS, PLEASE SIGN, DATE, AND
            RETURN FORM 8879-C TO OUR OFFICE. WE WILL THEN SUBMIT YOUR
            ELECTRONIC RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
                    Case 23-10000-BLS    Doc 1   Filed 01/02/23   Page 43 of 304

                                  DEPRECIATION VARIANCE REPORT



   ASSET                                                 ACCOUNTANT'S      SYSTEM
  NUMBER                   DESCRIPTION                    CALCULATED     CALCULATED    VARIANCE
                                                         DEPRECIATION   DEPRECIATION
      15 TRAILERS                                            2,424.         1,212.       1,212.




128141 04-01-21
                               Case 23-10000-BLS                             Doc 1        Filed 01/02/23             Page 44 of 304


       8879-C                      IRS e-file Signature Authorization for Form 1120                                                                    OMB No. 1545-0123

Form


Department of the Treasury
                                 For calendar year 2021, or tax year beginning                , 2021, ending

                                                           | Do not send to the IRS. Keep for your records.
                                                                                                                                  , 20
                                                                                                                                                           2021
Internal Revenue Service                            | Go to www.irs.gov/Form8879C for the latest information.
Name of corporation                                                                                                                       Employer identification number
                      TENTRR, INC.                                                                                                         XX-XXXXXXX
 Part I            Tax Return Information (Whole dollars only)
  1 Total income (Form 1120, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1        2,510,860.
  2 Taxable income (Form 1120, line 30) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  2       -6,113,971.
  3 Total tax (Form 1120, line 31) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
  4 Amount owed (Form 1120, line 35) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    4
  5 Overpayment (Form 1120, line 36)                                                                     5
 Part II           Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation's return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's 2021 electronic
income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct, and complete. I further
declare that the amounts in Part I above are the amounts shown on the copy of the corporation's electronic income tax return. I consent to allow my
electronic return originator (ERO), transmitter, or intermediate service provider to send the corporation's return to the IRS and to receive from the
IRS (a) an acknowledgement of receipt or reason for rejection of the transmission, (b) the reason for any delay in processing the return or refund, and
(c) the date of any refund. If applicable, I authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal
(direct debit) entry to the financial institution account indicated in the tax preparation software for payment of the corporation's federal taxes owed
on this return, and the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial
Agent at 1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve issues related to
the payment. I have selected a personal identification number (PIN) as my signature for the corporation's electronic income tax return and, if
applicable, the corporation's consent to electronic funds withdrawal.

Officer's PIN: check one box only

       X I authorize GUTTERSON & COHEN TAX SPECIALISTS LLC                                                                               to enter my PIN       12345
                                                                          ERO firm name                                                                    do not enter all zeros
             as my signature on the corporation's 2021 electronically filed income tax return.
             As an officer of the corporation, I will enter my PIN as my signature on the corporation's 2021 electronically filed income tax return.


Officer's signature |                                                                Date |                             Title | PRESIDENT

 Part III          Certification and Authentication

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                       11357722752
                                                                                                               do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2021 electronically filed income tax return for the corporation indicated
above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation,
and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


ERO's signature |                                                                                                   Date |     10/11/22

                                             ERO Must Retain This Form - See Instructions
                                     Do Not Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice, see instructions.                                                                                                  Form 8879-C (2021)
LHA




110211 11-17-21
                                                                                                       Case 23-10000-BLS                              Doc 1              Filed 01/02/23                Page 45 of 304
                                                                                                                            U.S. Corporation Income Tax Return
                                                                     1120
                                                                                                                                                                                                                                                   OMB No. 1545-0123

Form                                                                                      For calendar year 2021 or tax year beginning                                                    , ending

Department of the Treasury
Internal Revenue Service
                                                                                                                         EXTENSION GRANTED TO 10/15/22
                                                                                                                           | Go to www.irs.gov/Form1120 for instructions and the latest information.                                                2021
A Check if:                                                                                                      Name                                                                                                               B Employer identification number
1a Consolidated return
   (attach Form 851) ......                                                                                              TENTRR, INC.                                                                                                   XX-XXXXXXX
 b Life/nonlife consoli-                                                                         TYPE                                                                                                                               C Date incorporated
   dated return ..............                                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.
2 Personal holding co.                                                                           OR
   (attach Sch. PH) ........
                                                                                                 PRINT
                                                                                                                         25 W. 39TH STREET, 7TH FLOOR                                                                                   02/03/2015
3 Personal service corp.                                                                                                                                                                                                            D Total assets (see instructions)
   (see instructions) ......                                                                                     City or town, state or province, country, and ZIP or foreign postal code
4 Schedule M-3
   attached ...................                                                         X                                NEW YORK, NY                           10018                                                               $      12,332,543.
                                                                                                   E Check if: (1)                 Initial return   (2)         Final return      (3)          Name change      (4)     Address change
                                                                      1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1a        4,846,290.
                                                                        b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 1b
                                                                       c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           1c             4,846,290.
                                                                      2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2             2,339,836.
                                                                      3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3             2,506,454.
                                                                      4 Dividends and inclusions (Schedule C, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Income




                                                                                                                                                                                                                                4
                                                                      5 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              5
                                                                      6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             6
                                                                      7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          7
                                                                      8 Capital gain net income (attach Schedule D (Form 1120)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     8
                                                                      9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~                                                           9                -1,415.
                                                                     10 Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    SEE STATEMENT 1                                                              10                 5,821.
                                                                     11 Total income. Add lines 3 through 10                        |                                                        11             2,510,860.
                                                                     12    Compensation of officers (attach Form 1125-E)           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                        12               490,555.
      Deductions (See instructions for limitations on deductions.)




                                                                     13 Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          13
                                                                     14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      14
                                                                     15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             15               181,742.
                                                                     16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               16                18,333.
                                                                                                                           SEE STATEMENT 2
                                                                     17 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        17               178,932.
                                                                     18 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18               353,565.
                                                                                                 SEE STATEMENT 3                      AND
                                                                     19 Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       SEE STATEMENT 4                                                              19                     0.
                                                                     20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~                                              20             1,853,197.
                                                                     21 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             21
                                                                     22 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            22                  568,851.
                                                                     23 Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             23
                                                                     24 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     24                  156,376.
                                                                     25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     25
                                                                                                                               SEE STATEMENT 5
                                                                     26 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26           4,823,280.
                                                                     27 Total deductions. Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                           27           8,624,831.
                                                                     28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ~~~~~~~~~~~~~                                 28          -6,113,971.
                                                                                                                            STATEMENT 6
                                                                     29 a Net operating loss deduction (see instructions) ~~~~~~~~~~~~~~~~                                                 29a                          0.
                                                                        b Special deductions (Schedule C, line 24) ~~~~~~~~~~~~~~~~~~~                                                     29b
                                                                       c Add lines 29a and 29b                                                                                     29c
                                                                     30 Taxable income. Subtract line 29c from line 28. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                                              30          -6,113,971.
 Tax, Refundable Credits,




                                                                     31 Total tax (Schedule J, Part I, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           31                   0.
                                                                     32 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     32
      and Payments




                                                                     33 Total payments and credits (Schedule J, Part III, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                33
                                                                     34 Estimated tax penalty. See instructions. Check if Form 2220 is attached ~~~~~~~~~~~~~~~~~ |                                                            34
                                                                     35 Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed ~~~~~~~~~~~~~~                                                 35                                  0.
                                                                     36 Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid ~~~~~~~~~~~~~                                               36
                                                                     37 Enter amount from line 36 you want: Credited to 2022 estimated tax |                                                                 Refunded    |     37
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                                             correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                        May the IRS discuss this



                                                                            =                                                                                                    =PRESIDENT
                                                                                                                                                                                                                                            return with the preparer
                                                                                                                                                                                                                                            shown below?
Here                                                                                                                                                                                                                                            X Yes
                                                                                Signature of officer                                                  Date                                                                                                          No
                                                                                                                                                                                  Title
                                                                            Print/Type preparer's name                                                    Preparer's signature                         Date              Check              PTIN
Paid     ALAN J. COHEN                                         10/11/22              P00185030                                                                                                                           if self-
                                                                                                                                                                                                                         employed

Preparer Firm's name |   GUTTERSON & COHEN TAX SPECIALISTS LLC          Firm's EIN | XX-XXXXXXX
Use Only Firm's address |445 BROADHOLLOW ROAD  STE 230                  Phone no.
                         MELVILLE, NY 11747                                    631-629-4344
111601
12-22-21                                                                  LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                        Form 1120 (2021)
                                Case 23-10000-BLS                       Doc 1         Filed 01/02/23      Page 46 of 304
           TENTRR, INC.
Form 1120 (2021)                                                                                                                XX-XXXXXXX Page 2
  Schedule C Dividends, Inclusions, and Special Deductions                                       (a) Dividends and                  (c) Special deductions
                       (see instructions)                                                                              (b) %
                                                                                                     inclusions                            (a) x (b)
 1 Dividends from less-than-20%-owned domestic corporations (other than
   debt-financed stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   50
 2 Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
   stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          65
                                                                                                                          See
                                                                                                                     Instructions
 3 Dividends on certain debt-financed stock of domestic and foreign corporations ~~~~~


 4 Dividends on certain preferred stock of less-than-20%-owned public utilities ~~~~~~                                 23.3


 5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ~~~~~~~                                  26.7


 6 Dividends from less-than-20%-owned foreign corporations and certain FSCs ~~~~~~                                       50


 7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs           ~~~~~~                               65


 8 Dividends from wholly owned foreign subsidiaries       ~~~~~~~~~~~~~~~~~                                             100
                                                                                                                          See
                                                                                                                     Instructions
 9 Subtotal. Add lines 1 through 8 ~~~~~~~~~~~~~~~~~~~~~~~~~
10 Dividends from domestic corporations received by a small business investment
     company operating under the Small Business Investment Act of 1958 ~~~~~~~~~                                        100


11 Dividends from affiliated group members       ~~~~~~~~~~~~~~~~~~~~~                                                  100


12 Dividends from certain FSCs ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              100
13 Foreign-source portion of dividends received from a specified 10%-owned foreign
     corporation (excluding hybrid dividends) (see instructions) ~~~~~~~~~~~~~~                                         100
14 Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
   (including any hybrid dividends) ~~~~~~~~~~~~~~~~~~~~~~~~~


15 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16 a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
     the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
     (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                100
   b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
     5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   c Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17
     (attach Form(s) 5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~


17 Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) ~~~


18 Gross-up for foreign taxes deemed paid ~~~~~~~~~~~~~~~~~~~~~~


19 lC -DISC and former DISC dividends not included on line 1, 2, or 3     ~~~~~~~~~~


20 Other dividends     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


21 Deduction for dividends paid on certain preferred stock of public utilities ~~~~~~~~


22 Section 250 deduction (attach Form 8993) ~~~~~~~~~~~~~~~~~~~~~
23 Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
     page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


24 Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b 
                                                                                                                                         Form 1120 (2021)


111611
12-22-21
                                  Case 23-10000-BLS                Doc 1        Filed 01/02/23      Page 47 of 304
Form 1120 (2021)       TENTRR, INC.                                                                                   XX-XXXXXXX Page 3
  Schedule J            Tax Computation and Payment (see instructions)
Part I - Tax Computation
 1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ~~~~~~~~~~ |
  2       Income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 2                    0.
  3       Base erosion minimum tax amount (attach Form 8991) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       3
  4       Add lines 2 and 3                                        4                    0.
  5a Foreign tax credit (attach Form 1118) ~~~~~~~~~~~~~~~~~~~~~~                             5a
   b Credit from Form 8834 (see instructions) ~~~~~~~~~~~~~~~~~~~~                            5b
   c General business credit (attach Form 3800) ~~~~~~~~~~~~~~~~~~~                           5c
      d Credit for prior year minimum tax (attach Form 8827) ~~~~~~~~~~~~~~~                  5d
      e Bond credits from Form 8912 ~~~~~~~~~~~~~~~~~~~~~~~~~           5e
  6       Total credits. Add lines 5a through 5e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            6
  7       Subtract line 6 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 7                    0.
  8       Personal holding company tax (attach Schedule PH (Form 1120))                 8
  9a Recapture of investment credit (attach Form 4255) ~~~~~~~~~~~~~~~~                       9a
   b Recapture of low-income housing credit (attach Form 8611) ~~~~~~~~~~~~                   9b
      c Interest due under the look-back method-completed long-term contracts
        (attach Form 8697) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     9c
      d Interest due under the look-back method-income forecast method (attach Form 8866) ~   9d
      e Alternative tax on qualifying shipping activities (attach Form 8902) ~~~~~~~~~        9e
      f   Interest/tax due under Section 453A(c) and/or Section 453(l) ~~~~~~~~~~~~
                                                                     9f
  g Other (see instructions - attach statement) ~~~~~~~~~~~~~~~~~~~~ 9g
10 Total. Add lines 9a through 9g ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10
11        Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31           11                   0.
Part II - Reserved For Future Use
 12 Reserved for future use                                           12
Part III - Payments and Refundable Credits
 13 2020 overpayment credited to 2021 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     13
14        2021 estimated tax payments    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                14
15        2021 refund applied for on Form 4466   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            15   (                  )
16        Combine lines 13, 14, and 15   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                16
17        Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  17
18        Withholding (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                18
19        Total payments. Add lines 16, 17, and 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           19
20         Refundable credits from:
      a Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          20a
      b Form 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
      c Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  20c
      d Other (attach statement - see instructions) ~~~~~~~~~~~~~~~~~~~~ 20d
21        Total credits. Add lines 20a through 20d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           21
22        Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    22
23        Total payments and credits. Add lines 19 and 21. Enter here and on page 1, line 33    23
                                                                                                                           Form 1120 (2021)




111621
12-22-21
                                    Case 23-10000-BLS                    Doc 1           Filed 01/02/23               Page 48 of 304
Form 1120 (2021)     TENTRR, INC.                                                                                                                XX-XXXXXXX Page 4
    Schedule K         Other Information (see instructions)
1     Check accounting method: a   Cash     b X Accrual                          c         Other (specify) |                                                     Yes         No
2     See the instructions and enter the:
    a Business activity code no. | 454110
    b Business activity | CAMPING ONLINE                            MARKE
    c Product or service | SERVICE
3     Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? ~~~~~~~~~~~~~~~~~~~~~~~~~                                              X
      If "Yes," enter name and EIN of the parent corporation |


4     At the end of the tax year:
    a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
      organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
      corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~~~~~~~~                                       X
    b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
      classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~                   X
 5 At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of any
      foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions ~~~~~~                          X
      If "Yes," complete (i) through (iv) below.
                                                                                          (ii) Employer                                                    (iv) Percentage
                                (i) Name of Corporation                              Identification Number                    (iii) Country of            Owned in Voting
                                                                                                                              Incorporation
                                                                                               (if any)                                                          Stock




    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
      (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions ~~~~~~                  X
      If "Yes," complete (i) through (iv) below.
                                                                                          (ii) Employer                       (iii) Country of                (iv) Maximum
                                    (i) Name of Entity                               Identification Number                                                Percentage Owned in
                                                                                               (if any)                       Organization
                                                                                                                                                          Profit, Loss, or Capital




 6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
   excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 ~~~~~~~~~~~~~~~~~~~~~                                                  X
      If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
      If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
 7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
   classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock? ~~~~~~~~~~~~
      For rules of attribution, see section 318. If "Yes," enter:
      (a) Percentage owned |                             and (b) Owner's country |
      (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
      Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached |
 8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~ |
   If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
 9 Enter the amount of tax-exempt interest received or accrued during the tax year | $
10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) |                     18
11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ~~~~~~~~~~~~~~~~ |
      If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
      or the election will not be valid.
12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
   page 1, line 29a.)  | $                                                          19,842,836.
                                                                                                                                                      Form 1120 (2021)
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Form 1120 (2021)     TENTRR, INC.                                                                                                           XX-XXXXXXX Page 5
  Schedule K          Other Information (continued from page 4)
13 Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the              Yes   No
   tax year less than $250,000? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         X
     If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
     distributions and the book value of property distributions (other than cash) made during the tax year | $
14 Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions         ~~~~~~~~~~~~~~~                   X
   If "Yes," complete and attach Schedule UTP.
15a Did the corporation make any payments in 2021 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
  b If "Yes," did or will the corporation file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16 During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
   own stock? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
17 During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
   of its assets in a taxable, non-taxable, or tax deferred transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                X
18 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
   market value of more than $1 million? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
19 During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
   under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ~~~~~~~~~~~~~~~~~~~~                                   X
20 Is the corporation operating on a cooperative basis? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
21 During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
     267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           X
     If "Yes," enter the total amount of the disallowed deductions | $
22 Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
   and (3)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
     If "Yes," complete and attach Form 8991.
23 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
   during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
24 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               X
  a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
    current tax year are more than $26 million and the corporation has business interest expense.
  c The corporation is a tax shelter and the corporation has business interest expense.
    If "Yes," complete and attach Form 8990.
25 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
   If "Yes," enter amount from Form 8996, line 15  | $
26 Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
   indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
     50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If "Yes," list the ownership
     percentage by vote and by value. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           X
     Percentage: By Vote                                                 By Value
                                                                                                                                                  Form 1120 (2021)




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Form 1120 (2021)        TENTRR, INC.                                                                                                                     XX-XXXXXXX             Page 6

  Schedule L               Balance Sheets per Books                            Beginning of tax year                                                End of tax year

                        Assets                                           (a)                                  (b)                            (c)                          (d)
  1 Cash ~~~~~~~~~~~~~~~~~                                                                          1,794,642.                                                        6,873,088.
  2a Trade notes and accounts receivable ~~~                           271,095.                                                             434,439.
   b Less allowance for bad debts ~~~~~~                      (                          )                271,095. (                                      )             434,439.
  3 Inventories ~~~~~~~~~~~~~~                                                                             16,864.                                                            0.
  4 U.S. government obligations ~~~~~~
  5 Tax-exempt securities ~~~~~~~~~
                                      STMT 7
  6 Other current assets (att. stmt.) ~~~~~~~                                                             224,410.                                                      400,798.
  7 Loans to shareholders ~~~~~~~~~
 8 Mortgage and real estate loans ~~~~~
 9 Other investments (att. stmt.) ~~~~~~~~
10a Buildings and other depreciable assets ~~                      4,959,727.                                                            7,248,470.
  b Less accumulated depreciation ~~~~~                       (    2,685,661.)                      2,274,066. (                         4,135,912.)                  3,112,558.
11a Depletable assets ~~~~~~~~~~~
  b Less accumulated depletion ~~~~~~                         (                          )                                       (                        )
12 Land (net of any amortization) ~~~~~~
13a Intangible assets (amortizable only) ~~~                           290,109.                                                          1,261,596.
  b Less accumulated amortization ~~~~~                       (         24,765.)                      265,344. (                           297,405.)                  964,191.
                                STMT 8
14 Other assets (att. stmt.) ~~~~~~~~                                                                 381,371.                                                        547,469.
15 Total assets                                                                        5,227,792.                                                     12,332,543.
   Liabilities and Shareholders' Equity
16 Accounts payable ~~~~~~~~~~~                                                                           122,066.                                                      292,189.
17    Mortgages, notes, bonds payable in less than 1 year

18 Other current liabilities (att. stmt.) STMT 9
                                           ~~~~~~                                                   2,956,742.                                                        5,460,191.
19 Loans   from   shareholders        ~~~~~~~~
20    Mortgages, notes, bonds payable in 1 year or more
                                     STMT 10
21 Other liabilities (att. stmt.) ~~~~~~~~                                                          1,187,020.                                                        1,685,120.
22 Capital stock:   a  Preferred  stock ~~~~~                                  229.                                                                229.
                  b Common stock ~~~~~                                         800.                    1,029.                                      800.                 1,029.
23 Additional paid-in capital ~~~~~~~~                                                            21,764,062.                                                      31,053,045.
      Retained earnings -
24                              ~~~~~~~
      Appropriated (attach statement)
25 Retained earnings - Unappropriated ~~~                                                        -20,803,127.                                                     -26,159,031.
   Adjustments to shareholders'
26 equity (attach statement) ~~~~~~~~~~
27 Less cost of treasury stock ~~~~~~~                                                       (                               )                                (                     )
28 Total liabilities and shareholders' equity                          5,227,792.                                                                                12,332,543.
  Schedule M-1                   Reconciliation of Income (Loss) per Books With Income per Return
                                 Note: The corporation may be required to file Schedule M-3. See instructions.
  1 Net income (loss) per books ~~~~~~~                            -5,355,904. 7 Income recorded on books this year not
  2 Federal income tax per books ~~~~~~~                                                               included on this return (itemize):
  3 Excess of capital losses over capital gains ~~                                                     Tax-exempt interest           $
  4   Income subject to tax not recorded on books this year                                              STMT 12                            401,400.
      (itemize):                                                                                                                                                        401,400.
                                                                                                  8 Deductions on this return not charged
  5 Expenses recorded on books this year not                                                        against book income this year (itemize):
    deducted on this return (itemize):                                                                 a Depreciation ~~ $                  390,323.
                                                                                                         Charitable
    a Depreciation~~ $                                                                                 b contributions ~~~ $
           Charitable
      b contributions ~~ $                     5,050.
        Travel and
      c entertainment ~ $                                                                                    390,323.
      STMT 11                               28,606.
                                              33,656. 9 Add lines 7 and 8 ~~~~~~~~~~~~~                      791,723.
  6 Add lines 1 through 5      -5,322,248. 10 Income (page 1, line 28) - line 6 less line 9  -6,113,971.
  Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
  1 Balance at beginning of year ~~~~~~~ -20,803,127. 5 Distributions: a Cash ~~~~~~~~~~
  2 Net income (loss) per books ~~~~~~~   -5,355,904.                   b Stock ~~~~~~~~~~
  3 Other increases (itemize):                                                                                      c Property ~~~~~~~~
                                                                                                  6 Other decreases (itemize) :


                                                                                                  7 Add lines 5 and 6 ~~~~~~~~~~~~~
  4 Add lines 1, 2, and 3                              -26,159,031. 8 Balance at end of year (line 4 less line 7)                                   -26,159,031.
                                                                                                                                                                     Form 1120 (2021)
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Form          1125-A                                            Cost of Goods Sold
(Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                             Employer Identification number

         TENTRR, INC.                                                                                                               XX-XXXXXXX
1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2
3     Cost of labor      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3
4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
5     Other costs (attach schedule)                         SEE STATEMENT 13
                                        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5                2,339,836.
6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                2,339,836.
7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7
8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                2,339,836.
9 a Check all methods used for valuing closing inventory:
      (i)         Cost
      (ii)        Lower of cost or market
      (iii)       Other (Specify method used and attach explanation) |


    b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
    c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
    d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
      under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
    e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
    f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
      If "Yes," attach explanation.


For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




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SCHEDULE G
(Form 1120)                                     Information on Certain Persons Owning the
(Rev. December 2011)
Department of the Treasury
                                                       Corporation's Voting Stock                                                                          OMB No. 1545-0123


Internal Revenue Service
                                                                                  J Attach to Form 1120.
Name                                                                                                                                       Employer identification number (EIN)

       TENTRR, INC.                                                                             XX-XXXXXXX
  Part I  Certain Entities Owning the Corporation's Voting Stock. (Form 1120, Schedule K, Question 4a). Complete columns
                  (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or
                  tax-exempt organization that owns directly 20% or more, or owns, directly or indirectly, 50% or more of the total voting power of all
                  classes of the corporation's stock entitled to vote (see instructions).
                                                                                                                                                                  (v) Percentage
                     (i) Name of Entity                         (ii) Employer Identification     (iii) Type of Entity    (iv) Country of Organization                Owned in
                                                                       Number (if any)                                                                             Voting Stock




  Part II         Certain Individuals and Estates Owning the Corporation's Voting Stock. (Form 1120, Schedule K, Question 4b).
                  Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or more, or owns, directly or indirectly,
                  50% or more of the total voting power of all classes of the corporation's stock entitled to vote (see instructions).
                                                                                                                               (iii) Country of                   (iv) Percentage
                             (i) Name of Individual or Estate                                      (ii) Identifying           Citizenship (see                        Owned in
                                                                                                  Number (if any)               instructions)                       Voting Stock



MICHAEL D'AGOSTINO                                                                             XXX-XX-XXXX                                                         62.16%




For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                                                  Schedule G (Form 1120) (Rev. 12-2011)
117701
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SCHEDULE M-3
(Form 1120)
                                      Net Income (Loss) Reconciliation for Corporations
(Rev. December 2019)                       With Total Assets of $10 Million or More                                                                        OMB No. 1545-0123

Department of the Treasury                                                | Attach to Form 1120 or 1120-C.
Internal Revenue Service                                | Go to www.irs.gov/Form1120 for instructions and the latest information.
Name of corporation (common parent, if consolidated return)                                                                                    Employer identification number


         TENTRR, INC.                                                                                                                               XX-XXXXXXX
  Check applicable box(es): (1) X Non-consolidated return                                          (2)      Consolidated return (Form 1120 only)
                                    (3)         Mixed 1120/L/PC group                              (4)      Dormant subsidiaries schedule attached

  Part I              Financial Information and Net Income (Loss) Reconciliation (see instructions)
  1 a Did the corporation file SEC Form 10-K for its income statement period ending with or within this tax year?
            Yes. Skip lines 1b and 1c and complete lines 2a through 11 with respect to that SEC Form 10-K.
         X No. Go to line 1b. See instructions if multiple non-tax-basis income statements are prepared.
      b Did the corporation prepare a certified audited non-tax-basis income statement for that period?
              Yes. Skip line 1c and complete lines 2a through 11 with respect to that income statement.
         X No. Go to line 1c.
      c Did the corporation prepare a non-tax-basis income statement for that period?
              Yes. Complete lines 2a through 11 with respect to that income statement.
         X No. Skip lines 2a through 3c and enter the corporation's net income (loss) per its books and records on line 4a.
  2 a Enter the income statement period: Beginning                                  Ending
    b Has the corporation's income statement been restated for the income statement period on line 2a?
              Yes. (If "Yes," attach an explanation and the amount of each item restated.)
              No.
      c Has the corporation's income statement been restated for any of the five income statement periods immediately preceding the period on line 2a?
             Yes. (If "Yes," attach an explanation and the amount of each item restated.)
              No.
  3 a Is any of the corporation's voting common stock publicly traded?
              Yes.
              No. If "No," go to line 4a.
      b Enter the symbol of the corporation's primary U.S. publicly traded voting common stock           ~~~~~~~~~
      c Enter the nine-digit CUSIP number of the corporation's primary publicly traded voting
        common stock ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


  4 a Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1 ~~~~~~~~~~~~                         4a         -5,355,904.
    b Indicate accounting standard used for line 4a (see instructions): (1)    GAAP (2)              IFRS
        (3)         Statutory (4)           Tax-basis     (5)      Other (specify)
  5 a Net income from nonincludible foreign entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            5a     (                         )
    b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~                           5b
  6 a Net income from nonincludible U.S. entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             6a     (                         )
    b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~                             6b
  7 a Net income (loss) of other includible foreign disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~                                7a
    b Net income (loss) of other includible U.S. disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~                                 7b
   c Net income (loss) of other includible entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            7c
  8 Adjustment to eliminations of transactions between includible entities and nonincludible entities (attach stmt.) ~~~~~~~                   8
  9     Adjustment to reconcile income statement period to tax year (attach statement) ~~~~~~~~~~~~~~~~~~~~                                    9
10 a Intercompany dividend adjustments to reconcile to line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~                                      10a
   b Other statutory accounting adjustments to reconcile to line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~                                  10b
  c Other adjustments to reconcile to amount on line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~                                           10c
11 Net income (loss) per income statement of includible corporations. Combine lines 4 through 10 ~~~~~~~~~~~~                                 11         -5,355,904.
    Note: Part I, line 11, must equal Part II, line 30, column (a), or Schedule M-1, line 1 (see instructions).
12 Enter the total amount (not just the corporation's share) of the assets and liabilities of all entities included or removed on the following lines.
                                                                                Total Assets                   Total Liabilities
 a Included on Part I, line 4 ~~~~~~~~~~~~ |                                  12,332,543.                        7,437,500.
 b Removed on Part I, line 5 ~~~~~~~~~~~ |
 c Removed on Part I, line 6 ~~~~~~~~~~~ |
 d Included on Part I, line 7  |
LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                                         Schedule M-3 (Form 1120) (Rev. 12-2019)
113321 04-01-21
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Form     1125-E                                             Compensation of Officers
(Rev. October 2016)                                                                                                                                        OMB No. 1545-0123
                                              | Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
Internal Revenue Service         | Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Name                                                                                                                                                 Employer Identification number

       TENTRR, INC.                                                                                                                                   XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                          (b) Social security       (c) Percent of     Percent of stock owned               (f) Amount of
                             (a) Name of officer                                                   time devoted to
                                                                               number                 business       (d) Common      (e) Preferred          compensation


1 ANAND           SUBRAMANIAN                                         XXX-XX-XXXX 100%                                   .85%                                   490,555.




2    Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 2                490,555.

3    Compensation of officers claimed on Form 1125-A or elsewhere on return ~~~~~~~~~~~~~~~~~~~~~~~                                            3


4    Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
     appropriate line of your tax return                                                              4                490,555.
For Paperwork Reduction Act Notice, see separate instructions.                                                                                       Form 1125-E (Rev. 10-2016)


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            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                              | Attach to your tax return.
                                                                                                                                                                OTHER
                                                                                                                                                                                                 2021
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



TENTRR, INC.                                                                     OTHER DEPRECIATION                               XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2020 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2022. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2021                                                    ~~~~~~~~~~~~~~                                17        1,027,009.
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2021 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property                                                                        2,462,612. 3 YRS.                                         HY          200DB                   820,788.
     b         5-year property                                                                           21,286. 5 YRS.                                         HY          200DB                     4,257.
     c         7-year property                                                                            8,000. 7 YRS.                                         HY          200DB                     1,143.
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2021 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22        1,853,197.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
116251 12-21-21          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2021)
                                 Case 23-10000-BLS                         Doc 1     Filed 01/02/23               Page 56 of 304

Form 4562 (2021)                 TENTRR, INC.                                                                         XX-XXXXXXX                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?               Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                       (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                             Basis for depreciation
                                                                                                             Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                      (business/investment
                                                                                                              period    Convention       deduction                      section 179
                                service      use percentage                                  use only)
                                                                                                                                                                            cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                      25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                           S/L -



                                      ! !
                                                          %                                                           S/L -
                                                          %                                                           S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                             29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)               (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle           Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes          No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                 Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                      (f)
                   Description of costs                Date amortization         Amortizable                 Code                 Amortization                  Amortization
                                                            begins                amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2021 tax year:



                                                            ! !
            SEE STATEMENT 14                                                                                                                                        148,932.
43 Amortization of costs that began before your 2021 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     43                      95,102.
44 Total. Add amounts in column (f). See the instructions for where to report                                             44                     244,034.
116252 12-21-21                                                                                                                                                     Form 4562 (2021)
                                       Case 23-10000-BLS                     Doc 1         Filed 01/02/23            Page 57 of 304

2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.              Description    Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


      1 FURNITURE & FIXTURES       06/30/15 200DB 7.00        HY17            6,418.                               3,209.            3,209.        2,741.                       287.        3,028.

      2 COMPUTERS                  06/30/15 200DB 5.00        HY17            5,677.                               2,839.            2,838.        2,790.                          0.       2,790.

      3 EQUIPMENT                  06/30/15 200DB 5.00        HY17            5,412.                               2,706.            2,706.        2,662.                          0.       2,662.

      4 CAMPSITES                  06/30/15 SL         39.00 MM17          169,941.                                               169,941.        24,145.                    4,357.       28,502.

      5 CAMPSITES                  06/30/16 SL         39.00 MM17          276,720.                                               276,720.        32,229.                    7,095.       39,324.

      6 COMPUTERS                  06/30/16 200DB 5.00        HY17          11,995.                                                11,995.        11,304.                       691.      11,995.

      7 EQUIPMENT                  06/30/16 200DB 7.00        HY17            1,736.                                                 1,736.        1,349.                       155.        1,504.

      8 FURNITURE & FIXTURES       06/30/16 200DB 7.00        HY17          21,876.                                                21,876.        16,995.                    1,951.       18,946.

      9 COMPUTERS                  06/30/17 200DB 5.00        HY17          11,531.                                                11,531.         9,538.                    1,328.       10,866.

    10 CAMPSITES                   06/30/17 SL         39.00 MM17           28,955.                                                28,955.         2,629.                       742.        3,371.

    11 COMPUTERS                   06/30/18 200DB 5.00        HY17          28,074.                                                28,074.        19,989.                    3,234.       23,223.

    12 DOMAIN NAME                 01/16/18            180M       43          6,000.                                                 6,000.        1,167.                       400.        1,567.

    13 CAMPSITES                   06/30/18 SL         39.00 MM17 1,228,736.                                                   1,228,736.         83,395.                   31,505.      114,900.

    14 FURNITURE & FIXTURES        06/30/18 200DB 7.00        HY17          25,987.                                                25,987.        14,623.                    3,246.       17,869.

    15 (D)TRAILERS                 06/15/18 200DB 5.00        HY17          21,038.                                                21,038.        14,979.                    1,212.       16,191.

    16 FARNAM CAP INSTALL          01/31/19            36M        43             123.                                                   123.           79.                       41.          120.

    17 FARNAM CAP INSTALL          03/31/19            36M        43          2,745.                                                 2,745.        1,601.                       915.        2,516.

    18 FARNAM CAP INSTALL          04/30/19            36M        43        12,314.                                                12,314.         6,841.                    4,105.       10,946.
128111 04-01-21
                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
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2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.            Description      Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


    19 FARNAM CAP INSTALL          05/31/19            36M        43        42,834.                                                42,834.        22,607.                   14,278.       36,885.

    20 FARNAM CAP INSTALL          06/30/19            36M        43        45,069.                                                45,069.        22,535.                   15,023.       37,558.

    21 FARNAM CAP INSTALL          07/31/19            36M        43        68,283.                                                68,283.        32,245.                   22,761.       55,006.

    22 FARNAM CAP INSTALL          08/31/19            36M        43        25,783.                                                25,783.        11,459.                    8,594.       20,053.

    23 FARNAM CAP INSTALL          09/30/19            36M        43        11,011.                                                11,011.         4,588.                    3,670.         8,258.

    24 FARNAM CAP INSTALL          10/31/19            36M        43        10,756.                                                10,756.         4,183.                    3,585.         7,768.

    25 FARNAM CAP INSTALL          11/30/19            36M        43          5,818.                                                 5,818.        2,101.                    1,939.         4,040.

    26 TENTKITS                    04/30/19 200DB 3.00        HY17          54,258.                                                54,258.        42,202.                    8,036.       50,238.

    27 TENTKITS                    05/31/19 200DB 3.00        HY17          59,190.                                                59,190.        46,038.                    8,766.       54,804.

    28 TENTKITS                    06/30/19 200DB 3.00        HY17          64,122.                                                64,122.        49,874.                    9,496.       59,370.

    29 FARNAM CAP MATERIALS        01/30/19 200DB 3.00        HY17         690,820.                                               690,820.      537,319.                  102,310.       639,629.

    30 FARNAM CAP MATERIALS        02/28/19 200DB 3.00        HY17            3,012.                                                 3,012.        2,343.                       446.        2,789.

    31 FARNAM CAP MATERIALS        03/31/19 200DB 3.00        HY17            1,601.                                                 1,601.        1,246.                       237.        1,483.

    32 FARNAM CAP MATERIALS        04/30/19 200DB 3.00        HY17            4,219.                                                 4,219.        3,281.                       625.        3,906.

    33 FARNAM CAP MATERIALS        05/31/19 200DB 3.00        HY17            9,586.                                                 9,586.        7,456.                    1,420.         8,876.

    34 FARNAM CAP MATERIALS        06/30/19 200DB 3.00        HY17          29,395.                                                29,395.        22,863.                    4,353.       27,216.

    35 FARNAM CAP MATERIALS        07/31/19 200DB 3.00        HY17          62,879.                                                62,879.        48,908.                    9,312.       58,220.

    36 FARNAM CAP MATERIALS        08/31/19 200DB 3.00        HY17          14,751.                                                14,751.        11,474.                    2,185.       13,659.
128111 04-01-21
                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
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2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.             Description     Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


    37 FARNAM CAP MATERIALS        09/30/19 200DB 3.00        HY17          17,989.                                                17,989.        13,992.                    2,664.       16,656.

    38 FARNAM CAP MATERIALS        10/31/19 200DB 3.00        HY17          11,320.                                                11,320.         8,805.                    1,676.       10,481.

    39 FARNAM CAP MATERIALS        11/30/19 200DB 3.00        HY17               853.                                                   853.          663.                      126.          789.

    40 FARNAM CAP MATERIALS        12/31/19 200DB 3.00        HY17               467.                                                   467.          364.                       69.          433.

    41 COMPUTERS                   06/01/19 200DB 5.00        HY17          21,609.                                                21,609.        11,237.                    4,149.       15,386.

    42 EQUIPMENT                   06/15/18 200DB 7.00        HY17          23,110.                                                23,110.        13,101.                    2,886.       15,987.

    43 COMPUTERS                   06/01/20 200DB 5.00        HY17            8,797.                                                 8,797.        1,759.                    2,815.         4,574.

    44 FARNAM CAP MATERIALS        06/01/20 200DB 3.00        HY17 1,650,543.                                                  1,650,543.       550,126.                  733,666.1,283,792.

    45 FARNAM CAP INSTALL          01/01/20            36M        43        59,374.                                                59,374.        19,791.                   19,791.       39,582.

    46 TENTKITS                    06/01/20 200DB 3.00        HY17         204,992.                                               204,992.      129,023.                    75,969.      204,992.

    47 TRAILERS                    04/01/21 200DB 5.00        HY19B           7,000.                                                 7,000.                                  1,400.         1,400.

    48 EQUIPMENT                   09/23/21 200DB 7.00        HY19C           8,000.                                                 8,000.                                  1,143.         1,143.

    49 COMPUTERS                   06/01/21 200DB 5.00        HY19B         14,286.                                                14,286.                                   2,857.         2,857.

    50 FARNAM CAP INSTALL          01/31/21            36M        42       145,077.                                               145,077.                                  44,329.       44,329.

    51 FARNAM CAP INSTALL          02/28/21            36M        42        27,550.                                                27,550.                                   7,653.         7,653.

    52 FARNAM CAP INSTALL          03/31/21            36M        42        21,051.                                                21,051.                                   5,263.         5,263.

    53 FARNAM CAP INSTALL          04/30/21            36M        42        64,533.                                                64,533.                                  14,341.       14,341.

    54 FARNAM CAP INSTALL          05/31/21            36M        42       203,188.                                               203,188.                                  39,509.       39,509.
128111 04-01-21
                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                       Case 23-10000-BLS                     Doc 1         Filed 01/02/23            Page 60 of 304

2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.            Description      Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


    55 FARNAM CAP INSTALL          06/30/21            36M        42        29,530.                                                29,530.                                   4,922.         4,922.

    56 FARNAM CAP INSTALL          07/31/21            36M        42        48,952.                                                48,952.                                   6,799.         6,799.

    57 FARNAM CAP INSTALL          08/31/21            36M        42       116,226.                                               116,226.                                  12,914.       12,914.

    58 FARNAM CAP INSTALL          09/30/21            36M        42       104,244.                                               104,244.                                   8,687.         8,687.

    59 FARNAM CAP INSTALL          10/31/21            36M        42        32,804.                                                32,804.                                   1,822.         1,822.

    60 FARNAM CAP INSTALL          11/30/21            36M        42        96,932.                                                96,932.                                   2,693.         2,693.

    61 FARNAM CAP INSTALL          12/31/21            36M        42        81,400.                                                81,400.                                         0.

    62 FARNAM CAP MATERIALS        01/31/21 200DB 3.00        HY19A 895,771.                                                      895,771.                                298,560.       298,560.

    63 FARNAM CAP MATERIALS        02/28/21 200DB 3.00        HY19A 171,058.                                                      171,058.                                  57,014.       57,014.

    64 FARNAM CAP MATERIALS        03/31/21 200DB 3.00        HY19A         91,149.                                                91,149.                                  30,380.       30,380.

    65 FARNAM CAP MATERIALS        04/30/21 200DB 3.00        HY19A         27,151.                                                27,151.                                   9,049.         9,049.

    66 FARNAM CAP MATERIALS        05/31/21 200DB 3.00        HY19A 306,166.                                                      306,166.                                102,045.       102,045.

    67 FARNAM CAP MATERIALS        06/30/21 200DB 3.00        HY19A 323,703.                                                      323,703.                                107,890.       107,890.

    68 FARNAM CAP MATERIALS        07/30/21 200DB 3.00        HY19A 383,356.                                                      383,356.                                127,773.       127,773.

    69 FARNAM CAP MATERIALS        08/31/21 200DB 3.00        HY19A 210,100.                                                      210,100.                                  70,026.       70,026.

    70 FARNAM CAP MATERIALS        09/30/21 200DB 3.00        HY19A           1,912.                                                 1,912.                                     637.          637.

    71 FARNAM CAP MATERIALS        10/31/21 200DB 3.00        HY19A         44,305.                                                44,305.                                  14,767.       14,767.

    72 FARNAM CAP MATERIALS        11/30/21 200DB 3.00        HY19A           7,941.                                                 7,941.                                  2,647.         2,647.
128111 04-01-21
                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                             Case 23-10000-BLS                     Doc 1         Filed 01/02/23            Page 61 of 304

2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                              OTHER
                                                                    C                                                      *
  Asset                                    Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year      Ending
   No.                  Description      Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction      Accumulated
                                                                    v
                                                                                                 Excl                                                 Depreciation   Expense                   Depreciation
          * TOTAL OTHER DEPRECIATION &
          AMORT                                                            8,531,104.                                    8,754. 8,522,350.1,870,639.                           2,097,231.3,967,870.



          CURRENT YEAR ACTIVITY

             BEGINNING BALANCE                                             5,067,719.                           0.       8,754. 5,058,965.1,870,639.                                          2,992,750.

                  ACQUISITIONS                                             3,463,385.                           0.             0. 3,463,385.                   0.                               975,120.

                  DISPOSITIONS/RETIRED                                            21,038.                       0.             0.        21,038.        14,979.                                  16,191.

             ENDING BALANCE                                                8,510,066.                           0.       8,754. 8,501,312.1,855,660.                                          3,951,679.




128111 04-01-21
                                                                               (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                       Case 23-10000-BLS                          Doc 1       Filed 01/02/23            Page 62 of 304

                                                                                                                                                                  OMB No. 1545-0184
                                                                 Sales of Business Property
Form       4797                           (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                                                                                                                   2021
Department of the Treasury                                              | Attach to your tax return.
                                                                                                                                                                Attachment
Internal Revenue Service                           | Go to www.irs.gov/Form4797 for instructions and the latest information.                                    Sequence No.   27
Name(s) shown on return                                                                                                              Identifying number


      TENTRR, INC.                                                                                                                    XX-XXXXXXX
 1a Enter the gross proceeds from sales or exchanges reported to you for 2021 on Form(s) 1099-B or 1099-S
    (or substitute statement) that you are including on line 2, 10, or 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1a
     b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
       MACRS assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1b
     c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
       assets                                                                               1c
  Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                  Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                               (e) Depreciation        (f) Cost or other             (g) Gain or (loss)
 2                                                 (b) Date          (c) Date            (d) Gross                                       basis, plus                  Subtract (f) from
                  (a) Description of                 acquired            sold              sales price
                                                                                                            allowed or allowable      improvements and             the sum of (d) and (e)
                      property                     (mo., day, yr.)   (mo., day, yr.)                          since acquisition        expense of sale

  DISPOSITION OF TRAILER
                     061518040121                                                            3,432.              16,191.                   21,038.                      -1,415.


 3      Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
 4      Section 1231 gain from installment sales from Form 6252, line 26 or 37           ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4
 5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5
 6      Gain, if any, from line 32, from other than casualty or theft       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               6
 7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows      ~~~~~~~~~~~~~~~~~                              7           -1,415.
        Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
        line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
        Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
        from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
        1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
        the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

 8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8
 9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
        line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
        capital gain on the Schedule D filed with your return. See instructions                                                 9

  Part II         Ordinary Gains and Losses (see instructions)
10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        11 (           1,415.)
12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   12
13      Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        13
14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           14
15      Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15
16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     16
17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         17           -1,415.
18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
        a and b below. For individual returns, complete lines a and b below.
     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
       loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
        as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
       (Form 1040), Part I, line 4                                                                          18b
 LHA       For Paperwork Reduction Act Notice, see separate instructions.                                                                                           Form 4797 (2021)
118001
12-17-21
TENTRR, INC.                       Case 23-10000-BLS                       Doc 1        Filed 01/02/23               Page 63 of 304                        XX-XXXXXXX
Form 4797 (2021)                                                                                                                                                           Page 2
  Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                              (b) Date acquired     (c) Date sold
                                                                                                                                               (mo., day, yr.)      (mo., day, yr.)
 19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
   A
   B
   C
   D
        These columns relate to the properties on
        lines 19A through 19D.                                        J         Property A               Property B             Property C                   Property D
 20     Gross sales price (Note: See line 1a before completing.)     20
 21     Cost or other basis plus expense of sale ~~~~~~              21
 22     Depreciation (or depletion) allowed or allowable ~~~         22
 23     Adjusted basis. Subtract line 22 from line 21 ~~~~           23


 24     Total gain. Subtract line 23 from line 20              24
 25     If section 1245 property:
      a Depreciation allowed or allowable from line 22 ~~~           25a
   b Enter the smaller of line 24 or 25a                     25b
 26 If section 1250 property: If straight line depreciation
        was used, enter -0- on line 26g, except for a corporation
        subject to section 291.
      a Additional depreciation after 1975 ~~~~~~~~~                 26a
      b Applicable percentage multiplied by the smaller of
        line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
      c Subtract line 26a from line 24. If residential rental
        property or line 24 isn't more than line 26a, skip lines
        26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
      d Additional depreciation after 1969 and before 1976 ~         26d
      e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
      f Section 291 amount (corporations only) ~~~~~~                26f
      g Add lines 26b, 26e, and 26f                       26g
 27     If section 1252 property: Skip this section if you didn't
        dispose of farmland or if this form is being completed for
        a partnership.
      a Soil, water, and land clearing expenses ~~~~~~               27a
      b Line 27a multiplied by applicable percentage ~~~~            27b
      c Enter the smaller of line 24 or 27b                  27c
 28     If section 1254 property:
      a Intangible drilling and development costs, expenditures
        for development of mines and other natural deposits,
        mining exploration costs, and depletion ~~~~~~               28a
      b Enter the smaller of line 24 or 28a                  28b
 29     If section 1255 property:
      a Applicable percentage of payments excluded from
        income under section 126 ~~~~~~~~~~~~                        29a
  b Enter the smaller of line 24 or 29a   29b
Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     30


 31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13      ~~~~~~~~~~~~~~                      31
 32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
        from other than casualty or theft on Form 4797, line 6                                                 32
  Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                   (see instructions)
                                                                                                                                (a) Section                  (b) Section
                                                                                                                                    179                       280F(b)(2)
 33     Section 179 expense deduction or depreciation allowable in prior years     ~~~~~~~~~~~~~~                          33
 34     Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              34
 35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
118002
12-17-21                                                                                                                                                         Form 4797 (2021)
                Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 64 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                        OTHER INCOME                    STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
MISCELLANEOUS                                                                         5,821.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 10                                                           5,821.
                                                                              ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                     TAXES AND LICENSES                 STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
PAYROLL TAXES                                                                       176,432.
LOUISIANA TAXES - BASED ON INCOME                                                        549.
NEW YORK TAXES - BASED ON INCOME                                                      1,826.
NEW YORK CITY TAXES - BASED ON INCOME                                                     25.
UTAH TAXES - BASED ON INCOME                                                             100.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 17                                                         178,932.
                                                                              ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                          CURRENT YEAR CONTRIBUTIONS             STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
VARIOUS                                                                               5,050.
                                                                              }}}}}}}}}}}}}}
TOTAL CURRENT YEAR CONTRIBUTIONS                                                      5,050.
                                                                              ~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 1, 2, 3
                   Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 65 of 304
TENTRR, INC.                                                                       XX-XXXXXXX
}}}}}}}}}}}}                                                                       }}}}}}}}}}

                                       CONTRIBUTIONS                              STATEMENT 4



 CURRENT YEAR CONTRIBUTIONS:
 QUALIFIED CONTRIBUTIONS SUBJECT TO 100% LIMIT
 QUALIFIED CONTRIBUTIONS SUBJECT TO 25% LIMIT
 FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 25% LIMIT
 FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 15% LIMIT
 QUALIFIED CONTRIBUTIONS SUBJECT TO 10% LIMIT                             5,050

 CONTRIBUTION SUBJECT TO LIMITATION:
   CARRYOVER OF PRIOR YEARS UNUSED CONTRIBUTIONS


   FOR   TAX   YEAR 2016
   FOR   TAX   YEAR 2017
   FOR   TAX   YEAR 2018                                                  328
   FOR   TAX   YEAR 2019
   FOR   TAX   YEAR 2020

   TOTAL CARRYOVER                                                        328
   CURRENT YEAR CONTRIBUTIONS                                           5,050

   TOTAL CONTRIBUTIONS AVAILABLE                                        5,378
   TAXABLE INCOME LIMITATION AS ADJUSTED                                    0

   EXCESS CONTRIBUTIONS                                                 5,378

   ALLOWABLE CONTRIBUTIONS DEDUCTION                                                            0

 TOTAL CONTRIBUTION DEDUCTION                                                                   0




                                                                                 STATEMENT(S) 4
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 66 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                      OTHER DEDUCTIONS                  STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                      AMOUNT
}}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
AMORTIZATION                                                                       244,034.
AUTO AND TRUCK EXPENSE                                                              15,338.
BANK CHARGES                                                                            789.
CARTING                                                                             10,214.
CONFERENCES AND SEMINARS                                                            13,547.
CONSULTING SERVICES                                                                549,755.
DUES & SUBSCRIPTIONS                                                                 5,854.
EQUIPMENT RENTAL                                                                   696,134.
INSURANCE                                                                          213,099.
IT SOFTWARE & SERVICES                                                             196,434.
LEGAL AND PROFESSIONAL                                                             237,561.
LICENSES AND PERMITS                                                                 8,744.
MEALS NOT SUBJECT TO LIMITATION                                                     30,028.
MERCHANT ACCOUNT FEES                                                                1,103.
MOVING EXPENSES                                                                     12,971.
OFFICE EXPENSES                                                                      7,577.
PAYROLL SERVICES FEE                                                                46,464.
POSTAGE & DELIVERY                                                                      936.
SALARIES - PEO                                                                   2,372,606.
TELEPHONE EXPENSE                                                                   23,147.
TEST TRANSACTIONS                                                                    1,133.
TRAVEL                                                                              71,391.
UTILITIES                                                                            8,901.
WEB/DOMAIN HOSTING AND MAINT                                                        55,520.
                                                                             }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 26                                                      4,823,280.
                                                                             ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                         NET OPERATING LOSS DEDUCTION            STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                  LOSS
                               PREVIOUSLY         LOSS         AVAILABLE
TAX YEAR    LOSS SUSTAINED       APPLIED        REMAINING      THIS YEAR
}}}}}}}}    }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
12/31/15          657,519.                          657,519.       657,519.
12/31/16        1,773,694.                        1,773,694.     1,773,694.
12/31/17        2,409,099.                        2,409,099.     2,409,099.
12/31/18        6,838,116.                        6,838,116.     6,838,116.
12/31/19        3,972,452.                        3,972,452.     3,972,452.
12/31/20        4,191,956.                        4,191,956.     4,191,956.
                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NOL AVAILABLE THIS YEAR                          19,842,836.    19,842,836.
                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                        STATEMENT(S) 5, 6
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 67 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DEFERRED EXPENSES                                            117,595.       312,775.
LOWES ESCROW                                                  53,197.        22,981.
PREPAID EXPENSES                                              53,618.        65,042.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                  224,410.       400,798.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                       OTHER ASSETS                    STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                            381,371.       547,469.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 14                                 381,371.       547,469.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                 OTHER CURRENT LIABILITIES             STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED EXPENSES                                             333,355.       689,171.
CREDIT CARDS PAYABLE                                           3,599.         4,124.
DEFERRED KEEPER EXPENSE
DEFERRED REVENUE                                                61,173.        173,080.
FARNAM LEASE LIABILITY                                       2,507,290.      4,486,749.
GAP ACCOUNT                                                      5,705.
GIFT CARDS                                                      27,801.         71,392.
OTHER PAYABLES
PAYROLL LIABILITIES                                              15,292.     20,786.
SALES TAX PAYABLE                                                 2,527.      1,318.
TENTKIT DEPLOYED                                                             13,571.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 18                               2,956,742.     5,460,191.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                    STATEMENT(S) 7, 8, 9
                  Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 68 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                      OTHER LIABILITIES                STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DECATHLON LOAN                                                  755,635.     1,642,792.
IPFS                                                                            36,901.
LINE OF CREDIT                                                   29,985.              0.
LOAN PAYABLE - PPP                                              401,400.              0.
NATIONAL PARTNERS                                                                5,427.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 21                                  1,187,020.     1,685,120.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER EXPENSES RECORDED ON BOOKS          STATEMENT 11
                         NOT DEDUCTED IN THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
AMORTIZATION                                                                           28,606.
                                                                                }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 5                                                          28,606.
                                                                                ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER INCOME RECORDED ON BOOKS            STATEMENT 12
                         NOT INCLUDED IN THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
PPP LOANS, EIDL AND OTHER COVID GRANTS OR SUBSIDIES                                   401,400.
                                                                                }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 7                                                         401,400.
                                                                                ~~~~~~~~~~~~~~




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1125-A                      OTHER COSTS                     STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
CAMPKEEPER PAYOUTS                                                                  1,867,250.
MERCANTILE                                                                             36,483.
SHIPPING LABELS                                                                         4,367.
SITE BOOKING FEES                                                                     164,932.
STATE PARK PAYOUTS                                                                    138,057.
TRANSACTION FEES                                                                      128,747.
                                                                                }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                                     2,339,836.
                                                                                ~~~~~~~~~~~~~~


                                                               STATEMENT(S) 10, 11, 12, 13
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 69 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 4562                  PART VI - AMORTIZATION                STATEMENT 14
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                          (B)          (C)            (D)        (E)               (F)
        (A)              DATE      AMORTIZABLE        CODE      PERIOD/       AMORTIZATION
DESCRIPTION OF COSTS     BEGAN       AMOUNT          SECTION    PERCENT         THIS YEAR
}}}}}}}}}}}}}}}}}}}}}   }}}}}}}}   }}}}}}}}}}}}      }}}}}}}    }}}}}}}}      }}}}}}}}}}}}
FARNAM CAP INSTALL      01/31/21       145,077.                 36M                44,329.
FARNAM CAP INSTALL      02/28/21        27,550.                 36M                 7,653.
FARNAM CAP INSTALL      03/31/21        21,051.                 36M                 5,263.
FARNAM CAP INSTALL      04/30/21        64,533.                 36M                14,341.
FARNAM CAP INSTALL      05/31/21       203,188.                 36M                39,509.
FARNAM CAP INSTALL      06/30/21        29,530.                 36M                 4,922.
FARNAM CAP INSTALL      07/31/21        48,952.                 36M                 6,799.
FARNAM CAP INSTALL      08/31/21       116,226.                 36M                12,914.
FARNAM CAP INSTALL      09/30/21       104,244.                 36M                 8,687.
FARNAM CAP INSTALL      10/31/21        32,804.                 36M                 1,822.
FARNAM CAP INSTALL      11/30/21        96,932.                 36M                 2,693.
FARNAM CAP INSTALL      12/31/21        81,400.                 36M
                                                                              }}}}}}}}}}}}
TOTAL TO FORM 4562, LINE 42                                                       148,932.
                                                                              ~~~~~~~~~~~~




                                                                             STATEMENT(S) 14
           Case 23-10000-BLS        Doc 1      Filed 01/02/23   Page 70 of 304


                 2021 TAX RETURN FILING INSTRUCTIONS
                                  CALIFORNIA FORM 100

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                      $                        0
            LESS: PAYMENTS AND CREDITS     $                        0
            PLUS: OTHER AMOUNT             $                        0
            PLUS: INTEREST AND PENALTIES   $                        0
            NO PAYMENT REQUIRED            $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE FTB, PLEASE SIGN, DATE AND RETURN FORM
            8453-C TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE FTB. DO
            NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:


            PAYMENT OF TAX MUST BE MADE ELECTRONICALLY VIA THE FRANCHISE TAX
            BOARD WEBSITE AT:

            WWW.FTB.CA.GOV/PAY
           Case 23-10000-BLS        Doc 1      Filed 01/02/23   Page 71 of 304


               2022 ESTIMATED TAX FILING INSTRUCTIONS
                                CALIFORNIA FORM 100-ES

                              FOR THE YEAR ENDING
                                   DECEMBER 31, 2022

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


AMOUNT OF TAX:

            TOTAL ESTIMATED TAX                     $                    800
            LESS CREDIT FROM PRIOR YEAR             $                      0
            LESS AMOUNT ALREADY PAID ON 2022        $                      0
            ESTIMATE
            BALANCE DUE                             $                    800

            PAYABLE IN FULL OR IN INSTALLMENTS AS FOLLOWS:

               VOUCHER        AMOUNT              DUE DATE
                 NO. 1    $                   0   APRIL 18, 2022
                 NO. 2    $                   0   JUNE 15, 2022
                 NO. 3    $                   0   SEPTEMBER 15, 2022
                 NO. 4    $                 800   DECEMBER 15, 2022

MAIL CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL VOUCHER AND CHECK (IF APPLICABLE) TO:

            PAYMENTS MUST BE FILED AND PAID ELECTRONICALLY VIA THE FRANCHISE
            TAX BOARD WEBSITE AT:
            WWW.FTB.CA.GOV/PAY


SPECIAL INSTRUCTIONS:
TENTRR INC                Case 23-10000-BLS                   Doc 1          Filed 01/02/23              Page 72 of 304                   XX-XXXXXXX

                                                    Form at bottom of page.
                 Installment 1 -   File and Pay by the 15th day of the 4th month of the taxable year. When the due date falls
                                   on a weekend or holiday, the deadline to file and pay without a penalty is extended to the
                                   next business day.

                                   If no payment is due, do not mail this form.



                 WHERE TO FILE:               Using black or blue ink, make the check or money order payable to
                                              the "Franchise Tax Board." Write the corporation number, FEIN, and
                                              CA SOS file number, if applicable, and "2022 Form 100-ES" on the
                                              check or money order. Detach form below. Enclose, but do not staple,
                                              the payment with this form and mail to:

                                                     FRANCHISE TAX BOARD
                                                     PO BOX 942857
                                                     SACRAMENTO CA 94257-0531
                 Make all checks or money orders payable in U.S. dollars and drawn against a U.S. financial institution.


                 ONLINE SERVICES:             Corporations can make payments online using Web Pay for
                                              Businesses. Corporations can make an immediate payment or
                                              schedule payments up to a year in advance. Go to ftb.ca.gov/pay
                                              for more information.



                                                 WORKSHEET FOR COMPUTATION OF ESTIMATED TAX
                                                        (Complete and retain for your files)


  1. Estimated Income   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          $



  2. Tax - Amount on line 1 X            MINIMUM TAX LIABILITY
                                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              $                      800
  3. Tax Credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              $
  4. Balance (subtract line 3 from line 2) (not less than minimum tax, if applicable) ~~~~~~~~~~~~~~~~~~~~                      $                      800
  5. Other taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              $
  6. Total estimated tax - Add lines 4 and 5 (not less than minimum tax, if applicable) ~~~~~~~~~~~~~~~~~~~                     $                      800
  7. Overpayment on prior year return designated to be credited to this estimate ~~~~~~~~~~~~~~~~~~~~~                          $
  8. Amount already paid towards estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              $
  9. Net estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          $                      800


!!!! DETACH HERE !!!!!!!!!!!!! IF NO PAYMENT IS DUE, DO NOT MAIL THIS FORM !!!!!!!!!!!!! DETACH HERE !!! !
Caution: The corporation may be required to pay electronically. See instructions.
                                                                                          Installment 1
 TAXABLE YEAR                                                                                                                             CALIFORNIA FORM

   2022          Corporation Estimated Tax                                                                                                  100-ES

000000000000  TENT   XX-XXXXXXX    000000000000                                                                  22                  FORM       1
TYB  01-01-2022    TYE  12-31-2022
TENTRR INC

25 W 39TH STREET 7TH FLOOR
NEW YORK           NY 10018

EST TAX AMT                                          QSUB TAX AMT
                                                                                   Amount of Payment




                 139821 11-05-21                   022               6101226                                                        Form 100-ES 2021
                         Case 23-10000-BLS                Doc 1        Filed 01/02/23            Page 73 of 304                 XX-XXXXXXX




                                                 Form at bottom of page.



                Installment 2 -   File and Pay by the 15th day of the 6th month of the taxable year. When the due date falls
                                  on a weekend or holiday, the deadline to file and pay without a penalty is extended to the
                                  next business day.
                                  If no payment is due, do not mail this form.



                WHERE TO FILE:              Using black or blue ink, make the check or money order payable to
                                            the "Franchise Tax Board." Write the corporation number, FEIN, and
                                            CA SOS file number, if applicable, and "2022 Form 100-ES" on the
                                            check or money order. Detach form below. Enclose, but do not staple,
                                            the payment with this form and mail to:

                                                  FRANCHISE TAX BOARD
                                                  PO BOX 942857
                                                  SACRAMENTO CA 94257-0531
                Make all checks or money orders payable in U.S. dollars and drawn against a U.S. financial institution.




                ONLINE SERVICES:            Corporations can make payments online using Web Pay for
                                            Businesses. Corporations can make an immediate payment or
                                            schedule payments up to a year in advance. Go to ftb.ca.gov/pay
                                            for more information.




!!!! DETACH HERE !!!!!!!!!!!!! IF NO PAYMENT IS DUE, DO NOT MAIL THIS FORM !!!!!!!!!!!!! DETACH HERE !!! !
Caution: The corporation may be required to pay electronically. See instructions.
                                                                                         Installment 2
 TAXABLE YEAR                                                                                                                   CALIFORNIA FORM

   2022         Corporation Estimated Tax                                                                                         100-ES

000000000000  TENT   XX-XXXXXXX    000000000000                                                         22                 FORM       1
TYB  01-01-2022    TYE  12-31-2022
TENTRR INC

25 W 39TH STREET 7TH FLOOR
NEW YORK           NY 10018

EST TAX AMT                                       QSUB TAX AMT
                                                                             Amount of Payment




                139822 11-05-21                 022              6101226                                                  Form 100-ES 2021
                         Case 23-10000-BLS                Doc 1        Filed 01/02/23            Page 74 of 304



                                                 Form at bottom of page.



                Installment 3 -   File and Pay by the 15th day of the 9th month of the taxable year. When the due date falls
                                  on a weekend or holiday, the deadline to file and pay without a penalty is extended to the
                                  next business day.
                                  If no payment is due, do not mail this form.




                WHERE TO FILE:              Using black or blue ink, make the check or money order payable to
                                            the "Franchise Tax Board." Write the corporation number, FEIN, and
                                            CA SOS file number, if applicable, and "2022 Form 100-ES" on the
                                            check or money order. Detach form below. Enclose, but do not staple,
                                            the payment with this form and mail to:

                                                  FRANCHISE TAX BOARD
                                                  PO BOX 942857
                                                  SACRAMENTO CA 94257-0531
                Make all checks or money orders payable in U.S. dollars and drawn against a U.S. financial institution.




                ONLINE SERVICES:            Corporations can make payments online using Web Pay for
                                            Businesses. Corporations can make an immediate payment or
                                            schedule payments up to a year in advance. Go to ftb.ca.gov/pay
                                            for more information.




!!!! DETACH HERE !!!!!!!!!!!!! IF NO PAYMENT IS DUE, DO NOT MAIL THIS FORM !!!!!!!!!!!!! DETACH HERE !!! !
Caution: The corporation may be required to pay electronically. See instructions.
                                                                                                                                Installment 3
 TAXABLE YEAR                                                                                                                   CALIFORNIA FORM

   2022         Corporation Estimated Tax                                                                                         100-ES

000000000000  TENT   XX-XXXXXXX    000000000000                                                         22                 FORM       1
TYB  01-01-2022    TYE  12-31-2022
TENTRR INC

25 W 39TH STREET 7TH FLOOR
NEW YORK           NY 10018

EST TAX AMT                                       QSUB TAX AMT
                                                                             Amount of Payment                                            0.




                139823 11-05-21                 022              6101226                                                  Form 100-ES 2021
                         Case 23-10000-BLS                Doc 1        Filed 01/02/23            Page 75 of 304



                                                 Form at bottom of page.



                Installment 4 -   File and Pay by the 15th day of the 12th month of the taxable year. When the due date falls
                                  on a weekend or holiday, the deadline to file and pay without a penalty is extended to the
                                  next business day.
                                  If no payment is due, do not mail this form.




                WHERE TO FILE:              Using black or blue ink, make the check or money order payable to
                                            the "Franchise Tax Board." Write the corporation number, FEIN, and
                                            CA SOS file number, if applicable, and "2022 Form 100-ES" on the
                                            check or money order. Detach form below. Enclose, but do not staple,
                                            the payment with this form and mail to:

                                                  FRANCHISE TAX BOARD
                                                  PO BOX 942857
                                                  SACRAMENTO CA 94257-0531
                Make all checks or money orders payable in U.S. dollars and drawn against a U.S. financial institution.




                ONLINE SERVICES:            Corporations can make payments online using Web Pay for
                                            Businesses. Corporations can make an immediate payment or
                                            schedule payments up to a year in advance. Go to ftb.ca.gov/pay
                                            for more information.




!!!! DETACH HERE !!!!!!!!!!!!! IF NO PAYMENT IS DUE, DO NOT MAIL THIS FORM !!!!!!!!!!!!! DETACH HERE !!! !
Caution: The corporation may be required to pay electronically. See instructions.
                                                                                                                                Installment 4
 TAXABLE YEAR                                                                                                                   CALIFORNIA FORM

   2022         Corporation Estimated Tax                                                                                         100-ES

000000000000  TENT   XX-XXXXXXX    000000000000                                                         22                 FORM       1
TYB  01-01-2022    TYE  12-31-2022
TENTRR INC

25 W 39TH STREET 7TH FLOOR
NEW YORK           NY 10018

EST TAX AMT                           800.        QSUB TAX AMT
                                                                             Amount of Payment                                      800.




                139824 11-05-21                 022              6101226                                                  Form 100-ES 2021
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TAXABLE YEAR                       California Corporation                                                                                                             FORM
     2021                          Franchise or Income Tax Return                                                                                                    100


                             TENT   XX-XXXXXXX   000000000000                                                          21
               TYB  01-01-2021  TYE   12-31-2021
               TENTRR INC

               25 W 39TH STREET 7TH FLOOR
               NEW YORK           NY 10018




Schedule Q Questions (continued on Side 2)

 A                   FINAL RETURN?            ¥         Dissolved            Surrendered (withdrawn)     Merged/Reorganized             IRC Section 338 sale        QSub election
                                                                                                                             Enter date (mm/dd/yyyy) ¥


 B 1. Is income included in a combined report of a unitary group? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           ¥      Yes   X No

                      If "Yes," indicate:         Wholly within CA (R&TC 25101.15)
                                                  Within and outside of CA
               2. Is there a change in the members listed in Schedule R-7 from the prior year? ~~~~~~~~~~~~~~~~~~~~~~~~~                                     ¥      Yes       No


               3. Enter the number of members (including parent or key corporation) listed in the Schedule R-7, Part I, Section A,
                  subject to income or franchise tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             ¥


               4. Is form FTB 3544 attached to the return?       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    ¥      Yes   X No

C 1. During this taxable year, did another person or legal entity acquire control or majority ownership (more than a 50% interest) of this
     corporation or any of its subsidiaries that owned California real property (i.e., land, buildings), leased such property for a term of 35
                     years or more, or leased such property from a government agency for any term? ~~~~~~~~~~~~~~~~~~~~~~~~                                  ¥      Yes   X No
          2. During this taxable year, did this corporation or any of its subsidiaries acquire control or majority ownership (more than a 50% interest)
             in another legal entity that owned California real property (i.e., land, buildings), leased such property for a term of 35 years or more, or
                     leased such property from a government agency for any term? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            ¥      Yes   X No
          3. During this taxable year, has more than 50% of the voting stock of this corporation cumulatively transferred in one or more transactions
             after an interest in California real property (i.e., land, buildings) was transferred to it that was excluded from property tax reassessment
                     under R&TC Section 62 (a)(2) and it was not reported on a previous year's tax return? ~~~~~~~~~~~~~~~~~~~~~~                            ¥      Yes   X No
                     (Yes requires filing of statement, penalties may apply - see instructions.)
                       1 Net income (loss) before state adjustments. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~                                ¥     1      -6,113,971 00
                      2 Amount deducted for foreign or domestic tax based on income or profits from Schedule A ~~~~~~~~~~~~                    ¥     2           2,500 00
 State Adjustments




                      3 Amount deducted for tax under the provisions of the Corporation Tax Law from Schedule A ~~~~~~~~~~~                    ¥     3                         00
                      4 Interest on government obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥     4                         00
                      5 Net California capital gain from Side 6, Schedule D, line 11 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                ¥     5                         00
                      6 Depreciation and amortization in excess of amount allowed under California law. Attach form FTB 3885 ~~~~~~ ¥                6                         00
                      7 Net income from corporations not included in federal consolidated return. See instructions ~~~~~~~~~~~~ ¥                    7                         00
                                                                                 SEE STATEMENT 1
                      8 Other additions. Attach schedule(s) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               ¥     8          15,014 00
                      9 Total. Add line 1 through line 8                                                 ¥     9      -6,096,457 00


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                             10 Intercompany dividend elimination. Attach Schedule H (100) ~~~~~~~~~               ¥   10                        00
 State Adjustments (con't)




                             11 Dividends received deduction. Attach Schedule H (100) ~~~~~~~~~~~                  ¥   11                        00
                             12 Additional depreciation allowed under CA law. Attach form FTB 3885 ~~~~~ ¥             12                        00
                             13 Capital gain from federal Form 1120, line 8 ~~~~~~~~~~~~~~~~~ ¥                        13                        00
                                                                         SEE STATEMENT 2
                             14 Charitable Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~                                 ¥   14                        00
                             15 Other deductions. Attach schedule(s) ~~~~~~~~~~~~~~~~~~~                           ¥   15                        00
                             16 Total. Add line 10 through line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          ¥    16                    00
                             17 Net income (loss) after state adjustments. Subtract line 16 from Side 1, line 9                 ¥    17   -6,096,457 00
                                                                                                                                                              -158,258 00
 CA Net Income




                             18 Net income (loss) for state purposes. Complete Sch. R if apportioning or allocating income. See instructions  ¥    18
                             19 Net operating loss (NOL) deduction. See instructions ~~~~~~~~~~~~ ¥ 19                                            00
                             20 EZ, TTA, or LAMBRA NOL carryover deduction. See instructions ~~~~~~~ ¥ 20                                         00
                             21 Disaster loss deduction. See instructions ~~~~~~~~~~~~~~~~~ ¥ 21                                       00
                             22 Net income for tax purposes. Combine line 19 through line 21. Then, subtract from line 18  ¥               22        -158,258 00
                             23 Tax.      8.8400 % x line 22 (at least minimum franchise tax, if applicable). See instructions  ¥ 23                            0 00
                             24 Credit name                                              code ¥           amount | 24                            00
                             25 Credit name                                              code ¥           amount | 25                            00
 Taxes




                             26 To claim more than two credits, see instructions    ~~~~~~~~~~~~~~                 ¥   26                        00
                             27 Add line 24 through line 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              ¥    27                    00
                             28 Balance. Subtract line 27 from line 23 (at least minimum franchise tax, if applicable) ~~~~~~~~~~~~~~~            ¥    28                  0 00
                             29 Alternative minimum tax. Attach Schedule P (100). See instructions ~~~~~~~~~~~~~~~~~~~~~~ ¥                            29                    00
                             30 Total tax. Add line 28 and line 29  ¥                                             30                    00
                             31 Overpayment from prior year allowed as a credit ~~~~~~~~~~~~~~ ¥ 31                       00
 Payments




                             32 2021 Estimated tax payments. See instructions ~~~~~~~~~~~~~~ ¥ 32                         00
                             33 2021 Withholding (Form 592-B and/or 593). See instructions ~~~~~~~~~ ¥ 33                 00
                             34 Amount paid with extension of time to file tax return ~~~~~~~~~~~~~ ¥ 34     00
                             35 Total payments. Add line 31 through line 34  ¥                                         35                    00
                             36 Use tax. This is not a total line. See instructions ~~~~~~~~~~~~~~ c 36                            00
                             37 Payments balance. If line 35 is more than line 36, subtract line 36 from line 35 ~~~~~~~~~~~~~~~~~ c                   37                    00
                             38 Use tax balance. If line 36 is more than line 35, subtract line 35 from line 36 ~~~~~~~~~~~~~~~~~~                c    38                    00
                             39 Franchise or income tax due. If line 30 is more than line 37, subtract line 37 from line 30 ~~~~~~~~~~~~          c    39                  0 00
 Refund or Amount Due




                             40 Overpayment. If line 37 is more than line 30, subtract line 30 from line 37 ~~~~~~~~~~~~~~~~~~~                   c    40                    00
                             41 Amount of line 40 to be credited to 2022 estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                c    41                    00
                             42 Refund. Subtract line 41 from line 40 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         c    42                    00
                                See instructions to have the refund directly deposited.
                                                                                     Checking
                                                                                     Savings
                                42a. ¥ Routing number              42b. ¥ Type 42c. ¥ Account number
                             43 a Penalties and interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                c 43a                      00
                                b¥          Check if estimate penalty computed using Exception B or C on form FTB 5806. See instructions.
                             44 Total amount due. Add line 38, line 39, line 41, and line 43a. Then, subtract line 40 from the result  j
                                                                                                                                               ¥       44                    00
Schedule Q Questions (continued from Side 1)
D If the corporation filed on a water's-edge basis pursuant to R&TC Sections 25110 and 25113 in previous years, enter the
  date the water's-edge election ended ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   (mm/dd/yyyy) ¥


E Was the corporation's income included in a consolidated federal return?                         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              ¥      Yes   X No

F Principal business activity code. ( Do not leave blank): ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            ¥    454110
  Business activity CAMPING ONLINE MARKETPL
                  Product or service SERVICE




                                                                                                                              Schedule Q Questions (continued on Side 3)


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G Date incorporated (mm/dd/yyyy):            02/03/2015                                                Where:        ¥ State DE Country UNITED                       STATES

H Date business began in California or date income was first derived from California sources                     ~~~~~~~~~~~~~~                          (mm/dd/yyyy) ¥ 02/03/2015


I   First return?   ~~~~~~~~                 ¥    X Yes                 No     If "Yes" and this corporation is a successor to a previously existing business, check the appropriate box.


                                       ¥ (1)            Sole proprietorship         (2)         Partnership      (3)       Joint venture   (4)       Corporation     (5)       Other
                                                                                                   (Attach statement showing name, address, and FEIN/SSN/ITIN of previous business.)
J "Doing business as" name. See instructions: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          ¥



K At any time during the taxable year, was more than 50% of the voting stock:
  1. Of the corporation owned by any single interest? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  ¥           Yes X No
    2. Of another corporation owned by this corporation? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                ¥           Yes X No
    3. Of this and one or more other corporations owned or controlled, directly or indirectly, by the same interests? ~~~~~~~~~~~~~                                            ¥           Yes X No
       If 1 or 3 is "Yes," enter the country of the ultimate parent ~~~~~~~~~~~~~                                ¥
       If 1, 2, or 3 is "Yes," furnish a statement of ownership indicating pertinent names, addresses, and percentages of stock owned.
       If the owner(s) is an individual, provide the SSN/ITIN and see FTB 1131 EN-SP, for more information.
L Has the corporation included a reportable transaction or listed transaction within this return? (See instructions for definitions) ~~~~~~~ ¥                                             Yes   X No
  If "Yes," complete and attach federal Form 8886 for each transaction.
M Is this corporation apportioning or allocating income to California using Schedule R? ~~~~~~~~~~~~~~~~~~~~~~~~~                                                              ¥    X Yes           No
N How many affiliates in the combined report are claiming immunity from taxation in California under Public Law 86-272? ¥
O Corporation headquarters are: ~~~~~~~~ ¥ (1) X Within California (2)                                                Outside of California, within the U.S.             (3)        Outside of the U.S.
P Location of principal accounting records: 411 W 39TH ST 4TH FL,                                                NEW YORK, NY                         10018
Q Accounting method: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ (1)                                              Cash (2) X Accrual                                                     (3)         Other
R Does this corporation or any of its subsidiaries have a Deferred Intercompany Stock Account (DISA)? ~~~~~~~~~~~~~~~~~ ¥                                                                  Yes   X No
    If "Yes," enter the total balance of all DISAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        ¥    $
S Is this corporation or any of its subsidiaries a RIC? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               ¥           Yes X No
T Is this corporation treated as a REMIC for California purposes? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           ¥           Yes X No
U 1. Is this corporation a REIT for California purposes? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                ¥           Yes X No
  2. If question U1 is "Yes," does the entity own any qualified REIT
       subsidiaries that are incorporated or qualified with the California
       Secretary of State? If yes, see instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 ¥           Yes X No
V Is this corporation an LLC or limited partnership electing to be taxed as a corporation for federal purposes? ~~~~~~~~~~~~~~~                                                ¥           Yes X No
  If "Yes", enter the effective date of the election (mm/dd/yyyy) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
W Is this corporation to be treated as a credit union? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                ¥           Yes X No
X Is the corporation under audit by the IRS or has it been audited by the IRS in a prior year? ~~~~~~~~~~~~~~~~~~~~~~~                                                         ¥           Yes X No
Y Have all required information returns (e.g. federal Forms 1099, 5471, 5472, 8300, 8865, etc.) been filed with the Franchise Tax Board?  X N/A                                            Yes      No
Z Does the taxpayer (or any corporation of the taxpayer's combined group, if applicable) own 80% or more of the stock of an insurance company?                                             Yes X No
AA Did the corporation file the federal Schedule UTP (Form 1120)? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           ¥           Yes X No
BB Does any member of the combined report own an SMLLC or generate/claim credits that are attributable to an SMLLC? ~~~~~~~~~                                                  ¥           Yes X No
CC 1. Has this business entity previously filed an unclaimed property Holder Remit Report with the State Controller's Office?                                                  ¥           Yes X No
   2. If "Yes," when was the last report filed? (mm/dd/yyyy) ¥                           3. Amount last remitted n $

          Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
          belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.



                       =
Sign      Signature                                                                                               Title                      Date                   ¥ Telephone
Here      of officer                                                                                             PRESIDENT                                           646-230-1040
          Officer's email address (optional) ANAND@TENTRR.COM


                       =
          Preparer's                                                                                      Date                       Check if self-                 ¥ PTIN
Paid
          signature                                          10/11/22 employed |                                                                                         P00185030

                           =
Pre-      Firm's name             GUTTERSON & COHEN TAX SPECIALISTS LLC                                                                                             ¥ Firm's FEIN
parer's   (or yours, if
          self-employed)
                                  445 BROADHOLLOW ROAD STE 230                                                                                                           XX-XXXXXXX
Use
Only      and address             MELVILLE, NY 11747                                                                                                                ¥ Telephone
                                                                                                                631-629-4344
          May the FTB discuss this return with the preparer shown above? See instructions  ¥ X Yes   No

                                                                                                                                              139791
          For Privacy Notice, get FTB 1131 ENG-SP.                   022                   3603214                                            01-03-22              Form 100 2021 Side 3
TENTRR INC                             Case 23-10000-BLS                    Doc 1        Filed 01/02/23          Page 79 of 304                     XX-XXXXXXX


             Schedule A         Taxes Deducted. Use additional sheet(s) if necessary.
                                    (a)                                             (b)                                    (c)                            (d)
                                Nature of tax                                 Taxing authority                       Total amount                 Nondeductible amount
               SEE STATEMENT 3                                                                                                                                           00
                                                                                                                                                                         00
Total. Enter total of column (c) on Schedule F, line 17, and total of column (d) on Side 1, line 2 or line 3.
       If the corporation uses California computation method to compute the net income, see instructions.                178,932                          2,500 00
Schedule F                 Computation of Net Income. See instructions.
              1 a) Gross receipts or gross sales          4,846,290
                b) Less returns and allowance                                     c) Balance ~~~~~~~~~~~~~~~~~~                      ¥       1c    4,846,290 00
              2 Cost of goods sold. Attach federal Form 1125-A (California Schedule V) ~~~~~~~~~~~~~~~~~~~~~                         ¥        2    2,339,836 00
              3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥        3    2,506,454 00
              4 Total dividends. Attach federal Schedule C (California Schedule H (100)) ~~~~~~~~~~~~~~~~~~~~~                       ¥        4                          00
              5 a) Interest on obligations of the United States and U.S. instrumentalities ~~~~~~~~~~~~~~~~~~~~~                     ¥       5a                          00
Income




                b) Other interest. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥       5b                          00
              6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          ¥        6                          00
              7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       ¥        7                          00
              8 Capital gain net income. Attach federal Schedule D (California Schedule D) ~~~~~~~~~~~~~~~~~~~~                      ¥        8                          00
              9 Ordinary gain (loss). Attach federal Form 4797 (California Schedule D-1) ~~~~~~~~~~~~~~~~~~~~~             -1,415 00 ¥        9
             10 Other income (loss). Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 10SEE STATEMENT 5               5,821 00
             11 Total income. Add line 3 through line 10  ¥ 11                        2,510,860 00
             12 Compensation of officers. Attach federal Form 1125-E or equivalent schedule ~~~ ¥ 12    490,555 00 STMT 4
             13 Salaries and wages (not deducted elsewhere) ~~~~~~~~~~~~~~~~~                     ¥    13                        00
             14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~                                 j
                                                                                                  ¥    14                        00
             15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        ¥    15         181,742 00
             16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          ¥    16          18,333 00
             17 Taxes (California Schedule A). See instructions ~~~~~~~~~~~~~~~~                  ¥    17         178,932 00
             18 Interest. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~                              ¥    18         353,565 00
Deductions




             19 Charitable Contributions. Attach schedule  ¥                         19               0 00
             20 Depreciation. Attach fed Form 4562 & FTB 3885 j
                                                              ¥ 20  1,853,197 00
             21 Less depreciation claimed elsewhere on return j 21a
                                                              ¥               00 ¥                     21b      1,853,197 00
             22 Depletion. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                              ¥    22                        00
             23 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       j
                                                                                                  ¥    23         568,851 00
             24 Pension, profit-sharing plans, etc. ~~~~~~~~~~~~~~~~~~~~~                         j
                                                                                                  ¥    24                        00
             25 Employee benefit plans ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 j
                                                                                                  ¥    25         156,376 00
             26 a) Total travel and entertainment 71,391
                b) Deductible amounts ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  ¥    26b         71,391 00
                                                        SEE STATEMENT 6
             27 Other deductions. Attach schedule ~~~~~~~~~~~~~~~~~~~~~                             ¥ 27        4,751,889 00
             28 Specific deduction for organizations under R&TC Section 23701r or 23701t. See instr ¥ 28 00
             29 Total deductions. Add line 12 through line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                             29    8,624,831 00
             30 Net income before state adjustments. Subtract line 29 from line 11. Enter here and on Side 1, line 1        ¥       30   -6,113,971 00

Schedule J          Add-On Taxes and Recapture of Tax Credits. See instructions.
  1 LIFO recapture due to S corporation election, IRC Sec. 1363(d) deferral: $                            ~~~~~~~ ¥                      1                               00
  2 Interest computed under the look-back method for completed long-term contracts (Attach form FTB 3834) ~~~~~~~ ¥                      2                               00
  3 Interest on tax attributable to installment: a Sales of certain timeshares and residential lots ~~~~~~~~~~~~~                ¥       3a                              00
                                                 b Method for nondealer installment obligations ~~~~~~~~~~~~~~                   ¥       3b                              00
  4 IRC Section 197(f)(9)(B)(ii) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                       4                               00
  5 Credit recapture name:                                                     ~ ¥                                                       5                               00
  6 Combine line 1 through line 5, revise Side 2, line 39 or line 40, whichever applies, by this amount. Write
    "Schedule J" to the left of line 39 or line 40 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥       6                               00




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TENTRR INC                                                                                                                                             XX-XXXXXXX


Schedule V          Cost of Goods Sold
 1 Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         j
                                                                                                                                    ¥     1                         00
 2 Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     j
                                                                                                                                    ¥     2                         00
 3 Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  ¥     3                         00
 4 a Additional IRC Section 263A costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥    4a                         00
   b Other costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                  SEE STATEMENT 11 ¥                          4b           2,339,836 00
 5 Total. Add line 1 through line 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            5           2,339,836 00
 6 Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                        ¥                       6                         00
 7 Cost of goods sold. Subtract line 6 from line 5. Enter here and on Side 4, Schedule F, line 2 ~~~~~~~~~~~~~~~~                         7           2,339,836 00
    Method of inventory valuation |
    Was there any change in determining quantities, costs of valuations between opening and closing inventory? If "Yes," attach an explanation.           Yes    X No
    Enter California seller's permit number, if any |
    Check if the LIFO inventory method was adopted this taxable year for any goods. If checked, attach federal Form 970    ~~~~~~~~~~~~~~~~~~
    If the LIFO inventory method was used for this taxable year, enter the amount of closing inventory under LIFO     ~~~~~~~~~~
    Do the rules of IRC Section 263A (with respect to property produced or acquired for resale) apply to the corporation? ~~~~~~~~~~                      Yes    X No

The corporation may not be required to complete Schedules L, M-1, and M-2. See Schedule M-1 instructions for reporting requirements.
Schedule L  Balance Sheet                                           Beginning of taxable year                                      End of taxable year
Assets                                                            (a)                         (b)                            (c)                           (d)
 1 Cash ~~~~~~~~~~~~~~~~~~                                                        j
                                                                                  ¥       1,794,642                                               ¥      6,873,088
 2 a Trade notes and accounts receivable ~~                       271,095                                         ¥          434,439
   b Less allowance for bad debts ~~~~~~                   (                    )j
                                                                                 ¥             271,095 ¥ (                                    ) ¥          434,439
 3 Inventories ~~~~~~~~~~~~~~~                                                    j
                                                                                  ¥             16,864                                            ¥
 4 Federal and state government obligations ~~                                    j
                                                                                  ¥                                                               ¥
 5 Other current assets. Attach sch(s)STMT
                                        ~~~~~7                                                 224,410                                                     400,798
 6 Loans to stockholders/officers. Att sch ~~~                                    j
                                                                                  ¥                                                               ¥
 7 Mortgage and real estate loans ~~~~~~                                          j
                                                                                  ¥                                                               ¥
 8 Other investments. Attach sch(s) ~~~~~~                                        j
                                                                                  ¥                                                               ¥
 9 a Buildings and other fixed depreciable assets               4,959,727                                         ¥       7,248,470
   b Less accumulated depreciation ~~~~~                   (    2,685,661) j
                                                                           ¥              2,274,066 ¥ (                   4,135,912) ¥                   3,112,558
10 a Depletable assets ~~~~~~~~~~~
   b Less accumulated depletion ~~~~~~                     (                    )j
                                                                                 ¥                                (                           )
11 Land (net of any amortization) ~~~~~~~                                        j
                                                                                 ¥                                                                ¥
12 a Intangible assets (amortizable only) ~~~              j
                                                           ¥      290,109                              ¥                  1,261,596
   b Less accumulated amortization ~~~~~                   j
                                                           ¥(      24,765) j
                                                                           ¥                   265,344 j
                                                                                                       ¥(                   297,405) j
                                                                                                                                     ¥                    964,191
                                  STMT 8
13 Other assets. Attach sch(s) ~~~~~~~~                                    j
                                                                           ¥                381,371                                               ¥       547,469
 14 Total assets ~~~~~~~~~~~~~~                                            j
                                                                           ¥              5,227,792                                               ¥    12,332,543
Liabilities and Stockholders' Equity
15 Accounts payable ~~~~~~~~~~~~                                                  j
                                                                                  ¥            122,066                                            ¥        292,189
16 Mortgages, notes, bonds payable in less than 1 year ~                          j
                                                                                  ¥                                                               ¥
17 Other current liabilities. Att. sch(s)STMT 9
                                          ~~~~~                                   j
                                                                                  ¥       2,956,742                                                      5,460,191
18 Loans from stockholders. Att. sch(s) ~~~~                                      j
                                                                                  ¥                                                               ¥
19 Mortgages, notes, bonds payable in 1 year or more ~                            j
                                                                                  ¥                                                               ¥
                                          STMT 10
20 Other liabilities. Attach sch(s) ~~~~~~~                                       j
                                                                                  ¥       1,187,020                                               ¥      1,685,120
21 Capital stock: a Preferred stock ~~~~~ j            ¥                  229                                     ¥                     229
                     b Common stock ~~~~~ j            ¥                  800 j
                                                                              ¥               1,029 ¥                                   800 ¥               1,029
22 Paid-in or capital surplus. Attach reconciliation                          j
                                                                              ¥          21,764,062                                               ¥    31,053,045
23 Retained earnings - Appropriated. Att. sch. ~
24 Retained earnings - Unappropriated ~~~~                                              -20,803,127                                                   -26,159,031
25 Adjustments to shareholders' equity. Att. sch.
26 Less cost of treasury stock ~~~~~~~~                                            (                          )                                   (                     )
27 Total liabilities and stockholders' equity                                           5,227,792                                                    12,332,543




            139793 01-03-22                                     022          3605214                                                    Form 100 2021 Side 5
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TENTRR INC                                                                                                                                            XX-XXXXXXX


Schedule M-1                 Reconciliation of Income (Loss) per Books With Income (Loss) per Return.
                             If the corporation completed federal Sch M-3 (Form 1120/1120F), see instructions.
1 Net income per books ~~~~~~~~~~~                           ¥    -5,355,904 7 Income recorded on books this year not included
2 Federal income tax ~~~~~~~~~~~~                            ¥                            in this return (itemize)
3 Excess of capital losses over capital gains ~~ ¥                                        a Tax-exempt interest $
4 Taxable income not recorded on books this year (itemize)                                b Other ~~~~~ $                   401,400                  STMT 13
                                                             ¥                            c Total. Add line 7a and line 7b ~~~~~~ ¥                       401,400
5 Expenses recorded on books this year not                                              8 Deductions in this return not charged against
  deducted in this return (itemize)                                                       book income this year (itemize)
  a Depreciation ~ $                                                                      a Depreciation          $         390,323
  b State taxes ~~ $                                                                      b   State tax refunds   $
     Travel and
  c entertainment ~ $                                                                     c Other ~~~             $
  d Other ~~~~ $                            28,606               STMT 12
CONTR C/O                                    5,050                                        d Total. Add line 8a through line 8c ~~~~ ¥                    390,323
  e Total. Add line 5a through line 5d ~~~~~ ¥                        33,656 9 Total. Add line 7c and line 8d ~~~~~~~~ j           ¥                     791,723
6 Total. Add line 1 through line 5e                        -5,322,248 10 Net income per return. Subtract line 9 from line 6                    -6,113,971

Schedule M-2                 Analysis of Unappropriated Retained Earnings per Books (Side 5, Schedule L, line 24)
1 Balance at beginning of year ~~~~~~~~                      ¥   -20,803,127 5 Distributions: a Cash ~~~~~~~~~~ ¥
2 Net income per books ~~~~~~~~~~~                           ¥    -5,355,904                  b Stock ~~~~~~~~~~ ¥
3 Other increases (itemize)                                                                                c Property ~~~~~~~~~                 ¥
                                                                                        6 Other decreases (itemize)
                                                                                                                                                ¥
                                                             ¥                          7 Total. Add line 5 and line 6 ~~~~~~~~~~
4 Total. Add line 1 through line 3                       -26,159,031            8 Balance at end of year. Subtract line 7 from line 4        -26,159,031

Schedule D             California Capital Gains and Losses
Part I    Short-Term Capital Gains and Losses - Assets Held One Year or Less. Use additional sheet(s) if necessary.
                             (a)                       (b)              (c)                   (d)                           (e)                             (f)
              Kind of property and description    Date acquired      Date sold                                      Cost or other basis                 Gain (loss)
               (Example, 100 shares of Z Co.)     (mm/dd/yyyy)     (mm/dd/yyyy)       Gross sales price            plus expense of sale                 (d) less (e)

 1                                                                                                                                                                     00
                                                                                                                                                                       00
 2 Short-term capital gain from installment sales from form FTB 3805E, line 26 or line 37 ~~~~~~~~~~~~~~~~                         j
                                                                                                                                   ¥      2                            00
 3 Unused capital loss carryover from 2020 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     j
                                                                                                                                   ¥      3                            00
 4 Net short-term capital gain (loss). Combine line 1 through line 3                                       ¥     4                            00
Part II   Long-Term Capital Gains and Losses - Assets Held More Than One Year. Use additional sheet(s) if necessary.
 5                                                                                                                                                                     00
                                                                                                                                                                       00
 6 Enter gain from Schedule D-1, line 9 and/or any capital gain distributions ~~~~~~~~~~~~~~~~~~~~~~                               j
                                                                                                                                   ¥      6                            00
 7 Long-term capital gain from installment sales from form FTB 3805E, line 26 or line 37 ~~~~~~~~~~~~~~~~                          j
                                                                                                                                   ¥      7                            00
 8 Net long-term capital gain (loss). Combine line 5 through line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                          8                            00
 9 Enter excess of net short-term capital gain (line 4) over net long-term capital loss (line 8) ~~~~~~~~~~~~~~~                          9                            00
10 Net capital gain. Enter excess of net long-term capital gain (line 8) over net short-term capital loss (line 4) ~~~~~~~~               10                           00
11 Total lines 9 and 10. Enter here and on Form 100, Side 1, line 5. If losses exceed gains, carry forward losses to 2022              11                           00




             Side 6 Form 100 2021                                022           3606214                                             139794 01-03-22
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                        Sales of Business Property
                                                                                                                                                                                      139241 12-23-21
 TAXABLE YEAR                                                                                                                                                                 CALIFORNIA SCHEDULE

                  (Also Involuntary Conversions and Recapture Amounts Under IRC Sections 179
     2021         and 280F(b)(2))                                                                                                                                                    D-1
Complete and attach this schedule to your tax return only if your California gains or losses are different from your federal gains or losses.
Name(s) as shown on tax return                                                                                          SSN, ITIN, CA SOS file no., California Corp. no., or FEIN



TENTRR INC                                                                                                                                               XX-XXXXXXX
Part I Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other Than Casualty and Theft - Property Held
       More Than 1 Year. Use federal Form 4684, Casualties and Thefts, to report involuntary conversions from casualty and theft.
 1a Enter the gross proceeds from sales or exchanges reported to you for 2021 on federal Form 1099-B or federal Form
    1099-S (or a substitute statement), that you are including on line 2 or line 10, column (d), or line 23 ~~~~~~~ j¥                                        1a
  b Enter the total amount of gain that you are including on lines 2, 10, and 27 due to the partial dispositions of MACRS assets. See instructions      j
                                                                                                                                                        ¥     1b
  c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS assets. See instructions         j
                                                                                                                                                        ¥     1c
 2
          (a)                         (b)                             (c)                          (d)                (e) Depreciation                     (f)                        (g)
     Description of              Date acquired                     Date sold                   Gross sales               allowed or               Cost or other basis,           Gain or (Loss)
        property                   (mm/dd/yyyy)                  (mm/dd/yyyy)                     price                   allowable             plus improvements and           Subtract (f) from
                                                                                                                      since acquisition             expense of sale          the sum of (d) and (e)

j
¥          j
           ¥                                             j
                                                         ¥                              j
                                                                                        ¥                  j
                                                                                                           ¥                    j
                                                                                                                                ¥  j
                                                                                                                                   ¥
j
¥          j
           ¥                                             j
                                                         ¥                              j
                                                                                        ¥                  j
                                                                                                           ¥                    j
                                                                                                                                ¥  j
                                                                                                                                   ¥
¥ STATEMENTj
j          ¥ 14                                          j
                                                         ¥                              j
                                                                                        ¥            3,432 j
                                                                                                           ¥                16,191 j
                                                                                                                         21,038 j
                                                                                                                                ¥  ¥                                                    -1,415
 3 Gain, if any, from federal Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       j
                                                                                                                           ¥ 3
 4 IRC Section 1231 gain from installment sales from form FTB 3805E, line 26 or line 37 ~~~~~~~~~~~~~~~~~ j                ¥ 4
 5 IRC Section 1231 gain or (loss) from like-kind exchanges from federal Form 8824 (completed using California amounts) ~~ j
                                                                                                                           ¥ 5
 6 Gain, if any, from line 35, from other than casualty and theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                           ¥ 6
 7 Combine line 2 through line 6. Enter gain or (loss) here and on the appropriate line as follows: ~~~~~~~~~~~~~ j        ¥ 7                                                          -1,415
     IRC Section 179 Assets: For reporting the sale or disposition of assets for which an IRC Section 179 expense deduction
     was claimed in a prior year, see instr. Partnerships or LLCs (classified as partnerships): Enter the gain or (loss) on
     Schedule K (565 or 568), line 10. Skip lines 8, 9, 11, and 12 below. S corporations: If line 7 is zero or a loss, enter the
     amount on line 11 below and skip line 8 and line 9. If line 7 is a gain, continue to line 8. All others: If line 7 is zero or a
     loss, enter the amount on line 11 below and skip line 8 and line 9. If line 7 is a gain and you did not have any prior year
     IRC Section 1231 losses, or they were recaptured in an earlier year, enter the gain as follows: Forms 540 and 540NR
     filers, enter the gain on Schedule D (540 or 540NR), line 1, and skip lines 8, 9, and 12 below; Forms 100 and 100W filers,
     enter the gain on Form 100 or 100W, Side 6, Schedule D, Part II, line 6, and skip lines 8, 9, and 12 below.
 8 Nonrecaptured net IRC Section 1231 losses from prior years. Enter as a positive number. See instructions ~~~~~~~~ j
                                                                                                                     ¥                                             8
 9 Subtract line 8 from line 7. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                        j                                             9                                  0
     S corporations: If line 9 is more than zero, enter this amount on Schedule D (100S), Section B, Part II, line 5 and enter
     the amount, if any, from line 8 on line 12 below. If line 9 is zero, enter the amount from line 7 on line 12 below. All others:
     If line 9 is more than zero, enter the amount from line 8 on line 12 below, and enter the amount from line 9 as follows:
     Forms 540 and 540NR filers, enter as a capital gain on Schedule D (540 or 540NR), line 1; Forms 100 and 100W filers,
     enter the gain on Form 100 or 100W, Side 6, Schedule D, Part II, line 6. If line 9 is zero, enter the amount from line 7 on
     line 12 below. See instructions.
Part II Section A - Ordinary Gains and Losses
10 Ordinary gains and losses not included on line 11 through line 16 (include property held 1 year or less):
j
¥                      j
                       ¥                       j
                                               ¥                        j¥                     j¥                                            j
                                                                                                                                             ¥                           j
                                                                                                                                                                         ¥
j
¥                          j
                           ¥                             j
                                                         ¥                              j
                                                                                        ¥                           j
                                                                                                                    ¥                        j
                                                                                                                                             ¥                           j
                                                                                                                                                                         ¥
j
¥                          j
                           ¥                             j
                                                         ¥                              j
                                                                                        ¥                           j
                                                                                                                    ¥                        j
                                                                                                                                             ¥                           j
                                                                                                                                                                         ¥
11 Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                ¥                                                       11 (                    1,415)
                                                                                                           j
12 Gain, if any, from line 7, or amount from line 8, if applicable. See instructions ~~~~~~~~~~~~~~~~~~~~~ ¥                                                       12
13 Gain, if any, from line 34 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                               ¥                                                       13
14 Net gain or (loss) from federal Form 4684, line 31 and line 38a (completed using California amounts) ~~~~~~~~~~ j   ¥                                           14
15 Ordinary gain from installment sales from form FTB 3805E, line 25 or line 36. See instructions ~~~~~~~~~~~~~ ¥      j                                           15
16 Ordinary gain or (loss) from like-kind exchanges from federal Form 8824 (completed using California amounts) ~~~~~~ j
                                                                                                                       ¥                                           16
17 Combine line 10 through line 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  j
                                                                                                                                                             ¥     17                   -1,415
18 For all except individual tax returns, enter the amount from line 17 on the appropriate line of your tax return and skip line a
     and line b below. For individual tax returns, complete line a and line b below; see instructions.
        a If the loss on line 11 includes a loss from federal Form 4684, Section B, Part II, column (b)(ii) of line 30 or line 35,
          enter that part of the loss here. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                     ¥ 18a
        b Redetermine the gain or (loss) on line 17, excluding the loss, if any, on line 18a. Enter here and on line 20 ~~~~~ ¥ 18bj

           For Privacy Notice, get FTB 1131 EN-SP.                     022                   7811214                                                        Schedule D-1 2021       Side 1
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                                                                                                                                                                                              139242 12-23-21




Part II     Section B - Adjusting California Ordinary Gain or Loss For individual tax returns (Forms 540 and 540NR) only.
19 Enter ordinary federal gain or (loss) from federal Schedule 1 (Form 1040), line 4 ~~~~~~~~~~~~~~~~~~ j                 ¥                                           19
20 Enter ordinary California gain or (loss) from line 18b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                j                                           20
21 Ordinary gain or loss adjustment: Compare line 19 and line 20. See instructions.
     a    If line 19 is more than line 20, enter the difference here and on Sch. CA (540), Part I or Sch. CA (540NR), Part II, Section B, line 4, col. B   ~~ j
                                                                                                                                                              ¥ 21a
     b    If line 20 is more than line 19, enter the difference here and on Sch. CA (540), Part I or Sch. CA (540NR), Part II, Section B, line 4, col. C      j
                                                                                                                                                            ¥ 21b
Part III          Gain from Disposition of Property Under IRC Sections 1245, 1250, 1252, 1254, and 1255                                                        Date acquired                  Date sold
                                                                                                                                                               (mm/dd/yyyy)                 (mm/dd/yyyy)
Description of IRC Sections 1245, 1250, 1252, 1254, and 1255 property.
22 A j ¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     Bj¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
       j
     C ¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     Dj¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
Relate the properties on lines 22A through 22D to these columns |                                  Property A                      Property B                  Property C                   Property D
23 Gross sales price ~~~~~~~~~~~~~~~~~                                              23    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
24 Cost or other basis plus expense of sale ~~~~~~~                                 24    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
25 Depreciation (or depletion) allowed or allowable ~~~~                            25    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
26 Adjusted basis. Subtract line 25 from line 24 ~~~~~                              26    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
27 Total gain. Subtract line 26 from line 23                                 27    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
28 If IRC Section 1245 property:
   a Depreciation allowed or allowable from line 25 ~~~                            28a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
   b Enter the smaller of line 27 or line 28a ~~~~~~                               28b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
29 If IRC Section 1250 property: If straight-line depreciation was used,
     enter -0- on line 29g, except for a corporation subject to IRC Sec. 291:

     a Additional depreciation after 12/31/76~~~~~~~                               29a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     b Applicable percentage multiplied by the smaller of line 27 or line 29a ~    29b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     c Subtract line 29a from line 27. If line 27 is not more
       than line 29a, skip line 29d and line 29e ~~~~~~                            29c j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     d Additional depreciation after 12/31/70 and before 1/1/77 ~~                     j
                                                                                   29d ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     e Enter the smaller of line 29c or line 29d ~~~~~~                            29e j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     f IRC Section 291 amount (for corporations only) ~~                           29f j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     g Add line 29b, line 29e, and line 29f                                29g j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥


30 If IRC Section 1252 property: Skip section if you did not
     dispose of farm land or if form is being completed for a partnership.

     a Soil, water, and land clearing expenses ~~~~~~                              30a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     b Applicable percentage multiplied by line 30a ~~~~                               j
                                                                                   30b ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     c Enter the smaller of line 27 or line 30b ~~~~~~                             30c j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
31 If IRC Section 1254 property:
     a Intangible drilling and development costs deducted after 12/31/76 ~~~       31a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     b Enter the smaller of line 27 or line 31a ~~~~~~                             31b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
32 If IRC Section 1255 property:
   a Applicable percentage of payments excluded from
         income under IRC Section 126                       ~~~~~~~~~              32a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
   b Enter the smaller of line 27 or line 32a                                32b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
Summary of Part III Gains. Complete property column A through column D for line 23 through line 32b before going to line 33.
33 Total gains for all properties. Add column A through column D of line 27 ~~~~~~~~~~~~~~~~~~~~~~~~~ j         ¥                                                              33
                                                                                                                j
34 Add column A through column D of lines 28b, 29g, 30c, 31b, and 32b. Enter here and on line 13 ~~~~~~~~~~~~~~ ¥                                                              34
35 Subtract line 34 from line 33. Enter the portion from other than casualty and theft here and on line 6.
   Enter the portion from casualty and theft on federal Form 4684, line 33  j     ¥                                                                   35
Part IV Recapture Amounts Under IRC Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                                                                                                                                             (a) Expense deductions                (b) Recovery deductions
36 Expense deductions or recovery deductions. See instructions ~~~~~~~~~~~~~~                                                     36    j
                                                                                                                                        ¥                                      j
                                                                                                                                                                               ¥
37 Depreciation or recovery deductions. See instructions ~~~~~~~~~~~~~~~~~                                                        37    j
                                                                                                                                        ¥                                      j
                                                                                                                                                                               ¥
38 Recapture amount. Subtract line 37 from line 36. See instructions ~~~~~~~~~~~~                                                 38    j
                                                                                                                                        ¥                                      j
                                                                                                                                                                               ¥



               Side 2 Schedule D-1 2021                                         022               7812214
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  TAXABLE YEAR                                                                                                                               CALIFORNIA SCHEDULE

    2021                 Apportionment and Allocation of Income                                                                                                R
Attach this schedule behind the California tax return and prior to the supporting schedules.
For calendar year 2021 or fiscal year beginning month (mm/dd/yyyy)                                                , and ending (mm/dd/yyyy)                                                      .
Name as shown on your California tax return                                                                                                       SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


TENTRR INC
Water's-Edge Filers Only: If controlled foreign corporations are included in the combined report, attach form FTB 2416.
Complete Schedule R (Side 1 and Side 2) and all applicable Schedules (R-1 through R-7). See General Information for Schedule R.
  1 a Net income (loss) after state adjustments from Form 100 or Form 100W, Side 2, line 17; Form 100S, Side 2,
      line 14; Form 100X, line 4. Form 565 and Form 568 filers: Enter the total of line 1 through line 11c from
      Schedule K (565 or 568) less the total of line 12 through line 13e from Schedule K (565 or 568) ~~~~~~~~~~~                       c   1a            -6,096,457 00
    b Water's-edge foreign investment interest offset from form FTB 2424, line 17 ~~~~~~~~~~~~~~~~~~~                                   c   1b                                                00
    c Total. Combine line 1a and line 1b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          c   1c            -6,096,457 00
Nonbusiness Income (Loss) from All Sources. See General Information A for definitions and examples.
 2 Dividends included on line 1a and not deducted on Form 100, Side 2, line 11;
    Form 100W, Side 2, lines 11a/b; or Form 100S, Side 2, lines 9 and 10 ~~~~~~           c        2                                00
  3 Interest. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                                   c        3                                00
  4 Net income (loss) from the rental of property from Schedule R-3, line 3, column (c)   c        4                                00
  5 Royalties. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~ c                                         5                                00
  6 Gain (loss) from the sale of assets from Schedule R-4, line 2, column (e) ~~~~~ c              6                                00
  7 Gain (loss) from sale of a nonbusiness interest in a partnership or LLC. Attach sch ~ c        7                                00
  8 Miscellaneous nonbusiness income (loss). Attach schedule ~~~~~~~~~~ c          8              00
  9 Total nonbusiness income (loss). Combine line 2 through line 8      ~~~~~~~~~~~~~~~~~~~~~~~~~ c                                          9                                                00
Business Income (Loss) before Apportionment (subject to a separate apportionment formula)
 10 Nonunitary partnership or LLC business income (loss) ~~~~~~~~~~~~ c 10                                                          00
11 Income (loss) from a separate trade or business. Attach supplemental Schedule R ~           c   11                               00
12 Business income (loss) deferred from prior years. See General Information L ~~~             c   12                               00
13 Capital gain (loss) netting subject to separate apportionment. See Gen Information M    13  c          00
14 Total separately apportionable business income (loss). Combine line 10 through line 13 ~~~~~~~~~~~~~~~ c                                 14                                                00
15 Tot business inc (loss) subject to apportionment for this trade or business, subtract the sum of ln 9 and ln 14 from ln 1c ~         c   15            -6,096,457 00
16 Interest offset from Schedule R-5, line 7 or line 16 (California domiciliaries only) ~~~~~~~~~~~~~~~~~~                              c   16                                                00
17 Business income (loss) for this trade or business subject to apportionment. Combine line 15 and line 16 ~~~~~~~~                     c   17            -6,096,457 00
18 a Apportionment percentage from Schedule R-1, Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~                                   c   18a               2.5959 %
    b Business income (loss) apportioned to California. Multiply line 17 by line 18a ~~~~~~~~~~~~~~~~~~~                                c   18b             -158,258 00
Nonbusiness Income (Loss) Allocable to California. If no income (loss) is allocable to California, do not complete
line 19 through line 26, enter -0- on line 27 and go to Side 2, line 28.
 19 Dividends and interest income (if taxpayer's commercial domicile is in California):
     a Dividends included in line 2 above ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         c   19a                                               00
    b Interest included in line 3 above   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        c   19b                                               00
20 Net income (loss) from the rental of property within California from Schedule R-3, line 3, column (b) ~~~~~~~~~~                     c   20                                                00
21 Royalties. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                c   21                                                00
22 Gain (loss) from the sale of assets within California from Schedule R-4, line 2, total of column (b) and
   column (d). Combined reporting groups, see General Information M ~~~~~~~~~~~~~~~~~~~~~~~~                                            c   22                                                00
23 Gain (loss) from sale of a nonbusiness interest in a partnership or LLC. Attach schedule ~~~~~~~~~~~~~~~                             c   23                                                00
24 Miscellaneous nonbusiness income (loss). Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 c   24                                                00
25 Total nonbusiness income (loss) allocable to California. Combine line 19a through line 24 ~~~~~~~~~~~~~~                             c   25                                                00
26 Interest offset from line 16 allocated to income included on line 19a and line 19b (California domiciliary only).
    See General Information J ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                c   26                                                00
27 Net nonbusiness income (loss) allocable to California. Subtract line 26 from line 25 ~~~~~~~~~~~~~~~~~                               c   27                                                00




                                                                                                                             139841
         For Privacy Notice, get FTB 1131 EN-SP.            022                8011214                                       12-17-21       Schedule R 2021 Side 1
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Name as shown on your California tax return                                                                                    SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


TENTRR INC
California Business Income (Loss) subject to a separate apportionment formula.
28 California business income (loss) from a nonunitary partnership or LLC ~~~~~ ¥             28                     00
29 California income (loss) from a separate trade or business. Attach
   supplemental schedule R. ~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                       29                     00
30 California business income (loss) deferred from prior yrs. See General Information L ¥     30                   00
31 Total business income (loss) separately apportioned to California. Combine line 28 through line 30   ~~~~~~~~~~ ¥      31                                               00
Net Income (Loss) for California Purpose
32 Post-apportioned and allocated amounts from capital gain (loss) netting.
    See General Information M ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                32                                               00
33 Net income (loss) for California purposes before contributions adjustment. Combine lines 18b, 27, 31, and 32 ~~~~~ ¥   33                 -158,258 00
34 Contributions adjustment from Schedule R-6, line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                   34                                               00
35 Net income (loss) for California purposes. Combine line 33 and line 34. Enter here and on Form 100 or
   Form 100W, Side 2, line 18 or Form 100S, Side 2, line 15  ¥                                35                 -158,258 00




                                                        Complete the applicable
                                                       Schedules R-1 through R-7,
                                                           starting on Side 3.




            139842
            12-17-21   Side 2 Schedule R 2021             022                 8012214
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Name as shown on your California tax return                                                                                                         SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


TENTRR INC
Schedule R-1 Apportionment Formula.
Part A Standard Method - Single-Sales Factor Formula. Complete this part only if the corporation uses the single-sales factor formula.
                                                                                                           (a)                                                              (c)
                                                                                                Total within and outside                 (b)                    Percent within California
      See General Information G and Specific Instructions.                                                                     Total within California
                                                                                                       California                                                   ((b) ^ (a)) x 100

1 Sales: Gross receipts, less returns, and allowances ~~~~~~~~~                                         4,846,290
  a Sales delivered or shipped to California purchasers.
      (i) Shipped from outside California ~~~~~~~~~~~~~~~                                                                                  125,954
      (ii) Shipped from within California ~~~~~~~~~~~~~~~~                                                                                       0
    b Sales shipped from California to:
      (i) The United States Government           ~~~~~~~~~~~~~~~                                                                                           0
      (ii) Purchasers in a state where the taxpayer is not taxable ~~~~~                                                   ¥                               0
    c Total other gross receipts ~~~~~~~~~~~~~~~~~~~                                        ¥                    5,821
      (i) Sales from services ~~~~~~~~~~~~~~~~~~~~                                                                         ¥
      (ii) Sales or other income from intangibles ~~~~~~~~~~~~                                                             ¥
      (iii)Sales from rental, leasing or licensing of tangible or real property ~                                          ¥
      (iv)Sales from other gross receipts ~~~~~~~~~~~~~~~                                                                  ¥                               0
    d Sales from partnerships or LLCs treated as partnerships ~~~~~~                        ¥                              ¥
    Total sales                                                   ¥           4,852,111 ¥                        125,954
2 Apportionment percentage. Divide total sales column (b) by total
  sales column (a) and multiply the result by 100. Enter the result here
 and on Schedule R, Side 1, line 18a. See General Information H                                                                                              ¥          2.5959 %
Part B Three-Factor Formula. Complete this part only if the corporation uses the three-factor formula.
                                                                                        (a)                                              (b)                                (c)
                                                                             Total within and outside                                                           Percent within California
                                                                                    California                                 Total within California              ((b) ^ (a)) x 100
1 Property: Use the average yearly value of owned real and tangible personal
      property used in the business at original cost. See General Information E. Exclude
      property not connected with the business and the value of construction in progress.
      Inventory ~~~~~~~~~~~~~~~~~~~~~~~~~~
      Buildings ~~~~~~~~~~~~~~~~~~~~~~~~~~
      Machinery and equipment (including delivery equipment)
                                             ~~~~~
      Furniture and fixtures ~~~~~~~~~~~~~~~~~~~~~
      Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Other tangible assets. Attach schedule ~~~~~~~~~~~~~~
      Rented property used in the business. See General Information E ~~
      Total property                                                ¥                              ¥                                     ¥                               %
2     Payroll: Use employee wages, salaries, commissions, and other
      compensation related to business income. See General Information F.
      Total payroll                                                 ¥                              ¥                                     ¥                               %
3     Sales: Gross receipts, less returns, and allowances. See General
      Information G and Specific Instructions ~~~~~~~~~~~~~
      a Sales delivered or shipped to California purchasers.
        (i) Shipped from outside California ~~~~~~~~~~~~~
        (ii) Shipped from within California ~~~~~~~~~~~~~~
      b Sales shipped from California to:
        (i) The United States Government ~~~~~~~~~~~~~~
        (ii) Purchasers in a state where the taxpayer is not taxable ~~~~
      c Total other gross receipts ~~~~~~~~~~~~~~~~~~                                       ¥                              ¥
      Total sales                                                  ¥                              ¥                                     ¥                               %
4     Total percent . Add the percentages in col (c) ~~~~~~~~~~~                                                                                                                                 %
5     Apportionment percentage . Divide line 4 by 3, enter the result here
      and on Schedule R, Side 1, line 18a. See General Information H                                                                                          ¥                               %




               139843
               12-14-21                                                022                  8013214                                           Schedule R 2021 Side 3
                                               Case 23-10000-BLS                                      Doc 1          Filed 01/02/23                 Page 87 of 304



Name as shown on your California tax return                                                                                                                                   SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


TENTRR INC
Schedule R-2 Sales and General Questionnaire.                                                Attach additional sheets if necessary.
1     Describe briefly the nature and location(s) of the California business activities.
      CAMPING ONLINE MARKETPLACE
2     State the exact title and principal business activity of all joint ventures, partnerships, or LLCs in which the corporation has an interest.
      N/A
3     Does the California sales figure on Schedule R-1 (or a comparable schedule in a combined report) include all sales shipped from California where the purchaser is the
      U.S. Government?               X Yes                    No If "No," explain.
4     Does the California sales figure on Schedule R-1 (or a comparable schedule in a combined report) include all sales shipped from California to states in which the
      taxpayer is not subject to tax? See General Information G and Specific Instructions.                                  X Yes            No If "No," explain.


5 a Did the taxpayer use reasonable approximation to assign sales under Schedule R-1, Part A, line 1c (i)-(iv)? ~~~~~~~~~~~~~~~ ¥                                                                      Yes       X No
    If "Yes," provide a brief description.
    b Did the taxpayer change reasonable approximation method to assign sales from the last tax return filed? See Specific Instructions ~~~~~~                                                         Yes       X No
      If "Yes," provide a brief description of the new method.
6     Are the nonbusiness items reported on Schedule R, Side 1, line 2 through line 8, and the apportionment factor items reported on Schedule R-1 treated consistently on
      all state tax returns filed by the taxpayer?                         X Yes                  No If "No," explain.


7     Has this corporation or any member of its combined unitary group changed the way income is apportioned or allocated to California from prior year tax returns?
      See General Information I.                          Yes       X No If "Yes," explain.

8     Does the California sales figure on Schedule R-1 (or comparable sch in a combined report) include all sales shipped to California destinations?                                           X Yes                  No
      If "No," indicate the name of the selling member and the nature of the sales activity believed to be immune.


9     Does the California sales figure on Schedule R-1 (or comparable schedule in a combined report) include all sales delivered to customers outside California
      which have an ultimate destination in California?                           X Yes                No   If "No," explain.



Schedule R-3                     Net Income (Loss) from the Rental of Nonbusiness Property
                                                                                                                    (a)                                 (b)                                  (c)
                                                                                                                Total outside                        Total within                    Total outside and
                                                                                                                 California                           California                 within California (a) + (b)
1     Income from rents ~~~~~~~~~~~~~~~~~~
2     Rental deductions              ~~~~~~~~~~~~~~~~~~
3     Net income (loss) from rents. Subtract line 2 from line 1. Enter the result here and

      enter column (c) on Side 1, line 4; enter column (b) on Side 1, line 20 ~~~~~~                                                     j
                                                                                                                                         ¥                                   j
                                                                                                                                                                             ¥


Schedule R-4               Gain (Loss) from the Sale of Nonbusiness Assets
California sales of nonbusiness assets include transactions involving: (1) real property located in California; (2) tangible personal property, if it had a situs in
California at the time of sale, or if the corporation is commercially domiciled in California and not taxable in the state where the property had a situs at the time of
sale; and (3) intangible personal property if the corporation's commercial domicile is in California or the income is otherwise allocable to California.

           Description of property sold                                     Real estate and other tangible assets                                   Intangible assets                                 Total
                                                                                (a)                      (b)                                 (c)                        (d)                           (e)
                                                                          Gain (loss) from          Gain (loss) from                   Gain (loss) from           Gain (loss) from                Gain (loss)
                                                                         outside California        within California                  outside California          within California           (a) + (b) +(c) + (d)
1                                                                    j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
                                                                     j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
                                                                     j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
2 Total gain (loss)                                       j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
Enter total gain (loss) line 2, column (e) on Side 1, line 6 and enter total of line 2, columns (b) and (d) on Side 1, line 22.




                139844
                12-14-21       Side 4 Schedule R 2021                                    022                 8014214
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Name as shown on your California tax return                                                                                                    SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


TENTRR INC
Schedule R-5 Computation of Interest Offset. Complete only if there are entries on line 2 and/or line 3 of Schedule R and if Schedule R-1 is
                         required. See General Information J. (California domiciliary only)
  1 Total interest expense deducted ~~~~~~~~~~~~~~~~~~~~~~~                                       1
  2 Water's-edge foreign investment interest offset from Side 1, line 1b ~~~~~~~~                 2
  3 Balance. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~                                   3
  4 Total interest income (Form 100 or Form 100W, Side 1, line 4 and Schedule F, line 5a
    and line 5b; or Form 100S, Side 1, line 3 and interest income included on Schedule F,
    line 5 or Schedule K, line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                       4
  5 Nonbusiness interest income from Side 1, line 3 ~~~~~~~~~~~~~~~~      5
  6 Business interest income. Subtract line 5 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 6
  7 Excess interest expense over business interest income. Subtract line 6 from line 3. If line 6 exceeds line 3, enter -0- here
    and on Side 1, line 16, and do not complete the rest of this schedule  j                              ¥        7
  8 Total dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            8
  9 Deducted dividends from Form 100, Side 2, lines 10 and 11; Form 100W, Side 2,
    lines 10 and 11a/b; or Form 100S, Side 2, lines 9 and 10 ~~~~~~~~~~~~~                        9
10 Net dividend income. Subtract line 9 from line 8                                                    10
11 Business dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~                 11
12 Deducted dividends from Form 100, Side 2, lines 10 and 11; Form 100W, Side 2, lines
   10 and 11a/b; or Form 100S, Side 2, lines 9 and 10, attributable to business
    dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                12
13 Net business dividend income. Subtract line 12 from line 11 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              13
14 Net nonbusiness dividend income. Subtract line 13 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                             14
15 Total nonbusiness interest and dividend income. Add line 5 and line 14 ~~~~~~~~~~~~~~~~~~~~~~~                                        15
16 Enter the lesser of line 7 or line 15. Enter here and on Side 1, line 16 ~~~~~~~~~~~~~~~~~~~~~~~ j
                                                                                                    ¥                                    16

If interest and/or dividend income is reported on Side 1, line 19a or line 19b, enter the allocable portion of Schedule R-5, line 16 on Side 1, line 26.
See General Information J. If no interest or dividend income is reported on Side 1, line 19a or line 19b, do not deduct any interest expense on Side 1, line 26.

Schedule R-6             Contributions Adjustment. See General Information N.
  1 Total contributions paid (current year and carryover amount) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1                        5,050
  2 Net income (loss) after state adjustments from Side 1, line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2                   -6,096,457
  3 Portion of dividends deductible under R&TC Sections 24410 and 24411 (from Form 100, Side 2, line 11;
    Form 100W, lines 11a/b; or Form 100S, lines 9 and 10), and other adjustments. See General Information N ~~~~~~~~                      3
  4 Contributions deducted on Form 100, Form 100W, or Form 100S ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                4
  5 Total. Add line 2 through line 4. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5                                                0
  6 Multiply line 5 by 10% (.10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               6
  7 Net income (loss) for state purposes before contributions adjustment from Side 2, line 33 ~~~~~~~~~~~~~~~                             7                         -158,258
  8 Business dividends deductible on line 3 multiplied by the average apportionment percentage from Schedule R-1,
    Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           8
 9 Amount of line 3 attributable to nonbusiness dividends reported on Side 1, line 19a ~~~~~~~~~~~~~~~~~~                                 9
10 Contributions deducted (from line 4 above) multiplied by the average apportionment percentage from Schedule R-1,
    Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          10
11 Total. Add line 7 through line 10. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          11                                                0
12 Multiply line 11 by 10% (.10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              12
Contributions Adjustment
 13 Enter the amount shown on line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            13
14 Amount of contributions allowable:
   a If line 1 equals or exceeds line 6, enter the lesser of line 1 or line 12 ~~~~~~~~~~~~~~~~~~~~~~~~                                  14a
   b If line 1 is less than line 6, divide line 11 by line 5. Then multiply line 1 by the result and enter here ~~~~~~~~~~               14b
15 Contributions adjustment. Subtract line 14a or line 14b from line 13. Enter here and on Side 2, line 34.
    If the result is a negative amount, enter in brackets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           j
                                                                                                                                    ¥    15




              139851
              12-14-21                                      022                8015214                                        Schedule R 2021 Side 5
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   TAXABLE YEAR               Net Operating Loss (NOL) Computation and                                                                                   CALIFORNIA FORM

      2021                    NOL and Disaster Loss Limitations - Corporations                                                                                3805Q
Attach to Form 100, Form 100W, Form 100S, or Form 109.
Corporation name                                                                                                                             California corporation number



TENTRR INC
During the taxable year the corporation incurred the NOL, the corporation was a(n): j ¥ X C corporation                                      FEIN

j
¥        S corporation    j
                          ¥       Exempt organization    j¥       Limited liability company (electing to be taxed as a corporation)           XX-XXXXXXX
If the corporation previously filed California tax returns under another corporate name, enter the corporation name and California corporation number:
j¥
If the corporation is included in a combined report of a unitary group, see instructions, General Information C, Combined Reporting.
Part I Current year NOL. If the corporation does not have a current year NOL, go to Part II.
 1 Net loss from Form 100, line 18; Form 100W, line 18; Form 100S, line 15; or Form 109, line 2.
   Enter as a positive number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              1                 158,258 00
 2 2021 disaster loss included in line 1. Enter as a positive number ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2                                           00
 3 Subtract line 2 from line 1. If zero or less, enter -0- and see instructions                                 3                 158,258 00
 4 a Enter the amount of the loss incurred by a new business included in line 3 ~~~            4a                                 00
   b Enter the amount of the loss incurred by an eligible small business included in line 3
                                                                                  4b             00
   c Add line 4a and line 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            4c                                                                             00
 5 General NOL. Subtract line 4c from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                   5                                                    158,258 00
 6 Current year NOL. Add line 2, line 4c, and line 5. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~ j¥ 6                                                    158,258 00

Part II   NOL carryover and disaster loss carryover limitations. See instructions.
                                                                                                                            (g) Available balance
 1 Net income - Enter the amount from Form 100, line 18; Form 100W, line 18; Form 100S, line 15 less line 16;
   or Form 109, line 2; (but not less than -0-). If the corporation taxable income is $1,000,000 or more, see inst     j
                                                                                                                       ¥                        0
Prior Year NOLs
      (a)               (b)            (c)               (d)                       (e)                     (f)                                                  (h)
                    Code - See
    Year of        instructions   Type of NOL -     Initial loss -              Carryover             Amount used                                      Carryover to 2022
     loss                          See below *    See instructions             from 2020                in 2021                                       col. (e) minus col. (f)


2j
 ¥                                                                     j
                                                                       ¥                                                                            j
                                                                                                                                                    ¥


  j
  ¥                                                                    j
                                                                       ¥                                                                            j
                                                                                                                                                    ¥


  j
  ¥                                                                    j
                                                                       ¥                                                                            j
                                                                                                                                                    ¥


  j
  ¥                                                                    j
                                                                       ¥                                                                            j
                                                                                                                                                    ¥
Current Year NOLs
                                                                                                                                                         col. (d) minus col. (f)
                                                                                                                                                          See instructions.

 3 2021                               DIS


 4 2021                               GEN              158,258                                                                                                 158,258

   2021


   2021


   2021
* Type of NOL: General (GEN), New Business (NB), Eligible Small Business (ESB), or Disaster (DIS).
Part III 2021 NOL deduction
 1 Total the amounts in Part II, line 2, column (f) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                j
                                                                                                                                      ¥ 1                                          00
 2 Enter the total amount from line 1 that represents disaster loss carryover deduction here and on Form 100, line 21;
   Form 100W, line 21; or Form 100S, line 19. Form 109 filers enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~                                       2                                          00
 3 Subtract line 2 from line 1. Enter the result here and on Form 100, line 19; Form 100W, line 19; Form 100S,
   line 17; or Form 109, line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            j
                                                                                                                                      ¥ 3                                          00




                   139271 12-15-21                          022               7521214                                                          FTB 3805Q 2021
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                                                                                                                                                                  XX-XXXXXXX
 TAXABLE YEAR
                         Corporation Depreciation                                                                                                                CALIFORNIA FORM

     2021                and Amortization                                                                                                                                 3885
Attach to Form 100 or Form 100W.
Corporation name                                                                                                                                         California corporation number

TENTRR INC
Part I Election To Expense Certain Property Under IRC Section 179
 1 Maximum deduction under IRC Section 179 for California ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1                        $25,000
 2 Total cost of IRC Section 179 property placed in service ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              2
 3 Threshold cost of IRC Section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3                      $200,000
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~                                              4
 5 Dollar limitation for taxable year. Subtract line 4 from line 1. If zero or less, enter -0-                                        5
                           (a) Description of property                            (b) Cost (business use only)              (c) Elected cost
 6


 7 Listed property (elected IRC Section 179 cost) ~~~~~~~~~~~~~~~~~~~~~~~~~~                            7
 8 Total elected cost of IRC Section 179 property. Add amounts in column (c), line 6 and line 7 ~~~~~~~~~~~~~~~~~~                                         8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            9
10 Carryover of disallowed deduction from prior taxable years ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~~~~~~~~~                                      11
12 IRC Section 179 expense deduction. Add line 9 and line 10, but do not enter more than line 11                                          12
13 Carryover of disallowed deduction to 2022. Add line 9 and line 10, less line 12                        13
Part II Depreciation and Election of Additional First Year Depreciation Deduction Under R&TC Section 24356
             (a)                    (b)                    (c)                       (d)                 (e)                          (f)                     (g)                    (h)
   Description of property     Date acquired             Cost or          Depreciation allowed or    Depreciation
                                                                                                                                    Life or              Depreciation             Additional
                               (mm/dd/yyyy)            other basis        allowable in earlier years   method                        rate                for this year             first year
                                                                                                                                                                                 depreciation

14       SEE STATEMENT 15




15 Add the amounts in column (g) and column (h). The total of column (h) may not exceed $2,000.
   See instructions for line 14, column (h) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               15       1,853,197
Part III Summary
16 Total: If the corporation is electing:
   IRC Section 179 expense, add the amount on line 12 and line 15, column (g) or
   Additional first year depreciation under R&TC Section 24356, add the amounts on line 15, columns (g) and (h) or
   Depreciation (if no election is made), enter the amount from line 15, column (g) ~~~~~~~~~~~~~~~~~~~~~~~                                               16         1,853,197
17 Total depreciation claimed for federal purposes from federal Form 4562, line 22 ~~~~~~~~~~~~~~~~~~~~~~~                                                17         1,853,197
18 Depreciation adjustment. If line 17 is greater than line 16, enter the difference here and on Form 100 or Form 100W, Side 1, line 6.
     If line 17 is less than line 16, enter the difference here and on Form 100 or Form 100W, Side 2, line 12. (If California depreciation
     amounts are used to determine net income before state adjustments on Form 100 or Form 100W, no adjustment is necessary.)                           18                               0
Part IV Amortization
                    (a)                            (b)                      (c)                           (d)                      (e)                 (f)                    (g)
          Description of property             Date acquired               Cost or              Amortization allowed or            R&TC              Period or            Amortization
                                              (mm/dd/yyyy)              other basis            allowable in earlier years        Section           percentage            for this year
                                                                                                                              (see instructions)

19       SEE STATEMENT 16




20 Total. Add the amounts in column (g) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         20                244,034
21 Total amortization claimed for federal purposes from federal Form 4562, line 44 ~~~~~~~~~~~~~~~~~~~~~~~                                                21                244,034
22 Amortization adjustment. If line 21 is greater than line 20, enter the difference here and on Form 100 or Form 100W,
   Side 1, line 6. If line 21 is less than line 20, enter the difference here and on Form 100 or Form 100W, Side 2, line 12                        22                               0

                    139281 12-15-21                            022                7621214                                                                 FTB 3885 2021
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022                                                                                                                  DO NOT MAIL THIS FORM TO THE FTB
Date Accepted

TAXABLE YEAR                                                                                                                                                                  FORM
     2021                       California e-file Return Authorization for Corporations                                                                                 8453-C
Corporation name                                                                                                                                California Corporation No.,
                                                                                                                                                CA SOS file no., or FEIN
TENTRR, INC.                                                                                                                                    XX-XXXXXXX
Part I      Tax Return Information (whole dollars only)
 1    Total income (Form 100, line 9; Form 100S, line 8; Form 100W, line 9 or Form 100X, line 6)                    ~~~~~~~~~~~~                     1          -6,096,457
 2    Taxable income (Form 100, line 22; Form 100S, line 20; Form 100W, line 22 or Form 100X, line 10)                          ~~~~~~~~             2            -158,258
 3    Total tax (Form 100, line 30; Form 100S, line 30; Form 100W, line 30 or Form 100X, line 18) ~~~~~~~~~~~~                                       3
 4    Tax due (Form 100, line 39; Form 100S, line 40; Form 100W, line 36 or Form 100X, line 20) ~~~~~~~~~~~~                                         4
 5    Overpayment (Form 100, line 40; Form 100S, line 41; Form 100W, line 37 or Form 100X, line 27)                            ~~~~~~~~~             5
Part II     Settle the Account Electronically for Taxable Year 2021
 6          Direct deposit of refund (For Forms 100, 100S, and 100W only.)

 7                                7a Amount
            Electronic funds withdrawal                           7b Withdrawal date (mm/dd/yyyy)
Part III    Schedule of Estimated Tax Payments for Taxable Year 2022 (These are NOT installment payments for the current amount the corporation owes.)
                                              First Payment                     Second Payment                    Third Payment                             Fourth Payment
 8 Amount                                                                                                                                                             800.
 9 Withdrawal Date                                                                                                                                              12/15/2022
Part IV Banking Information (Have you verified the corporation's banking information?)
10 Routing number
11 Account number                                                                                  12 Type of account:               Checking               Savings
Part V      Declaration of Officer
I authorize the corporate account to be settled as designated in Part II. If I check Part II, box 6, I declare that the bank account specified in Part IV for the direct deposit
refund agrees with the authorization stated on my return. If I check Part II, box 7, I authorize an electronic funds withdrawal for the amount listed on line 7a and any
estimated payment amounts listed on Part III, line 8 from the bank account specified in Part IV.
Under penalties of perjury, I declare that I am an officer of the above corporation and that the information I provided to my electronic return originator (ERO), transmitter,
or intermediate service provider and the amounts in Part I above agree with the amounts on the corresponding lines of the corporation's 2021 California income tax return.
To the best of my knowledge and belief, the corporation's return is true, correct, and complete. If the corporation is filing a balance due return, I understand that if the
Franchise Tax Board (FTB) does not receive full and timely payment of the corporation's tax liability, the corporation will remain liable for the tax liability and all applicable
interest and penalties. I authorize the corporation return and accompanying schedules and statements be transmitted to the FTB by the ERO, transmitter, or intermediate
service provider. If the processing of the corporation's return or refund is delayed, I authorize the FTB to disclose to the ERO or intermediate service provider the
reason(s) for the delay or the date when the refund was sent.



               =                                                                            =
Sign                                                                                               PRESIDENT
Here                   Signature of officer                                  Date               Title



Part VI     Declaration of Electronic Return Originator (ERO) and Paid Preparer.
I declare that I have reviewed the above corporation's return and that the entries on form FTB 8453-C are complete and correct to the best of my knowledge. (If I am
only an intermediate service provider, I understand that I am not responsible for reviewing the corporation's return. I declare, however, that form FTB 8453-C accurately
reflects the data on the return.) I have obtained the corporate officer's signature on form FTB 8453-C before transmitting this return to the FTB; I have provided the
corporate officer with a copy of all forms and information that I will file with the FTB, and I have followed all other requirements described in FTB Pub. 1345, 2021
Handbook for Authorized e-file Providers. I will keep form FTB 8453-C on file for four years from the due date of the return or four years from the date the corporation
return is filed, whichever is later, and I will make a copy available to the FTB upon request. If I am also the paid preparer, under penalties of perjury, I declare that I have
examined the above corporation's return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true, correct, and complete.
I make this declaration based on all information of which I have knowledge.



                       =
           ERO's                                                                                 Date              Check if             Check               ERO's PTIN
           signature                                                                                               also paid            if self-
ERO                                                                10/11/22 preparer                                             X      employed                P00185030

                                    =
Must       Firm's name (or yours           GUTTERSON & COHEN TAX SPECIALISTS LLC                                                                 Firm's FEIN   XX-XXXXXXX
           if self-employed)
Sign       and address                     445 BROADHOLLOW ROAD STE 230                                                                          ZIP code
                                           MELVILLE, NY                                                                                                        11747
Under penalties of perjury, I declare that I have examined the above corporation's return and accompanying schedules and statements, and to the best of my knowledge
and belief, they are true, correct, and complete. I make this declaration based on all information of which I have knowledge.


                                =
Paid               Paid
                   preparer's
                                                                                                         Date                   Check
                                                                                                                                if self-
                                                                                                                                                      Paid preparer's PTIN

Preparer           signature                                                                                                    employed



                                              =
Must               Firm's name (or yours
                   if self-employed)
                                                                                                                                                 Firm's FEIN

Sign               and address                                                                                                                   ZIP code




                                                                                                                                                                   FTB 8453-C 2021
139101 12-09-21
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 100/100W                 OTHER ADDITIONS                    STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
DISALLOWED AMOUNT OF IRS 100% BUSINESS MEALS EXPENSE                            15,014.
                                                                         }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, OTHER ADDITIONS                                         15,014.
                                                                         ~~~~~~~~~~~~~~




                                                                             STATEMENT(S) 1
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TENTRR, INC.                                                                    XX-XXXXXXX
}}}}}}}}}}}}                                                                    }}}}}}}}}}

FORM 100/100W                        CONTRIBUTIONS                             STATEMENT 2


NET INCOME AFTER STATE ADJUSTMENTS                           -6,096,457
DEDUCTION FOR DIVIDENDS RECEIVED                                      0

NET INCOME ADJUSTED FOR CONTRIBUTION PURPOSES                                   -6,096,457


CARRYOVER OF PRIOR YEARS UNUSED CONTRIBUTIONS:
  5TH PRECEDING TAX YEAR                                               0
  4TH PRECEDING TAX YEAR                                               0
  3RD PRECEDING TAX YEAR                                               0
  2ND PRECEDING TAX YEAR                                               0
  1ST PRECEDING TAX YEAR                                               0

TOTAL OF UNUSED CARRYOVER CONTRIBUTIONS                                                  0
CURRENT YEAR CONTRIBUTIONS                                                           5,050
COLLEGE ACCESS ADDBACK                                                                   0

TOTAL AVAILABLE CONTRIBUTIONS LESS COLLEGE ACCESS ADDBACK                            5,050
10% OF NET INCOME AS ADJUSTED                                                            0

EXCESS CONTRIBUTIONS                                                                 5,050


ALLOWABLE CONTRIBUTIONS DEDUCTION                                                        0




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 100/100W, SCHEDULE A        TAXES DEDUCTED                  STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                   (C) TOTAL      (D) NONDED
(A) NATURE OF TAX AND (B) TAXING AUTHORITY             TAXES          AMOUNT
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}
PAYROLL TAXES                                           176,432.
BASED ON INCOME          LOUISIANA                           549.          549.
BASED ON INCOME          NEW YORK                         1,826.         1,826.
BASED ON INCOME          UTAH                                100.          100.
BASED ON INCOME          CITY TAXES                           25.            25.
                                                  }}}}}}}}}}}}}}}}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE A                      178,932.         2,500.
                                                  ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~




                                                                           STATEMENT(S) 2, 3
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 100/100W, SCHEDULE F   COMPENSATION OF OFFICERS             STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                             (B) SOCIAL   (C) PCT    PCT OF STK    (F) AMOUNT
(A) NAME OF OFFICER           SECURITY    OF TIME                      OF
                               NUMBER     DEVOTED (D) COM (E) PFD COMPENSATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
ANAND SUBRAMANIAN             XXX-XX-XXXX   100%     .85%             490,555.

                                                                              }}}}}}}}}}}}
TOTAL COMPENSATION OF OFFICERS                                                    490,555.
LESS: COMPENSATION OF OFFICERS CLAIMED ELSEWHERE ON RETURN
                                                                              }}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE F                                                490,555.
                                                                              ~~~~~~~~~~~~


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FORM 100/100W, SCHEDULE F         OTHER INCOME                   STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
MISCELLANEOUS                                                                     5,821.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE F                                                5,821.
                                                                          ~~~~~~~~~~~~~~




                                                                         STATEMENT(S) 4, 5
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 95 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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FORM 100/100W, SCHEDULE F       OTHER DEDUCTIONS                 STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
AMORTIZATION                                                                   244,034.
AUTO AND TRUCK EXPENSE                                                          15,338.
BANK CHARGES                                                                        789.
CARTING                                                                         10,214.
CONFERENCES AND SEMINARS                                                        13,547.
CONSULTING SERVICES                                                            549,755.
DUES & SUBSCRIPTIONS                                                             5,854.
EQUIPMENT RENTAL                                                               696,134.
INSURANCE                                                                      213,099.
IT SOFTWARE & SERVICES                                                         196,434.
LEGAL AND PROFESSIONAL                                                         237,561.
LICENSES AND PERMITS                                                             8,744.
MEALS NOT SUBJECT TO LIMITATION                                                 30,028.
MERCHANT ACCOUNT FEES                                                            1,103.
MOVING EXPENSES                                                                 12,971.
OFFICE EXPENSES                                                                  7,577.
PAYROLL SERVICES FEE                                                            46,464.
POSTAGE & DELIVERY                                                                  936.
SALARIES - PEO                                                               2,372,606.
TELEPHONE EXPENSE                                                               23,147.
TEST TRANSACTIONS                                                                1,133.
UTILITIES                                                                        8,901.
WEB/DOMAIN HOSTING AND MAINT                                                    55,520.
                                                                         }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE F                                           4,751,889.
                                                                         ~~~~~~~~~~~~~~




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FORM 100/100W, SCHEDULE L     OTHER CURRENT ASSETS               STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DEFERRED EXPENSES                                           117,595.       312,775.
LOWES ESCROW                                                 53,197.        22,981.
PREPAID EXPENSES                                             53,618.        65,042.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE L                          224,410.       400,798.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                        STATEMENT(S) 6, 7
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 96 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 100/100W, SCHEDULE L         OTHER ASSETS                   STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                           381,371.       547,469.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE L                          381,371.       547,469.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


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FORM 100/100W, SCHEDULE L OTHER CURRENT LIABILITIES              STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED EXPENSES                                            333,355.       689,171.
CREDIT CARDS PAYABLE                                          3,599.         4,124.
DEFERRED KEEPER EXPENSE
DEFERRED REVENUE                                               61,173.         173,080.
FARNAM LEASE LIABILITY                                      2,507,290.       4,486,749.
GAP ACCOUNT                                                     5,705.
GIFT CARDS                                                     27,801.         71,392.
OTHER PAYABLES
PAYROLL LIABILITIES                                            15,292.      20,786.
SALES TAX PAYABLE                                               2,527.       1,318.
TENTKIT DEPLOYED                                                            13,571.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE L                        2,956,742.     5,460,191.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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FORM 100/100W, SCHEDULE L      OTHER LIABILITIES                 STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DECATHLON LOAN                                              755,635.     1,642,792.
IPFS                                                                        36,901.
LINE OF CREDIT                                               29,985.              0.
LOAN PAYABLE - PPP                                          401,400.              0.
NATIONAL PARTNERS                                                            5,427.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE L                        1,187,020.     1,685,120.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                   STATEMENT(S) 8, 9, 10
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 97 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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FORM 100/100W, SCHEDULE V COST OF GOODS SOLD - OTHER COSTS       STATEMENT 11
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DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
CAMPKEEPER PAYOUTS                                                           1,867,250.
MERCANTILE                                                                      36,483.
SHIPPING LABELS                                                                  4,367.
SITE BOOKING FEES                                                              164,932.
STATE PARK PAYOUTS                                                             138,057.
TRANSACTION FEES                                                               128,747.
                                                                         }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE V                                           2,339,836.
                                                                         ~~~~~~~~~~~~~~




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FORM 100/100W, SCHEDULE M-1 EXPENSES RECORDED ON BOOKS           STATEMENT 12
                               NOT DEDUCTED ON RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
AMORTIZATION                                                                    28,606.
                                                                         }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE M-1                                            28,606.
                                                                         ~~~~~~~~~~~~~~

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FORM 100/100W, SCHEDULE M-1   INCOME RECORDED ON BOOKS           STATEMENT 13
                               NOT INCLUDED ON RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
PPP LOANS, EIDL AND OTHER COVID GRANTS OR SUBSIDIES                            401,400.
                                                                         }}}}}}}}}}}}}}
TOTAL TO FORM 100/100W, SCHEDULE M-1                                           401,400.
                                                                         ~~~~~~~~~~~~~~




                                                                 STATEMENT(S) 11, 12, 13
                Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 98 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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CA SCHEDULE D-1   PART I - SALES OR EXCHANGES OF PROPERTY USED   STATEMENT 14
             IN A TRADE OR BUSINESS AND INVOLUNTARY CONVERSIONS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

(A)           (B)DATE   (C)DATE      (D)SALES      (E)DEPRE-       (F)COST        (G) GAIN
DESCRIPTION      ACQ       SOLD         PRICE        CIATION          OR              OR
                                                     ALLOWED          BASIS           LOSS
}}}}}}}}}}} }}}}}}}} }}}}}}}}       }}}}}}}}}}     }}}}}}}}}}      }}}}}}}}}}     }}}}}}}}}
DISPOSITION OF TRAILER
             06/15/18 04/01/21          3,432.        16,191.         21,038.       -1,415.
                                    }}}}}}}}}}     }}}}}}}}}}      }}}}}}}}}}     }}}}}}}}}
TOTAL                                   3,432.        16,191.         21,038.       -1,415.
                                    ~~~~~~~~~~     ~~~~~~~~~~      ~~~~~~~~~~     ~~~~~~~~~




                                                                              STATEMENT(S) 14
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 99 of 304
TENTRR, INC.                                                        XX-XXXXXXX
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FORM 3885                       DEPRECIATION                     STATEMENT 15
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

ASSET DESCRIP- DATE IN         COST OR        PRIOR                     DEPRE-
 NO.      TION    SERVICE       BASIS         DEPR METHOD LIFE          CIATION     BONUS
}}}}} }}}}}}}}} }}}}}}}        }}}}}}}        }}}}} }}}}}} }}}}         }}}}}}}     }}}}}
     1 FURNITURE & FIXTURES
                  06/30/15      6,418.       2,741. 200DB      7.00          287.
     4 CAMPSITES
                  06/30/15    169,941.      24,145. SL         39.00     4,357.
     5 CAMPSITES
                  06/30/16    276,720.      32,229. SL         39.00     7,095.
     6 COMPUTERS
                  06/30/16     11,995.      11,304. 200DB      5.00          691.
     7 EQUIPMENT
                  06/30/16      1,736.       1,349. 200DB      7.00          155.
     8 FURNITURE & FIXTURES
                  06/30/16     21,876.      16,995. 200DB      7.00      1,951.
     9 COMPUTERS
                  06/30/17     11,531.       9,538. 200DB      5.00      1,328.
   10 CAMPSITES
                  06/30/17     28,955.       2,629. SL         39.00         742.
   11 COMPUTERS
                  06/30/18     28,074.      19,989. 200DB      5.00      3,234.
   13 CAMPSITES
                  06/30/18  1,228,736.      83,395. SL         39.00    31,505.
   14 FURNITURE & FIXTURES
                  06/30/18     25,987.      14,623. 200DB      7.00      3,246.
   15 TRAILERS
                  06/15/18     21,038.      14,979. 200DB      5.00      1,212.
   26 TENTKITS
                  04/30/19     54,258.      42,202. 200DB      3.00      8,036.
   27 TENTKITS
                  05/31/19     59,190.      46,038. 200DB      3.00      8,766.
   28 TENTKITS
                  06/30/19     64,122.      49,874. 200DB      3.00      9,496.
   29 FARNAM CAP MATERIALS
                  01/30/19    690,820.     537,319. 200DB      3.00    102,310.
   30 FARNAM CAP MATERIALS
                  02/28/19      3,012.       2,343. 200DB      3.00          446.
   31 FARNAM CAP MATERIALS
                  03/31/19      1,601.       1,246. 200DB      3.00          237.
   32 FARNAM CAP MATERIALS
                  04/30/19      4,219.       3,281. 200DB      3.00          625.
   33 FARNAM CAP MATERIALS
                  05/31/19      9,586.       7,456. 200DB      3.00      1,420.
   34 FARNAM CAP MATERIALS
                  06/30/19     29,395.      22,863. 200DB      3.00      4,353.
   35 FARNAM CAP MATERIALS
                  07/31/19     62,879.      48,908. 200DB      3.00      9,312.
   36 FARNAM CAP MATERIALS
                  08/31/19     14,751.      11,474. 200DB      3.00      2,185.
   37 FARNAM CAP MATERIALS
                  09/30/19     17,989.      13,992. 200DB      3.00      2,664.
   38 FARNAM CAP MATERIALS
                  10/31/19     11,320.       8,805. 200DB      3.00      1,676.
   39 FARNAM CAP MATERIALS
                  11/30/19        853.          663. 200DB     3.00          126.
   40 FARNAM CAP MATERIALS
                  12/31/19        467.          364. 200DB     3.00            69.
                                                                             STATEMENT(S) 15
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 100 of 304
TENTRR, INC.                                                                     XX-XXXXXXX
}}}}}}}}}}}}                                                                     }}}}}}}}}}
   41 COMPUTERS
                  06/01/19     21,609.      11,237. 200DB       5.00      4,149.
   42 EQUIPMENT
                  06/15/18     23,110.      13,101. 200DB       7.00      2,886.
   43 COMPUTERS
                 06/01/20       8,797.    1,759. 200DB          5.00      2,815.
   44 FARNAM CAP MATERIALS
                 06/01/20   1,650,543. 550,126. 200DB           3.00    733,666.
   46 TENTKITS
                 06/01/20     204,992. 129,023. 200DB           3.00     75,969.
   47 TRAILERS
                 04/01/21       7,000.          0. 200DB        5.00      1,400.
   48 EQUIPMENT
                 09/23/21       8,000.          0. 200DB        7.00      1,143.
   49 COMPUTERS
                 06/01/21      14,286.          0. 200DB        5.00      2,857.
   62 FARNAM CAP MATERIALS
                 01/31/21     895,771.          0. 200DB        3.00    298,560.
   63 FARNAM CAP MATERIALS
                 02/28/21     171,058.          0. 200DB        3.00     57,014.
   64 FARNAM CAP MATERIALS
                 03/31/21      91,149.          0. 200DB        3.00     30,380.
   65 FARNAM CAP MATERIALS
                 04/30/21      27,151.          0. 200DB        3.00      9,049.
   66 FARNAM CAP MATERIALS
                 05/31/21     306,166.          0. 200DB        3.00    102,045.
   67 FARNAM CAP MATERIALS
                 06/30/21     323,703.          0. 200DB        3.00    107,890.
   68 FARNAM CAP MATERIALS
                 07/30/21     383,356.          0. 200DB        3.00    127,773.
   69 FARNAM CAP MATERIALS
                 08/31/21     210,100.          0. 200DB        3.00     70,026.
   70 FARNAM CAP MATERIALS
                 09/30/21       1,912.          0. 200DB        3.00          637.
   71 FARNAM CAP MATERIALS
                 10/31/21      44,305.          0. 200DB        3.00     14,767.
   72 FARNAM CAP MATERIALS
                 11/30/21       7,941.          0. 200DB        3.00      2,647.
                           }}}}}}}}}}} }}}}}}}}}                       }}}}}}}}} }}}}}}}
TOTAL TO FORM 3885          7,258,418.   1,735,990.                      1,853,197.
                           ~~~~~~~~~~~ ~~~~~~~~~                       ~~~~~~~~~ ~~~~~~~




                                                                              STATEMENT(S) 15
              Case 23-10000-BLS       Doc 1    Filed 01/02/23   Page 101 of 304
TENTRR, INC.                                                        XX-XXXXXXX
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FORM 3885                       AMORTIZATION                     STATEMENT 16
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ASSET                      DATE IN        COST OR          PRIOR      CODE             AMOR-
 NO. DESCRIPTION           SERVICE         BASIS           AMORT      SEC.    LIFE     TIZATION
}}}}} }}}}}}}}}}}          }}}}}}}        }}}}}}}          }}}}}      }}}}    }}}}     }}}}}}}}
   12 DOMAIN NAME
                           01/16/18           6,000.       1,167.            180M          400.
   16 FARNAM CAP INSTALL
                           01/31/19             123.            79.          36M            41.
   17 FARNAM CAP INSTALL
                           03/31/19           2,745.       1,601.            36M           915.
   18 FARNAM CAP INSTALL
                           04/30/19           12,314.      6,841.            36M         4,105.
   19 FARNAM CAP INSTALL
                           05/31/19           42,834.     22,607.            36M        14,278.
   20 FARNAM CAP INSTALL
                           06/30/19           45,069.     22,535.            36M        15,023.
   21 FARNAM CAP INSTALL
                           07/31/19           68,283.     32,245.            36M        22,761.
   22 FARNAM CAP INSTALL
                           08/31/19           25,783.     11,459.            36M         8,594.
   23 FARNAM CAP INSTALL
                           09/30/19           11,011.      4,588.            36M         3,670.
   24 FARNAM CAP INSTALL
                           10/31/19           10,756.      4,183.            36M         3,585.
   25 FARNAM CAP INSTALL
                           11/30/19            5,818.      2,101.            36M         1,939.
   45 FARNAM CAP INSTALL
                           01/01/20           59,374.     19,791.            36M        19,791.
   50 FARNAM CAP INSTALL
                           01/31/21       145,077.               0.          36M        44,329.
   51 FARNAM CAP INSTALL
                           02/28/21           27,550.            0.          36M         7,653.
   52 FARNAM CAP INSTALL
                           03/31/21           21,051.            0.          36M         5,263.
   53 FARNAM CAP INSTALL
                           04/30/21           64,533.            0.          36M        14,341.
   54 FARNAM CAP INSTALL
                           05/31/21       203,188.               0.          36M        39,509.
   55 FARNAM CAP INSTALL
                           06/30/21           29,530.            0.          36M         4,922.
   56 FARNAM CAP INSTALL
                           07/31/21           48,952.            0.          36M         6,799.
   57 FARNAM CAP INSTALL
                           08/31/21       116,226.               0.          36M        12,914.
   58 FARNAM CAP INSTALL
                           09/30/21       104,244.               0.          36M         8,687.
   59 FARNAM CAP INSTALL
                           10/31/21           32,804.            0.          36M         1,822.
   60 FARNAM CAP INSTALL
                           11/30/21           96,932.            0.          36M         2,693.
   61 FARNAM CAP INSTALL
                           12/31/21       81,400.        0.                  36M             0.
                                      }}}}}}}}}}} }}}}}}}}}                           }}}}}}}}}
TOTAL AMORTIZATION TO FORM 3885        1,261,597. 129,197.                             244,034.
                                      ~~~~~~~~~~~ ~~~~~~~~~                           ~~~~~~~~~




                                                                                  STATEMENT(S) 16
          Case 23-10000-BLS         Doc 1       Filed 01/02/23   Page 102 of 304


                 2021 TAX RETURN FILING INSTRUCTIONS
                                   FLORIDA FORM F-1120

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                       $                         0
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            NO PAYMENT REQUIRED             $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE FLORIDA DOR, PLEASE CONTACT OUR OFFICE
            AND WE WILL SUBMIT YOUR ELECTRONIC RETURN. DO NOT MAIL THE PAPER
            COPY TO THE FLORIDA DOR.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
                                   Case 23-10000-BLS                              Doc 1         Filed 01/02/23                  Page 103 of 304

                                                                   Florida Corporate Income/Franchise Tax Return                                                F-1120, R. 01/22          1019
                                                                      FEIN  XX-XXXXXXX                                                                                             Rule 12C-1.051
                                                                                                                                                                        Florida Administrative Code
                                                                       For calendar year 2021                                  , 2021                                               Effective 01/22
                                                                       or tax year beginning                                   ending                                                   Page 1 of 6


8233020211231000200503713473054018 00001


Name           TENTRR, INC.
Address        25 W. 39TH STREET, 7TH FLOOR
City/State/ZIP NEW YORK, NY  10018
         Check here if any changes have been made to name or address



Computation of Florida Net Income Tax
  1. Federal taxable income (see instructions) - Attach pages 1-5 of federal return Check here if negative                     X ~~~                         -6,113,971.00
    2.   State income taxes deducted in computing federal taxable income                 STATEMENT 1
         (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 Check here if negative        ~~~                           2,475.00
    3.   Additions to federal taxable income (from Schedule I) ~~~~~~~~~~                             Check here if negative        ~~~                          15,014.00
    4.   Total of Lines 1, 2 and 3 ~~~~~~~~~~~~~~~~~~~~~~~                                            Check here if negative   X ~~~                         -6,096,482.00
    5.   Subtractions from federal taxable income (from Schedule II) ~~~~~~~ Check here if negative                                 ~~~
    6.   Adjusted federal income (Line 4 minus Line 5) ~~~~~~~~~~~~~                                  Check here if negative   X ~~~                         -6,096,482.00
    7.   Florida portion of adjusted federal income (see instructions) ~~~~~~~ Check here if negative                          X ~~~                            -45,931.00
    8.   Nonbusiness income allocated to Florida (from Schedule R) ~~~~~~~ Check here if negative                                   ~~~
    9.   Florida exemption ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                0.00
10.      Florida net income (Line 7 plus Line 8 minus Line 9) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            0.00
11.      Tax due: 3.535% of Line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           0.00
12.      Credits against the tax (from Schedule V) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
13.      Total corporate income/franchise tax due (Line 11 minus Line 12) ~~~~~~~~~~~~~~~~~~~~~~                                                                                     0.00
14.      a) Penalty: F-2220                                b) Other
         c) Interest: F-2220                                     d) Other                                    Line 14 Total | ~~~~~
15.      Total of Lines 13 and 14 
16.      Payment credits: Estimated tax payments 16a $
                             Tentative tax payment        16b $
17.      Total amount due: Subtract Line 16 from Line 15. If positive, enter amount due here and on payment coupon.
         If the amount is negative (overpayment), enter on Line 18 and/or Line 19               ~~~~~~~~~~~~~~~~~~
18.      Credit: Enter amount of overpayment credited to next year's estimated tax here and on payment coupon ~~~~~
19.      Refund: Enter amount of overpayment to be refunded here and on payment coupon 

144081 10-21-21

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                            Payment Coupon for Florida Corporate Income Tax Return                                                                                                       1019
                                                                                                                                                                                       F-1120
                                                                                   Do Not Detach                         YEAR ENDING                12/31/21                          R. 01/22
                                              To ensure proper credit to your account, enclose your check with tax return when mailing.



Name           TENTRR, INC.                                                                         If 6/30 year end, return is due 1st day of the 4th month after the close of the
Address        25 W. 39TH STREET, 7TH FLOOR                                                         taxable year, otherwise return is due 1st day of the 5th month after the close
City/State/ZIP NEW YORK, NY  10018                                                                  of the taxable year.



473054018                                      1501400                                          0                                          0
20210101                                       0                                                0                                          0
2021 1231                                      -609648200                                       0                                          0
00000000                                       0.007534                                         0                                          0
001                                            0                                                0                                          0
202                                            0                                                0                                          0
-611397100                                     0                                                0                                          0
247500                                         0                                                0                                          0



0                                                                             8233 0 20211231 0002005037 1 3473054018 0000 1
                                       Case 23-10000-BLS                             Doc 1                 Filed 01/02/23                    Page 104 of 304
                                                                                                                                                                                                            1019
                                                                              TENTRR, INC.                                                                                                            F-1120
                                                                                                                                                                                                     R. 01/22
                                                                                                                                                                                                   Page 2 of 6
                                                                                    FEIN                         XX-XXXXXXX

                                              This return is considered incomplete unless a copy of the federal return is attached.
     If your return is not signed, or improperly signed and verified, it will be subject to a penalty. The statute of limitations will not start until your return is properly signed
     and verified. Your return must be completed in its entirety.
                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct,




               =                                                                                                              =
                and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.


 Sign here                                                                                                            Title             PRESIDENT
                   Signature of officer (must be an original signature)                Date


                                                                                                                                                              = P00185030
                                                                                                    Preparer                                    Preparer's

                                 =
                Preparer's                                                                          check if self-                              PTIN
 Paid           signature                                                                  10/11/22 employed
 preparers                                                                             Date
 only


                                      =445 BROADHOLLOW ROAD
                Firm's name              GUTTERSON & COHEN TAX SPECIALISTS LLC                                                                            FEIN |                       XX-XXXXXXX
                (or yours if                                   STE 230
                self-employed)
                and address              MELVILLE, NY                                                                                                     ZIP |    11747

                                       All Taxpayers Must Answer Questions A through M Below - See Instructions
A.     State of incorporation:   DELAWARE                                                                   G-2. Part of a federal consolidated return?      YES         NO        X     If yes, provide:
B.     Florida Secretary of State document number:                                                               FEIN from federal consolidated return:

C.     Florida consolidated return?      YES              NO      X                                              Name of corporation:

D.             Initial return         Final return (final federal return filed)                             G-3. The federal common parent has sales, property, or payroll in Florida?       YES        NO X
E.     Principal Business Activity Code (as pertains to Florida)                                            H.   Location of corporate books:
                                                                                                                 411 W 39TH ST 4TH FL

F.
         454110
       A Florida extension of time was timely filed?    YES               NO X
                                                                                                    T       I.
                                                                                                                 City, State, ZIP: NEW YORK, NY                             10018
                                                                                                                 Taxpayer is a member of a Florida partnership or joint venture?       YES         NO       X
G-1. Corporation is a member of a controlled group?        YES               NO     If yes, attach list.    J.   Enter date of latest IRS audit:

                                                                                                                 a)   List years examined:

                                                                                                            K.                                       ANAND SUBRAMANIAN
                                                                                                                 Contact person concerning this return:

                                                                                                                 a) Contact person telephone number: 646-230-1040

                                                                                                                 b) Contact person e-mail address: ANAND@TENTRR.COM

                                                                                                            L.   Type of federal return filed X 1120     1120S or




       Where to Send Payments and Returns
       Make check payable to and mail with return to:
                                                                                                                        Remember:
              Florida Department of Revenue                                                                                   U Make your check payable to the Florida
              5050 W Tennessee Street                                                                                           Department of Revenue.
              Tallahassee FL 32399-0135
                                                                                                                              U Write your FEIN on your check.
       If you are requesting a refund (Line 19), send your return to:
              Florida Department of Revenue
                                                                                                                              U Sign your check and return.
              PO Box 6440
              Tallahassee FL 32314-6440
                                                                                                                              U Attach a copy of your federal return.

                                                                                                                              U Attach a copy of your Florida Form F-7004
                                                                                                                                (extension of time) if applicable.




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NAME      TENTRR, INC.                                                                                            FEIN XX-XXXXXXX              TAXABLE YEAR ENDING 12/31/21


  Schedule I - Additions and/or Adjustments to Federal Taxable Income
  1.    Interest excluded from federal taxable income (see instructions)                                                                                      1.

  2.    Undistributed net long-term capital gains (see instructions)                                                                                          2.

  3.    Net operating loss deduction (attach schedule)                                                                                                        3.

  4.    Net capital loss carryover (attach schedule)                                                                                                          4.

  5.    Excess charitable contribution carryover (attach schedule)                                                                                            5.

  6.    Employee benefit plan contribution carryover (attach schedule)                                                                                        6.

  7.    Enterprise zone jobs credit (Florida Form F-1156Z)                                                                                                    7.

  8.    Ad valorem taxes allowable as enterprise zone property tax credit (Florida Form F-1158Z)                                                              8.

  9.    Guaranty association assessment(s) credit                                                                                                             9.

  10.   Rural and/or urban high crime area job tax credits                                                                                                    10.

  11.   State housing tax credit                                                                                                                              11.

  12.   Florida Tax Credit Scholarship Program Credits (AKA credit for contributions for nonprofit scholarship-funding organizations)                         12.

  13.   Florida Renewable energy production tax credit                                                                                                        13.

  14.   New markets tax credit                                                                                                                                14.

  15.   Entertainment industry tax credit                                                                                                                     15.

  16.   Research and Development tax credit                                                                                                                   16.

  17.   Energy Economic Zone tax credit                                                                                                                       17.

  18.   s. 168(k) IRC special bonus depreciation                                                                                                              18.

  19.   Qualified Improvement Property Decoupling.                                                                                                            19.

  20.   Business Meal Expenses at a Restaurant.                                                                                                               20.   15,014.00
  21.   Film, Television, and Live theatrical production expenses.                                                                                            21.

  22.   Other additions (attach schedule)                                                                                                                     22.

  23.   Total Lines 1 through 22. Enter total on Line 23 and on Page 1, Line 3.                                                                               23.   15,014.00


  Schedule II - Subtractions from Federal Taxable Income
  1.    Gross foreign source income less attributable expenses

        (a) Enter s. 78, IRC income                $

        (b) plus s. 862, IRC dividends             $

        (c) plus s. 951A, IRC, income              $                                                                                                          1.

        (d) less direct and indirect expenses

            and related amounts deducted

            under s. 250, IRC                      $                                                                                              Total   |


  2.    Gross subpart F income less attributable expenses

        (a) Enter s. 951, IRC subpart F income $

        (b) less direct and indirect expenses      $                                                                                              Total   |   2.



  Note: Taxpayers doing business outside Florida enter zero on Lines 3 through 6, and complete Schedule IV.

  3.    Florida net operating loss carryover deduction (see instructions)                                                                                     3.

  4.    Florida net capital loss carryover deduction (see instructions)                                                                                       4.

  5.    Florida excess charitable contribution carryover (see instructions)                                                                                   5.

  6.    Florida employee benefit plan contribution carryover (see instructions)                                                                               6.          0.00
  7.    Nonbusiness income (from Schedule R, Line 3)                                                                                                          7.

  8.    Eligible net income of an international banking facility (see instructions)                                                                           8.

  9.    s. 179, IRC expense (see instructions)                                                                                                                9.

  10.   s. 168(k), IRC special bonus depreciation (see instructions)                                                                                          10.

  11.   Depreciation of qualified improvement property                                                                                                        11.

  12.   Film, Television, and Live Theatrical Expenses.                                                                                                       12.

  13.   Other subtractions (attach statement)                                                                                                                 13.

  14.   Total Lines 1 through 13. Enter total on Line 14 and on Page 1, Line 5.                                                                               14.

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NAME         TENTRR, INC.                                                                                            FEIN XX-XXXXXXX              TAXABLE YEAR ENDING 12/31/21

  Schedule III - Apportionment of Adjusted Federal Income
 III-A For use by taxpayers doing business outside Florida, except those providing insurance or transportation services.
                                            (a)                        (b)                         (c)                               (d)                                     (e)
                                      WITHIN FLORIDA          TOTAL EVERYWHERE             Col. (a) ^ Col. (b)                   Weight                               Weighted Factors
                                                                                        Rounded to Six Decimal      If any factor in Column (b) is zero,            Rounded to Six Decimal
                                        (Numerator)              (Denominator)                   Places            see note on Pg 9 of the instructions.                   Places
   1.   Property (Schedule III-B below)                                                                                                  X 25% or
   2.   Payroll                                             25,469.00                      2,863,161.00                  .008895 X 25% or 33.33%                                .002965
   3.   Sales (Schedule III-C below)                        33,256.00                      4,852,111.00                  .006854 X 50% or 66.67%                                .004569
   4.   Apportionment fraction (Sum of Lines 1, 2, and 3, Column [e]). Enter here and on Schedule IV, Line 2.                                                                   .007534
 III-B For use in computing average value of property                                                 WITHIN FLORIDA                                    TOTAL EVERYWHERE
 (use original cost).                                                                  a. Beginning of year          b. End of year        c. Beginning of year           d. End of year
   1.   Inventories of raw material, work in process, finished goods

   2.   Buildings and other depreciable assets

   3.   Land owned

   4.   Other tangible and intangible (financial org. only) assets (attach schedule)
   5.   Total (Lines 1 through 4)

   6.   Average value of property

        a.   Add Line 5, Columns (a) and (b) and divide by 2 (for within Florida)         ~~ 6a.
        b. Add Line 5, Columns (c) and (d) and divide by 2 (for total everywhere)           ~~~~~~~~~~~~~~~~~~~~~~~~                              6b.

   7.   Rented property (8 times net annual rent)

        a.   Rented property in Florida          ~~~~~~~~~~~~~~~~~ 7a.
        b. Rented property Everywhere                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      7b.

   8.   Total (Lines 6 and 7). Enter on Line 1, Schedule III-A, Columns (a) and (b).

        a.   Enter Lines 6 a. plus 7 a. and also enter on Schedule III-A, Line 1,

             Column (a) for total average property in Florida             ~~~~~~~~~~ 8a.
        b. Enter Lines 6 b. plus 7 b. and also enter on Schedule III-A, Line 1,

             Column (b) for total average property Everywhere                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     8b.


                                                                                                                                                 (a)                          (b)
                                                                                                                                        TOTAL WITHIN FLORIDA          TOTAL EVERYWHERE
 III-C Sales Factor                                                                                                                          (Numerator)                 (Denominator)

   1.   Sales (gross receipts)                                                                                                               N/A      4,846,290.00
   2.   Sales delivered or shipped to Florida purchasers                                                                                    33,256.00     N/A
   3.   Other gross receipts (rents, royalties, interest, etc. when applicable)                                                                  0.00     5,821.00
   4.   TOTAL SALES (Enter on Schedule III-A, Line 3, Columns [a] and [b])                                                                  33,256.00 4,852,111.00
                                                                                                                                                                  (c) FLORIDA Fraction ([a] ^ [b])
 III-D Special Apportionment Fractions (see instructions)
                                                                                                              (a) WITHIN FLORIDA      (b) TOTAL EVERYWHERE        Rounded to Six Decimal Places

   1.   Insurance companies (attach copy of Schedule T - Annual Report)

   2.   Transportation services




  Schedule IV - Computation of Florida Portion of Adjusted Federal Income
  1.    Apportionable adjusted federal income from Page 1, Line 6                                                             1.      -6096482.00
  2.    Florida apportionment fraction (Schedule III-A, Line 4)                                                               2.          .007534
  3.    Tentative apportioned adjusted federal income (multiply Line 1 by Line 2)                                             3.       -45,931.00
  4.    Net operating loss carryover apportioned to Florida (attach schedule; see instructions)                               4.

  5.    Net capital loss carryover apportioned to Florida (attach schedule; see instructions)                                 5.

  6.    Excess charitable contribution carryover apportioned to Florida (attach schedule; see instructions)                   6.

  7.    Employee benefit plan contribution carryover apportioned to Florida (attach schedule; see instructions)               7.

  8.    Total carryovers apportioned to Florida (add Lines 4 through 7)                                                       8.

  9.    Adjusted federal income apportioned to Florida (Line 3 less Line 8; see instructions)                                 9.       -45,931.00

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NAME TENTRR,                   INC.                                                                                      FEIN XX-XXXXXXX                      TAXABLE YEAR ENDING 12/31/21

  Schedule V - Credits Against the Corporate Income/Franchise Tax
  1.    Florida health maintenance organization credit (attach assessment notice)                                                                                    1.

  2.    Capital investment tax credit (attach certification letter)                                                                                                  2.

  3.    Enterprise zone jobs credit (from Florida Form F-1156Z attached)                                                                                             3.

  4.    Community contribution tax credit (attach certification letter)                                                                                              4.

  5.    Enterprise zone property tax credit (from Florida Form F-1158Z attached)                                                                                     5.

  6.    Rural job tax credit (attach certification letter)                                                                                                           6.

  7.    Urban high crime area job tax credit (attach certification letter)                                                                                           7.

  8.    Hazardous waste facility tax credit                                                                                                                          8.

  9.    Florida alternative minimum tax (AMT) credit                                                                                                                 9.

  10.   Contaminated site rehabilitation tax credit (AKA voluntary cleanup tax credit) (attach tax credit certificate)                                               10.

  11.   State housing tax credit (attach certification letter)                                                                                                       11.

  12.   Florida Tax Credit: Scholarship Program Credits. (AKA credit for contributions to nonprofit scholarship-funding organizations) (attach certificate)          12.

  13.   Florida renewable energy production tax credit                                                                                                               13.

  14.   New markets tax credit                                                                                                                                       14.

  15.   Entertainment industry tax credit                                                                                                                            15.

  16.   Research and Development tax credit                                                                                                                          16.

  17.   Energy Economic Zone tax credit                                                                                                                              17.

  18.   Other credits (attach schedule)                                                                                                                              18.

  19.   Total credits against the tax (sum of Lines 1 through 18 not to exceed the amount on Page 1, Line 11).

        Enter total credits on Page 1, Line 12                                                                                                                       19.




  Schedule R - Nonbusiness Income

Line 1. Nonbusiness income (loss) allocated to Florida
                   Type                                                                                                                                                     Amount




           Total allocated to Florida ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1.
           (Enter here and on Page 1, Line 8)


Line 2. Nonbusiness income (loss) allocated elsewhere
                   Type                                                                                State/country allocated to                                           Amount




            Total allocated elsewhere ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 2.


Line 3. Total nonbusiness income
        Grand total. Total of Lines 1 and 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3.
           (Enter here and on Schedule II, Line 7)




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NAME TENTRR,           INC.                                                              FEIN XX-XXXXXXX      TAXABLE YEAR ENDING 12/31/21
                                                     Estimated Tax Worksheet
                                      For Taxable Years Beginning On or After January 1, 2022

  1. Florida income expected in taxable year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1.   $
  2. Florida exemption $50,000 (Members of a controlled group, see instructions on Page 14 of
      Florida Form F-1120N) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2.   $
  3. Estimated Florida net income (Line 1 less Line 2)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             3.   $
  4. Total Estimated Florida tax (5.5% of Line 3)    ~~~~~~~~~~~~~~~ $
      Less: Credits against the tax ~~~~~~~~~~~~~~~~~~~~~~~ $                                                      4.   $



  5. Computation of installments:
      Payment due dates and                  If 6/30 year end, last day of 4th month,
      payment amounts:                       otherwise last day of 5th month - Enter 0.25 of Line 4 ~~~~~~~~ 5a.
                                             Last day of 6th month - Enter 0.25 of Line 4 ~~~~~~~~~~~~~ 5b.
                                             Last day of 9th month - Enter 0.25 of Line 4 ~~~~~~~~~~~~~ 5c.
                                             Last day of fiscal year - Enter 0.25 of Line 4 ~~~~~~~~~~~~~ 5d.


         NOTE: If your estimated tax should change during the year, you may use the amended computation
         below to determine the amended amounts to be entered on the declaration (Florida Form F-1120ES).


  1. Amended estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              1.   $
  2. Less:
     (a) Amount of overpayment from last year elected for credit
           to estimated tax and applied to date   ~~~~~~~~~~~~~                 2a. --   $
      (b) Payments made on estimated tax declaration (Florida Form F-1120ES)    2b. -- $
      (c) Total of Lines 2(a) and 2(b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 2c.                                       $
  3. Unpaid balance (Line 1 less Line 2(c)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    3.   $
  4. Amount to be paid (Line 3 divided by number of remaining installments) ~~~~~~~~~~~~~~~~~~                     4.   $




                                                                References
         The following documents were mentioned in this form and are incorporated by reference in the rules indicated below.
                                   The forms are available online at floridarevenue.com/forms.

         Form F-2220                     Underpayment of Estimated Tax on Florida                           Rule 12C-1.051, F.A.C.
                                         Corporate Income/Franchise Tax


         Form F-7004                     Florida Tentative Income/Franchise Tax Return                      Rule 12C-1.051, F.A.C.
                                         and Application for Extension of Time to File
                                         Return


         Form F-1156Z                    Florida Enterprise Zone Jobs Credit Certificate of                 Rule 12C-1.051, F.A.C.
                                         Eligibility for Corporate Income Tax


         Form F-1158Z                    Enterprise Zone Property Tax Credit                                Rule 12C-1.051, F.A.C.


         Form F-1120N                    Instructions for Corporate Income/Franchise Tax Return             Rule 12C-1.051, F.A.C.


         Form F-1120ES                   Declaration/Installment of Florida Estimated                       Rule 12C-1.051, F.A.C.
                                         Income/Franchise Tax
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                                 TENTRR, INC.                                       F-1120
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473054018             0                       0                       0

-609648200            0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

2                     0                       1501400                 0

2                     0                       0                       0

2                     0                       0                       0

2                     0                       0                       0

00000000              0                       0                       0

0                     0                       0                       0

0                     0                       0                       2546900

0                     0                       0                       3325600

0                     0                       0                       0

0                     0                       0                       286316100

0                     0                       0                       485211100

0                     0                       0                       0.007534




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                                  TENTRR, INC.                                      F-1120
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473054018             3325600                 0                       0

0                     0                       0                       0

0                     484629000               0                       0

0                     582100                  0                       0

0                     0                       0                       0

0                     0                       0                       0

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0                     0.000000                0                       0

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0                     0                       0                       0

0                     -609648200              0                       0

0                     -4593100                0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     0                       0                       0

0                     -4593100                0                       0




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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM F-1120             STATE INCOME TAXES DEDUCTED              STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
LOUISIANA TAXES - BASED ON INCOME                                                    549.00
NEW YORK TAXES - BASED ON INCOME                                                   1,826.00
UTAH TAXES - BASED ON INCOME                                                         100.00
                                                                             }}}}}}}}}}}}}}
TOTAL TO FORM F-1120, PAGE 1, LINE 2                                               2,475.00
                                                                             ~~~~~~~~~~~~~~




                                                                              STATEMENT(S) 1
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                 2021 TAX RETURN FILING INSTRUCTIONS
                                    GEORGIA FORM 600

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                         0
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            NO PAYMENT REQUIRED             $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE GA DOR, PLEASE SIGN, DATE AND RETURN
            FORM 8453-C TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE GA
            DOR. DO NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
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Georgia Form      600       (Rev. 08/02/21)   Page 1
Corporation Tax Return (Approved software version)
Georgia Department of Revenue
2021 Income Tax Return
    Beginning 01-01-2021


    Ending      12-31-2021
                                         X Original Return              Consolidated GA Parent Return          Address Change                   UET Annualization
                                                                        (attach approval)                                                       Exception attached
2022 Net Worth Tax Return                      Initial Net Worth                                               Name Change
                                               Amended Return           GA Consolidated Subsidiary             Final (attach explanation)       IT-552 attached
    Beginning 01-01-2022                       Amended due to           Consolidated Parent FEIN               PL 86-272                        Extension attached
                                               IRS Audit
    Ending      12-31-2022

A. Federal Employer ID Number                      B. Name (Corporate title) Please give former name if applicable.
   XX-XXXXXXX                                       TENTRR, INC.

C. GA Withholding Tax Account Number               D. Business Address (Number and Street)
                                                    25 W. 39TH STREET, 7TH FLOOR

E. GA Sales Tax Registration Number                F. City or Town                              G. State        H. ZIP Code            I. Foreign Country Name
                                                    NEW YORK                                    NY               10018

J. NAICS Code               K. Date of Incorporation         L. Incorporated under laws of what state                                  M. Date admitted into GA
   454110                     02/03/2015                       DE                                                                           02/03/2015

N. Location of Records for Audit (City) & (State)            O. Corporation's Telephone Number          P. Type of Business
   NEW YORK                                   NY             646-230-1040                                CAMPING ONLINE MARKETPL


Q. Indicate latest taxable year adjusted by IRS                                          R. And when reported to Georgia

 COMPUTATION OF GEORGIA TAXABLE INCOME AND TAX                                 (ROUND TO NEAREST DOLLAR)                                    SCHEDULE 1


  1. Federal Taxable Income (Copy of Federal return and supporting schedules must be attached) ~~~~                     1.                        -6113971
  2. Additions to Federal Income (from Schedule 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          2.                            2500
  3. Total (add Lines 1 and 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3.                        -6111471
  4. Subtractions from Federal Income (from Schedule 5)          ~~~~~~~~~~~~~~~~~~~~~~~~                               4.
  5. Balance (Line 3 less Line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 5.                        -6111471
  6. Georgia Net Operating loss deduction (from Schedule 9; See IT-611 instructions for 80% limitation) ~~              6.
  7. Georgia Taxable Income (Line 5 less Line 6 or Schedule 7, Line 9) ~~~~~~~~~~~~~~~~~~                               7.                            -43721
  8. Income Tax (5.75% x Line 7) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   8.                                 0

 COMPUTATION OF NET WORTH TAX                                                  (ROUND TO NEAREST DOLLAR)                                    SCHEDULE 2


  1. Total Capital stock issued ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 1.                             1029
  2. Paid in or Capital surplus ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 2.                         31053045
  3. Total Retained earnings ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3.                        -26159031
  4. Net Worth (Total of Lines 1, 2, and 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           4.                          4895043
  5. Ratio (GA. and Dom. For. Corp. - 100%) (Foreign Corp. - Line 4, Sch. 8) ~~ 5. .002870
  6. Net Worth Taxable by Georgia (Line 4 x Line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        6.                                14049
  7. Net Worth Tax (from table in instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         7.


        145201 08-23-21
         CCH                                                                 02                 150 2021
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      Georgia Form 600/2021
      Page 2


(Corporation) Name TENTRR,              INC.                                                                        FEIN XX-XXXXXXX

COMPUTATION OF TAX DUE OR OVERPAYMENT                                         (ROUND TO NEAREST DOLLAR)                  SCHEDULE 3

                                                                             A. Income Tax      B. Net Worth Tax          C. Total
1. Total Tax (Schedule 1, Line 8, and Schedule 2, Line 7) ~~~                                                       1.
2. Credits and payments of estimated tax ~~~~~~~~~~                                                                 2.
3. Schedule 10* Credits (must be filed electronically) ~~~~~                                                        3.
4. Withholding Credits (G2-A, G2-LP, and/or G2-RP) ~~~~~                                                            4.
5. Schedule 10B Refundable tax credits (must be filed electronically)                                               5.
6. Balance of tax due (Line 1, less Lines 2, 3, 4, and 5) ~~~~                                                      6.
7. Amount of overpayment (Lines 2, 3, 4, and 5 less Line 1) ~~                                                      7.
8. Interest due (See Instructions) ~~~~~~~~~~~~~~                                                                   8.
9. Form 600 UET (Estimated tax penalty) ~~~~~~~~~~                                                                  9.
10. Other penalty due (See Instructions) ~~~~~~~~~~~                                                               10.
11. Balance of tax, interest and penalty due with return ~~~~                                                      11.
12. Amount to be credited to 2022 estimated tax (Line 7 less Lines 8-10)                             Refunded      12.
               *NOTE: Any tax credits from Schedule 10 may be applied against income tax liability only, not net worth tax liability.
                               SEE PAGE 3 SIGNATURE SECTION FOR DIRECT DEPOSIT OPTIONS
  ADDITIONS TO FEDERAL TAXABLE INCOME                                         (ROUND TO NEAREST DOLLAR)                   SCHEDULE 4
1. State and municipal bond interest (other than Georgia or political subdivision thereof)      ~~~~~~             1.
2. Net income or net profits taxes imposed by taxing jurisdictions other than Georgia ~~~~~~~~                     2.                          2500
3. Expense attributable to tax exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3.
4. Net operating loss deducted on Federal return          ~~~~~~~~~~~~~~~~~~~~~~~~~                                4.
5. Reserved                                                                                                        5.
6. Intangible expenses and related interest cost ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        6.
7. Captive REIT expenses and costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                7.
8. Other Additions (Attach Schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               8.
9. TOTAL - Enter also on Line 2, Schedule 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           9.                          2500
  SUBTRACTIONS FROM FEDERAL TAXABLE INCOME                                    (ROUND TO NEAREST DOLLAR)                  SCHEDULE 5

1. Interest on obligations of United States (must be reduced by direct and indirect interest expense)              1.
2. Exception to intangible expenses and related interest cost (Attach IT-Addback)            ~~~~~~~~~             2.
3. Exception to captive REIT expenses and costs (Attach IT-REIT)            ~~~~~~~~~~~~~~~~~                      3.
4. Other Subtractions (Must Attach Schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           4.
5. TOTAL - Enter also on Line 4, Schedule 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5.

  APPORTIONMENT OF INCOME                                                                                                SCHEDULE 6
                                                                           A. WITHIN GEORGIA    B. EVERYWHERE            C. DO NOT ROUND
                                                                                                                           COL (A) / COL (B)
                                                                                                                           COMPUTE TO SIX DECIMALS
1. Gross receipts from business ~~~~~~~~~~                           1.            34710             4852111
2. Georgia Ratio (Divide Column A by Column B)                     2.                                                                   .007154
  COMPUTATION OF GEORGIA NET INCOME                                        (ROUND TO NEAREST DOLLAR)                     SCHEDULE 7

1. Net business income (Schedule 1, Line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           1.                   -6111471
2. Income allocated everywhere (Must Attach Schedule) ~~~~~~~~~~~~~~~~~~~~~~                                       2.
3. Business income subject to apportionment (Line 1 less Line 2)                                  3.                   -6111471
4. Georgia Ratio (Schedule 6, Column C) ~~~~~~~~~~~~~ 4.                            .007154
5. Net business income apportioned to Georgia (Line 3 x Line 4) ~~~~~~~~~~~~~~~~~~                                 5.                       -43721
6. Net income allocated to Georgia (Attach Schedule) ~~~~~~~~~~~~~~~~~~~~~~~                                       6.
7. Total of Lines 5 and 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7.                       -43721
8. Less: Net operating loss apportioned to GA (from Schedule 9, see IT-611 80% instructions) ~~~                   8.
9. Georgia taxable income (Enter also on Schedule 1, Line 7)                                    9.                       -43721
                                  145202 08-23-21
        CCH                                                                   02               150 2021
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  (Corporation) Name TENTRR,              INC.                                                                                 FEIN XX-XXXXXXX

 COMPUTATION OF GEORGIA NET WORTH RATIO                                                  (TO BE USED BY FOREIGN CORPS ONLY)                       SCHEDULE 8

                                                                                                                                                 C.   GA Ratio (A/B)
                                                                                          A. WITHIN GEORGIA              B. TOTAL EVERYWHERE         DO NOT ROUND
                                                                                                                                                 COMPUTE TO SIX DECIMALS


 1. Total value of property owned (Total assets from Federal balance sheet) ~~     1.                    0                    7248470
 2. Gross receipts from business ~~~~~~~~~~~~~~~~~~                                2.                34710                    4846290
 3. Totals (Line 1 plus Line 2) ~~~~~~~~~~~~~~~~~~~                                3.                34710                   12094760
 4. Georgia Ratio (Divide Line 3A by 3B) ~~~~~~~~~~~~~~                            4.                                                                     .002870



A copy of the Federal Return and supporting Schedules must be attached if filing by paper. No extension of time for filing will be allowed
unless a copy of the request for a Federal extension or Form IT-303 is attached to this return.


   Make check payable to: Georgia Department of Revenue
   Mail to: Georgia Department of Revenue, Processing Center, PO Box 740397, Atlanta, Georgia 30374-0397

 DIRECT DEPOSIT OPTIONS
 A. Direct Deposit (For U.S. Accounts Only) See booklet for further instructions . If Direct Deposit is not selected, a paper check will be issued.


                                                                        Routing
 Type: Checking                    Savings                              Number

                                                                        Account
                                                                        Number


Declaration: I/We declare under the penalties of perjury that I/we have examined this return (including accompanying schedules and statements)
and to the best of my/our knowledge and belief, it is true, correct, and complete. If prepared by a person other than the taxpayer, this declaration is
based on all information of which the preparer has knowledge.




      By providing my e-mail address I am authorizing the Georgia Department of Revenue to electronically notify me at the below e-mail address regarding any updates to
      my account(s).
      Taxpayer's E-mail Address:        ANAND@TENTRR.COM

      X     Check the box to authorize the Georgia Department of Revenue to discuss the contents of this tax return with the named preparer.




    SIGNATURE OF OFFICER                                                          SIGNATURE OF INDIVIDUAL OR FIRM PREPARING THE RETURN


    PRESIDENT                                                                     GUTTERSON & COHEN TAX SPECIALIS
    TITLE                                                                         FIRM PREPARING THE RETURN


                                                                                  P00185030
    DATE                                                                          IDENTIFICATION OR SOCIAL SECURITY NUMBER


            CCH                            145203
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 (Corporation) Name    TENTRR, INC.                                                                            FEIN    XX-XXXXXXX
  GA NOL Carry Forward Worksheet                                       (ROUND TO NEAREST DOLLAR)                        SCHEDULE 9

      For calendar year or fiscal year beginning      01/01/2021                            and ending    12/31/2021

             A                        B                       C                       D                          E                   F
        Loss Year               Loss Amount              Income Year             NOL Utilized                Balance          Remaining NOL
 1.
 2.
 3.
 4.
 5.
 6.
 7.
 8.
 9.
10.
11.
12.
13.
14.
15.
16.
17.
18.
19.
20.


   1. NOL Carry Forward Available to Current Year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   2. Current Year Income/(Loss) (Schedule 1, Line 5 or Schedule 7, Line 7) ~~~~~~~~~~~~~~~~~~~~~~~                              -43721
   3. NOL from Taxable Years Beginning before 1/1/2018 Applied to Current Year      ~~~~~~~~~~~~~~~~~~~
   4. NOL from Taxable Years Beginning on or after 1/1/2018 Applied to Current Year ~~~~~~~~~~~~~~~~~~
       (Cannot exceed 80% of Line 2, see instructions for more information)
   5. Total NOL applied ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
       Add Lines 3 and 4, Enter on Schedule 1, Line 6 or Schedule 7, Line 8)*
   6. NOL Carry Forward Available to Next Year      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             43721
       (Line 1 less Line 5 plus any loss amount on Line 2)




                                                                  INSTRUCTIONS
* Cannot Exceed the Current Year Income Reported on Line 2.
Column A: List the loss year(s).
Column B: List the loss amount for the tax year listed in Column A.
Columns C & D: List the years in which the losses were utilized and the amount utilized each year.
Column E: List the balance of the NOL after each year has been applied.
Column F: List the remaining NOL applicable to each loss year.
Total the remaining NOL (Col. F) and enter in the space at the bottom of the worksheet for "NOL Carry Forward Available to
Current Year". Then insert "Current Year Income/(Loss)" in the space provided and compute the remainder of the
schedule. Create photocopies as needed. See example worksheet in 611 instructions.




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(Corporation) Name TENTRR, INC.                                                                                   FEIN XX-XXXXXXX
 CREDIT USAGE AND CARRYOVER                                                (ROUND TO NEAREST DOLLAR)                    SCHEDULE 10
1. Complete a separate schedule for each Credit Code.
2. Total the amounts on Line 13 of each schedule and enter the total on the credit line of the return.
3. If there is a credit eligible for carryover to this tax year, please complete a schedule even if the credit is not used for this tax year.
4. See the tax booklet for a list of credit codes.
5. See the relevant forms, statutes, and regulations to determine how the credit is allocated to the owners, to determine
   when carryovers expire, and to see if the credit is limited to a certain percentage of tax.
6. If the credit for a particular credit code originated with more than one person or company, enter separate information on Lines 3 through 9 below.
7. The credit certificate number is issued by the Department of Revenue for credits that are preapproved. If applicable, please enter the Department
   of Revenue credit certificate number where indicated.
8. Before the Line 14 carryover is applied to the next tax year, the amount must be reduced by any amounts elected to be applied to withholding for
   this tax year and by any carryovers that have expired.
For the credit generated this tax year, list the Company Name, ID number, and Credit Certificate number if applicable. Purchased credits
and credits received from an assignment should also be included. If the credit originated with this taxpayer, enter this taxpayer's name
and ID# below.



1. Credit Code
2. Credit remaining from previous years (do not include amounts elected to be applied to
   withholding)
3. Company Name                                                                                      ID Number


Credit Certificate #                                                                                 Credit Generated
                                                                                                     this Tax Year
4. Company Name                                                                                      ID Number


Credit Certificate #                                                                                 Credit Generated
                                                                                                     this Tax Year
5. Company Name                                                                                      ID Number


Credit Certificate #                                                                                 Credit Generated
                                                                                                     this Tax Year
6. Company Name                                                                                      ID Number


Credit Certificate #                                                                                 Credit Generated
                                                                                                     this Tax Year
7. Company Name                                                                                      ID Number


Credit Certificate #                                                                                 Credit Generated
                                                                                                     this Tax Year
8. Company Name                                                                                      ID Number


Credit Certificate #                                                                                 Credit Generated
                                                                                                     this Tax Year
9. Company Name                                                                                      ID Number


Credit Certificate #                                                                                 Credit Generated
                                                                                                     this Tax Year
10. Total available credit for this tax year. (sum of Lines 2 through 9)                                    10.
11. Enter the amount assigned to affiliated entities (see Schedule 11)                                      11.
12. Enter the amount of the credit sold (only certain credits can be sold; see instructions)                12.
13. Credit used for this tax year (enter here and on Schedule 3, Line 3)                                    13.
14. Potential carryover to next tax year. (Line 10 less Lines 11, 12, and 13)                               14.
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       SCHEDULE 10B

(Corporation) Name      TENTRR, INC.                                                                           FEIN     XX-XXXXXXX
 REFUNDABLE TAX CREDITS                                                     (ROUND TO NEAREST DOLLAR)                            SCHEDULE 10B
1. Complete a separate schedule for each Credit Code.
2. Total the amounts on Line 13 of each schedule and enter the total on the credit line of the return.
3. If there is a credit eligible for carryover to this tax year, please complete a schedule even if the credit is not used for this tax year.
4. See the tax booklet for a list of credit codes.
5. See the relevant forms, statutes, and regulations to determine how the credit is allocated to the owners and, to determine when carryovers
   expire.
6. If the credit for a particular credit code originated with more than one person or company, enter separate information on Lines 3 through 9 below.
7. The credit certificate number is issued by the Department of Revenue for credits that are preapproved. If applicable, please enter the Department
   of Revenue credit certificate number where indicated.
8. Before the Line 14 carryover is applied to the next tax year, the amount must be reduced by any amounts elected to be applied to withholding for
   this tax year and by any carryovers that have expired.
 For the credit generated this tax year, list the Company Name, ID number, and Credit Certificate number if applicable. Purchased credits
 and credits received from an assignment should also be included. If the credit originated with this taxpayer, enter this taxpayer's name
 and ID# below.

 Note: A purchased Timber Tax Credit is not a refundable tax credit. Use Schedule 10 if the Timber Tax Credit was purchased.

 1. Credit Code
 2. Credit remaining from previous years (do not include amounts elected to be applied to
    withholding)
 3. Company Name                                                                                        ID Number


 Credit Certificate #                                                                                   Credit Generated
                                                                                                        this Tax Year
 4. Company Name                                                                                        ID Number


 Credit Certificate #                                                                                   Credit Generated
                                                                                                        this Tax Year
 5. Company Name                                                                                        ID Number


 Credit Certificate #                                                                                   Credit Generated
                                                                                                        this Tax Year
 6. Company Name                                                                                        ID Number


 Credit Certificate #                                                                                   Credit Generated
                                                                                                        this Tax Year
 7. Company Name                                                                                        ID Number


 Credit Certificate #                                                                                   Credit Generated
                                                                                                        this Tax Year
 8. Company Name                                                                                        ID Number


 Credit Certificate #                                                                                   Credit Generated
                                                                                                        this Tax Year
 9. Company Name                                                                                        ID Number


 Credit Certificate #                                                                                   Credit Generated
                                                                                                        this Tax Year
 10. Total available credit for this tax year. (sum of Lines 2 through 9)                                    10.
 11. Enter the amount assigned to affiliated entities (see Schedule 11)                                      11.
 12. Enter the amount of the credit sold (only certain credits can be sold; see instructions)                12.
 13. Credit used for this tax year (enter here and on Schedule 3, Line 5)                                    13.
 14. Potential carryover to next tax year. (Line 10 less Lines 11, 12, and 13)                               14.
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         CCH                                                                02                  150 2021
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  (Corporation) Name TENTRR,            INC.                                                                              FEIN XX-XXXXXXX

  ASSIGNED TAX CREDITS                                                         (ROUND TO NEAREST DOLLAR)                             SCHEDULE 11

Georgia Code Section 48-7-42 provides that in lieu of claiming any Georgia income tax credit for which a taxpayer otherwise is eligible
for the taxable year, the taxpayer may elect to assign credits in whole or in part to one or more "affiliated entities". The term "affiliated
entities" is defined as:
1) A corporation that is a member of the taxpayer's affiliated group within the meaning of Section 1504(a) of the Internal Revenue
   Code; or
2) An entity affiliated with a corporation, business, partnership, or limited liability company taxpayer, which entity:
   (a) Owns or leases the land on which a project is constructed;
   (b) Provides capital for construction of the project; and
   (c) Is the grantor or owner under a management agreement with a managing company for the project.
No carryover attributable to the unused portion of any previously claimed or assigned credit may be assigned or reassigned, except if
the assignor and the recipient of an assigned tax credit cease to be affiliated entities, then any carryover attributable to the unused
portion of the credit is transferred back to the assignor of the credit. The assignor is permitted to use any such carryover and also shall
be permitted to assign the carryover to one or more affiliated entities, as if such carryover were an income tax credit for which the
assignor became eligible in the taxable year in which the carryover was transferred back to the assignor. In the case of any credit that
must be claimed in installments in more than one taxable year, the election under this subsection may be made on an annual basis with
respect to each such installment. For additional information, please refer to Georgia Code Section 48-7-42.
If the corporation filing this return is assigning tax credits to other affiliates, please provide detail below specifying where the tax credits
are being assigned.

All assignments of credits must be made before the statutory due date of the return (including extensions) per
O.C.G.A. ¤ 48-7-42 (b).

      Credit Code                 Corporation Name                                  FEIN                     Amount of Credit            Credit Certificate #
                                                                                                                                            (if applicable)


1.                                                                                                     1.


2.                                                                                                     2.


3.                                                                                                     3.


4.                                                                                                     4.


5.                                                                                                     5.


6.                                                                                                     6.


7.                                                                                                     7.


8.                                                                                                     8.




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PLEASE DO                       ERO MUST RETAIN THIS FORM.
NOT MAIL!                       DO NOT SUBMIT THIS FORM TO
                                GEORGIA DEPARTMENT OF REVENUE
                                UNLESS REQUESTED TO DO SO.

 IRS DCN OR SUBMISSION ID
                                                                                                                                          GA-8453C
                                                                                                                                            2021
GEORGIA CORPORATE INCOME TAX DECLARATION FOR ELECTRONIC FILING
SUMMARY OF AGREEMENT BETWEEN TAXPAYER AND ERO OR PAID PREPARER
                                                                                 GA Consolidated Subsidiary          Address Change         Final Return
                                                                                 Consolidated Parent FEIN            Name Change            Amended Due to
                                                                                                                                            IRS Audit

 2021       Income Tax Return         2022        Net Worth Return               Consolidated GA Parent            IT-552 Attached          PL 86-272
 Beginning JAN 1  2021                Beginning   JAN 01 2022                 X Original Return                    Initial Net Worth        UET Annualization
 Ending    DEC 31 2021                Ending      DEC 31 2022                    Amended Return                    Extension                Exception
 Federal Employer ID Number                    Name (Corporate title)                                                             Date admitted into GA
XX-XXXXXXX                                  TENTRR, INC.                                                                       02/03/2015
 Location of Records (City & State)            Business Address                                                                   Incorporated under laws of
                                                                                                                                  what state
NEW YORK,NY                                 25 W. 39TH STREET, 7TH FLOOR                                                       DELAWARE
 Corporation's Telephone Number                City or Town                                       State       ZIP Code            NAICS Code
  646-230-1040                              NEW YORK                          10018       454110  NY
  PART I                                                                         TAX RETURN INFORMATION
1. Federal taxable income (Form 600, Sch 1, Line 1) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~      1.  -6,113,971
2. Georgia taxable income (Form 600, Sch 1, Line 7) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       2.     -43,721
3. Net Worth (Form 600, Sch 2, Line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~             3.   4,895,043
4. Net Worth Taxable by Georgia (Form 600, Sch 2, Line 6)     4.      14,049
5. Tax Amounts (Form 600, Sch 3, Line 1) ~~~~~~~~~                   Income                               ~~~~ Net Worth
6. Balance of Tax due with return (Form 600, Sch 3, Line 11)                                          6.
7. Refund (Form 600, Sch 3, Line 12) ~~~~~~~ Credited to 2022                                             ~~~~~ Refunded

  PART II                                                                                    DECLARATION OF CORPORATE OFFICER
Under penalties of perjury, I declare that the information I have provided to the corporation's Electronic Return Originator (ERO) and/or Online Service
Provider and/or Transmitter and the amounts shown in Part I agree with the amounts shown on the corresponding lines of the electronic portion of the
corporation's 2021 Georgia Corporate Income Tax Return. I declare that I have examined the corporation's tax return, including accompanying
schedules and statements, and to the best of my knowledge and belief, the corporation's return is true, correct and complete. I consent that the
electronic portion of the corporation's return may be sent by my ERO/Online Service Provider/Transmitter.

SIGN                                                                                          PRESIDENT
HERE         SIGNATURE OF OFFICER                                   DATE                      TITLE


              ANAND SUBRAMANIAN                                     ANAND@TENTRR.COM
             PRINT NAME                                             EMAIL


  PART III                             DECLARATION OF ELECTRONIC RETURNS ORIGINATOR AND PAID PREPARER
I DECLARE THAT I HAVE REVIEWED THE ABOVE CORPORATION'S RETURN AND THAT THE ENTRIES ON THE GA-8453C ARE COMPLETE
AND CORRECT TO THE BEST OF MY KNOWLEDGE.
                  ERO's Signature                                                                                          Date
   ERO's                        GUTTERSON      & COHEN TAX SPECIALISTS LLC
                  Firm's Name                                                                                              Check also if paid preparer
    Use
                  Address          445   BROADHOLLOW ROAD STE 230
    Only
                  City, State & ZIP Code MELVILLE           NY 11747
IF PREPARED BY A PERSON OTHER THAN THE TAXPAYER, THIS DECLARATION IS BASED ON ALL THE INFORMATION OF WHICH THE
PREPARER HAS ANY KNOWLEDGE.
                  Paid Preparer's Signature                                                                                Date
   Paid                            GUTTERSON & COHEN TAX SPECIALISTS LLC                                                                XX-XXXXXXX
           Firm's Name                                                                                                     FEIN/PTIN
Preparer's
                                   445 BROADHOLLOW ROAD STE 230
Use Only Address                                                                                                           SSN/TIN
                  City, State & ZIP Code MELVILLE         NY 11747

GA-8453C (REV. 04/01/21)
                                            KEEP A COPY WITH YOUR RECORDS
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            CCH                                                                02                 150 2021
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                 2021 TAX RETURN FILING INSTRUCTIONS
                                LOUISIANA FORM CIFT-620

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                         0
            LESS: PAYMENTS AND CREDITS      $                       550
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            OVERPAYMENT                     $                       550

OVERPAYMENT:

            CREDIT TO YOUR ESTIMATED TAX    $                         0
            OTHER AMOUNT                    $                         0
            REFUNDED TO YOU                 $                       550

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE LDR, PLEASE SIGN, DATE AND RETURN FORM
            LA8453C TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE LDR. DO
            NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
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R-8453C (1/22) 2249
                                                                                                                                                    2021
                                                                                                                                                    LA8453-C
                                       Louisiana Department of Revenue
  LOUISIANA                            Corporation Income/Franchise Tax
DEPARTMENT of REVENUE                   Declaration for Electronic Filing

Do not file paper copies. This form must be maintained by the Electronic Return Originator (ERO).
For calendar year 2021, or tax year beginning                          , 2021, ending                       , 2022
                                                                                                                               PLEASE PRINT OR TYPE.
 Name of Corporation


TENTRR, INC.
 Louisiana Revenue Account Number                                                       Federal Employer Identification Number (FEIN)
4376901-700                                                                                XX-XXXXXXX
 Street Address of Corporation                                                          Unit Type                    Unit Number
25 W. 39TH STREET, 7TH FLOOR
 City                                                 State    ZIP                      Foreign Nation, if not United States (do not abbreviate)
NEW YORK                                             NY       10018

 Part 1 - Tax Return Information (whole dollars only)
  1     Income & Franchise tax due after Priority 1 Credits (Form CIFT-620, Line 10, the sum of
        both columns 1 and 2)                                                                                        1                                  .00
  2     Refund (Form CIFT-620, Line 28, column 3)                                                                    2                             550 .00
  3     Total amount due (Form CIFT-620, Line 25, column 3)                                                          3                                  .00
  4     Amount of payment remitted electronically                                                                    4                                  .00

 Part II - Declaration of Officer (Sign only after Part I is completed.)
 Under penalties of perjury, I declare that I am an officer of the above corporation and that the information that I have given my electronic return
 originator (ERO), transmitter, and/or intermediate service provider (ISP) and the amounts in Part 1 above agree with the amounts on the corre-
 sponding lines of the Louisiana 2021 Income/2022 Franchise tax return. To the best of my knowledge and belief, the corporation's return is true,
 correct, and complete. I consent to my ERO, transmitter, and/or ISP sending the corporation's return, this declaration, accompanying schedules,
 and statements to the Louisiana Department of Revenue. I also consent to the Louisiana Department of Revenue sending my ERO, transmitter,
 and/or ISP an acknowledgment of receipt of transmission and an indication of whether or not the corporation's return is accepted, and, if rejected,
 the reason(s) for the rejection.

    X I authorize a representative of the Louisiana Department of Revenue to discuss my return and attachments with my preparer.
 Signature of Officer                                                      Date (mm/dd/yyyy)       Title
                                                                                                           PRESIDENT

 Part III - Declaration of Electronic Return Originator (ERO) and Paid Preparer
 I declare that I have reviewed the above corporation's return and that the entries on LA8453-C are complete and correct to the best of my
 knowledge. If I am only a collector, I am not responsible for reviewing the return and only declare that this form accurately reflects the data on
 the return. The corporate officer will have signed this form before I submit the return. I will give the officer a copy of all forms and information to
 be filed with the Louisiana Department of Revenue, and have followed all other requirements in Pub. 3112, IRS E-file Application and Participation,
 and Pub. 4163, Modernized E-File Information for Authorized IRS E-Providers. If I am also the Paid Preparer, under penalties of perjury I declare
 that I have examined the above corporation's return and accompanying schedules and statements, and to the best of my knowledge and belief,
 they are true, correct, and complete. This Paid Preparer declaration is based on all information of which I have any knowledge.

 ERO's Use Only
 ERO's Signature                                              Date (mm/dd/yyyy)         X Check if also           Check if         ERO's SSN or PTIN
                                                           10/11/22                        paid preparer          self-employed    P00185030
 X
 Firm's Name (or yours if self-employed)                                                                                           FEIN


GUTTERSON & COHEN TAX SPECIALISTS LLC                                                                                              XX-XXXXXXX
 City                                                                                               State   ZIP                    Phone Number
MELVILLE                                                                                            NY      11747                  631-629-4344
 Paid Preparer's Use only
 Preparer's Signature                                         Date (mm/dd/yyyy)            Check if         Preparer's SSN or PTIN
                                                                                           self-employed
 Firm's Name (or yours if self-employed)                                                                                           FEIN



 City                                                                                               State   ZIP                    Phone Number


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CIFT-620-2D (1/22) Page 1 of 4                                                       Enter your LA Revenue Account                                                                       For office
Louisiana Department of Revenue                                                      Number here (Not FEIN) :                            4376901-700                                     use only.
Post Office Box 91011
Baton Rouge, LA 70821-9011                                                                              Mark box if:
                                                                                                                                       Legal Name
                                                                                                         Name change.                    TENTRR INC
                    LA Corporation                       LA Corporation
                     Income Tax                           Franchise Tax                                                                Trade Name
                    Return for 2021                     Return for 2022
                                                                                                         Address change.
                                            Mark box if:
                                                                                                                                       Mailing Address
Calendar Year filer                                                                  X                   Amended return.                 25 W 39TH STREET 7TH FLOOR
                                                                                                                                       Unit Type                           Unit Number
                                                                                                         Entity is not required
Fiscal Year filer ( Enter dates below)                                                                   to file franchise tax.
                                                                                                                                       City                                State       ZIP
                                                                                                         Entity is not required          NEW YORK                           NY          10018
Short period return (Enter dates below)                                                                  to file income tax.
                                                                                                                                       Foreign Nation, if not United States (do not abbreviate)
                   Income (MMDDYY)                                    Franchise (MMDDYY)                 First time filing
                                                                                                         of this form.
     Ended Begun




                                                        Ended Begun




                                                                                                         Final                              Computation of Income Tax - See instructions.
                                                                                                         return.
                                                                                                                       1A. Louisiana net income before                             X         157115
                                                                                                                             loss adjustments and income
                                                                                                                             tax deduction.
                                                                                                                             Subchapter S corporation
                                                                                                                       1B. exclusion                                                                  0
                                                                                                                             Loss carryforward

A.
                   Federal Employer Identification
                   Number                                                                      473054018                    [$                         0 .00]
                                                                                                                           less federal tax refund
                                                                                                                       1C. applicable to loss                                                         0
B.                 Federal taxable income                                        X                6113971                    [$                        0 .00]
                                                                                                                             Attach schedule.


C.                 Federal income tax                                                                            0     1C1. Loss carryforward utilized                                                0

D.                 Income tax apportionment
                                                                                                        2.57                                                                                          0
                   percentage                                                                                          1D. Federal income tax deduction


E.
                   Gross
                   revenues                                                                       4846290              1D1. Federal Disaster Relief Credits                                           0

F.
                   Total
                   assets                                                                       12332543               1E. Louisiana taxable income                                X         157115

G.                 NAICS code                                                                          454110          2.    Louisiana income tax                                                     0
                   Enter the state abbreviation for
                   location of the principal place of                                                        NY        3.    Nonrefundable income tax
                                                                                                                                                                                                      0
H.                 business.
                                                                                                                             credits from Schedule NRC-P1

                   Does the income of this
I.                 corporation include the income of                                     Yes            No    X        4.
                                                                                                                             Income tax after
                                                                                                                             priority 1 credits                                                       0
                   any disregarded entities?
                   Was the income of this corporation
J.                 included in a consolidated federal                                    Yes            No    X
                   income tax return?                                                                                                     Computation of Franchise Tax - See instructions.
                   If answered yes to J, enter FEIN
K.                 of consolidated federal income
                                                                                                                           Total capital stock,
                                                                                                                       5A. surplus, & undivided                                              4895043
                   tax return.
                                                                                                                           profits

L.
                   Do the books of the corporation
                   contain intercompany debt?                                            Yes            No    X              Franchise tax apportionment
                                                                                                                       5B. percentage                                                            1.29

M.                 Enter the code for the federal
                                                                                                             1                                                                                 63146
                   form filed.                                                                                         5C. Franchise taxable base
                                                                                                                             Amount of assessed value of
N.                 Enter the code for the type
                                                                                                             1               real and personal property in                                            0
                   of entity.                                                                                          6.    Louisiana in 2021


O.                 Pass-through Entity Tax Election                                                                    7.    Louisiana franchise tax                                                  0
                                                                                                                             Nonrefundable franchise
                                                        IMPORTANT!                                                     8.    tax credits from Schedule                                                0
                                                                                                                             NRC-P1
                        All four (4) pages of this return MUST be mailed in along with
                        completed schedules. Please sign and date the return on Page                                   9.
                                                                                                                             Franchise tax after
                                                                                                                             priority 1 credits                                                       0
                        3 and remit any amount due shown on Line 25, Column 3. Do
                        not send cash.


                                                                                                FOR OFFICE USE ONLY
                                                                                               Field
                                                                                                                                                                DEV ID   2249
                                                                                               Flag
                                                                                                                                                   154401
                                                                                                                                                   04-14-22                                      22241
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CIFT-620-2D (1/22) Page 2 of 4                                                      Enter your LA Revenue Account Number here. |4376901-700




                                                                           Net Amount Due
                                                         Col. 1 - Income tax                Col. 2 - Franchise tax                    Col. 3 - Total

10.   Tax liability after priority 1 credits 10.                      0            10.                      0

11.   Refundable credits from                                         0                                     0
      Schedule RC-P2                        11.                                    11.


12.   Tax liability after priority 2 credits 12.                      0            12.                      0

13.   Overpayment after priority 2                                    0                                     0
      credits                               13.                                    13.

14.   Nonrefundable credits from                                      0                                     0
      Schedule NRC-P3                       14.                                    14.


15.   Tax liability after priority 3 credits 15.                      0            15.                      0             15.                      0

16A. Overpayment after priority 2                                     0                                     0
     credits                               16A.                                   16A.

16B. Refundable credits from                                          0                                     0
     Schedule RC-P4                        16B.                                   16B.

16C. Credit carryforward from prior                                   0                                     0
     year return                           16C.                                   16C.


16D. Estimated payments                    16D.                       0

16E. Payment made with extension           16E.                   550             16E.                      0

16F. Total refundable credits and                                 550                                       0
     payments                              16F.                                   16F.


17.   Overpayment                           17.                   550              17.                      0             17.                 550

18.   Tax due                               18.                       0            18.                      0

19.   Amount of Income tax overpayment
                                                                                                            0
      applied to franchise tax                                                     19.


20.   Net Tax due                                                                  20.                      0

21.   Interest                              21.                       0            21.                      0

22.   Delinquent filing penalty             22.                       0            22.                      0

23.   Delinquent payment penalty            23.                       0            23.                      0

24.   Additional donation to The Military                             0                                     0
      Family Assistance Fund              24.                                      24.                                          f PAY THIS AMOUNT f

25.   Total amount due                      25.                       0            25.                      0             25.                      0




                                                                                         IMPORTANT!
                                                                   All four (4) pages of this return MUST be mailed in along
                                                                   with completed schedules. Please sign and date the
                                                                   return on Page 3 and remit any amount due shown on
                                                                   Line 25, Column 3. Do not send cash.
                                             154411 02-25-22                                                                                       22242
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                                                                            Net Amount Due
                                                      Col. 1 - Income tax                          Col. 2 - Franchise tax                         Col. 3 - Total

26. Net overpayment                                                                   26.                          0              26.                        550
27. Amount of overpayment you
    want to donate to The Military                                                                                                27.                              0
    Family Assistance Fund
28. Amount of overpayment to be                                                                                                                              550
    refunded                                                                                                                      28.

29. Amount of overpayment to be                                                                                                                                    0
    credited to 2022                                                                                                              29.

        Make payment to Louisiana Department of Revenue. DO NOT SEND CASH. You can pay your taxes online at: www.revenue.louisiana.gov/LaTap.




Under the penalties of perjury, I declare that I have examined this return, including all accompanying documents, and to the best of my knowledge and belief, it is true,
correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which he has any knowledge.
Signature of Officer                                                                          Title of Officer
                                                                                             PRESIDENT

Print Name of Officer                                                                         Telephone                                          Date (mm/dd/yyyy)

 ANAND SUBRAMANIAN                                                                           646-230-1040

                       Print Preparer's Name                           Preparer's Signature                              Date (mm/dd/yyyy)
                                                                                                                                               Check        if Self-employed
                        ALAN J. COHEN                                                                                       10112022
    PAID
  PREPARER               Firm's Name |       GUTTERSON & COHEN TAX SPECIALIS                                                  Firm's FEIN |    XX-XXXXXXX
  USE ONLY
                       Firm's Address |      445 BROADHOLLOW ROAD                                STE 230,                     Telephone |      631-629-4344


                      IMPORTANT!                                                    PTIN, FEIN, or LDR Account
All four (4) pages of this return MUST be mailed in along                              Number of Paid Preparer               P00185030
with completed schedules. Please sign and date the
return on Page 3 and remit any amount due shown on
Line 25, Column 3. Do not send cash.
                                                                                            For Ofifce
                                                                                            Use Only.




                                        154421 02-25-22                                                                                                            22243
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                                                                    Enter your LA Revenue Account Number here. |4376901-700
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                                                                       IMPORTANT!
                                                   All four (4) pages of this return MUST be mailed in along
                                                   with completed schedules. Please sign and date the
                                                   return on Page 3 and remit any amount due shown on
                                                   Line 26, Column 3. Do not send cash.
                                 154440 02-25-22                                                                   22244
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                                                                                     Enter your LA Revenue Account Number here. |4376901-700
CIFT-620-2D (1/22) Schedules A and B


All applicable schedules must be completed.

                                                          Schedule A - Required Information
1. At the end of the tax year, did you directly or indirectly own 50% or more of the                                          FEIN          Percentage
   voting stock of any corporation or an interest of any partnership, including any entity
   treated as a corporation or partnership?                                                       Yes            1
                                                                                                                 2
    If yes, list the FEIN and percentage owned for the five largest percentages. Attach a
    schedule listing the names, addresses, FEIN and percentage owned of all entities.
                                                                                                  No    X        3
                                                                                                                 4


                                                                                                                 5
2. At the end of the tax year, did any corporation, individual, partnership, trust, or                                       FEIN/SSN       Percentage
    association directly or indirectly own 50% or more of your voting stock?                                     1      041826873            62.16
                                                                                                  Yes X
    If yes, list the FEIN or SSN and percentage owned for the five largest percentages.
                                                                                                                 2
    Attach a schedule listing the names, addresses, FEIN or SSN and percentage
    owned of all entities.
                                                                                                  No             3
                                  SEE STATEMENT 1                                                                4


                                                                                                                 5
3. If you answered yes to Line I on CIFT-620, list the FEIN of five of those entities.                                        FEIN          Percentage
    Also, attach a schedule listing the names, addresses, and FEIN of all entities.                              1
                                                                                                  Yes
                                                                                                                 2
                                                                                                                 3
                                                                                                  No    X
                                                                                                                 4
                                                                                                                 5


                                Schedule B - Computation of Income Tax Apportionment Percentage
                   Description of items used as ratios                                1. Total amount           2. Louisiana amount     3. Percent


1. Net sales of merchandise and/or charges for services


     A. Sales                                                                              4846290                       124496

     B. Charges for services                                                                            0                         0

     C. Other gross apportionable income                                                                0                         0

     D. Total - Add the amounts in Columns 1 and 2.                                        4846290                       124496              2.57 %
2. For certain oil & gas businesses only. Wages, salaries, and other personal
   service compensation paid during the year (see instructions).                X                       0                         0                  %
   If ratio not used, check box.
3. For certain oil & gas businesses only (see instructions). Income tax property ratio -                    X
   Enter percentage from Schedule C, Line 24. If ratio not used, check box.                                                                          %


4. ONLY corporations primarily in the oil and gas business, enter ratio from Line 1D, Column 3 (see instructions).                                   %


5. Total of percents in Column 3                                                                                                             2.57 %

6. Average of percents - Divide Line 5 by applicable number of ratios. Enter here and on CIFT-620, Line D.                                   2.57 %




                                          154425
                                          02-25-22                                                                                             22250
                           Case 23-10000-BLS                Doc 1     Filed 01/02/23              Page 128 of 304
CIFT-620-2D (1/22) Schedule D                                             Enter your LA Revenue Account Number here. |4376901-700

                                          Schedule D - Computation of Louisiana Net Income
See instructions if separate accounting method is used and check box.

                                                   Totals                                                                Totals

1A. Gross receipts                                 4846290          .00 22. Other employee benefit plans                   156376 .00

1B. Less returns and allowances                               0     .00 23. Other deductions - Attach schedule.           4823280 .00

1C. Balance. Subtract Line 1B from                 4846290                24. Total deductions - Add Lines 10             8624282 .00
                                                                    .00
    Line 1A.                                                                  through 23.
2.   Less: Cost of goods sold and/or               2339836                25. Net income from all sources -              -6113422 .00
                                                                    .00
     operations - Attach schedule.                                            Subtract Line 24 from Line 9.
3.   Gross profit - Subtract Line 2                2506454          .00 26. Allocable income from all sources:
     from Line 1C.

                                                              0           26A. Net rents and royalties from immov-                0 .00
4.   Gross rents                                                    .00
                                                                               able or corporeal movable property

                                                              0           26B. Royalties from the use of patents,                 0 .00
5.   Gross royalties                                                .00
                                                                               trademarks, etc.
6.   Income from estates, trusts,                             0           26C. Income from estates, trusts, and                   0 .00
                                                                    .00
     partnerships                                                              partnerships
7.   Income from construction,                                0           26D. Income from construction, repair,                  0 .00
                                                                    .00
     repair, etc.                                                              etc.

8.   Other income - Attach schedule.                    4406        .00 26E. Other allocable income                               0 .00

9.   Total income - Add Lines 3                    2510860                                                                        0 ) .00
                                                                    .00 26F. Allocable expenses                      (
     through 8.

                                                    490555                26G. Net allocable income from all                      0 .00
10. Compensation of officers                                        .00
                                                                               sources
11. Salaries and wages (not                                   0           27. Net income subject to apportionment        -6113422 .00
                                                                    .00
    deducted elsewhere)                                                       - Subtract Line 26G from Line 25.

                                                              0           28. Net income apportioned to                   -157115 .00
12. Repairs                                                         .00
                                                                              Louisiana

                                                    181742                29. Allocable income from Louisiana
13. Bad debts                                                       .00
                                                                              sources:

                                                      18333               29A. Net rents and royalties from immov-                0 .00
14. Rent                                                            .00
                                                                               able or corporeal movable property
15. Taxes and licenses - Attach                     178383                29B. Royalties from the use of patents,                 0 .00
                                                                    .00
     schedule.                                                                 trademarks, etc.

                                                    353565                29C. Income from estates, trusts, and                   0 .00
16. Interest                                                        .00
                                                                               partnerships

                                                              0           29D. Income from construction, repair,                  0 .00
17. Charitable Contributions                                        .00
                                                                               etc.

18. Depreciation - Attach schedule.                1853197          .00 29E. Other allocable income                               0 .00

19. Depletion - Attach schedule.                              0     .00 29F. Allocable expenses                      (            0 ) .00

                                                    568851              29G. Net allocable income from                            0 .00
20. Advertising                                                     .00
                                                                             Louisiana sources
21. Pension, profit sharing, stock                                      30. Louisiana net income before loss
                                                              0     .00      adjustments and federal income tax           -157115 .00
    bonus, and annuity plans                                                 deduction - Add Line 28 and Line 29G.




                                       154427
                                       02-25-22                                                                                   22252
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CIFT-620-2D (1/22) Schedules E and G                                     Enter your LA Revenue Account Number here. |4376901-700


                          Schedule E - Reconciliation of Income Per Books with Income Per Return
1. Net income per books                                  -5355904 6. Total - Add Lines 1 through 5c.                          -5321699

2. Louisiana income tax                                          549 7. Income recorded on books this year, but not               401400
                                                                            included in this return - Attach Schedule.

3. Excess of capital loss over capital gains                        0 8. Deductions in this tax return not charged
                                                                            against book income this year:
4. Taxable income not recorded on books this                        0                                                             390323
                                                                           a.   Depreciation
   year - Attach schedule
5. Expenses recorded on books this year,                                                                                                      0
                                                                           b. Depletion
   but not deducted in this return:

   a. Depreciation                                                  0      c.   Other - Attach Schedule                                       0

   b. Depletion                                                     0 9. Total - Add Lines 7 through 8c.                          791723

   c. Other - Attach schedule.     STMT 5                    33656 10. Net income from all sources per return -               -6113422
                                                                            Subtract Line 9 from Line 6.


                                          Schedule G - Liabilities and Capital from Balance Sheet
Liabilities and Capital                                                                    1. Beginning of year          2. End of year

1. Accounts payable                                                                                 122066                    292189

2. Mortgages, notes, and bonds payable one year old or less at balance sheet date and
                                                                                                               0                          0
   having a maturity of one year or less from original date incurred

3. Other current liabilities - Attach schedule.       SEE STATEMENT 7                             2956742                   5460191

4. Loans from stockholders - Attach schedule.                                                                  0                          0

5. Due to subsidiaries and affiliates                                                                          0                          0

6. Mortgages, notes, and bonds payable more than one year old at balance sheet date
                                                                                                               0                          0
   or having a maturity of more than one year from original date incurred

7. Other liabilities - Attach schedule.         STMT 8                                            1187020                   1685120

8. Capital stock: a. Preferred stock                                                                       229                      229

                  b. Common stock                                                                          800                      800

9. Paid-in or capital surplus                                                                   21764062                  31053045

10. Surplus reserves - Attach schedule.                                                                        0                          0

11. Earned surplus and undivided profits                                                       -20803127                 -26159031

12. Excessive reserves or undervalued assets                                                                   0                          0

13. Totals - Add Lines 1 through 12.                                                              5227792                 12332543




                                           154428
                                           02-25-22                                                                                 22253
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CIFT-620-2D (1/22) Schedule F                                               Enter your LA Revenue Account Number here. |4376901-700

All applicable schedules must be completed.


                                 Schedule F - Reconciliation of Federal and Louisiana Net Income
                                      See R.S. 47:287.71, R.S. 47:287.73, and R.S. 47:287.82 for information.

                                                                                                                  Column 1

1. Enter the total net income calculated under federal law before special deductions.                                -6113971

2. Additions to federal net income:


   a. Louisiana income tax                                                                                                   549

   b. Related members interest\intangible\management fee expenses or costs. From Form R-6950                                  0
      (see instructions).

   c. Donation to School Tuition Organization Credit (see instructions).                                                      0

   d. Other additions - Attach schedule.                                                                                      0

   e. Total additions - Add Lines 2a through 2d.                                                                             549

3. Subtractions from federal net income:


   a. Bank dividends (see instructions).                                                                                      0

   b. All other dividends                                                                                                     0

   c. Interest                                                                                                                0

   d. Road Home - The amount included in federal taxable income                                                               0

   e. Louisiana depletion in excess of federal depletion                                                                      0

   f. Expenses not deducted on the federal return due to Internal Revenue Code Section 280C                                   0

   g. Exempt amount of related members interest\intangible\management fee expenses or costs.                                  0
      From Form R-6950 (see instructions).

   h. Compensation for disaster services (see instructions).                                                                  0

   i. Expenses not deducted on the federal return due to Internal Revenue Code Section 280E.                                  0

   j. COVID-19 Relief Benefits                                                                                                0

   k. Other subtractions - Attach schedule.                                                                                   0

   l. Total subtractions - Add Lines 3a through 3k.                                                                           0

4. Louisiana net income from all sources - The amount should agree with Schedule D, Line 25.                         -6113422




                                        154429
                                        02-25-22                                                                             22254
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CIFT-620-2D (1/22) Schedule G-1                                                  Enter your LA Revenue Account Number here. |4376901-700


See Revenue Ruling 06-010 and Revenue Information Bulletin 13-006. All applicable schedules must be completed. Complete Lines 1 through 11
only if there is an end of year balance in the "Due to Subsidiaries and Affiliates" account or an equivalent account on the books of the corporation. All
corporations must complete Lines 12 through 19.

                                             Schedule G-1 Computation of Franchise Tax Base
 1.    Capital Stock:


       1A.   Common Stock - Include paid-in or Capital Surplus                                                                                   0

       1B.   Preferred Stock - Include paid-in or Capital Surplus                                                                                0

 2.    Total Capital stock - Add Lines 1A and 1B.                                                                                                0

 3.    Surplus and undivided profits                                                                                                             0

 4.    Surplus reserves - Include any excessive reserves or undervalued assets                                                                   0

 5.    Total - Add Lines 2, 3, and 4                                                                                                             0

 6.    Due to subsidiaries and affiliates (Do not net with receivables)                                                                          0

 7.    Deposit liabilities to affiliates - Included in the amount on Line 6                                                                      0

 8.    Accounts payable less than 180 days old - Included in the amount on Line 6                                                                0

 9.    Adjusted debt to affiliates - Subtract Lines 7 and 8 from Line 6                                                                          0

 10A. If Line 9 is greater than zero, AND Line 5 is greater than or equal to zero, subtract Line 5 from Line 9. If both                          0
      conditions of this line do not apply, skip to Line 10B.
 10B. If Line 9 is greater than zero, AND Line 5 is less than or equal to zero, subtract Line 5 from Line 9. Multiply the                        0
      difference by 50 percent and enter the result here.

 11.   Additional Surplus and Undivided Profits - See instructions                                                                               0
                                                             Total Franchise Taxable Base

 12.   Capital Stock: Common Stock                                                                                                           800

                        Preferred Stock                                                                                                      229

 13.   Paid-in or capital surplus - Include items of paid-in capital in excess of par value                                        31053045

 14.   Surplus reserves - Attach schedule                                                                                                        0

 15.   Earned surplus and undivided profits                                                                                      -26159031

 16.   Excessive reserves or undervalued assets                                                                                                  0

 17.   Additional surplus and undivided profits - From Line 11 above                                                                             0

 18.   Allowable deductions - See instructions                                                                                                   0

 19.   Total capital, surplus and undivided profits - Add Lines 12 through 17 and subtract Line 18. Also enter                       4895043
       the total on CIFT-620, Line 5A. Round to the nearest dollar.
Note: All accounts on the books of the corporation should be reviewed to determine if an account is an item of capital, surplus or undivided profits.
      All items of capital, surplus and undivided profits must be included in the franchise taxable base. See Revenue Information Bulletin 06-026.




                                           154435
                                           02-25-22                                                                                            22255
                           Case 23-10000-BLS                  Doc 1    Filed 01/02/23    Page 132 of 304
CIFT-620-2D (1/22) Schedule H                                            Enter your LA Revenue Account Number here. |4376901-700



                             Schedule H - Computation of Corporate Franchise Tax Property Ratio
                                                               LOCATED EVERYWHERE                      LOCATED IN LOUISIANA
                                                     1. End of year                          2. End of year

1. Cash                                                               6873088                                          0

2. Notes and accounts receivable                                       434439                                          0

3. Reserve for bad debts                             (                        0          )   (                         0          )


4. Investment in U.S. gov. obligations                                        0                                        0

5. Stock and obligations of subsidiaries                                      0                                        0

6. Other investments - Attach schedule                                        0                                        0

7. Loans to stockholders                                                      0                                        0

8. Other intangible assets - Attach schedule                          1662394                                          0

9. Accumulated depreciation                          (                 297405            )   (                         0          )


10. Total intangible assets - Add Lines 1-9                           8672516                                          0

11. Inventories                                                               0                                        0

12. Bldgs. and other depreciable assets                               7248470                                          0

13. Accumulated depreciation                         (                4135912            )   (                         0          )


14. Depletable assets                                                         0                                        0

15. Accumulated depletion                            (                        0          )   (                         0          )


16. Land                                                                      0                                        0

17. Other real & tangible assets - Attach schedule                     547469                                          0

18. Excessive reserves, assets not reflected on                               0                                        0
    books, or undervalued assets
19. Total real and tangible assets - Add Lines 11                     3660027                                          0
    through 18

20. Total Assets - Add Lines 10 and 19                                12332543                                         0

21. Franchise tax property ratio (Line 20, Column                                                                             .00 %
    2 ^ Line 20, Column 1)




                                         154436
                                         02-25-22                                                                             22256
                             Case 23-10000-BLS                      Doc 1         Filed 01/02/23                  Page 133 of 304
CIFT-620-2D (1/22) Schedule I                                                        Enter your LA Revenue Account Number here. |4376901-700


                       Schedule I - Computation of Corporate Franchise Tax Apportionment Percentage
                   Description of items used as ratios                                1. Total amount              2. Louisiana amount       3. Percent


1. Net sales of merchandise, charges for services, and other revenues


     A. Sales                                                                                 4846290                        124496

     B. Charges for services                                                                                  0                          0

     C. Other Revenues:


           (i) Rents and royalties                                                                            0                          0

           (ii) Dividends and interest from subsidiaries                                                      0                          0

           (iii) Other dividends and interest                                                                 0                          0

           (iv) All other revenues                                                                            0                          0

     D. Total - If the ratio is not used, check the box.                                      4846290                        124496               2.57 %

2. Franchise tax property ratio - Enter the percentage from Schedule H, Line 21. If the ratio is not used, check the box.                           .00 %

3. Total of applicable percents in Column 3                                                                                                       2.57 %

4. Average of percents - Divide Line 3 by applicable number of ratios. Enter here and on CIFT-620, Line 5B.                                       1.29 %




                                          154437
                                          02-25-22                                                                                                  22257
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CIFT-620-2D (1/22) Schedules J, J-1, and K                                   Enter your LA Revenue Account Number here. |4376901-700


                                                 Schedule J - Calculation of Income Tax
1. Enter the amount of net taxable income from CIFT-620, Line 1E. Short period filers mark this box                                       0
   and see the instructions.
                                                                                                   Column 1                    Column 2
2. Calculation of tax                                                                             Net income          Rate       Tax
                                                                                                in each bracket

  a. First $25,000 of net taxable income                                                                  0           x 4% =              0

  b. Next $25,000                                                                                         0           x 5% =              0

  c. Next $50,000                                                                                         0           x 6% =              0

  d. Next $100,000                                                                                            0       x 7% =              0

  e. Over $200,000                                                                                                0 x 8% =                0

3. Add the amounts in Column 1, Lines 2a through 2e and enter the result.                                         0

4. Add the amounts in Column 2, Lines 2a through 2e. Round to the nearest dollar.                                                             0
   Enter the result in Column 2 and on CIFT-620, Line 2.


                         Schedule J-1 - Pass-Through Entity Tax Election Calculation of Income Tax
 1. Enter the amount of net taxable income from CIFT-620, Line 1E. Short period filers mark this box and
    see the instructions.
                                                                                                   Column 1                    Column 2
 2. Calculation of Tax                                                                            Net income          Rate       Tax
                                                                                                in each bracket

 a. First $25,000 of net taxable income                                                                               x 2% =

 b. Next $75,000                                                                                                      x 4% =


 c. Over $100,000                                                                                                     x 6% =
 3. Add the amounts in Column 1, Lines 2a through 2c and enter the result.


 4. Add the amounts in Column 2, Lines 2a through 2c. Round to the nearest dollar. Enter
   the result in Column 2 and on CIFT-620, Line 2.




                                             Schedule K - Summary of Estimated Tax Payments

                                                                                Check number                      Date           Amount


1. Credit from prior year return                                                                                                          0

2. First quarter estimated payment                                                                                                        0

3. Second quarter estimated payment                                                                                                       0

4. Third quarter estimated payment                                                                                                        0

5. Fourth quarter estimated payment                                                                                                       0

6. Payment made with extension request                                                                   04152022                     550




                                      154438
                                      02-25-22                                                                                        22258
                           Case 23-10000-BLS                  Doc 1       Filed 01/02/23            Page 135 of 304
CIFT-620-2D (1/22) Schedules L, M, and N                                     Enter your LA Revenue Account Number here. |4376901-700


                                                  Schedule L - Calculation of Franchise Tax
1. Enter the amount from CIFT-620, Line 5C or Line 6, whichever is greater. Short period filers mark                               63146
   this box and see the instructions.

2. Enter the amount of Line 1 or $300,000, whichever is less.                                                                  63146

3. Multiply the amount on Line 2 by $1.50 for each $1,000 or major fraction and enter the result. See                             0
   instructions for the suspension of the low tier of the tax.

4. Subtract Line 2 from Line 1 and enter the result.                                                                                        0

5. Multiply the amount on Line 4 by $3.00 for each $1,000 or major fraction and enter the result.                                       0

6. Add Lines 3 and 5. Round to the nearest dollar. Enter the result here and on CIFT-620, Line 7.                                       0


          Schedule M - Analysis of Schedule G, Line 11, Column 2 - Earned surplus and undivided profits per books
1. Balance at beginning of year           -20803127                                 b. Stock                                            0

2. Net income per books                     -5355904                                c. Property                                         0

3. Other increases - Attach                               0      6. Other decreases - Attach schedule.                                  0
   schedule.

4. Total - Add Lines 1, 2, and 3.         -26159031              7. Total - Add Lines 5a through 6.                                     0

                                                          0      8. Balance at end of year - Subtract Line 7             -26159031
5. Distributions:    a. Cash
                                                                    from Line 4.

                                                 Schedule N - Additional Information Required
1. Describe the nature of your business activity and specify your principal 2. Indicate the date and state of incorporation. 02032015       DE
   product or service, both in Louisiana and elsewhere.
                                                                            3. Indicate parishes in which property is located.
   Louisiana:

   CAMPING ONLINE MARKETPL

   SERVICE



   Elsewhere:

   CAMPING ONLINE MARKE

   SERVICE




                                      154439
                                      02-25-22                                                                                          22259
                           Case 23-10000-BLS                   Doc 1        Filed 01/02/23        Page 136 of 304


                                 FEDERAL INCOME TAX DEDUCTION WORKSHEET
1A. Louisiana net income - From Form CIFT-620, Line 1A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     $         -157,115.

1B. Loss deductions - Enter the amount from Form CIFT-620, Line 1C1          ~~~~~~~~~~~~~~~~~~~~~~~                      $


1C. Louisiana net income before federal income tax
      deduction - Subtract Line 1B from Line 1A     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   $         -157,115.

  2. Adjustments to convert Louisiana net income to a federal basis
    LOUISIANA INCOME TAX                                                                                                  $                    -14.
                                                                                                                          $
                                                                                                                          $
                                                                                                                          $
                                                                                                                          $
                                                                                                                          $
                                                                                                                          $
                                                                                                                          $
                                                                                                         Net adjustment $                      -14.

  3. Louisiana net income on a federal basis - Subtract Line 2 from Line 1C      ~~~~~~~~~~~~~~~~~~~~~                    $         -157,129.

  4. Federal net income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   $     -6,113,971.

  5. Less creditable expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                $


  6. Federal net income - Subtract Line 5 from Line 4     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                $     -6,113,971.

  7. Ratio of Louisiana net income to federal net income - Divide Line 3 by Line 6      ~~~~~~~~~~~~~~~~~~                            2.5700 %

  8. Federal income tax liability ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             $                     0.

  9. Less base erosion minimum tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              $


 10. Federal income tax - Subtract Line 9 from Line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   $                     0.

 11. Federal income tax attributable to Louisiana income - Multiply Line 10 by Line 7 ~~~~~~~~~~~~~~~~~                   $                     0.

 12. Federal income tax disaster relief credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      $

12a. Federal income tax disaster relief credit attributable to Louisiana - Multiply Line 12 by
      Line 7 and enter the amount here and on Form CIFT-620, Line 1D1        ~~~~~~~~~~~~~~~~~~~~~~~                      $


 13. 2021 Net IRC Section 965 tax liability from the worksheet in the instructions ~~~~~~~~~~~~~~~~~~~                    $


 14. Add Lines 11, 12a, and 13 - Enter on Form CIFT-620, Line 1D ~~~~~~~~~~~~~~~~~~~~~~~~~~                               $


 The amount of federal income tax to be deducted is that portion levied on the income derived from sources in this state. See R.S. 47:287.83
 and 287.85 and Louisiana Administrative Code 61:I.1122 and 1123 for specific information regarding the computation of the federal income
 tax deduction.




154431 06-17-22
              Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 137 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620    SCHEDULE A - STOCK OWNERSHIP BY OTHERS       STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME, ADDRESS, AND FEIN                      SHAREHOLDER'S PERCENTAGE OF STOCK
}}}}}}}}}}}}}}}}}}}}}}}                    }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
XXX-XX-XXXX                                                           62.16
MICHAEL D'AGOSTINO




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620         SCHEDULE D - TAXES AND LICENSES         STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                               LA AMOUNT    TOTAL AMOUNT
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TAXES DEDUCTED ON FEDERAL RETURN                                            178,932.
LESS: LOUISIANA INCOME TAX DEDUCTED ON FEDERAL
RETURN                                                                         -549.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO CIFT-620, SCHEDULE D, LINE 15                                     178,383.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620          SCHEDULE D - OTHER INCOME              STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                              LOUISIANA      EVERYWHERE
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
MISCELLANEOUS                                                                 5,821.
NET GAIN/LOSS FROM FORM 4797                                                 -1,415.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO CIFT-620, SCHEDULE D, LINE 8                                        4,406.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                    STATEMENT(S) 1, 2, 3
              Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 138 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620        SCHEDULE D - OTHER DEDUCTIONS            STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                              LOUISIANA      EVERYWHERE
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
AMORTIZATION                                                                244,034.
AUTO AND TRUCK EXPENSE                                                       15,338.
BANK CHARGES                                                                    789.
CARTING                                                                      10,214.
CONFERENCES AND SEMINARS                                                     13,547.
CONSULTING SERVICES                                                         549,755.
DUES & SUBSCRIPTIONS                                                          5,854.
EQUIPMENT RENTAL                                                            696,134.
INSURANCE                                                                   213,099.
IT SOFTWARE & SERVICES                                                      196,434.
LEGAL AND PROFESSIONAL                                                      237,561.
LICENSES AND PERMITS                                                          8,744.
MEALS NOT SUBJECT TO LIMITATION                                              30,028.
MERCHANT ACCOUNT FEES                                                         1,103.
MOVING EXPENSES                                                              12,971.
OFFICE EXPENSES                                                               7,577.
PAYROLL SERVICES FEE                                                         46,464.
POSTAGE & DELIVERY                                                              936.
SALARIES - PEO                                                            2,372,606.
TELEPHONE EXPENSE                                                            23,147.
TEST TRANSACTIONS                                                             1,133.
TRAVEL                                                                       71,391.
UTILITIES                                                                     8,901.
WEB/DOMAIN HOSTING AND MAINT                                                 55,520.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO CIFT-620, SCHEDULE D, LINE 23                                   4,823,280.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620     SCHEDULE E - BOOKED EXPENSES NOT ON RETURN  STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                      AMOUNT
}}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
CONTRIBUTIONS CARRYOVER NOT ON RETURN                                                5,050.
AMORTIZATION                                                                        28,606.
                                                                             }}}}}}}}}}}}}}
TOTAL TO CIFT-620, SCHEDULE E, LINE 5C                                              33,656.
                                                                             ~~~~~~~~~~~~~~




                                                                       STATEMENT(S) 4, 5
              Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 139 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620     SCHEDULE E - BOOKED INCOME NOT ON RETURN    STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                      AMOUNT
}}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
PPP LOANS, EIDL AND OTHER COVID GRANTS OR SUBSIDIES                                401,400.
                                                                             }}}}}}}}}}}}}}
TOTAL TO CIFT-620, SCHEDULE E, LINE 7                                              401,400.
                                                                             ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620      SCHEDULE G - OTHER CURRENT LIABILITIES     STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PAYROLL LIABILITIES                                           15,292.        20,786.
CREDIT CARDS PAYABLE                                           3,599.         4,124.
ACCRUED EXPENSES                                             333,355.       689,171.
DEFERRED REVENUE                                              61,173.       173,080.
GIFT CARDS                                                    27,801.        71,392.
SALES TAX PAYABLE                                              2,527.         1,318.
OTHER PAYABLES
DEFERRED KEEPER EXPENSE
GAP ACCOUNT                                                      5,705.
FARNAM LEASE LIABILITY                                       2,507,290.   4,486,749.
TENTKIT DEPLOYED                                                             13,571.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO CIFT-620, SCHEDULE G, LINE 3                     2,956,742.     5,460,191.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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LA FORM CIFT-620         SCHEDULE G - OTHER LIABILITIES          STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
LINE OF CREDIT                                                29,985.              0.
LOAN PAYABLE - PPP                                           401,400.              0.
DECATHLON LOAN                                               755,635.     1,642,792.
NATIONAL PARTNERS                                                             5,427.
IPFS                                                                         36,901.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO CIFT-620, SCHEDULE G, LINE 7                     1,187,020.     1,685,120.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                    STATEMENT(S) 6, 7, 8
              Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 140 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620   SCHEDULES C AND H - OTHER INTANGIBLE ASSETS   STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PREPAID EXPENSES                                              53,618.        65,042.
DEFERRED EXPENSES                                            117,595.       312,775.
LOWES ESCROW                                                  53,197.        22,981.
INTANGIBLE ASSETS                                            290,109.     1,261,596.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO CIFT-620, SCHEDULE C, LINE 8                       514,519.     1,662,394.
                    SCHEDULE H, LINE 8                 ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LA FORM CIFT-620        SCHEDULES C AND H - OTHER REAL AND       STATEMENT 10
                        TANGIBLE ASSETS LOCATED EVERYWHERE
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                            381,371.       547,469.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO CIFT-620, SCHEDULE C, LINE 17                       381,371.       547,469.
                   SCHEDULE H, LINE 17                 ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                      STATEMENT(S) 9, 10
          Case 23-10000-BLS         Doc 1       Filed 01/02/23   Page 141 of 304


                 2021 TAX RETURN FILING INSTRUCTIONS
                                   MAINE FORM 1120ME

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                       $                         0
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            NO PAYMENT REQUIRED             $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE ME DOR, PLEASE CONTACT OUR OFFICE AND
            WE WILL SUBMIT YOUR ELECTRONIC RETURN. DO NOT MAIL THE PAPER COPY
            TO THE ME DOR.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
                                      Case 23-10000-BLS                     Doc 1         Filed 01/02/23                  Page 142 of 304

                    2021                                        Maine Corporate Income Tax Return
                                                                          Form 1120ME                                                                                              04
                    For calendar year
                    2021 or tax year                                      2021             to
                                                              MM   DD     YYYY                        MM     DD         YYYY
                                                                                                                                                       Check if you filed
     TENTRR INC                                                                                                                      454110            federal Form 990-T,
                                                                                                                                                       1120-C, or 1120-H
     Name of Corporation                                                                                                       Federal Business Code

     25 W 39TH STREET 7TH FLOOR                                                                                                        47 3054018                         DE

     Address                                                                                                                   Federal Employer ID Number               State of
                                                                                                                                                                        Incorporation
     NEW YORK                                                                                                NY                10018

     City, Town or Post Office                                                                              State        ZIP Code             Parent Company Employer ID Number

     ANAND                                                            SUBRAMANIAN                                                        646                  230 1040

     Contact Person's First Name                                      Contact Person's Last Name                                       Telephone Number


                                                                                                                                          Check this box if the address has
                                                                                                                                          changed.
                                                                                                                                          Check this box if claiming an
                                                                                                                                          exemption from the Maine corporate
                                                                                                                                          income tax pursuant to PL 86-272.

                                                                                                                                          Check this box if during the tax year
                                                                                                                                          any member of the combined group
                                                                                                                                          owned or disposed of an interest
                                                                                                                                          in a pass-through entity doing
                                                                                                                                          business in Maine: If so, provide
                                                                                                                                          EIN of pass-through entity (use a
Check applicable boxes:                                                                                                                   separate sheet, if necessary):
(1)     Initial return                            (2)          Amended                          Combined return
                                                                                    (3)
                                                               return                           (Attach Form CR)
(4)            Final return
               If final, indicate the final business date                        , and check the appropriate box below:

        (a)            Ceased doing                     (b)        Dissolved              (c)         Merged, acquired
                       business in Maine                                                              or reorganized. Successor EIN:
(5)            Member of an affiliated            (6)          Based on a
               group filing a separate                         pro forma
               return                                          federal return


A.      Federal consolidated income (federal Form 1120, line 30) ~~~~~~~~~~~~~                                    A.                                                              .00

B.      Tentative total tax filed on federal Form 7004             ~~~~~~~~~~~~~~~~~~                             B.                                                              .00
1.      Federal taxable income (federal Form 1120, line 30. If filing a combined report, enter
        amount from Form CR, line 11). If negative, enter a minus sign to the left of the number ~~~~             1.                                      -6113971 .00

Subtractions from federal taxable income:
2. a. Nontaxable interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       2a.                                                                .00

        b. Foreign dividend gross-up ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2b.                                                                .00
        c. Work Opportunity Credit and Empowerment Zone Credit deductions
           (attach federal Form 5884 and/or Form 8844, as appropriate) ~~~~~~~~~~ 2c.                                                                                             .00

        d. Income not taxable under the Constitution of Maine or the United States                      ~~ 2d.                                                                    .00
        e. Dividends from certain affiliated corporations
           (limitations - see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                         2e.                                                                .00

        f. Net operating loss recapture (see instructions)              ~~~~~~~~~~~~~~~~                          2f.                                                             .00
        g. Income from ownership interest in pass-through entity financial institutions
           (subject to Maine franchise tax) ~~~~~~~~~~~~~~~~~~~~~~~~~                                          2g.                                                                .00

        h. State income tax refunds (included in line 1 above)                  ~~~~~~~~~~~~~~                 2h.                                                                .00
                    155201 01-27-22     CCH                                                                                                            Continue on page 2
                                Case 23-10000-BLS           Doc 1       Filed 01/02/23           Page 143 of 304

      2021 Form 1120ME - Page 2
                                                                                                                                     04
                47 3054018
                Federal EIN
Subtractions, continued:
    i. Bonus depreciation/Section 179 expense recapture (see instructions)      ~~~~       2i.                                      .00

     j. Medical marijuana business expenses (see instructions)     ~~~~~~~~~~~             2j.                                      .00

     k. 50% of apportionable subpart F income (see instructions) ~~~~~~~~~~~               2k.                                      .00

     l. 80% of apportionable deferred foreign income (see instructions)     ~~~~~~~        2l.                                      .00

     m. 50% of Global Intangible Low-Taxed Income (GILTI) (see instructions) ~~~~~ 2m.                                              .00

     n. Northern Maine Transmission Corporation adjustment (see instructions) ~~~          2n.                                      .00

     o. Gain on sale of multifamily affordable housing (see instructions)   ~~~~~~~        2o.                                      .00

     p. Seed capital investment tax credit (see instructions)   ~~~~~~~~~~~~~              2p.                                      .00

     q. Gains from sale of timberlands (see instructions)   ~~~~~~~~~~~~~~~                2q.                                      .00

     r. New markets capital investment credit (see instructions) ~~~~~~~~~~~               2r.                                      .00

     s. Charitable contributions recapture (see instructions) ~~~~~~~~~~~~~                2s.                                      .00

     t. Business interest deduction recapture (see instructions)   ~~~~~~~~~~~             2t.                                      .00

     u. Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2u.                                      .00

     v. Total subtractions (add lines 2a through 2u) ~~~~~~~~~~~~~~~~~~                    2v.                                      .00



Additions to federal taxable income:
3.   a. Income taxes (imposed by Maine or any other state, attach schedule)   STMT 13a.
                                                                              ~~~~~                                      2500 .00

     b. Deferred foreign income (see instructions) ~~~~~~~~~~~~~~~~~~~                     3b.                                      .00

     c. Participation exemption deduction add-back (see instructions) ~~~~~~~~             3c.                                      .00

     d. Foreign-derived intangible income (FDII) deduction add-back (see instructions)     3d.                                      .00

     e. Global Intangible Low-Taxed Income (GILTI) deduction add-back (see instructions)   3e.                                      .00

     f. Interest from state and municipal bonds (other than Maine) ~~~~~~~~~~              3f.                                      .00

     g. Net operating loss adjustment (see instructions)    ~~~~~~~~~~~~~~~                3g.                                      .00

     h. Maine capital investment credit bonus depreciation add-back (see instructions)     3h.                                      .00

     i. Bonus depreciation add-back (see instructions) ~~~~~~~~~~~~~~~~                    3i.                                      .00
     j. Losses, expenses, or deductions from ownership interest
        in financial institutions (see instructions)   ~~~~~~~~~~~~~~~~~~~                 3j.                                      .00




                                                                                                               Continue on page 3
              155202 11-17-21    CCH
                                  Case 23-10000-BLS                 Doc 1        Filed 01/02/23        Page 144 of 304

        2021 Form 1120ME - Page 3
                                                                                                                                            04
                  47 3054018
                  Federal EIN

Additions, continued:

       k. Wellness programs credit add-back (see instructions) ~~~~~~~~~~~~~                     3k.                                       .00

       l. Business meals deduction add-back (see instructions)           ~~~~~~~~~~~~            3l.                                       .00

       m. Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            3m.                                       .00

       n. Total additions (add lines 3a through 3m)       ~~~~~~~~~~~~~~~~~~~                    3n.                            2500 .00

4.     Adjusted federal taxable income (line 1 minus line 2v plus line 3n)        ~~~~~~~~        4.                     -6111471 .00

Tax:

5.     Gross tax (from rate schedule on page 8 of instructions) ~~~~~~~~~~~~~~                    5.                                   0 .00

6.     a. Maine corporate income tax (from line 5 above or Schedule A, line 5)           ~~~~~   6a.                                   0 .00

       b. Credit recapture (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~                            6b.                                       .00

       c. Total tax (add lines 6a and 6b) ~~~~~~~~~~~~~~~~~~~~~~~~~                              6c.                                   0 .00

Payments and credits:

7.     a. Maine estimated tax paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   7a.                                       .00

       b. Extension payment (Form 1120EXT-ME) ~~~~~~~~~~~~~~~~~~~~                               7b.                                       .00

       c. Tax credits (Schedule C, line 1u plus line 2e) ~~~~~~~~~~~~~~~~~~                      7c.                                       .00
       d. Income tax withheld (from a pass-through entity or from gambling winnings.
          Enclose Form 1099ME, W-2G, or other supporting documentation) ~~~~~~~~                 7d.                                       .00

       e. If amended, enter payments (see instructions) ~~~~~~~~~~~~~~~~~                        7e.                                       .00

       f. If amended, enter overpayments (see instructions) ~~~~~~~~~~~~~~                       7f.                                       .00
       g. Total payments and credits (add lines 7a through 7e and subtract line 7f;
          if the result is negative, enter a minus sign to the left of the number) ~~~~~~~~~~~   7g.                                       .00

Tax due or overpayment

8.     a. If line 6c is greater than line 7g, subtract line 7g
                                                                                                        .00        Use EZ Pay at
          from line 6c and enter the TAX DUE ~~~~~~~~~ 8a.
                                                                                                                   maine.gov/revenue
       b. If line 7g is greater than line 6c, subtract line 6c
          from line 7g and enter the OVERPAYMENT ~~~~~ 8b.                                              .00

9.     Penalty for underpayment of estimated tax (attach Form 2220ME)
       Check here if Form 2220ME box 5a is checked ~~~~~~~~~~                              ~~~~~ 9.                                        .00

10. TOTAL DUE If you completed line 8a, OR line 8b is less than line 9, enter the total due.
    Pay in full with return. You may be required to make payments electronically.
       See instructions or Rule 102. Make check payable to Treasurer, State of Maine ~~~~~~ 10.                                            .00




                155211 11-17-21    CCH
                                                                                                                      Continue on page 4
                                  Case 23-10000-BLS                         Doc 1            Filed 01/02/23         Page 145 of 304

       2021 Form 1120ME - Page 4
                                                                                                                                                                       04
                   47 3054018
                    Federal EIN

Overpayment Carryforward/Refund

11. OVERPAYMENT If the amount on line 8b exceeds the amount on line 9, subtract
    the amount on line 9 from line 8b and complete line 12 ~~~~~~~~~~~~~~~~~                                       11.                                                .00

12. Amount of line 11 to be:
12a. CREDITED to next year's estimated tax                                                .00       12b. REFUNDED                                                     .00

                         REFUND DEPOSITED DIRECTLY TO YOUR CHECKING ACCOUNT ($20,000 or less). SEE INSTRUCTIONS.

Check this box if this                                    12c. Routing Number                                            12d. Checking Account Number
refund will go to an
account outside the
United States




                  This return MUST BE ACCOMPANIED BY a legible copy of Federal Form 1120, pages 1-6, for the same tax period.

                         Please submit forms in the following order:
                                    1.         Pages 1 through 6 of Form 1120ME, as required.
                                    2.         Form CR, if required, including affiliation schedule.
                                    3.         Other statements for the Maine income tax return.
                                    4.         A copy of federal Form 1120, pages 1 through 6.




                                                                  Paid Preparer Authorization (see instructions)

  Check "Yes" to allow the paid preparer to discuss this return with Maine Revenue Services.                                  Yes (complete the following).           No.



                                  Paid Preparer's Name                                               Paid Preparer's Phone Number                Personal Identifi cation #


    Corporation President's Name                                                                       Social Security Number


    Treasurer's Name                                                                                   Social Security Number


    Company's Website Address

 Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements and to the best of my knowledge and belief they are
 true, correct and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.

                                                                                        PRESIDENT
       Date                                 Officer's Signature                                            Title                             Social Security Number


  101122                     GUTTERSON & COH                            MELVILLE, NY 11747                                                         P00185030
       Date                                Signature and Address of Preparer (Individual or Firm)                                           Preparer's SSN or PTIN



                                                  If enclosing a check, make check payable to:           If not enclosing a check,
                                                        Treasurer, State of Maine                            MAIL RETURN TO:
                                                          and MAIL WITH RETURN TO:
                                                          MAINE REVENUE SERVICES                        MAINE REVENUE SERVICES
                                                          P.O. BOX 1065                                 P.O. BOX 1064
                                                          AUGUSTA, ME 04332-1065                        AUGUSTA, ME 04332-1064



                155212 11-17-21     CCH
                                  Case 23-10000-BLS                  Doc 1          Filed 01/02/23                 Page 146 of 304

      2021 Form 1120ME - Page 5
                                                                                                                                                                 04
                  47 3054018                           Schedule A - Apportionment of Tax
                  Federal EIN

{     Do not complete Schedule A if 100% of the business activity is attributable to Maine. Note that Schedules C and D may still
      be required.
{     All others must complete Schedule A and enter amounts in columns A and B, even if those amounts are zero. If this
      schedule is left blank or excluded, the Maine apportionment factor will be set at 100%.
{     Round all dollar amounts to whole numbers.


                Check if using an alternate apportionment as provided by 36 M.R.S. ¤ 5211(17).


                                    (A)                                                                 (B)                                    (C)
                                                                                                                                      Apportionment Factor
                                   Within                                                                                            Line 1, Col. (A)/Col. (B)
                                   Maine                                                        Everywhere                           Rounded to 6 Decimals

1.   Total                                         421487 .00 3                                                    4852111 .00                 .086867
     Sales*                                                                                                                          =

2.   Total                                              2054 .00 3                                                 2863161 .00
     Payroll

3.   Total
     Property                                                       .00 3                                                    .00


4.   Gross tax (Form 1120ME, line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4.                                       0 .00
5.   Maine corporate income tax (line 4 x line 1 column c factor.
     Enter here and on Form 1120ME, line 6a)          ~~~~~~~~~~~~~~~~~~~~~~~                                 5.                                       0 .00

6.   What amount of line 3, column A is tangible personal property ? ~~~~~~~~~~~~                             6.                                            .00

*Note: Total Sales must exclude income claimed as a deduction on Form 1120ME, lines 2e, 2k, 2l, and 2m. Other limitations apply. See Schedule A
instructions for additional information.



                                                    Schedule B - Alternative Minimum Tax
                                         Repealed for tax years beginning on or after January 1, 2018




                                                                   Schedule C - See page 6



                                                            Schedule D - Minimum Tax Credit


1.   a.   Minimum tax credit carryover from 2020 (2020 Form 1120ME, Schedule D, line 1d)           ~~~~~~~ 1a.                                              .00
     b.   Regular income tax liability for 2021 (Form 1120ME, line 6a minus all Schedule C
          credits except minimum tax credit)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1b.                                                                            .00

     c.   Minimum tax credit: enter the smaller of line 1a or line 1b here and on Schedule C, line 1i     ~~~~~ 1c.                                         .00

     d.   Minimum tax credit carryover to 2022 (line 1a minus line 1c)     ~~~~~~~~~~~~~~~~~ 1d.                                                            .00




                155213 11-17-21    CCH
                                Case 23-10000-BLS            Doc 1      Filed 01/02/23            Page 147 of 304

      2021 Form 1120ME - Page 6
                                                           Schedule C - Tax Credits
                                                     (Attach worksheets. To get worksheets, see
                                                                                                                         04
                47 3054018
                                                      www.maine.gov/revenue/tax-return-forms)
              Federal EIN
Non-refundable Credits
1.   a.   Seed capital investment tax credit    ~~~~~~~~~~~~~~~~~~~~~~~~~~                          1a.                 .00

     b.   Jobs and investment tax credit carryforward ~~~~~~~~~~~~~~~~~~~~~                         1b.                 .00
     c.   Employer-assisted day care credit and
          Quality child care investment credit carryforward       ~~~~~~~~~~~~~~~~~~                1c.                 .00

     d.   Employer-provided long-term care benefits credit carryforward ~~~~~~~~~~~ 1d.                                 .00

     e.   Pine Tree Development Zone regular tax credit       ~~~~~~~~~~~~~~~~~~~                   1e.                 .00

     f.   Maine capital investment credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              1f.             0   .00

     g.   Research expense tax credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1g.                 .00
     h.   Super credit for substantially increased
          research and development carryforward ~~~~~~~~~~~~~~~~~~~~~~~                             1h.                 .00

     i.   Minimum tax credit (from Schedule D, line 1c) ~~~~~~~~~~~~~~~~~~~~~                       1i.                 .00

     j.   Employer family and medical leave credit ~~~~~~~~~~~~~~~~~~~~~~~                          1j.                 .00

     k.   Credit for educational opportunity    ~~~~~~~~~~~~~~~~~~~~~~~~~~                          1k.                 .00

     l.   Wellness program credit       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1l.                 .00

     m.   Certified visual media production credit    ~~~~~~~~~~~~~~~~~~~~~~~ 1m.                                       .00

     n.   Biofuel commercial production tax credit ~~~~~~~~~~~~~~~~~~~~~~~                          1n.                 .00

     o.   Renewable chemicals tax credit       ~~~~~~~~~~~~~~~~~~~~~~~~~~~                          1o.                 .00

     p.   Credit for disability income protection plans ~~~~~~~~~~~~~~~~~~~~~                       1p.                 .00

     q.   Maine Life and Health Insurance Guaranty Association credit (see instructions)   ~~~ 1q.                      .00

     r.   Other nonrefundable credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~                      1r.                 .00

     s.   Total nonrefundable credits (add lines 1a through 1r)    ~~~~~~~~~~~~~~~~~                1s.                 .00

     t.   Total tax (from Form 1120ME, line 6c) ~~~~~~~~~~~~~~~~~~~~~~~~~                           1t.                 .00
     u.   Allowable nonrefundable credits (Enter amount from line 1s or 1t, whichever is less.
          Also enter the sum of this line and line 2e below on Form 1120ME, line 7c) ~~~~~~~~ 1u.                       .00

Refundable Credits

2.   a.   Historic rehabilitation credit   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            2a.                 .00

     b.   New markets capital investment credit ~~~~~~~~~~~~~~~~~~~~~~~~                            2b.                 .00

     c.   Credit for affordable housing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               2c.                 .00

     d.   Other refundable credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~                       2d.                 .00
     e.   Total refundable credits: (Add lines 2a through 2d. Also enter the sum of this line and
          line 1u above on Form 1120ME, line 7c) ~~~~~~~~~~~~~~~~~~~~~~~~~                          2e.                 .00


              155214 11-17-21     CCH
                                 Case 23-10000-BLS                        Doc 1    Filed 01/02/23           Page 148 of 304

      2021 Form 1120ME - Page 7
                                                                                                                                               04
                 47 3054018
                 Federal EIN



                                                       Schedule X - Amended Return Adjustments

1.   Reason for change (check all applicable boxes):


               a. IRS                            b. Net operating                 c.   Federal                d. Accounting
                  change                               loss                            amended 1120X             change
                                                 f.    Member of an
               e. Other                                affiliated group filing    g. Combined return
                  (attach explanation)                 a separate return               (attach Form CR)

                    (A)                                 (B)                                        (C)                              (D)
               Line Adjusted             As Most Recently Filed or Adjusted                    Adjustment                     Correct Amount


2.   a.


     b.


     c.


     d.


     e.


     f.


     g.


     h.


     i.


     j.


     k.


     l.


     m.


     n.


     o.


     p.


     q.


     r.


     s.


     t.




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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
ME 1120ME                      STATE INCOME TAX                  STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                      AMOUNT
}}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
LOUISIANA TAX - BASED ON INCOME                                                         549.
NEW YORK TAX - BASED ON INCOME                                                       1,826.
NEW YORK CITY TAX - BASED ON INCOME                                                      25.
UTAH TAX - BASED ON INCOME                                                              100.
                                                                             }}}}}}}}}}}}}}
TOTAL TO FORM 1120ME, LINE 4A                                                        2,500.
                                                                             ~~~~~~~~~~~~~~




                                                                              STATEMENT(S) 1
          Case 23-10000-BLS         Doc 1       Filed 01/02/23   Page 150 of 304


                 2021 TAX RETURN FILING INSTRUCTIONS
                                 MISSISSIPPI FORM 83-105

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                        25
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            BALANCE DUE                     $                        25

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE MS DOR, PLEASE SIGN, DATE AND RETURN
            FORM 8453-C TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE MS
            DOR. DO NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:


            YOUR BALANCE DUE OF $25 WILL BE AUTOMATICALLY WITHDRAWN FROM THE
            BANK ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE
            FORM 83-105 BALANCE DUE. REFER TO FORM 83-105 ON THE DIRECT
            DEPOSIT/DEBIT REPORT FOR COMPLETE ACCOUNT INFORMATION.
                                   Case 23-10000-BLS                    Doc 1          Filed 01/02/23               Page 151 of 304
Form 83-115-21-3-1-111 Rev. (04/21)

                                                                              Mississippi
MS8453-C                                    Corporate Income Declaration for Electronic Filing
                                                               2021
Tax Year Beginning             01012021                                                                                               Tax Year Ending        12312021
                                                                   DO NOT MAIL THIS DOCUMENT
FEIN      473054018                                              TO THE DEPARTMENT OF REVENUE

TENTRR, INC.
Legal Name and DBA

25 W. 39TH STREET, 7TH FLOO                                            NEW YORK                                               NY               10018                         83
Address                                                                City                                                   State            ZIP + 4                     County Code



 PART I: TAX RETURN INFORMATION                                                                                                       (ROUND TO THE NEAREST DOLLAR)


1 Mississippi taxable income (Form 83-105, line 5 or Form 83-391, page 1, line 1)                                       1
2 Total income tax (Form 83-105, line 6 or Form 83-391, page 1, line 2)                                                 2
3 Total payments and credits (Form 83-105, line 7 and line 12 or Form 83-391, page 1, line 3, 4, and 8)                 3
4 Amount you owe (Form 83-105, line 18 or Form 83-391, page 1, line 14)                                                 4                                                   25
5 Overpayment (Form 83-105, line 19 or Form 83-391, page 1, line 15)                                                    5
6 Refund (Form 83-105, line 21 or Form 83-391, page 1, line 17)                                                         6
7 Amount of payment remitted electronically                                                                             7                                                   25

* If the corporation is filing a balance due return and the Department of Revenue does not receive full and timely payment of its tax liability,
  the corporation will be liable for the tax liability and all applicable interest and penalties.


 PART II: DECLARATION OF OFFICER

Under the penalties of perjury, I declare that I am an officer of the above corporation and that the information I have given my electronic return originator (ERO), trans-
mitter, and/or intermediate service provider (ISP) and the amounts in Part I above agree with the amounts on the corresponding lines of the corporation's Mississippi
Corporate Income and Franchise Tax Return. To the best of my knowledge and belief, the corporation's return is true, correct and complete. I consent to my ERO, trans-
mitter, and/or ISP sending the corporation's return, this declaration, and accompanying schedules and statements to the Department of Revenue (DOR). I also consent
to the DOR my ERO, transmitter, and/or ISP an acknowledgment of receipt of transmission and an indication of whether or not the corporation's return is accepted, and,
if rejected, the reason(s) for the rejection. This declaration is to be maintained by the ERO and provided to DOR on request.
                                                                                                                         PRESIDENT
Sign        Signature of Officer                                                        Date                                Title
Here

 PART III: DECLARATION OF ELECTRONIC RETURN ORIGINATOR (ERO) AND PAID PREPARER

I declare that I have reviewed the above corporation's return and that the entries on Form MS8453-C are complete and correct to the best of my knowledge. If I am only a
collector, I am not responsible for reviewing the return and only declare that this form accurately reflects the data on the return. The corporate officer will have signed this
form before I submit the return. I will give the officer a copy of all forms and information to be filed with the Department of Revenue (DOR), and have followed all other
requirements in Pub. 3112, IRS e-file Application and Participation and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers. If I am also
the Paid Preparer, under penalties of perjury, I declare that I have examined the above corporation's return and accompanying schedules and statements, and to the best
of my knowledge and belief, they are true, correct and complete. This Paid Preparer declaration is based on all information of which I have any knowledge.

ERO         ERO Signature                                                      Date                 Check if Also
                                                                                                                    X         Check if Self-             ERO SSN or PTIN
                                                                                                    Paid Preparer
Use                                                                            101122
                                                                                                                              Employed
                                                                                                                                                               P00185030
Only        Firm Name (or yours if                                                                                                     EIN
            self-employed), address
            and ZIP code                    GUTTERSON & COHEN TAX SPECIALISTS LLC                                                      813215466
                                            445 BROADHOLLOW ROAD STE 230                                                               Phone No.

                                            MELVILLE, NY 11747                                                                           631 629 4344


Under penalties of perjury, I declare that I have examined the above taxpayer's return and accompanying schedules and statements, and to the best of my knowledge and
belief, they are true, correct, and complete. This declaration is based on all information of which I have any knowledge.


                  Preparer Signature                                            Date                Check if Also            Check if Self-                Preparer SSN or PTIN
Paid                                                                                                Paid Preparer            Employed
Preparer
Use Only          Firm Name (or yours if                                                                                               EIN
                  self-employed), address
                  and ZIP code
                                                                                                                                       Phone No.



160851 09-09-21

                                             DO NOT Mail this Document to the Mississippi Department of Revenue
                                 Case 23-10000-BLS              Doc 1        Filed 01/02/23             Page 152 of 304
Form 83-105-21-3-1-111 (Rev. 04/21)


                                                                   Mississippi
                                           Corporate Income and Franchise Tax Return
                                                             2021
Tax Year Beginning         01012021                                                                               Tax Year Ending        12312021

FEIN       473054018                                                                            Mississippi Secretary of State ID      1258431

Legal Name and DBA

TENTRR, INC.                                                                             CHECK ALL THAT APPLY                        CHECK ONE
Address

25 W. 39TH STREET, 7TH FLOOR                                                                    Amended Return                      100% Mississippi



City                                                  State     ZIP + 4                         Final Return                  X Multistate Apportioning
NEW YORK                                              NY       10018

County Code          83           NAICS Code         454110                                     Non Profit                          Multistate Direct
                                                                                                                                    Accounting

    FRANCHISE TAX                                                                                                (ROUND TO THE NEAREST DOLLAR)

1      Taxable capital (from Form 83-110, line 18)                                                        1                                       4000

2      Franchise tax (minimum tax $25)                                                  Fee-In-Lieu       2                                             25

3      Franchise tax credit (from Form 83-401, line 1)                                                    3                                             0

4      Net franchise tax due (line 2 minus line 3)                                                        4                                             25

    INCOME TAX

         Combined income tax return (enter FEIN of reporting corporation)


5      Mississippi net taxable income (from Form 83-122, line 30 or Form 83-310,
       line 5, column C)
                                                                                                          5                                             0

6      Income tax                                                                                         6                                             0

7      Income tax credits (from Form 83-401, line 3 or Form 83-310, line 5, column B)                     7                                             0

8      Net income tax due (line 6 minus line 7)                                                           8                                             0

    PAYMENTS AND TAX DUE

9      Total franchise and income tax (line 4 plus line 8)                                                9                                             25

10 Overpayments from prior year                                                                                                                         0
                                                                                                          10

11 Estimated tax payments and payment with extension                                                      11                                            0

12 Total payments (line 10 plus line 11)                                                                  12                                            0

13 Net total franchise and income tax (line 9 minus line 12)                                              13                                            25

14 Interest and penalty on underestimated income tax payments (from Form 83-305, line 19)                 14                                            0

15 Late payment interest
                                                                                                          15                                            0

         16 Late payment penalty                                                                          16                                            0
                                                                                                                                                160301 09-09-21
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                                                                       Mississippi                                                       Page 2
                                            Corporate Income and Franchise Tax Return
                                                              2021
FEIN      473054018


17 Late filing penalty (minimum income tax penalty $100)                                                    17                                     0

18     Total balance due (if line 9 is larger than line 12, add line 13 through line 17)                    18                                    25

19 Total overpayment (if line 12 is larger than line 9 plus line 14, subtract line 9 and line 14            19                                     0
   from line 12)
20 Overpayment credited to next year (from line 19)                                                         20                                     0

21 Overpayment to be refunded (line 19 minus line 20)                                                       21                                     0

     See instructions for electronic payment options or attach payment voucher, Form 83-300, with check or money order for balance due.


PART I: CORPORATE INFORMATION

1     Is this a publicly traded corporation?                    Yes   If yes, under what symbol?                                          X       No

2     If final return, enter reason and date effective:                                                                  Date


3     If the corporation has been sold, merged, or converted to a Single-Member LLC (SMLLC), complete the following: Name, address and FEIN of the
      new existing corporation or owner of the SMLLC:
                                                                                                                          FEIN

4     If amended return, check reason.                  Mississippi Correction             Federal Correction        Other


5    Check if the company has been audited by the IRS.                 If the company has been audited, what year(s) are involved?


6    Principal business activity in Mississippi         CAMPING ONLINE M                   6a   County location in Mississippi OUT   OF STATE

7    Principal product or service in Mississippi SERVICE

8    Contact person for this return                                                        8a   Location and phone number

PART II: CORPORATE OFFICER INFORMATION

    List the owners, officers, directors or partners who have a responsibility in the fiscal management of the organization.



      OFFICER NAME AND TITLE                            SSN                                      ADDRESS                               OWNERSHIP
                                                                                                                                      PERCENTAGE

PRESIDENT                                                  411 W 39TH ST 4TH FL
ANAND SUBRAMANIAN                                185767731 NEW YORK, NY, 10018                                                            .8500




                                      160302 09-09-21
                                    Case 23-10000-BLS                Doc 1      Filed 01/02/23                Page 154 of 304
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                                                                       Mississippi
                                                                                                                                                   Page 3
                                             Corporate Income and Franchise Tax Return
                                                               2021
FEIN       473054018


PART III: CORPORATE AFFILIATION SCHEDULE

 List all entities owned by and affiliated with the corporation. See page 4 for supplemental schedule if needed.



                ENTITY NAME                            FEIN                                     ADDRESS                                     ENTITY TYPE




  X            Check box if return may be discussed with preparer

I declare, under penalties of perjury, that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and belief,
this is a true, correct and complete return. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                                                                   PRESIDENT                                        646 230 1040
      Officer Signature and Title                                                     Date                        Business Phone

                                                          101122                    445 BROADHOLLOW ROAD                           STE 230
      Paid Preparer Signature                             Date                        Paid Preparer Address

P00185030                                               631 629 4344                MELVILLE                               NY           11747
      Paid Preparer PTIN                                  Paid Preparer Phone         City                                 State        ZIP Code



                      160303 09-09-21   Mail Return To: Department of Revenue P.O. Box 23191 Jackson, MS 39225-3191
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                                                                    Mississippi
                                                   Corporate Franchise Tax Schedule
                                                                 2021
FEIN      473054018

    CAPITAL BASE                                                                                          (ROUND TO THE NEAREST DOLLAR)


1    Capital stock                                                                                  1                               1029

2    Paid in capital                                                                                2                        31053045

3    Surplus and retained earnings                                                                  3                      -26159031

4    Loans from shareholders or affiliates                                                          4                                      0

5    Deferred taxes, contingent liabilities, all true reserves,                                     5                                      0
     and other elements (attach schedule)

6    Less treasury stock                                                                            6                                      0

7    Holding company exclusion (attach schedule)                                                    7                                      0

8    Total capital base (add line 1 through line 7)                                                 8                         4895043

    APPORTIONMENT RATIO                                           A MISSISSIPPI                                 B EVERYWHERE

9    Real and tangible personal property          9A                                            0   9B                        7248470
     owned at year end (net book value)

10 Gross receipts                                 10A                                  7496         10B                       4846290

11 Total (line 9 plus line 10)                    11A                                  7496         11B                      12094760

12 Mississippi ratio (line 11A divided by line 11B)                                                 12                            .0620

13 Taxable capital apportioned to Mississippi (line 8 multiplied by line 12.                        13                              3035
   If 100% Mississippi, enter amount from line 8)


    ASSESSED VALUE OF MISSISSIPPI PROPERTY
                                                                  Mississippi Assessed Value of            Mississippi Assessed Value of
                  Mississippi County
                                                                          Real Property                          Personal Property




    TAXABLE CAPITAL


14 Total assessed value of Mississippi property (attach additional schedule if needed)              14                                     0

15 Taxable capital (enter the larger of line 13 or line 14)                                         15                              3035

16 Prorate (except for initial return; if period is less than twelve months, multiply line 15       16                                     0
   by the number of months covered by the return and divide by twelve)

17 Capital exemption (attach schedule)                                                              17                                     0

18 Final taxable capital (line 15 or line 16 minus line 17. Round amount up to the next             18                              4000
   highest $1,000 and enter amount on Form 83-105, line 1. If negative, enter zero on Form
   83-105, line 1)



                                160821 09-09-21
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160321 09-09-21                           Mississippi Balance Sheet Per Books
                                                                                                                           FEIN         473054018
 SCHEDULE L - BALANCE SHEETS PER BOOKS                                   Beginning of Tax Year                                    End of Tax Year
  ASSETS                                                                   (A)                       (B)                       (C)                   (D)
 1 Cash ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               1794642                                           6873088
 2a Trade notes and accounts receivable ~~~~~~~~~~~~                     271095                                                434439
  b Less allowance for bad debts ~~~~~~~~~~~~~~~                  (                  )             271095             (                    )        434439
 3 Inventories ~~~~~~~~~~~~~~~~~~~~~~~                                                              16864
 4 U.S. government obligations ~~~~~~~~~~~~~~~~
 5 Tax-exempt securities ~~~~~~~~~~~~~~~~~~
                                                STMT 1
 6 Other current assets (attach statement) ~~~~~~~~~~~                                             224410                                           400798
 7 Loans to shareholders ~~~~~~~~~~~~~~~~~~
 8 Mortgage and real estate loans ~~~~~~~~~~~~~~~
 9 Other investments (attach statement) ~~~~~~~~~~~~
 10a Buildings and other depreciable assets ~~~~~~~~~~                 4959727                                             7248470
   b Less accumulated depreciation ~~~~~~~~~~~~~                  (    2685661 )                 2274066              (    4135912 )               3112558
 11a Depletable assets ~~~~~~~~~~~~~~~~~~~
   b Less accumulated depletion ~~~~~~~~~~~~~~~                   (                  )                                (                    )
 12 Land (net of any amortization) ~~~~~~~~~~~~~~
 13a Intangible assets (amortizable only)~~~~~~~~~~~~                    290109                                            1261596
   b Less accumulated amortization ~~~~~~~~~~~~~                  (       24765 )                 265344              (     297405 )                 964191
                                             STMT 2
 14 Other assets (attach statement) ~~~~~~~~~~~~~~                                                381371                                             547469
 15 Total assets                                                           5227792                                           12332543
 LIABILITIES AND SHAREHOLDERS' EQUITY
 16 Accounts payable ~~~~~~~~~~~~~~~~~~~~                                                          122066                                             292189
 17 Mortgages, notes, bonds payable in less than 1 year ~~~~~
                                                      STMT 3
 18 Other current liabilities (attach statement) ~~~~~~~~~                                       2956742                                             5460191
 19 Loans from shareholders ~~~~~~~~~~~~~~~~
 20 Mortgages, notes, bonds payable in 1 year or more ~~~~~
                                                     STMT 4
 21 Other liabilities (attach statement) ~~~~~~~~~~~~~                                           1187020                                             1685120
 22 Capital stock: a Preferred stock ~~~~~~~~~~~~~                               229                                                 229
                   b Common stock ~~~~~~~~~~~~~                                  800               1029                              800                1029
 23 Additional paid-in capital ~~~~~~~~~~~~~~~~~                                               21764062                                             31053045
 24 Retained earnings - Appropriated (attach statement) ~~~~~
 25 Retained earnings - Unappropriated ~~~~~~~~~~~~                                          -20803127                                             -26159031
 26 Adjustments to shareholders' equity (attach statement) ~~~
 27 Less cost of treasury stock ~~~~~~~~~~~~~~~~                                         (                        )                            (              )
 28 Total liabilities and shareholders' equity                                         5227792                                            12332543
 SCHEDULE M-1, RECONCILIATION OF INCOME (LOSS) PER BOOKS WITH FEDERAL INCOME PER RETURN
       Note: The corporation may be required to file Schedule M-3. See instructions.
 1 Net income (loss) per books ~~~~~~~~~~~~~~~~                        -5355904 7 Income recorded on books this year
 2 Federal income tax per books ~~~~~~~~~~~~~~~                                                not included on this return (itemize):
 3 Excess of capital losses over capital gains ~~~~~~~~~~                                      Tax-Exempt interest $
 4 Income subject to tax not recorded on books ~~~~~~~~
   this year (itemize):                                                                         STMT 6                         401400                 401400
                                                                                             8 Deductions on this return not charged
 5 Expenses recorded on books this year not deducted on                                        against book income this year (itemize):
   this return (itemize):                                                                    a Depreciation ~~~~~ $ 390323
   a Depreciation ~~~~~~~ $                                                                  b Charitable contributions    $
   b Charitable contributions ~~ $                      5050
   c Travel and entertainment ~       $                                                                                                               390323
        STMT 5                                     28606                  33656 9 Add lines 7 and 8 ~~~~~~~~~~~                                       791723
 6 Add lines 1 through 5                             -5322248 10 Income (page 1, line 28) line 6 less line 9                      -6113971
 SCHEDULE M-2, ANALYSIS OF UNAPPROPRIATED RETAINED EARNINGS PER BOOKS (LINE 25, SCHEDULE L)
 1 Balance at beginning of year ~~~~~~~~~~~~~~~~ -20803127 5 Distributions: a Cash ~~~~~~~~
 2 Net income (loss) per books ~~~~~~~~~~~~~~~~                        -5355904                                b Stock ~~~~~~~~
 3 Other increases (itemize):                                                                                  c Property ~~~~~~~
                                                                                             6 Other decreases (itemize):
                                                                                             7 Add lines 5 and 6 ~~~~~~~~~~~
 4 Add lines 1, 2, and 3                           -26159031 8 Balance at end of year (line 4 less line 7)                     -26159031
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                                                                            Mississippi                                                Page 1

                                                               Net Taxable Income Schedule
                                                                          2021
FEIN      473054018

 COMPUTATION OF MISSISSIPPI NET TAXABLE INCOME                                                                        (ROUND TO THE NEAREST DOLLAR)


1    Federal taxable income (loss) before net operating loss deductions                                    1                        -6113971
     and special deductions (from federal Form 1120, page 1, line 28.
     If multistate direct accounting, enter zero and skip to line 23)


 STATE ADDITIONS TO FEDERAL TAXABLE INCOME

2    State, local or foreign government taxes based on income                                              2                               2500

3    Interest on obligations of other states or political subdivisions (net of expenses)                   3                                     0

4    Depletion expense in excess of cost                                                                   4                                     0

5    Federal capital loss carryover deduction                                                              5                                     0

6    Federal special depreciation allowance                                                                6                                     0

7    Other additions required by law (attach schedule)                                                     7                                     0

8      Total additions (add line 2 through line 7)                                                         8                               2500

 STATE DEDUCTIONS FROM FEDERAL TAXABLE INCOME

9    Interest on obligations of the United States (net of expenses)                                        9                                     0

10 Wages reduced on federal return for federal employment tax credits                                      10                                    0

11 Income (loss) from partnership, S corporation or trust                                                  11                                    0

12 Income (loss) from construction contracting or production of natural                                    12                                    0
   mineral resource products (net of expenses)
13 Additional depreciation due to a difference in the depreciable base                                     13                                    0
   for federal and state purposes (attach schedule)


14 Other deductions (attach schedule)                                                                      14                                    0

15     Total deductions (add line 9 through line 14)                                                       15                                    0

 APPORTIONMENT / ALLOCATION (MULTISTATE ONLY)

If 100% Mississippi, complete line 16 then skip to page 2, line 20


16  Adjusted federal income (loss) (line 1 plus line 8 minus line 15)                                      16                       -6111471
17 Adjustment for nonbusiness income (loss) net of expenses
     (from Form 83-150, column E, line 2)                                                                  17                                    0

18 Apportionable business income (loss) (line 16 minus line 17)                                            18                       -6111471

19 Apportionment ratio (enter ratio and check box as shown on Form 83-125, part II)                        19                            .1545

            X Sales               Manufacturers                Manufacturers (wholesale),           Special Formula
                 retail           retail                       Financial institutions, Pipelines,
                                                               (for pharmaceutical suppliers,                                            160611 04-01-21
                                                               see instructions)
                                  Case 23-10000-BLS           Doc 1        Filed 01/02/23       Page 158 of 304
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                                                                 Mississippi                                      Page 2

                                                     Net Taxable Income Schedule
                                                                2021
FEIN      473054018

 APPORTIONMENT / ALLOCATION
20 Mississippi apportioned income(loss)(if 100% Mississippi, enter line 16,
   otherwise, multiply line 18 by line 19)                                                       20                 -9442

21 Nonbusiness income (loss) allocated to Mississippi
   (from Form 83-150, column F, line 2)                                                          21                        0

22 Mississippi income (loss) from partnership, S corporation or trust
   (attach Mississippi K-1s, Form 84-132)                                                        22                        0

23 Mississippi income (loss) from construction contracting or production of natural
   mineral resource products (from Form 83-124, page 2, line 31 and/or page 3, line 46)          23                        0

24 Adjustments related to Mississippi tax credits claimed                                        24                        0

25 Mississippi capital loss carryover/carryback deduction (from Form 83-155, part II, line 2)    25                        0

26 Other adjustments (attach schedule)                                                           26                        0

 MISSISSIPPI TAXABLE INCOME

27 Income (loss) apportioned and allocated to Mississippi (add line 20 through line 26)          27                 -9442

28 Mississippi net operating loss deduction (from Form 83-155, part I, line 2)                   28                        0

29 Income exemption (attach schedule; if not applicable, enter zero)                             29                        0

30 Mississippi net taxable income (loss) (line 27 minus line 28 and line 29. Enter on                               -9442
   Form 83-105, line 5; if filing combined, enter income (loss) on Form 83-310.                  30
   If negative, enter zero on Form 83-105, line 5)




                                 160612 09-09-21
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                                                                          Mississippi
                                              Business Income Apportionment Schedule
FEIN      473054018                                             2021

  PART I: COMPUTATION OF APPORTIONMENT FACTORS                                                                                     (ROUND TO FOUR DECIMAL PLACES)
                                                                    A Total Mississippi                B Total Everywhere               C Mississippi Ratio
1 Property factor


    a Beginning of taxable year


    b End of taxable year


    c Total (line 1a plus line 1b)
    d Average net book value of assets
         (divide line 1c by two)
    e Rental property (enter annual rental
         property multiplied by eight)


    f    Total (line 1d plus line 1e)
    g Mississippi property factor (line 1f, column A
         divided by line 1f, column B)
2 Payroll factor
   (line 2, column A divided by line 2, column B)                                           0                      490555                            .0000
3 Sales factor
   (line 3, column A divided by line 3, column B)                                     7496                       4852111                             .1545

  PART II: APPLICATION OF APPORTIONMENT FACTORS (CHECK ONE)

  X Retailing, renting, servicing, merchandising or                            4    Sales factor (from part I, line 3, column C)                     .1545
        wholesaling                                                                 (enter ratio on Form 83-122, line 19)


        Manufacturers that sell principally at retail
                                  5a Property factor (from part I, line 1g, column C)
                                  5b Payroll factor (from part I, line 2, column C)
                                  5c Subtotal (line 5a plus line 5b)
                                  5d Average (divide line 5c by two)
                                  5e Sales factor (from part I, line 3, column C)


                                  5f Total (line 5d plus line 5e)



                                                                               5g Weighted average (divide line 5f by two)
                                                                                  (enter ratio on Form 83-122, line 19)


        Financial institutions, pipelines or manufacturers that sell principally at wholesale
        (for major medical or pharmaceutical suppliers, see instructions Form 83-100)
                                  6a Property factor (from part I, line 1g, column C)
                                  6b Payroll factor (from part I, line 2, column C)
                                  6c Sales factor (from part I, line 3, column C)


                                  6d Total (add lines 6a, 6b and 6c)


                                                                               6e Average (divide line 6d by three)
                                                                                  (enter ratio on Form 83-122, line 19)


        Airlines, motor carriers, express companies,                           7    Special formula required (attach schedule
        telephone and telegraph companies                                           and enter ratio on Form 83-122, line 19)


                                160311 09-09-21
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TENTRR, INC.                                                         XX-XXXXXXX
}}}}}}}}}}}}                                                         }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
MS 83-120                    OTHER CURRENT ASSETS                 STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                   BEGINNING OF    END OF TAX
DESCRIPTION                                          TAX YEAR         YEAR
}}}}}}}}}}}                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PREPAID EXPENSES                                         53,618.        65,042.
DEFERRED EXPENSES                                       117,595.       312,775.
LOWES ESCROW                                             53,197.        22,981.
                                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO 83-120, SCHEDULE L, LINE 6                     224,410.       400,798.
                                                 ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
MS 83-120                        OTHER ASSETS                    STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                  BEGINNING OF    END OF TAX
DESCRIPTION                                         TAX YEAR         YEAR
}}}}}}}}}}}                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                      381,371.       547,469.
                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO 83-120, SCHEDULE L, LINE 14                   381,371.       547,469.
                                                 ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
MS 83-120                 OTHER CURRENT LIABILITIES              STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                  BEGINNING OF    END OF TAX
DESCRIPTION                                         TAX YEAR         YEAR
}}}}}}}}}}}                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PAYROLL LIABILITIES                                     15,292.        20,786.
CREDIT CARDS PAYABLE                                     3,599.         4,124.
ACCRUED EXPENSES                                       333,355.       689,171.
DEFERRED REVENUE                                        61,173.       173,080.
GIFT CARDS                                              27,801.        71,392.
SALES TAX PAYABLE                                        2,527.         1,318.
OTHER PAYABLES                                               0.              0.
DEFERRED KEEPER EXPENSE                                      0.              0.
GAP ACCOUNT                                              5,705.              0.
FARNAM LEASE LIABILITY                               2,507,290.     4,486,749.
TENTKIT DEPLOYED                                             0.        13,571.
                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO 83-120, SCHEDULE L, LINE 18                 2,956,742.     5,460,191.
                                                 ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                    STATEMENT(S) 1, 2, 3
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 161 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
MS 83-120                     OTHER LIABILITIES                  STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                  BEGINNING OF   END OF TAX
DESCRIPTION                                         TAX YEAR        YEAR
}}}}}}}}}}}                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
LINE OF CREDIT                                          29,985.              0.
LOAN PAYABLE - PPP                                     401,400.              0.
DECATHLON LOAN                                         755,635.     1,642,792.
NATIONAL PARTNERS                                            0.          5,427.
IPFS                                                         0.        36,901.
                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO 83-120, SCHEDULE L, LINE 21                 1,187,020.     1,685,120.
                                                 ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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MS 83-120          EXPENSES RECORDED ON BOOKS NOT ON RETURN      STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
AMORTIZATION                                                                         28,606.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM 83-120, SCHEDULE M-1, LINE 5                                           28,606.
                                                                              ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
MS 83-120                  INCOME RECORDED ON BOOKS              STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
PPP LOANS, EIDL AND OTHER COVID GRANTS OR SUBSIDIES                                 401,400.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM 83-120, SCHEDULE M-1, LINE 7                                          401,400.
                                                                              ~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 4, 5, 6
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                 2021 TAX RETURN FILING INSTRUCTIONS
                             NORTH CAROLINA FORM CD-405

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                       $                       200
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            BALANCE DUE                     $                       200

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE NCDOR, PLEASE CONTACT OUR OFFICE AND WE
            WILL SUBMIT YOUR ELECTRONIC RETURN. DO NOT MAIL THE PAPER COPY TO
            THE NCDOR.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:


            YOUR BALANCE DUE OF $200 WILL BE AUTOMATICALLY WITHDRAWN FROM THE
            BANK ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE
            FORM CD-405 BALANCE DUE. REFER TO FORM CD-405 ON THE DIRECT
            DEPOSIT/DEBIT REPORT FOR COMPLETE ACCOUNT INFORMATION.
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                   TAX RETURN FILING INSTRUCTIONS
               NORTH CAROLINA BUSINESS CORPORATION ANNUAL REPORT

                           FOR THE YEAR ENDING
                                 DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


AMOUNT OF TAX:

            BALANCE DUE       $25

MAKE CHECK PAYABLE TO:

            SECRETARY OF STATE

MAIL TAX RETURN TO:

            SECRETARY OF STATE
            BUSINESS REGISTRATION DIVISION
            POST OFFICE BOX 29525
            RALEIGH, NC 27626-0525


RETURN MUST BE MAILED ON OR BEFORE:

            PLEASE MAIL AS SOON AS POSSIBLE.

SPECIAL INSTRUCTIONS:
                                     Case 23-10000-BLS                             Doc 1         Filed 01/02/23                Page 164 of 304

                                             BUSINESS CORPORATION ANNUAL REPORT
1/6/2022
NAME OF BUSINESS CORPORATION: TENTRR,                                        INC.

SECRETARY OF STATE ID NUMBER:                                                             STATE OF FORMATION:                  DE                                        Filing Office Use Only



REPORT FOR THE FISCAL YEAR END: 12/31/21



SECTION A: REGISTERED AGENT'S INFORMATION                                                                                                                           Changes


  1. NAME OF REGISTERED AGENT:                        ANAND SUBRAMANIAN

  2. SIGNATURE OF THE NEW REGISTERED AGENT:
                                                                                                 SIGNATURE CONSTITU TES CONSENT T O THE APPO INTMENT

  3. REGISTERED AGENT OFFICE STREET ADDRESS & COUNTY                                                 4. REGISTERED AGENT OFFICE MAILING ADDRESS

411 W 39TH ST 4TH FL                                                                                 411 W 39TH ST 4TH FL

NEW YORK, NY                         10018                                                           NEW YORK, NY                    10018


SECTION B: PRINCIPAL OFFICE INFORMATION

  1. DESCRIPTION OF NATURE OF BUSINESS: CAMPING                                          ONLINE MARKETPL
                                                                                                       3. PRINCIPAL
  2. PRINCIPAL OFFICE PHONE NUMBER:                               646-230-1040                             OFFICE EMAIL:      ANAND@TENTRR.COM

  4. PRINCIPAL OFFICE STREET ADDRESS                                                                   5. PRINCIPAL OFFICE MAILING ADDRESS

25 W. 39TH STREET, 7TH FLOOR                                                                         25 W. 39TH STREET, 7TH FLOOR

NEW YORK, NY                         10018                                                           NEW YORK, NY                    10018

  6. Select one of the following if applicable. (Optional see instructions)

                  The company is a veteran-owned small business
                  The company is a service-disabled veteran-owned small business


SECTION C: OFFICERS (Enter additional officers in Section E.)

  NAME:                                                                   NAME:                                                     NAME:


  TITLE:                                                                  TITLE:                                                    TITLE:


  ADDRESS:                                                                ADDRESS:                                                  ADDRESS:




SECTION D: CERTIFICATION OF ANNUAL REPORT. Section D must be completed in its entirety by a person/business entity.


                                               SIGNATURE                                                                                            DATE

Form must be signed b y an officer listed under Section C of this form.




                                                                                                               PRESIDENT
                                      Print or Type Name of Officer                                                                     Print or Type Title of Officer


169241          MAIL TO: Secretar y of State, Business Registration Division, Post Office Box 29525, Raleigh, NC 27626-0525
01-19-22
                               Case 23-10000-BLS                       Doc 1          Filed 01/02/23               Page 165 of 304
                               North Carolina
                                      .       Department of the Secretary of State
                                          Elaine F. Marshall, Secretary
  BELOW IS THE CHECK LIST FOR BUSINESS CORPORATION ANNUAL REPORT. Please take a few minutes and read the
  information provided. The Business Corporation's Annual Report is due by the 15th of the 4th month after the end of the
     Business Corporation's fiscal year, with the filing fee of $20.00 if filed online, if filed in paper form the fee is $25.00.

  Each Business Corporation filing an annual report with the North Carolina Department of Secretary of State must
  provide the following information:
  1. NAME OF BUSINESS CORPORATION
  2. STATE OF FORMATION
  3. ANNUAL REPORT FILING YEAR
  4. THE REGISTERED AGENT STREET ADDRESS AND MAILING ADDRESS IF DIFFERENT
  5. THE REGISTERED AGENT'S NAME AND SIGNATURE IF CHANGED
  6. THE PRINCIPAL OFFICE ADDRESS, COUNTY AND TELEPHONE NUMBER
  7. THE NAMES, TITLES AND BUSINESS ADDRESS OF THE PRINCIPAL OFFICERS
  8. A BRIEF DESCRIPTION OF THE NATURE OF BUSINESS

  IF THE INFORMATION REQUIRED TO BE ENTERED IN SECTION A THROUGH SECTION C HAS NOT CHANGED SINCE THE MOST
  RECENTLY FILED ANNUAL REPORT, COMPLETE HEADER SECTION AND SECTION D TO CERTIFY THE ANNUAL REPORT.


SECTION A: REGISTERED AGENT'S INFORMATION
   1. The name of the registered agent must be typed or printed.
   2. If the registered agent has changed, the new registered agent MUST SIGN CONSENT to the appointment in the space provided. If the registered agent's
      name has changed due to marriage, or by any other legal means, the business corporation must indicate such change in the space provided and have the
      agent sign consent to the appointment under their new name. If the new registered agent is a business entity, then the appropriate representative of that
      entity must sign and print their name and title. The registered agent must reside in NC.
   3. If the street address of the registered office has changed, indicate the change. The address of the registered office must be a Street Address and NOT a
      Post Office Box Address. The street address of the registered office must be a North Carolina address.
   4. If the mailing address of the registered office has changed it should be indicated in this item. The registered office's mailing address may be a Post Office
      Box. The registered office mailing address must be a NORTH CAROLINA ADDRESS.

SECTION B: PRINCIPAL OFFICE INFORMATION
   1. Provide a brief description of the nature of the Business Corporation's business.
   2. Enter the principal office telephone number.
   3. Enter the principal office E-mail address.
   4. The principal office address should reveal the Business Corporation's physical location. The principal office street address must be a street address and
      NOT a Post Office Box Address.
   5. The principal office mailing address may be a Post Office Box.
   6. You may voluntarily report whether the company qualifies as a service-disabled veteran-owned or veteran-owned small business. The annual net receipts
      cannot exceed one million dollars ($1,000,000) to report as either veteran-owned small business designation. Choose the designation of a service-disabled
      veteran-owned small business if one or more service-disabled veterans owns more than 50% of the business. Choose the designation of veteran-owned small
      business if one or more veteran owns more than 50% of the business. For further definitions see N.C.G.S. ¤55-1-40; ¤57D-1-03; or ¤59-32.

SECTION C: OFFICERS
   Provide the names and addresses of each officer. Use Section E or a plain 8 1/2 X 11 sheet of paper if more space is needed. A person listed in this section
   must sign the annual report and is then authorized to sign on other documents filed with this office.

SECTION D: CERTIFICATION OF ANNUAL REPORT
   Check the annual report carefully to ensure all information required for filing has been provided. Only an officer listed on this report or past completed and
   filed report may sign. Complete the signature, date, title and typed or printed name in the space provided on the form to certify that the information is accurate
   and current. If the Officer of the business corporation is another business entity then the appropriate representative of that business entity must certify the
   annual report.

SECTION E: ADDITIONAL OFFICERS
   Provide the names and addresses of each additional officer. A person listed in this section is then authorized to sign on other documents filed with this office.


Mail the annual report to: Secretary of State, Business Registration Division, Post Office Box 29525, Raleigh, NC 27626-0525. For information or assistance, contact
the Business Registration Division at (919) 814-5400 or Toll Free 1-888-246-7636. The url address is http://www.sosnc.gov .
                                                                                                                                                                169242 01-19-22
                                     Case 23-10000-BLS                               Doc 1               Filed 01/02/23                  Page 166 of 304

 CD-405                 (39)                                    C Corporation Tax Return 2021
      8-17-21                                                       North Carolina Department of Revenue                                                                         DOR Use Only


 For calendar year 2021, or other tax year beginning                                                21         and ending

 TENTRR, INC                                                                                                                      Federal Employer ID Number               473054018
 25 W 39TH STREET 7TH FLOOR                                                                                              N.C. Secretary of State ID Number
 NEW YORK             NY 10018                                                                                                                       NAICS Code            454110
     Initial Return                Short Year Return                Captive REIT                        Non U.S./Foreign                NC-Rehab                            NC-478 is attached
     Final Return                  Amended Return                   Tax Exempt                          Combined Return (Approved Taxpayers Only)                           Has Escheatable Property
                                                                                                                                                                       Federal Extension Were you
TENT           25 W                10018            473054018                                                  454110                                          Yes     granted an automatic extension
                                                                                                                                                         X     No      to file your 2021 federal income
PP       P00185030                       PFSP              P        IR         N      FR            N       SR           N    AR        N                              tax return (Form 1120)?

TN       6462301040                         RE         N           TE      N       NF           N         CR         N       NCR        N        478           N       EP         N       FDEXT             N

TENTRR INC

25 W 39TH STREET 7TH FLOOR                                                                                NEW YORK                                                   NY         10018

               GR                           4846290                      09                                      0           21                               0            30                               0

               TA                        12332543                        10                -6113971                          22                               0            34                               0

                        01                       48510                   11                               2500               24                               0            EU

                        HCE                                    N         13                                      0           26                               0            35A                              0

                        02                                  0            15                                      0           27A                              0            35B                              0

                        03                                  0            16                -6111471                          27B                              0            38                               0

                        05                             200               17                     0009910                      27C                              0            39                               0

                        06                                  0            18                      -60565                      27D                              0            40                               0

                        07                                  0            19                                      0           27E                              0            41                               0

                        08                             200               20                      -60565                      29                               0

                         Sch. A        Computation of Franchise Tax                                          9. Franchise Tax Overpaid                                          0
                            1. Net Worth                                                            48510 Sch. B Computation of Corporate Income Tax
                                   Holding Company Exception                                            N    10. Federal Taxable Income                             -6113971
                            2. Investment in N.C. Tangible Property                                     0    11. Adjustments to Federal Taxable Income                        2500
                            3. Appraised Value of N.C. Tangible Property                                0    12. Net Income Before Contributions                    -6111471
                            4. Taxable Amount                                                       48510    13. Contributions to Donees Outside N.C.                             0
                            5. Total Franchise Tax Due                                                200    14. N.C. Taxable Income                                -6111471
                            6. Payment with Franchise Tax Extension                                     0    15. Nonapportionable Income                                          0
                            7. Tax Credits                                                              0    16. Apportionable Income                               -6111471
                            8. Franchise Tax Due                                                      200    17. Apportionment Factor                                  0.9910 %
I declare and certify that I have examined this return and accompanying schedules and
statements, and to the best of my knowledge and belief, they are true, correct, and complete.         Refund Due                    0 X Payment Due                             200
                                                                                                                                       X Check here if you authorize the North
                                                    PRESIDENT                                       646-230-1040                           Carolina Department of Revenue to
                                                                                                                                           discuss this return and attachments
 Signature and Title of Officer:                                                         Date           Corporate Phone Number                                 with the paid preparer below.
PAID PREPARER USE ONLY              If prepared by a person other than taxpayer, this certification is based on all information of which the preparer has any knowledge.
                                                                                                                                                                                                     FEIN
                                                                                                                                                                                                     SSN
                                                                                                        631-629-4344                                     P00185030                               X PTIN
 Signature of Paid Preparer:                                                             Date           Preparer's Phone Number                          Preparer's FEIN, SSN, or PTIN

  Mail to: NCDOR, P.O. Box 25000, Raleigh, N.C. 27640-0500. Returns are due by the 15th day of the 4th month after the end of the income year.                                                 169461 11-16-21
                              Case 23-10000-BLS                  Doc 1         Filed 01/02/23                  Page 167 of 304

CD-405 2021 Page 2 (39)
    Legal Name (First 10 Characters)             TENTRR, IN                       Federal Employer ID Number                                        473054018
                                                      CD-405 Line-by-Line Information
N.C. Education Endowment Fund: You may contribute to the N.C. Education Endowment Fund by making a contribution or designating some or
all of your overpayment to the Fund. To make a contribution, enclose Form NC-EDU and your payment of                                                             0
   Sch. B Computation of Corporate Income Tax                                       Sch. D Investment in N.C. Tangible Property
 18. Income Apportioned to N.C.                                 -60565                Inventory valuation method
 19. Nonapportionable Income Allocated to N.C.                       0            1. Total inventories located in N.C.                                           0
 20. Income Subject to N.C. Tax                                 -60565            2. Total furniture, fixtures, and M & E located in N.C.                        0
 21. % Depletion over Cost - N.C. Property                           0            3. Total land and buildings located in N.C.                                    0
 22. State Net Loss (Attach schedule)                                0            4. Total leasehold improvements and
 23. Income Before Contributions to N.C. Donees                 -60565                other N.C. tangible property                                               0
 24. Contributions to N.C. Donees                                    0            5. Add Lines 1 through 4                                                       0
 25. Net Taxable Income                                         -60565            6. Accumulated depreciation, depletion, and                                    0
 26. N.C. Net Income Tax                                             0                amortization with respect to N.C. tangible property
 27. Payments and Credits                                                         7. Debts existing for the purchase or improvement of
      a. Income Tax Extension                                             0           N.C. real estate                                                           0
      b. 2021 Estimated Tax                                                       8. Investment in N.C. Tangible Property                                        0
           (previous payments if amended)                                 0      Sch. E Appraised Value of N.C. Tangible Property
      c. Partnership (include Form D-403, NC K-1)                         0       1. County tax value of N.C. tangible property                                  0
      d. Nonresident Withholding (include 1099 or W-2)                    0       2. Appraised value of N.C. tangible property                                   0
      e. Tax Credits                                                      0      Sch. G Federal Taxable Income Before NOL Deduction
 28. Add Lines 27a through 27e                                            0       1. a. Gross receipts or sales                                        4846290
 29. Income Tax Due                                                       0           b. Returns and allowances                                              0
 30. Income Tax Overpaid                                                  0           c. Balance - Line 1a minus Line 1b                               4846290
                                                                                  2. Cost of goods sold (Attach schedule)                              2339836
  Tax Due or Refund                                                               3. Gross Profit (Line 1c minus Line 2)                               2506454
 31. Franchise Tax Due or Overpayment                                 200         4. Dividends (Attach schedule)                                             0
 32. Income Tax Due or Overpayment                                      0         5. a. Interest on obligations of U.S. and its instrumentalities            0
 33. Balance of Tax Due or Overpayment                                200             b. Other interest                                                      0
 34. Underpayment of Estimated Income Tax                               0         6. Gross rents                                                             0
 EU. Exception to Underpayment of Estimated Tax                                   7. Gross royalties (Attach schedule)                                       0
 35. a. Interest                                                        0         8. Capital gain net income (Attach schedule)                               0
     b. Penalties                                                       0         9. Net gain (loss) (Attach schedule)                                   -1415
      c. Add Lines 35a and 35b                                          0        10. Other income (Attach schedule)                                       5821
 36. Total Due                                                        200        11. Total Income                                                      2510860
 37. Overpayment                                                        0        12. Compensation of officers (Attach sch., including addresses)        490555
 38. 2022 Estimated Income Tax                                          0        13. Salaries and wages (less employment credits)                            0
 39. N.C. Nongame and Endangered Wildlife Fund                          0        14. Repairs and maintenance                                                 0
 40. N.C. Education Endowment Fund                                      0        15. Bad debts                                                          181742
 41. Amount to be Refunded                                              0        16. Rents                                                               18333
                                                                                 17. Taxes and licenses                                                 178932
  Sch. C      Net Worth                                                          18. Interest                                                           353565
  1. Total assets                                            16765860            19. Charitable contributions                                                0
  2. Total liabilities                                        7437500            20. a. Depreciation                                                   1853197
  3. Line 1 minus Line 2                                      9328360                 b. Depreciation included in cost of goods sold                         0
  4. Accumulated depreciation, depletion, and amortization                            c. Balance - Line 20a minus 20b                                  1853197
      permitted for income tax purposes (Attach sch)          4433317            21. Depletion                                                               0
  5. Line 3 minus Line 4                                      4895043            22. Advertising                                                        568851
  6. Affiliated indebtedness (Attach schedule)                      0            23. Pension, profit-sharing, and similar plans                              0
                                                                                 24. Employee benefit programs                                          156376
  7. Line 5 plus (or minus) Line 6                            4895043            25. Reserved for future use
  8. Apportionment factor                                     0.9910 %           26. Other deductions (Attach schedule)                                4823280
  9. Net Worth                                                  48510            27. Total Deductions                                                  8624831
                                                                                 28. Taxable Income Per Federal Return Before NOL
                                                                                     and Special Deductions                                           -6113971
                                                                                 29. Special Deductions                                                      0
                                                                                 30. Federal Taxable Income                                           -6113971

                                                                                                       169462 10-14-21        This page must be filed with this form.
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CD-405 2021 Page 3 (39)
   Legal Name (First 10 Characters)             TENTRR, IN                                             Federal Employer ID Number       473054018

Sch. H     Adjustments to Federal Taxable Income
   1. Additions
         a. Taxes based on net income                                                                                         1a.              2500
         b. Contributions                                                                                                     1b.                 0
         c. Royalties to related members                                                                                      1c.                 0
         d. Net interest expense to related members                                                                           1d.                 0
         e. Expenses attributable to income not taxed                                                                         1e.                 0
         f. Bonus depreciation                                                                                                 1f.                0
         g. Section 179 expense deduction                                                                                     1g.                 0
      h. Other (Attach schedule)                                                                                              1h.                 0
   2. Total Additions                                                                                                          2.              2500
   3. Deductions
         a. U.S. obligation interest (net of expenses) (Attach schedule)                                                      3a.                 0
         b. Other deductible dividends                                                                                        3b.                 0
         c. Royalties received from related members                                                                           3c.                 0
         d. Qualified interest expense to related members                                                                     3d.                 0
         e. Bonus depreciation                                                                                                3e.                 0
         f. Section 179 expense deduction                                                                                      3f.                0
         g. Other (Attach schedule)                                                                                           3g.                 0
   4. Total Deductions                                                                                                         4.                 0
   5. Adjustments to Federal Taxable Income                                                                                    5.              2500

Sch. I     Contributions
   1. Contributions to Donees Outside N.C.
         a. Total contributions to donees outside N.C.                                                                        1a.              5050
         b. Multiply Schedule B, Line 12 by 5%, if Line 12 is greater than zero. Otherwise enter zero.                        1b.                 0
         c. Amount Deductible                                                                                                 1c.                 0
   2. Contributions to N.C. Donees
      a. Total contributions to N.C. donees other than those listed in Line 2d                                                2a.                     0
         b. Multiply Sch. B, Line 23 by 5%, if Line 23 is greater than zero. Otherwise enter zero.                            2b.                     0
         c. Enter the lesser of Line 2a or 2b                                                                                 2c.                     0
         d. Total contributions to the State of N.C. and its political subdivisions                                           2d.                     0
         e. Amount Deductible                                                                                                 2e.                     0

Sch. F Other Information - All Taxpayers Must Complete this Schedule
1. a. State of incorporation                         DELAWARE                     8. Is this corporation subject to franchise tax but not N.C. income tax
   b. Date incorporated                                  02 03 15                     because the corporation's income tax activities are protected
2. Date of N.C. Certificate of Authority                                              under P.L. 86-272? (If yes, attach explanation)                     N
3. a. Reg or principal trade or bus. in N.C.    CAMPING ONLI                      9. Officers' names and addresses:
   b. Reg or principal trade or bus. everywhere CAMPING ONLI                          President
4. Principal place bus. is directed or managed NEW YORK
5. What was the last year the IRS redetermined                                        Vice-President
   the corporation's federal taxable income?
6. a. Were adjustments reported to N.C.?                                    N         Secretary
   b. If so, when?
7. Does this corporation finance or discount its receivables                          Treasurer
   through a related or an affiliated company?                              N


Explanation of Changes for Amended Return:




This page must be filed with this form.      169471 10-14-21
                                 Case 23-10000-BLS                       Doc 1       Filed 01/02/23                   Page 169 of 304

CD-405 2021 Page 4 (39)
   Legal Name (First 10 Characters)                     TENTRR, IN                                         Federal Employer ID Number              473054018

Sch. L Balance Sheet per Books
                                                                     Beginning of Tax Year                                           End of Tax Year
                               Assets                          (a)                           (b)                               (c)                       (d)
 1. Cash                                                                                     1794642                                                     6873088
 2. a. Trade notes and accounts receivable                       271095                                                            434439
     b. Less allowance for bad debts                (                 0)                        271095            (                     0)                 434439
 3. Inventories                                                                                  16864                                                          0
 4. a. U.S. government obligations                                                                   0                                                          0
     b. State and other obligations                                                                  0                                                          0
 5. Tax-exempt securities                                                                            0                                                          0
 6. Other current assets (Attach end of year sch)       STMT 2                                  224410                                                     400798
 7. Loans to shareholders                                                                            0                                                          0
 8. Mortgage and real estate loans                                                                   0                                                          0
 9. Other investments (Attach end of year sch)                                                       0                                                          0
10. a. Buildings and other depreciable assets                  4959727                                                         7248470
    b. Less accumulated depreciation        (                  2685661 )                     2274066              (            4135912 )                 3112558
11. a. Depletable assets                                             0                                                               0
     b. Less accumulated depletion                  (                0)                                    0      (                  0)                        0
12. Land (net of any amortization)                                                                         0                                                   0
13. a. Intangible assets (amortizable only)                 290109                                                             1261596
     b. Less accumulated amortization               (        24765 )                          265344              (             297405 )                  964191
14. Other assets (Attach end of year sch.)            STMT 3                                  381371                                                      547469
15. Total Assets                                                                             5227792                                                    12332543
           Liabilities and Shareholders' Equity
16. Accounts payable                                                                          122066                                                      292189
17. Mortgages, notes, and bonds payable in less than 1 year                                        0                                                           0
18. Other current liabilities (Attach end of year schedule)          STMT 4                  2956742                                                     5460191
19. Loans from shareholders                                                                        0                                                           0
20. Mortgages, notes, and bonds payable in 1 year or more                                          0                                                           0
21. Other liabilities (Attach end of year schedule)       STMT 5                             1187020                                                     1685120
22. Capital stock: a. Preferred Stock                                   229                                                             229
                     b. Common Stock                                    800                   1029                                      800                 1029
23. Additional paid-in capital                                                            21764062                                                      31053045
24. Retained earnings - Appropriated (Attach end of year schedule)                               0                                                             0
25. Retained earnings - Unappropriated                                                   -20803127                                                     -26159031
26. Adjustments to shareholders' equity (Attach end of year schedule)                            0                                                             0
27. Less cost of treasury stock                                                  (               0)                                            (               0)
28. Total Liabilities and Shareholders' Equity                                             5227792                                                      12332543
Sch. M-1 Reconciliation of Income (Loss) per Books with Income per Return
 1. Net income (loss) per books                                         -5355904             7. Income recorded on books this year
 2. Federal income tax                                                         0                not included on this return:
 3. Excess of capital losses over capital gains                                0                Tax-exempt interest            $              0
 4. Income subject to tax not recorded on books this year:                                         STMT 6
                                                                                     0                                                                     401400
 5. Expenses recorded on books this year                                                     8. Deductions on this return not charged
     not deducted on this return:                                                               against book income this year:
     a. Depreciation                  $                    0                                    a. Depreciation             $        390323
     b. Charitable Contributions      $                 5050                                    b. Charitable Contributions $             0
     c. Travel and entertainment      $                    0
          STMT 7                                                                                                                                          390323
                                                                           33656 9. Add Lines 7 and 8                                                     791723
 6. Add Lines 1 through 5                                               -5322248 10. Income                                                             -6113971

  This page must be filed with
  this form.

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                              Case 23-10000-BLS                    Doc 1         Filed 01/02/23               Page 170 of 304

CD-405 2021 Page 5 (39)
   Legal Name (First 10 Characters)             TENTRR, IN                                           Federal Employer ID Number        473054018

Sch. M-2 Retained Earnings Analysis
  1. Balance at beginning of year                             -20803127                5. Distributions: a.       Cash                             0
  2. Net income (loss) per books                               -5355904                                      b. Stock                              0
  3. Other increases:                                                                                        c.   Property                         0
                                                                                       6. Other decreases:                                         0
                                                                      0                7. Add Lines 5 and 6                                        0
  4. Add Lines 1, 2, and 3                                    -26159031                8. Balance at End of Year                           -26159031

Sch. N Nonapportionable Income
       (A) Nonapportionable              (B) Gross Amounts          (C) Related Expenses            (D) Net Amounts              (E) Net Amounts Allocated
                  Income                                                                                                              Directly to N.C.
                                                             0                            0                              0                       0
                                                             0                            0                              0                       0
                                                             0                            0                              0                       0
                                                             0                            0                              0                       0
                                                             0                            0                              0                       0
  1. Nonapportionable Income                                                                                             0
  2. Nonapportionable Income Allocated to N.C.                                                                                                   0
  Explanation of why income listed is nonapportionable income rather than apportionable income:




Sch. O Computation of Apportionment Factor
Part 1. Domestic and Other Corporations Not Apportioning Franchise or Income Outside N.C.                                                         0.0000 %
Part 2. Corporations Apportioning Franchise or Income to N.C. and to Other States
                                                                                                        1. Within North Carolina         2. Total Everywhere
 1. Gross Receipts Subject to Apportionment                                                                              48084                 4846290
 2. Gross Rents Subject to Apportionment                                                                                     0                       0
 3. Gross Royalties Subject to Apportionment                                                                                 0                       0
 4. Dividends Subject to Apportionment                                                                                       0                       0
 5. Interest Subject to Apportionment                                                                                        0                       0
 6. Other Apportionable Income                                                                                               0                    5821
 7. Share of Receipts from Noncorporate Entities Subject to Apportionment                                                    0                       0
 8. Total                                                                                                                48084                 4852111
 9. N.C. Apportionment Factor                                                                                                                   0.9910 %

Part 3. Special Apportionment Formulas                                                                                                            0.0000 %




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                Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 171 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NC SCH B        CURRENT YEAR STATE INCOME/LOSS AND SNL DEDUCTION STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

1)    INCOME BEFORE APPORTIONMENT                                                -6,111,471.
2)    TAX EXEMPT MUNICIPAL INTEREST                                                       0.
3)    U.S. INTEREST                                                                       0.
4)    DEDUCTIBLE PORTION OF DIVIDENDS                                                     0.
5)    DEDUCTIBLE PORTION OF PRIOR YEAR CAPITAL LOSS                                       0.
6)    OTHER TAX EXEMPT INCOME                                                             0.
7)    INCOME BEFORE APPORTIONMENT AND TAX EXEMPT INCOME                          -6,111,471.
8)    NONBUSINESS INCOME (MULTISTATE CORPORATIONS ONLY)                                   0.
9)    OTHER DEDUCTIONS FROM TAX EXEMPT INCOME                                             0.
10)   TOTAL BUSINESS INCOME                                                      -6,111,471.
(IF   ALL BUSINESS IS IN N.C. SKIP TO LINE 20)

MULTISTATE CORPORATIONS
11) APPORTIONMENT PERCENT                                                             .9910%
12) APPORTIONED BUSINESS INCOME                                                     -60,565.
13) APPORTIONABLE NORTH CAROLINA NONBUSINESS INCOME
14) APPORTIONED NORTH CAROLINA NONBUSINESS INCOME
15) OTHER APPORTIONABLE ADJUSTMENTS                                                       0.
16) NONBUSINESS INCOME ALLOCATED TO NORTH CAROLINA
17) NONBUSINESS INCOME NOT TAXABLE TO NORTH CAROLINA                                      0.
18) APPORTIONED NONBUSINESS INCOME NOT TAXABLE TO NC                                      0.
19) CONTRIBUTIONS TO NORTH CAROLINA DONEES                                                0.
20) TOTAL STATE NET INCOME (LOSS)                                                   -60,565.
21) STATE NET INCOME AS TAXABLE INCOME                                              -60,565.


STATE NET LOSS DEDUCTION:
~~~~~~~~~~~~~~~~~~~~~~~~~~~~
              STATE                   TAXABLE INCOME                    NON TAXABLE
             NET LOSS                 LOSS SUSTAINED                   LOSS SUSTAINED
          }}}}}}}}}}}}}}              }}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
2006                  0.                          0.                                0.
2007                  0.                          0.                                0.
2008                  0.                          0.                                0.
2009                  0.                          0.                                0.
2010                  0.                          0.                                0.
2011                  0.                          0.                                0.
2012                  0.                          0.                                0.
2013                  0.                          0.                                0.
2014                  0.                          0.                                0.
2015                  0.                          0.                                0.
2016                  0.                          0.                                0.
2017                  0.                          0.                                0.
2018                  0.                          0.                                0.
2019                  0.                          0.                                0.
2020                  0.                          0.                                0.




                                                                               STATEMENT(S) 1
              Case 23-10000-BLS   Doc 1   Filed 01/02/23    Page 172 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NC SCH L                      OTHER CURRENT ASSETS               STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING OF     END OF
DESCRIPTION                                                   TAX YEAR      TAX YEAR
}}}}}}}}}}}                                                }}}}}}}}}}}}}}}}}}}}}}}}}}}}
PREPAID EXPENSES                                                  53,618.       65,042.
DEFERRED EXPENSES                                                117,595.      312,775.
LOWES ESCROW                                                      53,197.       22,981.
                                                           }}}}}}}}}}}}}}}}}}}}}}}}}}}}
TOTAL TO FORM CD-405, PAGE 4, SCHEDULE L, LINE 6                 224,410.      400,798.
                                                           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~

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NC SCH L                          OTHER ASSETS                   STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                   BEGINNING OF     END OF
DESCRIPTION                                          TAX YEAR      TAX YEAR
}}}}}}}}}}}                                       }}}}}}}}}}}}}}}}}}}}}}}}}}}}
SECURITY DEPOSITS                                       381,371.      547,469.
                                                  }}}}}}}}}}}}}}}}}}}}}}}}}}}}
TOTAL TO FORM CD-405, PAGE 4, SCHEDULE L, LINE 14       381,371.      547,469.
                                                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~


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NC SCH L                   OTHER CURRENT LIABILITIES             STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING OF     END OF
DESCRIPTION                                                   TAX YEAR      TAX YEAR
}}}}}}}}}}}                                                }}}}}}}}}}}}}}}}}}}}}}}}}}}}
PAYROLL LIABILITIES                                               15,292.       20,786.
CREDIT CARDS PAYABLE                                               3,599.        4,124.
ACCRUED EXPENSES                                                 333,355.      689,171.
DEFERRED REVENUE                                                  61,173.      173,080.
GIFT CARDS                                                        27,801.       71,392.
SALES TAX PAYABLE                                                  2,527.        1,318.
OTHER PAYABLES
DEFERRED KEEPER EXPENSE
GAP ACCOUNT                                                        5,705.
FARNAM LEASE LIABILITY                                         2,507,290.
                                                                    4,486,749.
TENTKIT DEPLOYED                                                       13,571.
                                                  }}}}}}}}}}}}}}}}}}}}}}}}}}}}
TOTAL TO FORM CD-405, PAGE 4, SCHEDULE L, LINE 18     2,956,742.    5,460,191.
                                                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 2, 3, 4
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 173 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NC SCH L                       OTHER LIABILITIES                 STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                   BEGINNING OF     END OF
DESCRIPTION                                          TAX YEAR      TAX YEAR
}}}}}}}}}}}                                       }}}}}}}}}}}}}}}}}}}}}}}}}}}}
LINE OF CREDIT                                           29,985.            0.
LOAN PAYABLE - PPP                                      401,400.            0.
DECATHLON LOAN                                          755,635.    1,642,792.
NATIONAL PARTNERS                                                       5,427.
IPFS                                                                   36,901.
                                                  }}}}}}}}}}}}}}}}}}}}}}}}}}}}
TOTAL TO FORM CD-405, PAGE 4, SCHEDULE L, LINE 21     1,187,020.    1,685,120.
                                                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NC SCH M-1   INCOME RECORDED ON BOOKS NOT INCLUDED ON RETURN     STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
PPP LOANS, EIDL AND OTHER COVID GRANTS OR SUBSIDIES                                 401,400.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM CD-405, PAGE 4, SCHEDULE M-1, LINE 7                                  401,400.
                                                                              ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NC SCH M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED ON RETURN     STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
AMORTIZATION                                                                         28,606.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM CD-405, PAGE 4, SCHEDULE M-1, LINE 5                                   28,606.
                                                                              ~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 5, 6, 7
          Case 23-10000-BLS         Doc 1       Filed 01/02/23   Page 174 of 304


                 2021 TAX RETURN FILING INSTRUCTIONS
                         NH BUSINESS ENTERPRISE/PROFITS TAX

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                       $                         0
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            NO PAYMENT REQUIRED             $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE NH DRA, PLEASE CONTACT OUR OFFICE AND
            WE WILL SUBMIT YOUR ELECTRONIC RETURN. DO NOT MAIL THE PAPER COPY
            TO THE NH DRA.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
     DO NOT STAPLE Case 23-10000-BLS                                Doc 1        Filed 01/02/23              Page 175 of 304
H                 New Hampshire                                       2021                                                                                             H
                   Department of                              BT-SUMMARY
               Revenue Administration

                                                          BUSINESS TAX RETURN SUMMARY
STEP 1 - PRINT OR TYPE                                                  MMDDYYYY                                           MMDDYYYY
For the CALENDAR year 2021 or other taxable period beginning:                 01012021                     and ending:        12312021


    Check box if there has been a name change since last filing. List former name.




Proprietor's Last Name                                                                                                            If issued a DIN,
                                                                                                                                use the DIN in the
                                                                                                                               appropriate taxpayer
First Name                                                    MI                  Social Security Number
                                                                                                                                identification box.
                                                                                                                            DO NOT enter SSN or FEIN if
                                                                                                                                  you have a DIN

Corporate, Partnership, Estate, Trust, Non-Profit or LLC Name

 TENTRR INC.

Taxpayer Identification Number                Principal Business Activity Code (Federal)

 473054018                                      454110

Number & Street Address
 25 W. 39TH STREET 7TH FLOOR

Address (continued)                                                                                                                        Unit Type         Unit #



City / Town                                                                            State          ZIP Code + 4 (or Canadian Postal Code)

 NEW YORK                                                                               NY              10018


STEP 2 - Return Type and Federal Information                    Are you required to file a BET Return (Gross Business Receipts
                                                                                                                                                         X Yes         No
                                                                over $222,000, or Enterprise Value Tax Base over $111,000)?

If you checked "yes" to one or both of the first two
                                                                Are you required to file a BPT Return (Gross Business Income over $50,000 )?             X Yes         No
questions, you must file the completed corresponding
return(s) with this BT-Summary.                                 Do you file a Form 990/990T?                                                               Yes     X No
                                                                Do you file a Federal Form 8023, Federal Form 8883 and/or have checked
                                                                                                                                                           Yes     X No
                                                                box 10b on Schedule B of Federal Form 1065?

                                                                Is the business organization filing its return on an IRS approved 52/53
                                                                                                                                                           Yes     X No
                                                                week tax year?


       X 2 - CORPORATION                               3 - PARTNERSHIP              1 - PROPRIETORSHIP                           AMENDED RETURN
OR                                                                                                                                                               LLC
           6 - COMBINED GROUP                          5 - NON-PROFIT               4 - FIDUCIARY                                FINAL RETURN

     IRS Adjustment: A complete federal Report of Change form with all applicable Schedules must be included with a complete amended NH tax return.
     Incomplete Report of Change forms will not be accepted. Do not use this form to report an IRS adjustments for taxable periods ending on or before
     December 31, 2020.


Check Appropriate Box(es):

                              Payment Required              Refund Request              Credit Next Year's Tax Liability      X No Payment Required


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                                    165121 11-01-21

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                                 Case 23-10000-BLS                      Doc 1    Filed 01/02/23       Page 176 of 304
H                   New Hampshire                                           2021                                                                   H
                     Department of                                 BT-SUMMARY
                 Revenue Administration

                                                     BUSINESS TAX RETURN SUMMARY - Continued

 STEP 3 - Complete the BET and / or BPT return(s) and then complete the BT-Summary and attach return(s)

 STEP 4 - Calculate Your Balance Due or Overpayment                                                            Round to the nearest whole dollar


1 (a)      Business Enterprise Tax Net of Statutory Credits 1(a)                                      0

    (b)    Business Profits Tax Net of Statutory Credits    1(b)                                      0

    (c)    Subtotal of Business Tax Due (Line 1(b) plus Line 1(a))                                    1(c)                                         0

2 PAYMENTS

    (a)    Tax paid with application for extension                   2(a)


    (b)    Total of taxable period's estimated tax payments 2(b)


    (c)    Credit carryover from prior tax period                    2(c)


    (d)    Tax paid with original return (Amended returns only)      2(d)


    (e)    Total of Lines 2(a) through 2(d)                                                           2(e)


3 TAX DUE: (Line 1(c) minus Line 2(e))                                                                    3                                        0

4 ADDITIONS TO TAX

    (a)    Interest (See instructions)                               4(a)


    (b)    Failure to Pay (See instructions)                         4(b)


    (c)    Failure to File (See instructions)                        4(c)


    (d)    Underpayment of Estimated Tax (See instructions)          4(d)


    (e)    Total of Lines 4(a) through 4(d)                                                           4(e)


5 (a)      Subtotal of Amount Due (Line 3 plus Line 4(e))                                             5(a)


    (b)    Return Payment Made Electronically                        5(b)

    (c)    BALANCE DUE: Line 5(a) minus 5(b). Make your payment online at www.revenue.nh.gov/gtc or
                                                                                                                                                   0
           make check payable to: STATE OF NEW HAMPSHIRE              PAY THIS AMOUNT                 5(c)

6 OVERPAYMENT: If balance due is less than zero, enter on Line 6             6

7 Apply overpayment amount on Line 6 to:
  (a) Credit - Next Year's Tax Liability (Not available for Federal ROC)                         DO NOT PAY    7(a)

    (b)    Refund (Only option available for Federal ROC)                                        DO NOT PAY    7(b)


 STEP 5
THIS RETURN MUST BE ACCOMPANIED BY COMPLETE AND LEGIBLE COPIES OF THE APPROPRIATE FEDERAL FORMS AND SCHEDULES



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                                Case 23-10000-BLS                 Doc 1         Filed 01/02/23              Page 177 of 304
H                New Hampshire                                       2021                                                                              H
                  Department of                              BT-SUMMARY
              Revenue Administration

                                               BUSINESS TAX RETURN SUMMARY - Continued
Under penalties of perjury, I declare that I have examined this BT-Summary and the attached returns, and to the best of my belief they are true, correct
and complete. If prepared by a person other than the taxpayer, this declaration is based on all information of which the preparer has knowledge. If a
combined group, I also certify that all affiliated companies are included in the appropriate group described in this return.

 X POA: By checking this box and signing below, you authorize us to discuss this return with the preparer listed below.

TAXPAYER'S SIGNATURE & INFORMATION
Signature (in ink)                                                                                  MMDDYYYY




Print Signatory Name & Title
 ANAND SUBRAMANIAN PRESIDENT
Email Address
 ANAND@TENTRR.COM
Phone Number

 6462301040                                        Check this box if you are filing as a surviving spouse



PAID PREPARER'S SIGNATURE & INFORMATION
Signature of Preparer                                                                               MMDDYYYY
                                                                                                      10112022

Printed Name of Preparer
 ALAN J COHEN

Email Address
 ALAN@ZERAHCO.COM

Phone Number                                   Preparer Identification Number
 6316294344                                     P00185030

Preparer's Address
 445 BROADHOLLOW ROAD STE 230

Address (continued)



City / Town                                                                           State          ZIP Code + 4 (or Canadian Postal Code)
 MELVILLE                                                                              NY             11747


Mail to:                                        Make Check Payable to:                          FILE ONLINE AT GRANITE TAX CONNECT
NH DRA                                      STATE OF NEW HAMPSHIRE
PO Box 637                              Enclose but DO NOT staple or tape your                         www.revenue.nh.gov/gtc
Concord NH 03302-0637                                attachments




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H                New Hampshire
                                                                        2021                                                                               H
                  Department of
              Revenue Administration                                    BET
                                                         BUSINESS ENTERPRISE TAX RETURN
Taxpayer Name
 TENTRR INC.
Taxpayer Identification Number                                                           MMDDYYYY                                   MMDDYYYY
                                                    For the CALENDAR year 2021
 473054018                                                                                01012021                    and ending:    12312021
                                                 or other taxable period beginning:


You are required to file this return if the gross business receipts were greater                X Check here if required to file Form BET-80
  than $222,000 or the enterprise value tax base is greater than $111,000.
                                                                                                                            Round to the nearest whole dollar

Total Gross Business Receipts for this business organization
                                                                                                                                               4855543

1. Dividends Paid                                                                                                     1                                   0

2. Compensation and Wages Paid or Accrued                                                                             2
                                                                                                                                                          0

3. Interest Paid or Accrued                                                                                           3                                   0

4. Taxable Enterprise Value Tax Base (Sum of Lines 1, 2, and 3)                                              4                                            0

5. New Hampshire Business Enterprise Tax (BET) (Line 4 multiplied by .006) before credits                             5                                   0

6. Enter credits against BET. Use DP-160 to determine credit against BET                                              6


7. Enter Tax Due (Line 5 minus 6). If negative, enter Zero. Report on BT-SUMMARY Line 1(a)    TAX DUE         7                                           0


                                                                 BET CREDIT WORKSHEET

1. Business Profits Tax (BPT) from BPT Return, Line 18 NH-1120-WE, Line 10 all other forms.                                  1
2. Sum the amounts from Lines 3 through 10, Column B plus other credits applied from
   Form DP-160 part B, not to exceed the amount on Line 1. Include the result on the BPT
   return, Line 19(a) NH-1120-WE or Line 11(a) all other forms. If other credits are applied,
   include result on BPT return, Line 19(b) NH-1120-WE, Line 11(b) all other forms.

Use carry forward amounts in the following order                             A                                B                                C
for this taxable period                                              Available Credits              Credit Applied to BPT                Excess Credits
3. BET tax paid amount from Line 7 BET Return
   plus Line 4 of DP-160, Part A.

4. Carry over BET from seventh prior taxable period


5. Carry over BET from sixth prior taxable period


6. Carry over BET from fifth prior taxable period


7. Carry over BET from fourth prior taxable period




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                                                                                                                                                           H
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H                 New Hampshire
                                                                    2021                                                                                 H
                   Department of
               Revenue Administration                               BET
                                                       BET CREDIT WORKSHEET CONTINUED


Use carry forward amounts in the following order for this                A                                  B                                 C
taxable period (continued)                                       Available Credits                Credit Applied to BPT                 Excess Credits


8. Carry over BET from third prior taxable period


9. Carry over BET from second prior taxable period


10. Carry over BET from first prior taxable period




                                                     BET CREDIT WORKSHEET INSTRUCTIONS

The worksheet must be completed if the taxpayer is using carry forward BET credits from prior taxable periods. In no case can the
BET credit used exceed the Business Profits Tax (BPT) liability. BET must be paid to be used as a credit against BPT.


The current year BET paid shall be used as a credit against the current year BPT liability before BET credits from prior taxable periods
may be used. If, after current year credits have been applied, a current year BPT liability still remains, prior taxable periods' BET
credits may be applied using the oldest allowable BET credits first.


          1. Determine your BPT liability and enter that amount on the BET CREDIT WORKSHEET.
          2. Enter on Lines 3 through 10, Column A all available BET credits, including those credits applied against BET that are
             considered taxes paid from Line 4 of DP-160, Part A.
          3. Enter on Lines 3 through 10, Column B, the amounts of BET credits applied against this taxable period's BPT liability.
             Work from Line 3 down.
          4. Enter on Lines 3 through 10, Column C, the difference between the amounts reported in Column A and the amounts
             used as a credit against BPT reported in Column B. The total of Column C is excess and can be carried forward to
             another year.


Note: Any unused portion of BET credits applied under RSA 77-A:5, X from taxable periods ending on or after December 31, 2014
may be carried forward and allowed against the business profits tax due for 10 taxable periods from the taxable period in which the
tax was paid. Unused credits in taxable periods ending before December 31, 2014 remain at a 5 year carry forward.




H         BET 2021
          Version 1.2 09/2021
                                165312 11-01-21
                                                                                                                                        Page 2 of 2
                                                                                                                                                         H
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H               New Hampshire
                                                                        2021                                                                               H
                 Department of
             Revenue Administration                                    BET-80
                                                     BUSINESS ENTERPRISE TAX APPORTIONMENT

Business Enterprise Name

TENTRR, INC.
Taxpayer Identification #                                                                 MMDDYYYY                                  MMDDYYYY
473054018                                               For the CALENDAR year 2021         01012021                                 12312021
                                                                                                                      and ending:
                                                     or other taxable period beginning:


                                                         SECTION I - APPORTIONMENT FACTORS
                                                                         See General Instructions

Compensation and Wages Factor                                                                                               Round to the nearest whole dollar

1   New Hampshire Compensation and Wages Paid or Accrued                                                                1

2   Everywhere Compensation and Wages Paid or Accrued                                                                   2


3   COMPENSATION FACTOR (Line 1 divided by Line 2) Enter this amount on Line 21. Express to six decimal places.         3

Interest Factor

4   Average of New Hampshire Property                                                                                   4

5   Average of Everywhere Property                                                                                      5

6   INTEREST FACTOR (Line 4 divided by Line 5) Enter this amount on Line 26. Express to six decimal places.             6

Dividend Factor

7   New Hampshire Sales                                                                                                 7                          244522

8   Everywhere Sales                                                                                                    8                       4852111

9   Sales Factor (Line 7 divided by Line 8). Express to six decimal places.                                             9                     0.050395

10 Subtotal (Sum of Lines 3, 6 and 9)                                                                                  10                     0.050395

11 DIVIDEND FACTOR (Line 10 divided by the number of "EVERYWHERE" factors in the subtotal). Enter
                                                                                                                       11
                                                                                                                                              0.050395
   this amount on Line 15. Express to six decimal places .




H           BET-80 2021
            Version 1.0 07/2021    165131 11-09-21                                                                                   Page 1 of 2           H
                                  Case 23-10000-BLS                 Doc 1        Filed 01/02/23    Page 181 of 304
H               New Hampshire
                                                                     2021                                                                         H
                 Department of
             Revenue Administration                                 BET-80
                                         BUSINESS ENTERPRISE TAX APPORTIONMENT - continued
Business Enterprise Name

TENTRR, INC.
Taxpayer Identification #                                                            MMDDYYYY                              MMDDYYYY

473054018                                          For the CALENDAR year 2021          01012021                             12312021
                                                                                                             and ending:
                                                or other taxable period beginning:

                                    SECTION II - BUSINESS ENTERPRISE TAX BASE APPORTIONMENT
                                                                      See General Instructions


Dividend Apportionment                                                                                             Round to the nearest whole dollar


12 Dividends Paid                                                      12
                                                                                                        0

13 LESS: Dividend Deduction                                            13


14 Subtotal (Line 12 minus Line 13)                                                                     14                                             0

15 Dividend Apportionment Factor (From Line 11)                        15                        0.050395

16 Taxable Dividends (Line 14 multiplied by Line 15)
   (If negative, use minus sign)                                       16
                                                                                                        0
17 TOTAL TAXABLE DIVIDENDS (From Line 16) IF NEGATIVE,                                                                                                 0
   ENTER ZERO. Enter this amount on Form BET, Line 1.                                                   17


Compensation and Wages Apportionment

18 Everywhere Compensation and Wages Paid or Accrued                   18                               0

19 LESS: Retained Compensation                                         19


20 Subtotal (Line 18 minus Line 19)                                                                     20                                             0

21 Compensation Apportionment Factor (From Line 3)                          21


22 Taxable Compensation (Line 20 multiplied by Line 21)                                                 22                                             0

23 LESS: Dividend Offset (See Instructions)                            23


24 TOTAL TAXABLE COMPENSATION (Line 22 minus Line 23) Enter this amount on Form BET, Line 2.            24                                             0

Interest Apportionment

25 Interest Paid or Accrued                                            25                         353565

26 Interest Apportionment Factor (From Line 6)                         26

                                                                                                        0
27 Taxable Interest (Line 25 multiplied by Line 26)                    27


28 LESS: Dividend Offset (See Instructions)                            28


29 TOTAL TAXABLE INTEREST (Line 27 minus Line 28) Enter this amount on Form BET, Line 3.                29                                             0



H           BET-80 2021
            Version 1.0 07/2021    165132 11-01-21                                                                          Page 2 of 2           H
                                     Case 23-10000-BLS                  Doc 1         Filed 01/02/23           Page 182 of 304
H                   New Hampshire
                                                                       2021                                                                                 H
                     Department of
                 Revenue Administration                               NH-1120
                                                              BUSINESS PROFITS TAX RETURN
    Business Organization Name
    TENTRR INC.
    Taxpayer Identification Number                                                         MMDDYYYY                                 MMDDYYYY

    473054018                                         For the CALENDAR year 2021             01012021                               12312021
                                                   or other taxable period beginning:                                 and ending:




1    FEDERAL TAXABLE INCOME/(LOSS)                                                                                      Round to the nearest whole dollar
        Enter Amount Reported on:
                   If 1120, Federal Form 1120, Line 28                                                     1                                -6113971
                   If 1120S, DP-120. Line 2 (attach DP-120 to tax return)



2    INCREASE or DECREASE TO GROSS BUSINESS PROFITS TO RECONCILE WITH IRC

2(a) Add amount of IRC ¤179 expense taken on Federal Form 4562 in excess of the amount permitted
      pursuant to RSA 77-A:3-b, IV, including carryover amounts deducted in this taxable period         2(a)
2(b) Add the amount of bonus depreciation taken on the federal return for assets placed
     in service this period pursuant to RSA 77-A:3-b, I                                                 2(b)
2(c) Add any other deductions or exclusions taken on the federal return that need to be eliminated or
     adjusted pursuant to RSA 77-A:1, XX and 77-A:3-b, III. Complete and attach Schedule IV             2(c)
2(d) Deduct regular depreciation related to IRC ¤179 and bonus depreciation not
     allowed for this taxable period or for prior taxable periods                                       2(d)
2(e) Deduct any other items included on the federal return that need to be eliminated or adjusted
     pursuant to RSA 77-A:1, XX or RSA 77-A:4, XIX. Complete and attach Schedule IV                     2(e)
2(f) Increase or Decrease for the net gain or loss on the sale of assets used in the business
     which have a different State basis from the tax basis reported on the federal return               2(f)
2(g) Net 2(a) through 2(f)                                                                              2(g)

                                                                                                           3                                -6113971
3     Subtotal Line 1 adjusted by Line 2(g)

                                                                                                           4
4     Separate entity items of income or expense (attach schedule)

                                                                                                           5                                -6113971
5     Gross Business Profits (combine Line 3 and Line 4)

6 ADDITIONS AND DEDUCTIONS (RSA 77-A:4)

6(a) Deduct interest on direct US Obligations not subject to tax under RSA 77 (RSA 77-A:4, II)                 6(a)

6(b) Add income taxes or franchise taxes measured by income (attach schedule of taxes by State)                                                     2500
     (RSA 77-A:4, VII)                                                                                         6(b)

6(c) Add federal non-recognized IRC ¤337 Gain (RSA 77-A:4, VIII)                                        6(c)


6(d) Deduct wage adjustment required by IRC ¤280C (RSA 77-A:4, IX)                                             6(d)


6(e) Add expenses related to federal constitutionally exempt income (RSA 77-A:4, X)                            6(e)


6(f) Deduct foreign dividend gross-up (IRC ¤78) (RSA 77-A:4, XI)                                               6(f)


6(g) Deduct research contribution (attach computation) (RSA 77-A:4, XII)                                       6(g)




H               NH-1120 2021
                Version 1.4 2/2022    165401 02-22-22                                                                                      Page 1 of 3      H
                                   Case 23-10000-BLS                    Doc 1          Filed 01/02/23             Page 183 of 304
H                 New Hampshire
                                                                        2021                                                                                               H
                   Department of
               Revenue Administration                                  NH-1120
                                                              BUSINESS PROFITS TAX RETURN

Business Organization Name
 TENTRR INC.
Taxpayer Identification Number                                                                MMDDYYYY                                           MMDDYYYY
                                                    For the CALENDAR year 2021
 473054018                                                                                     01012021                                          12312021
                                                 or other taxable period beginning:                                                and ending:


 NH-1120 continued

 6(h) Deduct New Hampshire Net Operating Loss Deduction (NOLD) (attach Form DP-132) (RSA 77-A:4, XIII)                                 Round to the nearest whole dollar

          NOLD available                                         6(h) - A


          Less NOLD used this tax period                                                                 6(h)


          NOLD to be carried forward                             6(h) - B


 6(i) Adjustments to gross business profits required due to the increase in the basis of assets resulting from
      the sale or exchange of an interest in the business organization (RSA 77-A:4, XIV)

          Add the amount of the increase in the basis of assets federally, due
          to the sale or exchange of interest in the business organization         6(i) - A


 Check yes if an election is being made to recognize the basis increase for any sale or exchange reported above                  Yes     Multiple Transactions     Yes
                                                                                                                                         (schedule attached)
         If not making an election, deduct the basis increase associated with the
         sale or exchange(s). If making an election, enter zero. If reporting multiple
         transactions, please attach a schedule reporting the details for each
         transaction.                                                              6(i) - B
Add the amount of depreciation/amortization on the federal return attributable
to an increase in the basis of assets not recognized for NH purposes               6(i) - C
Upon the sale of assets, adjust the net gain or loss attributable to an increase
in the basis of assets that has not been recognized for NH purposes                6(i) - D


         Net Lines 6(i) - A through 6(i) - D                                                                              6(i)


 6(j) Add Qualified Investment Company (QIC) holders proportional share of QIC profits (RSA 77-A:4, XV)            6(j)


 6(k) Deduct assistance payments under 12 USC ¤1823 (RSA 77-A:4, XVI)                                              6(k)


 6(l) Net Lines 6(a) through 6(k)                                                                        6(l)                                                      2500


 7     Adjusted Gross Business Profits (Sum of Lines 5 and 6(l))                                           7                                                 -6111471

 8     New Hampshire Apportionment (If other than 100%, complete Form DP-80 BPT Apportionment
       Schedule. Enter percentage from Form DP-80, Line 5)                     Exempt under P.L. 86-272                                   8                  0.050395

 9     New Hampshire Taxable Business Profits (Line 7 multiplied by Line 8. If negative, enter zero)                9
                                                                                                                                                                           0
 10    Compute tax (Line 9 multiplied by 7.7%)                                                                    10                                                       0




H             NH-1120 2021
              Version 1.4 2/2022    165402 02-22-22                                                                                                  Page 2 of 3           H
                                  Case 23-10000-BLS                 Doc 1        Filed 01/02/23              Page 184 of 304
H                New Hampshire
                                                                    2021                                                                                     H
                  Department of
              Revenue Administration                               NH-1120
                                                           BUSINESS PROFITS TAX RETURN

Business Organization Name

 TENTRR INC.
Taxpayer Identification Number                                                        MMDDYYYY                                         MMDDYYYY
                                                   For the CALENDAR year 2021
 473054018                                                                              01012021                                       12312021
                                                or other taxable period beginning:                                       and ending:


NH-1120 continued
                                                                                                                         Round to the nearest whole dollar

11 (a) BET Credit only - attach Form BET Credit Worksheet                                            11(a)                                                   0

        -OR-
    (b) Other credit including BET (attach Form DP-160)                                                          11(b)

12 New Hampshire Business Profits Tax Net of Statutory Credits (Line 10 minus Line 11(a) or 11(b),
   as applicable, cannot be less than zero) Report on BT-Summary, Line 1(b)                          12                                                      0


     This return must be accompanied by complete and legible copies of the appropriate federal forms and schedules.




H            NH-1120 2021
             Version 1.4 2/2022    165403 02-22-22                                                                                       Page 3 of 3         H
                                    Case 23-10000-BLS                Doc 1        Filed 01/02/23           Page 185 of 304

H                 New Hampshire
                   Department of
                                                                   2021                                                                                        H
               Revenue Administration                            ADDLINFO
    This form should be completed if filing a NH-1120-WE or if New Hampshire apportionment is less than 100%

                                        BUSINESS PROFITS TAX RETURN ADDITIONAL INFORMATION
Business Organization Name

TENTRR INC.
Taxpayer Identification #                                                             MMDDYYYY                                     MMDDYYYY

473054018                                           For the CALENDAR year 2021          01012021                                    12312021
                                                                                                                     and ending:
                                                 or other taxable period beginning:

          YOU ARE REQUIRED TO FILE A BUSINESS PROFITS TAX RETURN IF GROSS BUSINESS INCOME
                                       IS G RE ATE R THAN $50,000.
If the business organization is a partnership the due date of the return is the         Principal Business Activity in New Hampshire
FIFTEENTH DAY OF THE THIRD MONTH FOLLOWING THE END OF THE
TAXABLE PERIOD . If the business organization is not a partnership the due                 CAMPING ONLINE MARKE
date of the return is the FIFTEENTH DAY OF THE FOURTH MONTH
FOLLOWING THE END OF THE TAXABLE PERIOD .

Business locations in New Hampshire - location of factories, sales offices, wa rehouses, etc.
      Check box and attach a list if more space is required




                                                                                                                          2021            Year first NH return filed

                                                                                                                                   DE     State of Incorporation




City, State and Country where records are located
City / Town                                                                           State      Country
NEW YORK                                                                              NY         US

Business locations outside of New Hampshire                                                                          Answer Yes or No
      Check box and attach a list if more space is required                                      Registered to do     Files returns       Apportion sales, payroll
                                                                                                 business in state       in state         and/or property in state
City / Town                                                                           State       where located?     where located?          where located?


Type of Business




City / Town                                                                           State



Type of Business



City / Town                                                                           State


Type of Business




H             ADDLINFO 2021
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H                 New Hampshire
                                                                     2021                                                                                         H
                   Department of
               Revenue Administration                              ADDLINFO
                              BUSINESS PROFITS TAX RETURN ADDITIONAL INFORMATION - continued
Business Organization Name

 TENTRR INC.
Taxpayer Identification #                                                                   MMDDYYYY                                          MMDDYYYY
                                                    For the CALENDAR year 2021
 473054018                                       or other taxable period beginning:           01012021                         and ending:      12312021

                                                                                                     MMDDYYYY                                   MMDDYYYY
Is the business organization filing its tax return                        If yes, provide the date                                     and
on an IRS approved 52/53 week tax year?                   Yes   X No      the period begins                                            ends


Is this business organization affiliated with any other business organization that files business tax returns with this Department?             Yes   X No
Identify affiliated business organization by name and FEIN              Check box and attach a list if more space is required            FEIN




Does the business organization file as part of a unitary group in any other jurisdiction?                                                       Yes   X No

Is the business organization                                    X No                   If YES, provide                                If YES, provide YEAR
                                                       Yes
registered with the NH Secretary of State?                                             Business ID                                    registered
                                                                State
In which state is the business organization domiciled?:          NY

Did the business organization have a change in income due to a final adjustment determined by a court, the Internal                                   X No
Revenue Service, or another state's taxing authority since its most recent filing of a NH BPT return (prior to this return)?                  Yes


If yes, provide full details. Use additional sheet(s) if necessary.




H             ADDLINFO 2021
              Version 1.1 09/2021 165012 11-01-21                                                                                                   Page 2 of 2   H
                                   Case 23-10000-BLS                Doc 1       Filed 01/02/23              Page 187 of 304

H                    New Hampshire
                                                                    2021                                                                                           H
                      Department of
                  Revenue Administration                            DP-80
                         BUSINESS PROFITS TAX RETURN - BUSINESS PROFITS TAX APPORTIONMENT
Business Organization Name
 TENTRR INC.
Taxpayer Identification Number                                                       MMDDYYYY                                          MMDDYYYY
                                                For the CALENDAR year 2021
 473054018                                   or other taxable period beginning:
                                                                                       01012021                         and ending:      12312021

                                                                              1(a)                             1(b)
                                                                           Everywhere                     New Hampshire                         1(c)
                                                                          (Denominator)                     (Numerator)                 Sales/Receipts Factor

 1     SALES/RECEIPTS FACTOR                                                       4852111                             244522
                                                                                                                                                       .100790
                                                     1(c) Divide 1(b) by 1(a) and multiply by 2 (Express as a decimal to 6 places)
                                                                              2(a)                             2(b)
                                                                           Everywhere                     New Hampshire                             2(c)
                                                                          (Denominator)                     (Numerator)                        Payroll Factor

 2     PAYROLL FACTOR


                                                                        2(c) Divide 2(b) by 2(a) (Express as a decimal to 6 places)


                                                        3(a)                                                                           3(b)
                                                     Everywhere                                                                   New Hampshire
                                                    (Denominator)                                                                   (Numerator)
 3 PROPERTY FACTOR                   Beginning of Period        End of Period                                         Beginning of Period          End of Period

                    Inventory                                                                          Inventory


                    Buildings                                                                          Buildings


       Furniture & Fixtures                                                                Furniture & Fixtures

     Leasehold Improvements                                                             Leasehold Improvements


                        Land                                                                               Land


     Other Tangible Assets                                                              Other Tangible Assets

 Subtotal                                                                             Subtotal


 Average of Subtotals                                                                 Average of Subtotals


 Rented Property (annual rate x 8)                                                    Rented Property (annual rate x 8)

 Total Everywhere Property                                                            Total New Hampshire Property


                                                                       3(c) Divide 3(b) total by 3(a) total (Express as a decimal to 6 places)


                                                                                                                                                       .100790
 4 TOTAL OF LINES 1(c), 2(c) and 3(c)                                                                                                      4
 5 NEW HAMPSHIRE APPORTIONMENT: Line 4 divided by 4 and expressed as a decimal to 6 places.
                                                                                                                                                     0.050395
     If there are only one or two factors with an "Everywhere" denominator, see instructions.                                              5



165021 11-01-21




H            DP-80 2021
             Version 1.0 06/2021
                                                                                                                                                                   H
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NH 1120                     INCOME/FRANCHISE TAXES               STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
LOUISIANA STATE INCOME/FRANCHISE TAX                                                     549.
NEW YORK STATE INCOME/FRANCHISE TAX                                                    1826.
NEW YORK CITY INCOME/FRANCHISE TAX                                                        25.
UTAH STATE INCOME/FRANCHISE TAX                                                          100.
                                                                              }}}}}}}}}}}}}}
TOTAL TO FORM NH-1120, LINE 6(B)                                                       2500.
                                                                              ~~~~~~~~~~~~~~




                                                                               STATEMENT(S) 1
          Case 23-10000-BLS         Doc 1       Filed 01/02/23   Page 189 of 304


                 2021 TAX RETURN FILING INSTRUCTIONS
                               NEW JERSEY FORM CBT-100

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                       $                       750
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                        19
            BALANCE DUE                     $                       769

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE NEW JERSEY DOR, PLEASE CONTACT OUR
            OFFICE AND WE WILL SUBMIT YOUR ELECTRONIC RETURN. DO NOT MAIL THE
            PAPER COPY TO THE NEW JERSEY DOR.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:


            YOUR BALANCE DUE OF $769 WILL BE AUTOMATICALLY WITHDRAWN FROM THE
            BANK ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE
            FORM CBT-100 BALANCE DUE. REFER TO FORM CBT-100 ON THE DIRECT
            DEPOSIT/DEBIT REPORT FOR COMPLETE ACCOUNT INFORMATION.
                              Case 23-10000-BLS                 Doc 1       Filed 01/02/23           Page 190 of 304

                                                                             CORPORATION BUSINESS TAX
                                                                               PAYMENT WORKSHEET

                                                                                             CBT-100-V




                                BEGINNING TAX YEAR 2016, YOU NEED TO PAY YOUR NEW JERSEY
                                       CORPORATION BUSINESS TAX ELECTRONICALLY

             You need to pay the tax by one of these methods:


                  1.   Electronic Check or Credit Card: Visit www.njtaxation.org and select "Make a Payment."
                  2.   Electronic Funds Transfer (EFT): To register visit www.nj.gov/treasury/revenue/eft1.shtml


             If you do not have access to the internet, call our Customer Service Center at 609-292-6400 to make a
             payment.




             RETURN MUST BE FILED ONLINE OR E-FILED.
                                This form cannot be paper filed - this
                               copy is for informational purposes only.


                                                       Corporation Business Tax Payment Worksheet
                                                                        CBT-100-V

                                                                              Beginning   01/01/2021               and ending       12/31/2021
          2020
  473-054-018/000   TENT
  TENTRR, INC.
  25 W. 39TH STREET, 7TH FLOOR
  NEW YORK, NY 10018


           Payments should be made electronically.


                                                                                                    Enter amount of payment here:

                                                                                                                           769.00




166521 04-01-21                               022024730540180002TENT21120600000076900
                                         Case 23-10000-BLS                   Doc 1        Filed 01/02/23             Page 191 of 304
                                                                                                                                                  2021 - CBT-100 - Page 1
      2021                                                      New Jersey Corporation Business Tax Return
                                                                                                                                                                   1019
     CBT-100                                        For Tax Years Ending On or After July 31, 2021, Through June 30, 2022
                                                                    Tax year beginning JAN     1          ,2021 and ending DEC            31     ,2021


FEDERAL EMPLOYER I.D. NUMBER                                N.J. CORPORATION NUMBER
           473-054-018/000                                 4730-5401-80                        State and date of incorporation       DE           02 03 2015
CORPORATION NAME                                                                               Date authorized to do business in New Jersey       02032015
TENTRR INC
MAILING ADDRESS                                                                                Federal business activity code       454110
                                                                                               Corporation books are in the care of   ANAND SUBRAMANI
25 W 39TH STREET 7TH FLOOR                                                                     at 411     W   39TH       ST   4TH     FL NEW
 CITY                                        STATE                              ZIP CODE       Phone Number       6462301040
                                                                                               Check if applicable (see instructions):
NEW YORK                                      NY                        10018                          Investment Company                      Professional Corporation
Check applicable return type:                 X Initial         Amended                                Real Estate Investment Trust            Regulated Invest. Company
Enter Amended Code:                         If code 10, enter reason:                                  Federal 1120-S Filer                    Claiming P.L. 86-272


 1. Tax Base - Enter amount from line 4 of Schedule A, Part III                 ~~~~~~~~~~~~~~~~~~~~~~                               1.                                0.
 2. Amount of Tax - Multiply line 1 by the applicable tax rate (see instructions) ~~~~~~~~~~~~~~~                                    2.
 3. Tax Credits - Enter amount from Schedule A-3, Part I, line 28 (see instructions) ~~~~~~~~~~~~~                                   3.
 4. CBT TAX LIABILITY - Subtract line 3 from line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     4.                                0.
 5. a. Surtax on taxable net income - Multiply the amount on Schedule A, Part III, line 2a, 2b, or 2c
              (whichever is applicable) by the applicable surtax rate (see instructions) ~~~~~~~~~~~~~~~                            5a.                                0.
      b. Pass-Through Business Alternative Income Tax Credit from Form 329 (see instructions) (Amount entered
              cannot be more than amount on line 5a) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               5b.                                0.
      c. Balance of surtax - Subtract line 5b from line 5a                                                5c.                                0.
 6. a. Enter the total minimum tax (see instructions) ~~~~~~~ 6a.                             500.
    b. Tax Due - Add line 5c to the greater of line 4 or line 6a (see instructions) ~~~~~~~~~~~~~~                                  6b.                            500.
 7. Installment Payment - Only applies if line 6b is $500 or less (see instructions) ~~~~~~~~~~~~~~                                  7.                            250.
 8. Professional Corporation Fees (from Schedule PC, line 7) ~~~~~~~~~~~~~~~~~~~~~~~                                                 8.                              0.
 9. TOTAL TAX AND PROFESSIONAL CORPORATION FEES - Add lines 6b, 7, and 8 ~~~~~~~~~~~                                                 9.                            750.
10. a. Payments and Credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10a.
    b. Payments made by partnerships on behalf of taxpayer (include copies of all NJK-1s) ~~~~~~~~ 10b.
      c. Refundable Tax Credits from Schedule A-3, Part II, line 5 (see instructions) ~~~~~~~~~~~~~ 10c.
      d. Total Payments and Credits - Add lines 10a, 10b, and 10c ~~~~~~~~~~~~~~~~~~~~~ 10d.
11. Balance of Tax Due - If line 10d is less than line 9, subtract line 10d from line 9                ~~~~~~~~~~~~                 11.                            750.
                                                     SEE STATEMENT 1
12. Penalty and Interest Due (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      12.                             19.
13. Total Balance Due - Add line 11 and line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      13.                            769.
14. Amount Overpaid - If line 10d is greater than the sum of line 9 and 12, enter amount of overpayment ~~                          14.
15. Amount of line 14 to be Refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            15.
16. Amount of line 14 to be Credited to 2022 Tax Return                                                    16.
17. Amount of line 14 to be Credited to a Combined Group and tax year to                        Unitary ID Number

      which it is to be applied                   2021 or           2022                  NU                               17.
                         If the corporation is inactive, page 1, the Annual General Questionnaire, and Schedules A (Parts I, II, and III), A-2, A-3, and A-4 must be
    (See Instructions)
     CERTIFICATION
     OF INACTIVITY




                         completed. A corporate officer must sign and certify below:
                              By marking the check box to the left, I certify that the corporation did not conduct any business, did not have any income, receipts, or
                              expenses, and did not own any assets during the entire period covered by the tax return.


                          (Date)                       (Signature of Corporate Officer)                                                                  (Title)


                          RETURN MUST BE FILED ONLINE OR E-FILED.
                         Under penalties of perjury, I declare that I have examined this return, including accompanying schedules, forms, and statements, and to the
                         best of my knowledge and belief, it is true, correct, and complete. I understand that pursuant to N.J.S.A. 54:10A-14(a), I must include copies
  SIGNATURE AND




                         of the federal return(s), forms, and schedules with my New Jersey return. If prepared by a person other than the taxpayer, this declaration is
   (See Instruction)
    VERIFICATION




                         based on all information of which the preparer has any knowledge.
                                           This form cannot be paper filed -PRESIDENT             this
                          (Date)               (Signature of Duly Authorized Officer of Taxpayer)      (Title)
                                          copy is for informational purposes only. P00185030
                          (Date)                          (Signature of Individual Preparing Return)                    (Address)                 (Preparer's ID Number)
                                                    GUTTERSON & COHEN TAX SPECIALISTS L                                                         XX-XXXXXXX
                  (Name of Tax Preparer's Employer) 445 BROADHOLLOW ROAD  STE (Address)                                                           (Employer's ID Number)
           166601 11-15-21                          MELVILLE, NY 11747
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NAME AS SHOWN ON RETURN                                                                                                                                             FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                                                        473-054-018/000
ANNUAL GENERAL QUESTIONNAIRE (See Instructions)
PART I All taxpayers must answer the following questions. Riders must be provided where necessary.
1. Type of business


     Principal products handled


2. State the location of the actual seat of management or control of the corporation


3. Did one or more other corporations own beneficially, or control, a majority of the stock of taxpayer corporation or did the same interests own
     beneficially, or control, a majority of the stock of taxpayer corporation and of one or more other corporations?                                Yes. Provide a rider indicating
     the name and FEIN of the controlled corporation, the name and FEIN of the controlling/parent corporation, and the percentage of stock owned or
     controlled. OR                No.
4. These questions must be answered by corporations with a controlling interest in certain commercial property.
     a.    During the period covered by the return, did the taxpayer acquire or dispose of directly or indirectly a controlling interest in certain commercial
           property?            Yes. Answer question 4b below.               OR              No.
     b. Was the CITT-1, Controlling Interest Transfer Tax, filed with the Division of Taxation?
                Yes. Provide a rider
                                  . indicating the information and include a copy of the CITT-1                    OR            No. Provide a rider indicating the name and FEIN
           of the transferee, the name and FEIN of the transferor, and the assessed value of the property.
5. Does this corporation own any Qualified Subchapter S Subsidiaries (QSSS)?                                  Yes. Provide a rider indicating the name, address, and FEIN of the
     subsidiary, whether the subsidiary made a New Jersey QSSS election, and whether the activities of the subsidiary are included in this return.                            OR
          X No.
6. Did the taxpayer receive any deemed repatriation dividends reported under IRC ¤965 from a subsidiary in the taxpayer's federal tax year 2017 or 2018
     for which the taxpayer files a New Jersey 2017, 2018, or 2019 tax return?                          Yes. Provide a rider indicating the name and FEIN of the subsidiary, the
     amount of deemed repatriation dividends, and indicate on which New Jersey return the income was included.                               OR             No.
7. If the taxpayer is a unitary subsidiary of a combined group filing a New Jersey combined return from which the taxpayer is excluded, did the taxpayer
     distribute dividends or deemed dividends in the current tax year?                       Yes. Provide a rider indicating the name and FEIN of the entity to which the
     dividends were paid (deemed), the amount of dividends, and unitary ID number of the combined group. OR                                       No.
8. Is the taxpayer an intangible holding company or is the taxpayer's income, directly or indirectly, from intangible property or related service activities
     that are deductible against the income of members of a combined group?                             Yes. Provide a rider indicating the names and ID numbers of the
     combined group or the related members and detail the taxpayer's income that is deductible against their income. OR                                 X No.
9. Is income from sources outside the United States included in taxable net income on Schedule A?
              Yes            No          X NA
     If yes, provide a rider indicating such items of gross income, the source, the deductions and the amount of foreign taxes paid. Enter on Schedule A,
     Part II, line 10, the difference between the net of such income and the amount of foreign taxes paid not previously deducted (include a rider).

10. Does the taxpayer have related parties or affiliates that file combined returns in New Jersey?                            Yes.      OR     X No.
11. Does the taxpayer file as part of a group filing combined returns/reports in other states with corporations that either do not file New Jersey returns or
     file separate New Jersey returns?                   Yes.    OR       X No.
12. Is the taxpayer part of a group that files a New Jersey combined return, but is excluded from the combined return?                                      Yes. Provide information
     below.     OR      X No.
     Name of the managerial member of the combined group:
13. Has the taxpayer or the preparer completing this return on the taxpayer's behalf taken any uncertain tax positions when filing this return or their
     federal tax return?              Yes. Include a rider detailing the information.           OR      X No.
     For more information see Financial Accounting Standards Board (FASB) Accounting Standards Codification (ASC) 740-10, formerly FASB
     Interpretation No. 48 (FIN 48).

14. Does the taxpayer own or lease real or tangible property:
     a.    In New Jersey?                Yes.     OR     X No.
     b.    Outside New Jersey?                  Yes. Provide information below. OR              X No.
           List the states, political subdivisions, and foreign nations (as applicable):
15. What percentage of the taxpayer's worldwide property, real or tangible, is inside the United States?
16. Does the taxpayer have payroll:
     a.    In New Jersey?                Yes.     OR     X No.
     b.    Outside New Jersey?                  Yes. Provide information below. OR              X No.
           List the states, political subdivisions, and foreign nations (as applicable):
17. What percentage of the taxpayer's worldwide payroll is inside the United States?
18. Is 20% or more of either or both the taxpayer's property and payroll inside the United States?                               Yes.    OR       X No.
19. Does the taxpayer own a disregarded entity or utilize a disregarded entity of a related party?                            Yes. Include a rider with the entity's name and tax
     ID number.      OR      X No.
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NAME AS SHOWN ON RETURN                                                                                                             FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                        473-054-018/000
ANNUAL GENERAL QUESTIONNAIRE (Continued)
PART II REGULATED INVESTMENT COMPANIES (Riders must be provided where necessary)
1. Is this taxpayer registered and regulated under the Federal Investment Company Act of 1940 (54 Stat. 789, as amended)?         Yes. Provide
    information below (include rider if necessary).   X No.

                                                   Securities and Exchange Commission Information
                                  Registration Number                                                              Registration Date


    IMPORTANT NOTE: If the taxpayer's certificate under the Act was not obtained prior to the commencement of the period covered in the return or
    if such authority was not continued during such entire period, then the taxpayer is not entitled to report as a Regulated Investment Company.
2. Has the taxpayer satisfied the requirements of IRC ¤ 852(a)?         Yes    OR    X No. If no, taxpayer cannot file as a Regulated Investment Company.
3. Every taxpayer seeking to report as a regulated investment company MUST SUBMIT WITH THIS RETURN ITS PRINTED ANNUAL REPORT TO
    STOCKHOLDERS for the period covered by this return together with all other stockholder reports issued by the company during such period.




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NAME AS SHOWN ON RETURN                                                                                                    FEDERAL ID NUMBER

TENTRR, INC.                                                                                                             473-054-018/000
                                      CALCULATION OF NEW JERSEY TAXABLE NET INCOME (SEE INSTRUCTIONS)
 Schedule A                          EVERY CORPORATION MUST COMPLETE PARTS I, II, AND III OF THIS SCHEDULE

 PART I - COMPUTATION OF ENTIRE NET INCOME (All data must match the federal pro forma or federal return, whichever is applicable.)

                                            Income
 1. a.    Gross receipts or sales   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       1a.                4,846,290.
     b. Less: Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1b.
     c.   Total - Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                1c.                4,846,290.
 2. Less: Cost of goods sold (from Schedule A-2, line 8) ~~~~~~~~~~~~~~~~~~~~~~                               2.                2,339,836.
 3. Gross profit - Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3.                2,506,454.
 4. a.    Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                4a.
     b. Gross Foreign Derived Intangible Income (see instructions) (include copy of federal Form 8993)       4b.
     c.   Gross Global Intangible Low-Taxed Income (see instructions) (include copy of federal Form 8992)    4c.
 5. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5.
 6. Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    6.
 7. Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  7.
 8. Capital gain net income (include a copy of federal Schedule D) ~~~~~~~~~~~~~~~~~                          8.
 9. Net gain or (loss) (from federal Form 4797, include a copy) ~~~~~~~~~~~~~~~~~~~                           9.                   -1,415.
                                                                    SEE STATEMENT 2
10. Other income (include schedule(s)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10.                    5,821.
11. Total Income - Add lines 3 through 10                                       11.                2,510,860.
                                              Deductions
12. Compensation of officers (from Schedule F) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    12.                    490,555.
13. Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   13.
14. Repairs (Do not include capital expenditures) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 14.
15. Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    15.                  181,742.
16. Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      16.                   18,333.
17. Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      17.                  178,932.
18. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    18.                  353,565.
19. Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            19.                        0.
20. Depreciation (from federal Form 4562, include a copy) less depreciation claimed elsewhere on return      20.                1,853,197.
21. Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    21.
22. Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   22.                    568,851.
23. Pension, profit-sharing plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      23.
24. Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             24.                    156,376.
25. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             25.
                                                        SEE STATEMENT 3
26. Other deductions (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       26.                4,823,280.
27. Total Deductions - Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    27.                8,624,831.
28. Taxable income before federal net operating loss deductions and federal special deductions -
     Subtract line 27 from line 11 (Must agree with line 28, page 1 of the Unconsolidated federal
     Form 1120, or the appropriate line of any other federal corporate return filed) (See instructions)     28.               -6,113,971.

 PART II - NEW JERSEY MODIFICATIONS TO ENTIRE NET INCOME

 1. Taxable income/(loss) before federal net operating loss deductions and special deductions (from
     Schedule A, Part I, line 28)                                              1.               -6,113,971.
                                      Additions
 2. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2.
 3. Other federally exempt income not included in line 1 (see instructions)     ~~~~~~~~~~~~~                 3.
 4. Interest on federal, state, municipal, and other obligations not included in line 1 (see instructions)    4.
 5. New Jersey State and other states' taxes deducted in line 1 (see instructions)      ~~~~~~~~~             5.                       2,500.
 6. Related party interest addback (from Schedule G, Part I) ~~~~~~~~~~~~~~~~~~~~                             6.
 7. Related party intangible expenses and costs addback (from Schedule G, Part II)        ~~~~~~~~            7.
 8. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              8.
 9. Depreciation modification being added to income (from Schedule S)         ~~~~~~~~~~~~~~                  9.
10. Other additions. Explain on separate rider (see instructions)    ~~~~~~~~~~~~~~~~~~                      10.
11. Taxable income/(loss) with additions - Add line 1 through line 10 and enter the total             11.               -6,111,471.
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NAME AS SHOWN ON RETURN                                                                                                         FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                  473-054-018/000
                                        CALCULATION OF NEW JERSEY TAXABLE NET INCOME (SEE INSTRUCTIONS)
 Schedule A                           EVERY CORPORATION MUST COMPLETE PARTS I, II, AND III OF THIS SCHEDULE
                                               Deductions
  12. Depreciation modification being subtracted from income (from Schedule S) ~~~~~~~~~~                        12.
  13. Previously Taxed Dividends (from Schedule PT)          ~~~~~~~~~~~~~~~~~~~~~~~                             13.
  14. a.     Enter the I.R.C. ¤ 250(a) deduction amount allowed federally for GILTI if GILTI income is
             included on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             14a.
        b. Enter the I.R.C. ¤ 250(a) deduction amount allowed federally for FDII if FDII income is
             included on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             14b.
        c.   Net GILTI previously taxed by New Jersey not deducted or excluded elsewhere             ~~~~~       14c.
  15. I.R.C. ¤ 78 Gross-up included in line 1 (do not include dividends that were excluded/deducted elsewhere)   15.
  16. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                16.
  17. a.     Elimination of nonoperational activity (from Schedule O, Part I) ~~~~~~~~~~~~~~                     17a.
        b. Elimination of nonunitary partnership income/loss (from Schedule P-1, Part II, line 4) ~~~~           17b.
  18. Other deductions. Explain on separate rider (see instructions)        ~~~~~~~~~~~~~~~~                     18.
  19. Total deductions - Add line 12 through line 18 and enter the total                          19.
                                 Taxable Net Income/(Loss) Calculation
  20. Entire Net Income/(Loss) Subtotal - Subtract line 19 from line 11 ~~~~~~~~~~~~~~~                          20.                -6,111,471.
  21. Allocation factor from Sch J (if all receipts were derived from only New Jersey sources, enter 1.000000)   21.                    .008577
  22. Allocated entire net income/(loss) before net operating loss deductions and dividend exclusion -
        Multiply line 20 by line 21 and enter the result here (if zero or less, enter zero on line 29)   ~~~     22.                     -52,418.
  23. Prior year net operating loss (PNOL) deduction (from Form 500, Section A) (Amount entered
        cannot be more than amount on line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       23.
  24. Allocated entire net income before post allocation net operating loss deduction - Subtract line
        23 from line 22 (If zero or less, enter zero here and on line 29) ~~~~~~~~~~~~~~~~~                      24.                              0.
  25. Post allocation net operating loss (NOL) deduction (from Form 500, Section B) (Amount entered
        cannot be more than amount on line 24) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       25.
  26. Allocated entire net income before allocated dividend exclusion - Subtract line 25 from line 24
        (If zero or less, enter zero here and on line 29) ~~~~~~~~~~~~~~~~~~~~~~~~                               26.                              0.
  27. Allocated Dividend Exclusion (from Schedule R) (see instructions) ~~~~~~~~~~~~~~~~                         27.
  28. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                28.
  29. Taxable net income - Subtract line 27 from line 26 ~~~~~~~~~~~~~~~~~~~~~~                                  29.                              0.
      Did the taxpayer have any discharge of indebtedness excluded from federal taxable income
        in the current tax year pursuant to subparagraph (A), (B), or (C) of paragraph (1) of
        subsection (a) of IRC ¤ 108           Yes. See instructions for Form 500. OR        X No.
 PART III - COMPUTATION OF NEW JERSEY TAX BASE
  1. Enter taxable net income from Schedule A, Part II, line 29         ~~~~~~~~~~~~~~~~~~                        1.                              0.
   2. a.     Investment Company - Enter 40% of line 1 ~~~~~~~~~~~~~~~~~~~~~~~~                                   2a.
        b. Real Estate Investment Trust - Enter 4% of line 1 ~~~~~~~~~~~~~~~~~~~~~                               2b.
        c.   All Others - Enter the amount from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~                                 2c.                              0.
   3. a.     New Jersey Nonoperational Income (from Schedule O, Part III) (if zero or less, enter zero) ~        3a.
        b. Nonunitary Partnership Income (from Schedule P-1, Part II, line 5) (if zero or less, enter zero)      3b.
   4. Tax Base - Add lines 3a and 3b to line 2a, 2b, or 2c, whichever is applicable. Enter total here and
        on line 1, page 1                                                  4.                              0.




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TENTRR, INC.                                                                                                       473-054-018/000
Schedule A-2                  COST OF GOODS SOLD (See Instructions) All data must match amounts reported on federal
                              Form 1125-A of the federal pro forma or federal return, whichever is applicable.
 1. Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1.
 2. Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2.
 3. Cost of labor    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        3.
 4. Additional section 263A costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4.
                                                     SEE STATEMENT 4
 5. Other costs (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  5.                 2,339,836.
 6. Total - Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  6.                 2,339,836.
 7. Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     7.
 8. Cost of goods sold - Subtract line 7 from line 6. Include here and on Schedule A, Part I,
     line 2                                              8.                 2,339,836.

Schedule A-3            SUMMARY OF TAX CREDITS (See Instructions)
PART I - Tax Credits Used Against Liability
1. New Jobs Investment Tax Credit from Form 304 ~~~~~~~~~~~~~~~~~~~~~~~~~                              1.
2.   Angel Investor Tax Credit from Form 321 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             2.
3.   Business Employment Incentive Program Tax Credit from Form 324         ~~~~~~~~~~~~~~~            3.
     EITHER:         a) Urban Enterprise Zone Employee Tax Credit from Form 300 ~~~~~~~~~~
4.
     OR              b) Urban Enterprise Zone Investment Tax Credit from Form 301       ~~~~~~~~~      4.
5.   Redevelopment Authority Project Tax Credit from Form 302      ~~~~~~~~~~~~~~~~~~~                 5.
6.   Manufacturing Equipment and Employment Investment Tax Credit from Form 305           ~~~~~~~~     6.
7.   Research and Development Tax Credit from Form 306 ~~~~~~~~~~~~~~~~~~~~~~                          7.
8.   Neighborhood Revitalization State Tax Credit from Form 311 ~~~~~~~~~~~~~~~~~~~                    8.
9.   Effluent Equipment Tax Credit from Form 312 ~~~~~~~~~~~~~~~~~~~~~~~~~~                            9.
10. Economic Recovery Tax Credit from Form 313 ~~~~~~~~~~~~~~~~~~~~~~~~~~                              10.
11. AMA Tax Credit from Form 315 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11.
12. Business Retention and Relocation Tax Credit from Form 316       ~~~~~~~~~~~~~~~~~~                12.
13. Sheltered Workshop Tax Credit from Form 317 ~~~~~~~~~~~~~~~~~~~~~~~~~~                             13.
14. Film Production Tax Credit from Form 318 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              14.
15. Urban Transit Hub Tax Credit from Form 319 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             15.
16. Grow NJ Tax Credit from Form 320       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             16.
17. Wind Energy Facility Tax Credit from Form 322 ~~~~~~~~~~~~~~~~~~~~~~~~~~                           17.
18. Residential Economic Redevelopment and Growth Tax Credit from Form 323 ~~~~~~~~~~~                 18.
19. Public Infrastructure Tax Credit from Form 325 ~~~~~~~~~~~~~~~~~~~~~~~~~~                          19.
20. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      20.
21. Film and Digital Media Tax Credit from Form 327 ~~~~~~~~~~~~~~~~~~~~~~~~~                          21.
22. Tax Credit for Employers of Employees With Impairments from Form 328 ~~~~~~~~~~~~~                 22.
23. Pass-Through Business Alternative Income Tax Credit from Form 329         ~~~~~~~~~~~~~~           23.
24. Apprenticeship Program Tax Credit from Form 330 ~~~~~~~~~~~~~~~~~~~~~~~~                           24.
25. Tax Credit for Employer of Organ/Bone Marrow Donor from Form 331 ~~~~~~~~~~~~~~~                   25.
26. Tiered Subsidiary Dividend Pyramid Tax Credit from Form 332 ~~~~~~~~~~~~~~~~~~                     26.
27. Other Tax Credit (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               27.
28. Total tax credits - Add lines 1 through 27. Enter here and on page 1, line 3           28.
PART II - Refundable Tax Credits
 1. Refundable portion of New Jobs Investment Tax Credit from Form 304 ~~~~~~~~~~~~~~                  1.
 2. Refundable portion of Angel Investor Tax Credit from Form 321 ~~~~~~~~~~~~~~~~~~                   2.
 3. Refundable portion of Business Employment Incentive Program Tax Credit from Form 324        ~~~~   3.
 4. Other Tax Credit to be refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  4.
 5. Total amount of tax credits to be refunded. Enter here and on page 1, line 10c           5.




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TENTRR, INC.                                                                                                                           473-054-018/000
Schedule A-4                         SUMMARY SCHEDULE (See Instructions)

 PNOL Deduction and Carryover                                                          Net Operational Income Information
 1. Form 500, Section A, line 5 minus line 7 1.                                0. 8. Schedule O, Part III                       8.                       0.
 NOL Deduction and Carryover                                                           Dividend Exclusion Information
 2. Form 500, Section B, line 6 minus line 8 2.                                0. 9. Schedule R, line 7                         9.                       0.
 Interest and Intangible Costs and Expenses
 3. Schedule G, Part I, line b           3.                              0. 10. Schedule R, line 9  10.                                            0.

 4. Schedule G, Part II, line b          4.                              0. 11. Schedule R, line 11  11.                                            0.
 Schedule J Information                                                                Schedule P Information
 5. Schedule J, line 1f               5.                   41,616. 12. Schedule P, Part III, line 1  12.                                           0.

 6. Schedule J, line 1g               6.            4,852,111. 13. Schedule P, Part III, line 2  13.                                               0.

 7. Schedule J, line 1h               7.                .008577
Schedule F                  CORPORATE OFFICERS - GENERAL INFORMATION AND COMPENSATION (See Instructions)
                            Data must match amounts reported on federal Form 1125-E of the federal pro forma or federal return, whichever is applicable.
                                                                                                 (4)                   (5)
                     (1)                                   (2)                  (3)      Dates Employed       Percentage of Corpora-                  (6)
    Name and Current Address of Officer        Social Security Number          Title      in this position       tion Stock Owned           Amount of Compensation
                                                                                          From         To     Common Preferred
   SEE STATEMENT 5




 a. Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          490,555.
 b. Less: Compensation of officers claimed elsewhere on the return ~~~~~~~~~~~~~~~~~~~~~~~~
 c. Balance of compensation of officers (include here and on Schedule A, Part I, line 12)                                               490,555.




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NAME AS SHOWN ON RETURN                                                                                                      FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                 473-054-018/000
Schedule G - Part I                     INTEREST (See Instructions)

       Was interest paid, accrued, or incurred to a related member(s) deducted from entire net income?
             Yes. Fill out the following schedule.       X No.

                    Name of Related Member                               Federal ID Number        Relationship to Taxpayer            Amounts




  a.   Total amount of interest deducted    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  b. Subtract: Exceptions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             (                   )
  c.   Related Party Interest Expenses Disallowed for New Jersey Purposes (include here and on Schedule A,
       Part II, line 6) 

Schedule G - Part II                    INTEREST EXPENSES AND COSTS AND INTANGIBLE EXPENSES AND COSTS (See Instr.)

  1. Were intangible expenses and costs, including intangible interest expenses and costs, paid, accrued or incurred to related members, deducted
       from entire net income?          Yes. Fill out the following schedule.       X No.
                                                                                                         Type of Intangible
           Name of Related Member                    Federal ID Number      Relationship to Taxpayer     Expense Deducted             Amounts




  a.   Total amount of intangible expenses and costs deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  b. Subtract: Exceptions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             (                   )
  c.   Related Party Intangible Expenses and Costs addback (include here and on Schedule A, Part II, line 7) 
NOTE: For tax years beginning on or after January 1, 2018, the treaty exceptions have been limited pursuant to P.L. 2018, c. 48. See Schedule G-2
      instructions for more information.




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TENTRR, INC.                                                                                                                   473-054-018/000
                                 TAXES (See Instructions)
Schedule H
                                 Include all taxes paid or accrued during the accounting period wherever deducted on Schedule A.
                                                           (a)              (b)                               (d)               (e)
                                                                        Corporation           (c)                                                  (f)
                                                     Corporation                                           U.C.C. or      Other Taxes/
                                                                         Business/         Property                                               Total
                                                       Franchise        Occupancy                           Payroll          Licenses
                                                                                            Taxes
                                                    Business Taxes         Taxes                             Taxes        (include sch.)
  1. New Jersey Taxes
  2. Other States & U.S. Possessions                    2,475                                                                                      2,475
  3. City and Local Taxes                                  25                                                                                         25
  4. Taxes Paid to Foreign Countries *
  5. Total                                              2,500                                                                                      2,500
  6. Combine lines 5(a) and 5(b)                                          2,500
  7. Sales & Use Taxes Paid by a Utility Vendor
  8. Add lines 6 and 7                                                    2,500
  9. Federal Taxes
10. Total (Combine line 5 and line 9)                   2,500                                                                                      2,500
* Include on line 4 taxes paid or accrued to any foreign country, state, province, territory, or subdivision thereof.


Schedule J                       COMPUTATION OF ALLOCATION FACTOR (See Instructions)

All taxpayers, regardless of entire net income reported on Schedule A, Part II, line 20, Form CBT-100, must complete Schedule J.
For tax years ending on and after July 31, 2019, services are sourced based on market sourcing, not cost of performance.
 1. Receipts:                                                                                                       AMOUNTS (omit cents)
      a.   From sales of tangible personal property shipped to points within New Jersey       ~~~~~~~~~~~~~~                    a.            41,616.
      b. From services if the benefit of the service is received in New Jersey ~~~~~~~~~~~~~~~~~~~~                            b.
      c.   From rentals of property situated in New Jersey      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   c.
      d. From royalties for the use in New Jersey of patents, copyrights, and trademarks        ~~~~~~~~~~~~~                  d.
      e.   All other business receipts earned in New Jersey (See instructions) ~~~~~~~~~~~~~~~~~~~~                             e.
      f.   Total New Jersey receipts (Total of lines 1a to 1e, inclusive) ~~~~~~~~~~~~~~~~~~~~~~~~                              f.            41,616.
      g. Total receipts from all sales, services, rentals, royalties, and other business transactions everywhere        ~~~    g.          4,852,111.
      h. Allocation Factor (Percentage in New Jersey) (Line 1f divided by line 1g). Carry the fraction 6 decimal
           places. Do not express as a percent. Include here and on Schedule A, Part II, line 21                    h.             .008577
NOTE: Include the GILTI and the receipts attributable to the FDII, net of the respective allowable IRC ¤ 250(a) deductions, in the allocation factor. The
      net amount of GILTI (i.e., the GILTI reduced by the I.R.C. ¤250(a) GILTI deduction) and the net FDII (i.e., the receipts attributable to the FDII
      reduced by the I.R.C. ¤ 250(a) FDII deduction) amounts are included in the numerator (if applicable) and the denominator.




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                                                                                                                            2021 - CBT-100 - Page 10         1019
NAME AS SHOWN ON RETURN                                                                                                                FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                           473-054-018/000
Schedule P-1                                          PARTNERSHIP INVESTMENT ANALYSIS (See Instructions)

Part I - Partnership Information
                     (1)                                                                                     (5)               (6)
                                                       (2)       (3)           (4)                                            New                     (7)
  Partnership, LLC, or Other Entity Information                                                     Tax Accounting Method                   Tax Payments Made on
                                                    Date and Percentage                                                      Jersey
                                                   State where   of     Limited General              Flow         Separate Nexus              Behalf of Taxpayer
         Name              Federal ID Number        Organized Ownership Partner Partner             Through      Accounting* Yes No             by Partnerships




Enter total of column 7 here and on page 1, line 10b        
*Taxpayers using a separate accounting method must complete Part II.
Part II - Separate Accounting of Nonunitary Partnership Income
                      (1)                               (2)                                               (3)                                     (4)
                                                                                                                                      Taxpayer's Share of Income
             Nonunitary Partnership's             Distributive Share of Income/Loss       Partnership's Allocation Factor              Allocated to New Jersey
                  Federal ID Number                 from Nonunitary Partnership                  (See Instructions)              (Multiply Column 2 by Column 3)
  1.
  2.
  3.
  4.     Total column 2. Enter amount here and Schedule A, Part II, line 17b 
  5.     Total column 4. Enter amount here and Schedule A, Part III, line 3b 
  If additional space is needed, include a rider.




Schedule PC                                           PER CAPITA LICENSED PROFESSIONAL FEE (See Instructions)
  1. Is the corporation a Professional Corporation (PC) formed pursuant to N.J.S.A. 14A:17-1 et seq. or any similar law from a possession or territory
       of the United States, a state, or political subdivision thereof?           Yes. This schedule must be included with the return.           X No.
  2. How many licensed professionals are owners, shareholders, and/or employees from this Professional Corporation (PC) as of the first day of the
       privilege period?         2 or less, complete Part I.              More than 2, complete Part I and Part II (if additional space is needed, include a rider).
Part I - Provide the following information for each of the licensed professionals in the PC. Include a rider if additional space is needed.
                             Name                                                     Address                                      FID/SSN
  1.
  2.
  3.
  4.
  5.
Part II - Complete only if there are more than 2 licensed professional listed above.
 1. Enter number of resident and nonresident professionals with physical nexus with
       New Jersey                     x $150 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 1.
 2.    Enter number of nonresident professionals without physical nexus with
       New Jersey                    x $150 x allocation factor of the PC ~~~~~~~~~~~~~~~~~~~~~                                  2.
 3.    Total Fee Due - Add line 1 and line 2      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3.
 4.    Installment Payment - 50% of line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   4.
 5.    Total Fee Due (line 3 plus line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5.
 6.    Less prior year 50% installment payment and credit (if applicable) ~~~~~~~~~~~~~~~~~~~~                                   6.     (                              )
 7.    Balance of Fee Due (line 5 minus line 6). If the result is zero or more, include the amount here
       and on Form CBT-100, page 1, line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    7.
 8.    Credit to next year's Professional Corporation Fee (if line 7 is less than zero, enter the
       amount here)                                                                8.


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                                                                                                                        2021 - CBT-100 - Page 11       1019A
NAME AS SHOWN ON RETURN                                                                                                          FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                     473-054-018/000
Schedule P                                        SUBSIDIARY INVESTMENT ANALYSIS (See Instructions)

NOTE:      Taxpayers must hold 80% of the combined voting power of all classes of stock entitled to vote and at least 80% of the total number of shares
           of all other classes of stock, except non-voting stock which is limited and preferred as to dividends, for each subsidiary. Do not include
           advances to subsidiaries in book value. Do not include any previously taxed dividends. Instead, report those amounts on Schedule PT.
PART I     DOMESTIC SUBSIDIARY
                                                  (1)                                        (2)                       (3)                          (4)
                                                                              Percentage of Interest                Book Value          Domestic Dividend Income
   Federal ID Number                     Name of Subsidiary                     (a) Voting     (b) Non-Voting                          (as reported on Schedule A)




Totals 
PART II    FOREIGN SUBSIDIARY
                                                  (1)                                        (2)                       (3)                          (4)
                                                                              Percentage of Interest                Book Value           Foreign Dividend Income
   Federal ID Number                     Name of Subsidiary                     (a) Voting     (b) Non-Voting                          (as reported on Schedule A)




Totals 
PART III TOTAL OF 80% OR MORE OWNED SUBSIDIARY DIVIDENDS
 1. Enter total from Part I, column 4 (include here and on Schedule A-4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                     1.
 2. Enter total from Part II, column 4 (include here and on Schedule A-4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                    2.
 3. Total dividends. Add lines 1 and 2 (include here and on Schedule R)                                       3.




Schedule R              DIVIDEND EXCLUSION (See Instructions)

 1. Enter the total dividends and deemed dividends reported on Schedule A ~~~~~~~~~~~~~~~~~~~                                     1.
 2. Enter amount from Schedule PT, Section D, line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2.
 3. Dividends eligible for dividend exclusion - Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~                                 3.
 4. Enter amount from Schedule P, Part III, line 3      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4.
 5. Multiply line 4 by .95 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          5.
 6. Subtract line 4 from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        6.
 7. Dividend income from investments where taxpayer owns less than 50% of voting
    stock and less than 50% of all other classes of stock (do not incl. amounts subtracted on line 2)
                                                                   ~~~~~~~                                                        7. (                               )
 8. Subtract line 7 from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        8.
 9. Multiply line 8 by 50% ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           9.
10. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          10.
11. DIVIDEND EXCLUSION: Add lines 5 and 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     11.
12. Allocation factor from current Schedule J (if all receipts are derived from only NJ sources, enter 1.000000)         ~~      12.
13. ALLOCATED DIVIDEND EXCLUSION: Multiply line 11 by line 12 (include here and on Schedule A, Part II, line 27)                 13.




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 NAME AS SHOWN ON RETURN                                                                                                    FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                 473-054-018/000
 Schedule S - Part I                      DEPRECIATION AND SAFE HARBOR LEASING (See Instructions)

  1. IRC ¤ 179 Deduction     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    1.
  2. Special Depreciation Allowance - for qualified property placed in service during the tax year ~~~~~~~~~~                2.
  3. MACRS ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               3.         1,853,197.
  4. ACRS ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               4.
  5. Other Depreciation    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5.
  6. Listed Property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         6.
  7. Total depreciation claimed in arriving at Schedule A, Part II, line 1                            7.         1,853,197.
                                           Include Federal Form 4562 and Federal Depreciation Worksheet
                     Modification at Schedule A, Part II, line 9 or line 12 - Depreciation and Certain Safe Harbor Lease Transactions

Additions
 8. Amounts from lines 3, 4, 5, and 6 above ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              8.         1,853,197.
  9. Special Depreciation Allowance from line 2 above      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    9.
 10. Distributive share of the special depreciation allowance from a partnership ~~~~~~~~~~~~~~~~~~                        10.
 11. Distributive share of ACRS, MACRS, and other depreciation from a partnership ~~~~~~~~~~~~~~~~                         11.
 12. Deductions on federal return resulting from an election made pursuant to IRC ¤ 168(f)(8) exclusive of
     elections made with respect to mass commuting vehicles
     a.   Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      12a.
     b. Rent      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      12b.
     c.   Amortization of Transactional Costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12c.
     d. Other Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     12d.
 13. IRC ¤ 179 depreciation in excess of New Jersey allowable deduction ~~~~~~~~~~~~~~~~~~~~~                              13.
 14. Other additions (include an explanation/reconciliation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  14.
 15. Total lines 8 through 14                                                   15.          1,853,197.
Deductions
 16. New Jersey depreciation      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               16.          1,853,197.
 17. Recomputed depreciation attributable to distributive share of recovery property from a partnership ~~~~~~             17.
 18. Any income included in the return with respect to property solely as a result of an IRC ¤ 168(f)(8) election ~~~      18.
 19. The lessee/user should enter the amount of depreciation that would have been allowable under the Internal
     Revenue Code on December 31, 1980, had there been no safe harbor lease election ~~~~~~~~~~~~~                         19.
 20. Excess of accumulated ACRS, MACRS, or bonus depreciation over accumulated New Jersey depreciation
     on physical disposal of recovery property (include computations) ~~~~~~~~~~~~~~~~~~~~~~~                              20.
 21. Other deductions (include an explanation/reconciliation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  21.
 22. Total lines 16 through 21    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               22.          1,853,197.
 23. ADJUSTMENT - Subtract line 22 from line 15 and enter the result. (If line 23 is positive, enter at Schedule
     A, Part II, line 9. If line 23 is negative, enter as a positive number at Schedule A, Part II, line 12)       23.
                                           NEW JERSEY DEPRECIATION FOR GAS, ELECTRIC, AND GAS AND ELECTRIC PUBLIC
 Schedule S - Part II
                                           UTILITIES (See Instructions)
  1. Total depreciation claimed in arriving at Schedule A, Part II, line 1 ~~~~~~~~~~~~~~~~~~~~~~                            1.
  2. Federal depreciation for assets placed in service after January 1, 1998 ~~~~~~~~~~~~~~~~~~~~                            2.
  3. Net - Subtract line 2 from line 1   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3.
  4. New Jersey depreciation allowable on the Single Asset Account (Assets placed in service prior to
     January 1, 1998)
     a.   Total adjusted federal depreciable basis as of December 31, 1997      ~~~~~~~~~~~~~~~~~~~~                       4a.
     b. Excess book depreciable basis over federal tax basis as of December 31, 1997 ~~~~~~~~~~~~~~                        4b.
     c.   Less accumulated federal basis for all Single Asset Account property sold, retired or disposed of to date   ~    4c.
     d. Total (line 4a plus line 4b less line 4c) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4d.
  5. New Jersey Depreciation - Divide line 4d by 30 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5.
  6. New Jersey Adjustment
     a.   Depreciation adjustment for assets placed in service prior to Jan. 1, 1998 - Subtract line 5 from line 3 ~~~     6a.
     b. Special bonus depreciation adjustment from Schedule S, Part I, line 23 (see instructions) ~~~~~~~~~                6b.
  7. Total Adjustment - Add lines 6a and 6b and enter the result. (If line 7 is positive, enter at Schedule A,
     Part II, line 9. If line 7 is negative, enter as a positive number at Schedule A, Part II, line 12)           7.
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                              Case 23-10000-BLS                  Doc 1        Filed 01/02/23            Page 203 of 304

                                                                                                                     2021 - CBT-100 - Page 13   1019
 NAME AS SHOWN ON RETURN                                                                                                      FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                 473-054-018/000
                           Computation of the 2021 Post Allocation Net Operating Loss (NOL) and
 Form 500
                       Prior Net Operating Loss Conversion Carryover (PNOL) Deductions (See Instructions)
Does the taxpayer have any Prior Net Operating Loss Conversion Carryovers?   Yes. Begin Form 500 at Section A, line 1. OR                X No. Enter zero
on Schedule A, Part 2, line 23 and continue with Section B.
Section A - Computation of Prior Net Operating Losses (PNOL) Deduction from periods ending PRIOR to July 31, 2019
Complete this section only if the allocated entire net income/(loss) before net operating loss deductions and dividend exclusion on Schedule A, Part
II, line 22 is positive (income).
 1. Prior Net Operating Loss Conversion Carryover (PNOL) - Enter the total of Worksheet 500-P, Part II,
     column 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               1.
 2. Enter the portion of line 1 previously deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2.
 3. Enter the portion of line 1 that expired ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3.
 4. Enter any discharge of indebtedness excluded from federal taxable income in the current tax period
     pursuant to subparagraph (A), (B), or (C) of paragraph (1) of subsection (a) of IRC ¤ 108*     ~~~~~~~~~~~                4.
 5. PNOL available in the current tax year - Subtract lines 2, 3, and 4 from line 1 (if zero or less, enter zero)   ~~~~       5.
 6. Enter the allocated net income from Schedule A, Part II, line 22                                                           6.
 7. Current tax year's PNOL deduction - Enter the lesser of line 5 or line 6 here and on Schedule A,
    Part II, line 23                                                           7.
* If the allocated discharge of indebtedness exceeds the amount of PNOL that is available and the taxpayer has post allocation net operating loss
  carryover in Form 500 Section B, carry the remaining balance to line 5 of Section B.
Section B - Post Allocation Net Operating Losses (NOLs) For Tax Years Ending ON AND AFTER July 31, 2019
 Check the box next to each period if the unused, unexpired, post allocation NOL carryovers are from a tax period in which the taxpayer was a
 taxable member on a New Jersey combined return. Otherwise, leave the box blank.
 1. Allocated Net Operating Loss Carryover - See instructions.
     a. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1a.
     b. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1b.
     c. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1c.
     d. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1d.
     e. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1e.
     f. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1f.
     g. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1g.
     h. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1h.
     i. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1i.
     j. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1j.
 2. Total Post Allocation Net Operating Losses (NOLs) - Add lines 1a through 1j        ~~~~~~~~~~~~~~~~~                       2.
 3. Portion of line 2 previously deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                3.
 4. Portion of line 2 that expired (after 20 privilege periods) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4.
 5. Enter any discharge of indebtedness excluded from federal taxable income in the current tax period
     pursuant to subparagraph (A), (B), or (C) of paragraph (1) of subsection (a) of IRC ¤ 108*     ~~~~~~~~~~~                5.
 6. NOLs available for current tax year - Subtract lines 3, 4, and 5 from line 2 ~~~~~~~~~~~~~~~~~~~                           6.
 7. Enter Allocated Entire Net Income Before Post Allocation Net Operating Loss Deduction from
     Schedule A, Part II, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7.
 8. Current tax year's NOL deduction - Enter the lesser of line 6 or line 7 here and on Schedule A,
    Part II, line 25                                                           8.
* If the taxpayer has any allocated discharge of indebtedness that was not used in Form 500 Section A, enter the balance.




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                             Case 23-10000-BLS                   Doc 1         Filed 01/02/23            Page 204 of 304

                                                                                                                       2021 - CBT-100 - Page 14       1019
 NAME AS SHOWN ON RETURN                                                                                                          FEDERAL ID NUMBER

TENTRR, INC.                                                                                                                     473-054-018/000
WORKSHEET                                                   NEW JERSEY CORPORATION BUSINESS TAX
500-P                                                 Prior Net Operating Loss Conversion Worksheet
                                                  Use this worksheet to calculate the converted prior net operating losses for use
                                                         for tax years ending on and after July 31, 2019. (See Instructions)
NOTE:     This is used to calculate your converted prior net operating losses from pre-allocated net operating loss carryovers to post-allocated net
          operating loss carryovers for the last tax periods ending before July 31, 2019. Use the allocation factor calculated on Schedule J in the last
          tax period ending prior to July 31, 2019, for Part I, line 1. This is the taxpayer's base year allocation factor for the last tax period ending before
          July 31, 2019, pursuant to N.J.S.A. 54:10A-4(u). Submit a copy of this worksheet to substantiate calculations and to determine usable
          amounts for future years. If more space is needed, enclose a rider listing the information.

Part I


 1. Allocation Factor For The Last Tax Period Ending Prior to July 31, 2019 (from Schedule J)                                         1.000000
Part II
                      Column 1                                             Column 2                                              Column 3
                                                                                                                      Converted Prior Net Operating
                                                                  Prior Net Operating Losses                              Loss Carryover Multiply
                  Tax Period Ending                                    (see instructions)                       line I, Part I by amount in column 2, Part II


 2.


 3.


 4.


 5.


 6.


 7.


 8.


 9.


10.


11.


12.


13.


14.


15.


16.


17.


18.


19.


20.
166412 11-15-21                                            Enclose a Copy with Tax Return
                                     Case 23-10000-BLS                  Doc 1     Filed 01/02/23         Page 205 of 304

       CBT-160-A                                         Underpayment of Estimated NJ Corporation Business Tax                                              1019A
  NJ Division of Taxation                                      For Taxpayers With Gross Receipts of Less Than $50 Million
          (11-21)                                           Submit with your tax return (Form CBT-100, CBT-100S, or CBT-100U)
 Name as Shown on Return                                                                 Federal ID Number                      Unitary ID Number, if applicable

TENTRR, INC.                                                                              473-054-018/000                       NU
 Part I How to Calculate Your Underpayment

                  Note: If you meet any of the exceptions that eliminate the underpayment charge for any quarter, complete Part II.


 1. Amount of 2021 tax - See instructions for line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   500.
 2. 90% of line 1 - If you were qualified and elected to make a single payment in lieu of paying
      installments of estimated tax, enter zero (see instructions)            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                450.
 3. Prior year's tax - Enter the amount from line 6, page 1 of the 2020 CBT-100 or line 4,
      page 1 of the 2020 CBT-100S, or line 5, page 1 of the 2020 CBT-100U ~~~~~~~~~~~~~~~~~~~~~~~


 4. Enter the lesser of lines 2 or 3                                                                            450.
                                                (a)          (b)          (c)                                                                      (d)
 5. Enter in columns (a) through (d) the
    installment dates that correspond to the
    15th day of the fourth, sixth, ninth, and
    12th months of your tax year (see inst)                  04/15/2021             06/15/2021               09/15/2021                   12/15/2021

 6.   Enter 25% of line 4 in columns (a) through (d)   ~~                  112.                 113.                          112.                         113.

 7. (a) Amount paid or credited for each period
    (b) Overpayment of previous installment
        (enter any overpayment shown on line 9
        that is more than the total of all prior
        underpayments as a credit against the
        next installment) ~~~~~~~~~~~

 8. Add lines 7a and 7b ~~~~~~~~~
 9. Underpayment (subtract line 8 from line 6) or
      overpayment (subtract line 6 from line 8)                                    REFER TO STATEMENT
 Part II          Exceptions (See Instructions)
 10. Total amount paid or credited from the begin-
     ning of the tax year through the installment
     dates that correspond to the 15th day of the
     fourth, sixth, ninth, and 12th months of your
     tax year ~~~~~~~~~~~~~~~
 11. Exception 1 - Tax based on the facts shown                  25% of tax            50% of tax                 75% of tax                 100% of tax
     on the prior year's return but using current
     year's rates. See instructions regarding
     periods of less than one year ~~~~~~
                                                                22.5% of tax           45% of tax                67.5% of tax                  90% of tax


 12. Exception 2 - Tax based on annualized tax ~
 Part III         Installment Interest Due (See Instructions)

 13. Amount of underpayment from line 9 ~


 14. Enter same installment dates used above at line 5
 15. Enter the date of payment or the 15th day of
      the fourth month after the close of the tax
      year, whichever is earlier ~~~~~~~~
 16. Number of months from the date on line 14
      to the date on line 15. (A part of a month is
      deemed to be a full month.) ~~~~~~~


 17. Interest ~~~~~~~~~~~~~~~
 18. Installment interest due - Add columns (a), (b), (c), and (d) of line 17. Enter the total here and on page 1, line 12,
      of Form CBT-100, page 1, line 12, of CBT-100S, or page 1, line 14, of CBT-100U           SEE STATEMENT 6
                                                                                                                                           19.
166661
12-01-21
               Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 206 of 304
TENTRR, INC.                                                                    XX-XXXXXXX
}}}}}}}}}}}}                                                                    }}}}}}}}}}

NJ CBT-100                 PENALTY AND INTEREST SUMMARY                        STATEMENT 1


LATE PAYMENT PENALTY
LATE FILING PENALTY
LATE PAYMENT INTEREST
UNDERPAYMENT PENALTY                                                                     19

TOTAL PENALTIES AND INTEREST INCLUDED IN RETURN                                          19




                                                                              STATEMENT(S) 1
                Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 207 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NJ CBT-100                    OTHER FEDERAL INCOME               STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
MISCELLANEOUS                                                                          5,821.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE A, LINE 10                                                           5,821.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NJ CBT-100                  OTHER FEDERAL DEDUCTIONS             STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
AMORTIZATION                                                                         244,034.
AUTO AND TRUCK EXPENSE                                                                15,338.
BANK CHARGES                                                                              789.
CARTING                                                                               10,214.
CONFERENCES AND SEMINARS                                                              13,547.
CONSULTING SERVICES                                                                  549,755.
DUES & SUBSCRIPTIONS                                                                   5,854.
EQUIPMENT RENTAL                                                                     696,134.
INSURANCE                                                                            213,099.
IT SOFTWARE & SERVICES                                                               196,434.
LEGAL AND PROFESSIONAL                                                               237,561.
LICENSES AND PERMITS                                                                   8,744.
MEALS NOT SUBJECT TO LIMITATION                                                       30,028.
MERCHANT ACCOUNT FEES                                                                  1,103.
MOVING EXPENSES                                                                       12,971.
OFFICE EXPENSES                                                                        7,577.
PAYROLL SERVICES FEE                                                                  46,464.
POSTAGE & DELIVERY                                                                        936.
SALARIES - PEO                                                                     2,372,606.
TELEPHONE EXPENSE                                                                     23,147.
TEST TRANSACTIONS                                                                      1,133.
TRAVEL                                                                                71,391.
UTILITIES                                                                              8,901.
WEB/DOMAIN HOSTING AND MAINT                                                          55,520.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE A, LINE 26                                                       4,823,280.
                                                                               ~~~~~~~~~~~~~~




                                                                         STATEMENT(S) 2, 3
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NJ CBT-100              COST OF GOODS SOLD - OTHER COSTS         STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                      AMOUNT
}}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
CAMPKEEPER PAYOUTS                                                               1,867,250.
MERCANTILE                                                                          36,483.
SHIPPING LABELS                                                                      4,367.
SITE BOOKING FEES                                                                  164,932.
STATE PARK PAYOUTS                                                                 138,057.
TRANSACTION FEES                                                                   128,747.
                                                                             }}}}}}}}}}}}}}
TOTAL TO SCHEDULE A-2, LINE 5                                                    2,339,836.
                                                                             ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE F             CORPORATE OFFICERS - INFORMATION          STATEMENT 5
                               AND COMPENSATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                   DATES EMPLOYED   PERCENT STOCK             AMOUNT OF
NAME, ADDRESS, TITLE, SSN           FROM      TO    COMMON   PREF            COMPENSATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}     }}}}}}}}}}}}}}}}} }}}}}} }}}}}}            }}}}}}}}}}}}

ANAND SUBRAMANIAN
411 W 39TH ST 4TH FL, NEW
YORK, NY 10018
PRESIDENT         XXX-XX-XXXX     01/01/21 12/31/21        .85%     .00%         490,555.
                                                                             }}}}}}}}}}}}
TOTAL TO SCHEDULE F                                                              490,555.
                                                                             ~~~~~~~~~~~~




                                                                       STATEMENT(S) 4, 5
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM CBT-160           COMPUTATION OF UNDERPAYMENT PENALTY       STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
Q
T      EVENT     REMAINING          PERIOD OF       MONS INTEREST AMOUNT OF
R   AMOUNT TYPE UNDERPAYMENT       UNDERPAYMENT             RATE     PENALTY
- }}}}}}}}}}}}}} }}}}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}} }}}}}}}}} }}}}}}}}}}}
A
         112. Q         112. 04/15/2021 04/15/2022 12        6.25%           7.

B
            113.   Q            113.   06/15/2021 04/15/2022       10        6.25%            6.

C
            112.   Q            112.   09/15/2021 04/15/2022         7       6.25%            4.

D
            113.   Q            113.   12/15/2021 04/15/2022         4       6.25%            2.
                                                                                     }}}}}}}}}}}
    TOTAL TO FORM CBT-160, LINE 18                                                           19.
                                                                                     ~~~~~~~~~~~
      EVENT TYPE: Q    =   AMOUNT UNDERPAID AT START OF QUARTER
                  P    =   PAYMENT OR WITHHOLDING
                  R    =   INTEREST RATE CHANGE
                  L    =   SWITCH TO OR FROM A LEAP YEAR




                                                                                    STATEMENT(S) 6
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                 2021 TAX RETURN FILING INSTRUCTIONS
                                  NEW YORK FORM CT-3

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                     2,419
            LESS: PAYMENTS AND CREDITS      $                     1,500
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                        78
            BALANCE DUE                     $                       997

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE NYSDTF, PLEASE SIGN, DATE AND RETURN
            FORM TR-579-CT TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE
            NYSDTF. DO NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:


            YOUR BALANCE DUE OF $997 WILL BE AUTOMATICALLY WITHDRAWN FROM THE
            BANK ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE
            FORM CT-3 BALANCE DUE. REFER TO FORM CT-3 ON THE DIRECT
            DEPOSIT/DEBIT REPORT FOR COMPLETE ACCOUNT INFORMATION.
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               2022 ESTIMATED TAX FILING INSTRUCTIONS
                                 NEW YORK FORM CT-400

                              FOR THE YEAR ENDING
                                   DECEMBER 31, 2022

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


AMOUNT OF TAX:

            TOTAL ESTIMATED TAX                      $                  2,670
            LESS CREDIT FROM PRIOR YEAR              $                      0
            LESS AMOUNT ALREADY PAID ON 2022         $                      0
            ESTIMATE
            BALANCE DUE                              $                  2,670

            PAYABLE IN FULL OR IN INSTALLMENTS AS FOLLOWS:

               VOUCHER        AMOUNT              DUE DATE
                 NO. 1    $                  0    MARCH 15, 2022
                 NO. 2    $                  0    JUNE 15, 2022
                 NO. 3    $                  0    SEPTEMBER 15, 2022
                 NO. 4    $              2,670    DECEMBER 15, 2022

MAIL CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL VOUCHER AND CHECK (IF APPLICABLE) TO:

            PAYMENTS MUST BE FILED AND PAID ELECTRONICALLY VIA THE NEW YORK
            STATE CORPORATION TAX WEBSITE AT:
            HTTPS://WWW.TAX.NY.GOV/ONLINE/


SPECIAL INSTRUCTIONS:
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                 2021 TAX RETURN FILING INSTRUCTIONS
                                 NEW YORK FORM CT-3M

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                       243
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                        10
            BALANCE DUE                     $                       253

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE NYSDTF, PLEASE SIGN, DATE AND RETURN
            FORM TR-579-CT TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE
            NYSDTF. DO NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:

            YOUR BALANCE DUE OF $253 WILL BE AUTOMATICALLY WITHDRAWN FROM THE
            ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE FORM CT-
            3M BALANCE DUE. REFER TO FORM CT-3M ON THE DIRECT DEPOSIT/DEBIT
            REPORT FOR COMPLETE ACCOUNT INFORMATION.
                                 Case 23-10000-BLS                     Doc 1           Filed 01/02/23                  Page 213 of 304
                                      Department of Taxation and Finance

                                      Estimated Tax for Corporations                                                                                                CT-400

Filing made easy: File and pay electronically through Online Services at www.tax.ny.gov.
See Form CT-400-I, Instructions for Form CT-400, for assistance.
    Employer identification number                                     File no.       Return type (required)       Tax sub type Tax year: beginning (mm-yy)                   ending (mm-yy)



b                                                                  b              b                            b                            b                             b
    XX-XXXXXXX                                                          AA3               CT3                        23                              01-22                     12-22

 Business telephone number            State or country of incorporation                              Date of incorporation                           Installment due date

    646-230-1040                        DE                                                                     02-03-15                              12-15-22
                                                                                                                                                     Foreign corporations: date began
 Legal name of corporation                                                                                                                           business in NYS

    TENTRR, INC.                                                                                                                                     02-03-15

 Street address or PO box                                                                                                                            For office use only

    25 W. 39TH STREET, 7TH FLOOR

 City                                                                                       State          ZIP code

    NEW YORK                                                                                  NY               10018


                                                                                                                                                              Payment enclosed


                                                                                                                                   bA
    A. Make payable to: New York State Corporation Tax
        Enclose your payment. (Detach all check stubs; see instructions for details.)                                                                                            2,670.

 Installment payment amount


1 Tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                                        b       1                                2,420.

2 MTA surcharge ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                                        b       2                                    250.

 Declaration of estimated tax


3 Tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                                        b       3                                2,420.

4 MTA surcharge ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                                        b       4                                    250.

Third - party                                 Designee's name (print)                                                                                    Designee's name
 designee Yes X                  No            ALAN J. COHEN                                                                                              631-629-4344
         (see         Designee's e-mail address
    instructions)       ALAN@ZERAHCO.COM                                                                                                                            PIN        22752
Certification: I certify that this form and any attachments are to the best of my knowledge and belief true, correct, and complete.
           Printed name of authorized person                      Signature of authorized person                                Official title
Authorized ANAND SUBRAMANIAN                                                                                                        PRESIDENT
 person    E-mail address of authorized person                                                                                  Telephone number                              Date
               ANAND@TENTRR.COM                                                                                                646-230-1040                                   10-11-22
               Firm's name (or yours if self-employed)                                                                Firm's EIN                                Preparer's PTIN or SSN
  Paid   GUTTERSON & COHEN TAX SPECIALIS                                             XX-XXXXXXX     P00185030
preparer
         Signature of individual preparing this return Address                  City            State ZIP code
  use
  only                                                 445     BROADHOLLOW ROAD MELVILLE        NY    11747
(see instr.) E-mail address of individual preparing this return                                                      Preparer's NYTPRIN             or       Excl. code Date
               ALAN@ZERAHCO.COM                                                                                                                             03            10-11-22
See instructions for where to file.

473054018 AA 3 1222 23 00000000000267000

                                                                                                                                                         168771
                                                                                                                                                         05-02-22
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                     Department of Taxation and Finance                                                                                                           188021 09-20-21

                     New York State E-File Authorization for Tax Year 2021                                                                        TR-579-CT
                                                                                                                                                         (8/21)
                     For Certain Corporation Tax Returns and Estimated Tax
                     Payments for Corporations
                     Electronic return originator (ERO)/paid preparer: Do not mail this form to the Tax Department. Keep it for your records.
 Legal name of corporation TENTRR,                 INC.

Return type (mark an X for all that apply):         CT-3     X         CT-3-A               CT-3-M      X        CT-3-S                 CT-13                CT-33
CT-33-A               CT-33-C              CT-33-M                CT-33-NL                CT-183               CT-183-M                CT-184               CT-184-M
CT-186-E               CT-300               CT-400

Purpose                                                                                     EROs/paid preparers must complete Part B prior to transmitting
Form TR-579-CT must be completed to authorize an ERO to e-file a                            electronically filed corporation tax returns. Both the paid preparer and the
corporation tax return and to transmit bank account information for the                     ERO are required to sign Part B. However, if an individual performs as
electronic funds withdrawal.                                                                both the paid preparer and the ERO, he or she is only required to sign
                                                                                            as the paid preparer. It is not necessary to include the ERO signature in
General instructions                                                                        this case. Note that an electronic signature can be used as described in
Part A must be completed by an officer of the corporation who is                            TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for Taxpayers
                                                                                            Using a Paid Preparer for Electronically Filed Tax Returns. Go to our
authorized to sign the corporation's return before the ERO transmits the
                                                                                            website at www.tax.ny.gov to find this document.
electronically filed Form CT-3, General Business Corporation Franchise
Tax Return; CT-3-A, General Business Corporation Combined Franchise                         Do not mail this form to the Tax Department. EROs/paid preparers must
Tax Return; CT-3-M, General Business Corporation MTA Surcharge                              keep this form for three years and present it to the Tax Department upon
Return; CT-3-S, New York S Corporation Franchise Tax Return; CT-13,                         request.
Unrelated Business Income Tax Return; CT-33, Life Insurance Corporation                     Do not use this form for electronically filed Form CT-5, Request for
Franchise Tax Return; CT-33-A, Life Insurance Corporation Combined                          Six-Month Extension to File (for franchise/business taxes, MTA surcharge,
Franchise Tax Return; CT-33-C, Captive Insurance Company Franchise                          or both); CT-5.3, Request for Six-Month Extension to File (for combined
Tax Return; CT-33-M, Insurance Corporation MTA Surcharge Return;                            franchise tax return, or combined MTA surcharge return, or both);
CT-33-NL, Non-Life Insurance Corporation Franchise Tax Return; CT-183,                      CT-5.4, Request for Six-Month Extension to File New York S Corporation
Transportation and Transmission Corporation Franchise Tax Return on                         Franchise Tax Return ; CT-5.6, Request for Three-Month Extension to File
Capital Stock; CT-183-M, Transportation and Transmission Corporation MTA                    Form CT-186 (for utility corporation franchise tax return, MTA surcharge
Surcharge Return; CT-184, Transportation and Transmission Corporation                       return, or both); CT-5.9, Request for Three-Month Extension to File (for
Franchise Tax Return on Gross Earnings; CT-184-M, Transportation                            certain Article 9 tax returns, MTA surcharge, or both); or CT-5.9-E, Request
and Transmission Corporation MTA Surcharge Return; CT-186-E ,                               for Three-Month Extension to File Form CT-186-E (for telecommunications
Telecommunications Tax Return and Utility Services Tax Return; CT-300,                      tax return and utility services tax return). Instead use Form TR-579.1-CT,
Mandatory First Installment (MFI) of Estimated Tax for Corporations; or                     New York State Authorization for Electronic Funds Withdrawal For Tax Year
CT-400, Estimated Tax for Corporations.                                                     2021 Corporation Tax Extensions .
 Financial institution information (required if electronic payment is authorized)
 1 Amount of authorized debit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1         1,250.
 2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             2 121140399
 3 Financial institution account number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              3 3302551386


 Part A - Declaration of authorized corporate officer for Form CT-3, CT-3-A, CT-3-M, CT-3-S, CT-13, CT-33, CT-33-A,
 CT-33-C, CT-33-M, CT-33-NL, CT-183, CT-183-M, CT-184, CT-184-M, CT-186-E, CT-300, or CT-400
 Under penalty of perjury, I declare that I have examined the information on this 2021 New York State electronic corporate tax return, including any accompanying
 schedules, attachments, and statements, and certify that this electronic return is true, correct, and complete. If this filing includes Form DTF-686,     Tax Shelter
 Reportable Transactions , as an authorized officer of the corporation, I hereby consent to the waiver of the secrecy provisions of Tax Law sections 202, 211.8,
 1467, and 1518 as such provisions relate to the disclosure requirements of Tax Law section 25. The ERO has my consent to send this 2021 New York State
 electronic corporate return to New York State through the Internal Revenue Service (IRS). I understand that by executing this Form TR-579-CT, I am authorizing
 the ERO to sign and file this return on behalf of the corporation and agree that the ERO's submission of the corporation's return to the IRS, together with this
 authorization, will serve as the electronic signature for the return and any authorized payment transaction. If I am paying New York State corporation taxes due
 by electronic funds withdrawal, I authorize the New York State Tax Department and its designated financial agents to initiate an electronic funds withdrawal
 from the financial institution account indicated on this 2021 electronic return, and I authorize the financial institution to withdraw the amount from the account.
 As New York does not support International ACH Transactions (IAT), I attest the source for these funds is within the United States. I understand and agree that
 I may revoke this authorization for payment only by contacting the Tax Department no later than two business days prior to the payment date.


 Signature of authorized officer of the corporation               Print your name and title                                                                 Date
                                                                  ANAND SUBRAMANIAN, PRESIDENT

 Part B - Declaration of ERO and paid preparer
 Under penalty of perjury, I declare that the information contained in this 2021 New York State electronic corporate tax return is the information furnished to
 me by the corporation. If the corporation furnished me a completed paper 2021 New York State corporate tax return signed by a paid preparer, I declare that
 the information contained in the corporation's 2021 New York State electronic corporate tax return is identical to that contained in the paper return. If I am
 the paid preparer, under penalty of perjury I declare that I have examined this 2021 New York State electronic corporate tax return, and, to the best of my
 knowledge and belief, the return is true, correct, and complete. I have based this declaration on all information available to me.


 ERO's signature                                                              Print name                                                                    Date


 Paid preparer's signature                                                    Print name                                                                    Date
                                                                              ALAN J. COHEN                                                                 10-11-22

                                                                                                                                                                           1019
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                                                              Department of Taxation and Finance
                                                              General Business Corporation                                                                                                           CT-3
                                                              Franchise Tax Return
                                                              Tax Law - Article 9-A


Caution: This form must be used only for tax periods beginning on or after January 1, 2021. If you use it for any prior periods, the
return will not be processed and will not be considered timely filed. As a result, penalties and interest may be incurred.



                         b                                          b                                                            b                                                    b 12-31-21
See instructions, Form CT-3-I, before completing return.                                                            All filers must enter tax period:
 Final return                             Amended return                                                            beginning          01-01-21                         ending


b                                                       b
     Employer identification number (EIN)                    File number              Business telephone number
                                                                                                                                      If you claim an overpayment,
            XX-XXXXXXX                                        AA3                     646-230-1040                                    mark an X in the box 
     Legal name of corporation                                                                                               Trade name / DBA

     TENTRR, INC.
     Mailing address                                                                                                         State or country of incorporation

     Care of (c/o) ANAND SUBRAMANIAN                                                                                         DE
     Number and street or PO box                                                                                             Date of incorporation                    Foreign corporations: date began
                                                                                                                                                                      business in NYS
     25 W. 39TH STREET, 7TH FLOOR                                                                                            02-03-15                                      02-03-15
     City                                                          U.S. state/Canadian province   ZIP/Postal code            Country (if not United States)
                                                                                                                                                                      For office use only
     NEW YORK                                                                            NY         10018


                                                                                                                           b 454110
     Principal business activity in NYS                                                                                      NAICS business code number
                                                                                                                             (from NYS Pub 910)
     CAMPING ONLINE MARKETPL
     If you need to update your address or phone information for corporation tax, or other tax types, you can do so
     online. See Business information in Form CT-1.




      /                                                                                                                                                       b
 A. Pay amount shown on Part 2, line 19c. Make payable to: New York State Corporation Tax                                                                                       Payment enclosed
      Attach your payment here. (Detach all check stubs; see instructions for details.)                                                                           A                                   997.


                                                                                                                                                                                            bX            b
 B. Are you subject to the metropolitan transportation business tax (MTA surcharge)? (see instructions;
      mark an X in the appropriate box) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            B       Yes              No
 C. If you are disclaiming tax liability in New York State based on Public Law 86-272, mark an X
      in the box (see instructions)                                                                                                               ¥ C
 D. Do you have an interest in any partnerships? (mark an X in the appropriate box) ~~~~~~~~~~~~~~~~~~ D Yes ¥                                                                                       No ¥ X
            If Yes, enter the name(s) and EIN(s) on Form CT-60 and attach it to your return.
                                                             Designee's name (print)                                                                                       Designee's phone number
 Third - party                        X                       ALAN J. COHEN                                                                                             631-629-4344
                             Yes                No
      designee
                             Designee's email address                                                                                                                                       PIN
    (see instructions)
                               ALAN@ZERAHCO.COM                                                                                                                                               22752
Certification: I certify that this return and any attachments are to the best of my knowledge and belief true, correct, and complete.
            Printed name of authorized person                Signature of authorized person                   Official title
Authorized         ANAND SUBRAMANIAN                                                                                                               PRESIDENT
 person            Email address of authorized person                                                                                              Telephone number                           Date
                   ANAND@TENTRR.COM                                                                                                                646-230-1040                               10-11-22


                                                                                                                                 b XX-XXXXXXX
                                                                                                                                      Firm's EIN                                Preparer's PTIN or SSN
                   Firm's name (or yours if self-employed)
   Paid            GUTTERSON & COHEN TAX SPECIALIS                                                                                                                                  P00185030
 preparer
   use             Signature of individual preparing this return            Address                                            City                                         State         ZIP code
   only                                                                     445 BROADHOLLOW ROAD MELVILLE                                                                  NY             11747


                                                                                                                                 b                                     b
(see instr.)       Email address of individual preparing this return                                                                  Preparer's NYTPRIN         or         Excl. code       Date
                   ALAN@ZERAHCO.COM                                                                                                                                        03               10-11-22
See instructions for where to file.

Content of Form CT-3
 Part 1 - General corporate information                                                                    Part 5 - Computation of investment capital for the current tax year
 Part 2 - Computation of balance due or overpayment                                                        Part 6 - Computation of business apportionment factor
 Part 3 - Computation of tax on business income base                                                       Part 7 - Summary of tax credits claimed
 Part 4 - Computation of tax on capital base




                                                                                  168751 11-08-21
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  TENTRR, INC.                                                                                                        XX-XXXXXXX
Page 2 of 8 CT-3 (2021)

Part 1 - General corporate information
Section A - Qualification for preferential tax rates -
If you are a corporation as identified in this section and qualify for preferential tax rates, mark an X in the boxes that apply
to you (see instructions).
  1 A qualified emerging technology company (QETC) eligible for the lower business income base tax rate, 0% capital
      base tax rate, and lower fixed dollar minimum tax amounts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              ¥        1
  2 A qualified New York manufacturer based on the principally engaged test eligible for the 0% business income
      base tax rate and lower fixed dollar minimum tax amounts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              ¥        2
  3 A qualified New York manufacturer based on the principally engaged test eligible for the 0% capital base
      tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     ¥        3
  4 A qualified New York manufacturer based on the significant employment and property test eligible for the 0% business
      income base tax rate, 0% capital base tax rate, and lower fixed dollar minimum tax amounts ~~~~~~~~~~~~~~~~~                             ¥        4
  5 A cooperative housing corporation eligible for the 0% capital base tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    ¥        5
  6 A small business taxpayer eligible for the 0% capital base tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        ¥        6
        If you marked this box, complete line 6a below and Section B, line 1.
    6a Total capital contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 6a
  7 A qualified entity of a New York State innovation hot spot that operates solely within such New York State innovation
      hot spot, and you have elected to be subject only to the fixed dollar minimum tax base ~~~~~~~~~~~~~~~~~~~                               ¥        7


Section B - New York State information (see instructions)
  1 Number of New York State employees ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    ¥ 1
  2 Wages paid to New York State employees ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 2                                       1,557,540.
  3 Number of business establishments in New York State ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 3
  4 If you have an interest in, or have rented, real property in New York State, mark an X in the box ~~~~~~~~~~~~~~~~~ ¥ 4
  5 If you are claiming an exception to the related member expense addback under Tax Law ¤208.9(o)(2)(B),
       mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                ¥       5
      5a If you marked the line 5 box, use line 5a to report the applicable exception                              Number                  Amount
            number (1-4) and the amount of royalty payments ~~~~~~~~~~~~~~~~~                        5a    ¥        ¥
  6 If you are not protected by Public Law 86-272 and are subject to tax solely as a result of deriving receipts in
       New York State, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                              6


Section C - Filing information
  1 Federal return filed - you must mark an X in one box and attach a complete copy of your federal return


                                                                                    b                                                               b
                                                       1120-REIT
      1120 ¥     X            1120 consolidated      ¥ or 1120-RIC                 1120S ¥                1120F ¥             1120H
  2 Amended return - If you marked the amended return box on page 1, then for any item(s) that apply, mark an X in the box
     and attach documentation:                                                  Failure to meet investment capital holding period   ¥
      Final federal                      Date of determination      NOL                      Capital loss
      determination       ¥          ¥                              carryback   ¥            carryback ~ ¥               1139 ¥            1120X ¥


      2a Enter the tax due amount from your most recently filed New York State return for this tax period ~~ ¥              2a


  3 Required attachments - For all forms, other than tax credit claim forms, that are attached to this return, mark an X in the applicable box(es)
    CT-3.1 ¥        CT-3.2 ¥           CT-3.3 ¥           CT-3.4 ¥ X          CT-60 ¥          CT-225 ¥ X         CT-227 ¥


      Other (identify):                   ¥
  4 If you are claiming tax credits, enter the number of tax credit forms attached to this return. Where multiple forms
       are filed for the same credit, count each form filed ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 4
  5 If you filed federal Form 1120F and you have effectively connected income (ECI), mark an X in the box ~~~~~~~~~~~~~ ¥                               5
  6 Were you required to report any nonqualified deferred compensation, as required by Internal Revenue
     Code (IRC) ¤457A, on your 2021 federal return? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~                                    Yes ¥            No ¥    X
  7 If you are a foreign corporation computing your tax taking into account only your distributive shares from multiple limited
       partnerships, mark an X in the box and file Form CT-60 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥




                                                                 168752
                                                                 11-08-21
                         Case 23-10000-BLS                     Doc 1   Filed 01/02/23          Page 217 of 304
 TENTRR, INC.                                                                                       XX-XXXXXXX
                                                                                                                       CT-3 (2021) Page 3 of 8
Part 2 - Computation of balance due or overpayment
Largest of three tax bases, minus credits
 1a Business income base tax (from Part 3, line 20) ~~~~~~~~~~ ¥              1a                      0.
 1b Capital base tax (from Part 4, line 15; see instructions) ~~~~~~~ ¥       1b                  2,419.
                                         New York receipts

 1c Fixed dollar minimum tax (see instr) ¥             2,137,960.                ¥ 1c                   1,500.
  2 Tax due   (enter the amount  from  line 1a, 1b, or 1c, whichever is largest; see instructions) ~~~~~~~~~ ¥    2                2,419.


                                                                                                             b
  3 Tax credits used (from Part 7, line 2; see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                          3
  4 Tax due after credits (subtract line 3 from line 2; if line 3 is more than line 2, enter 0)         4                2,419.
Penalties and interest
  5 Estimated tax penalty (see instructions; if Form CT-222 is
        attached, mark an X in the box) ~~~~~~~~~~~~~ ¥           X  ¥ 5           78.
  6 Interest on late payment  (see instructions) ~~~~~~~~~~~~~ ¥ 6
  7 Late filing and late payment penalties (see instructions) ~~~~~~ ¥ 7
  8 Total penalties and interest (add lines 5, 6, and 7)  ¥                            8                     78.
Voluntary gifts/contributions
   9 Total voluntary gifts/contributions (from Form CT-227, Part 2, line 1)                     9
 10 Total amount due (add lines 4, 8, and 9)                                 ¥   10                2,497.
Prepayments
 11 Mandatory first installment from Form CT-300 (see instructions) ~~~       11
 12 Second installment (from Form CT-400) ~~~~~~~~~~~~~~~                     12
 13 Third installment (from Form CT-400) ~~~~~~~~~~~~~~~~                     13
 14 Fourth installment (from Form CT-400) ~~~~~~~~~~~~~~~                     14
 15 Payment with extension request (from Form CT-5, line 5)       15         1,500.
                                                       Period
 16 Overpayment credited from prior years (see instr.)                  16
                                                       Period
 17 Overpayment credited from CT-3-M                                    17
 18 Total prepayments (add lines 11 through 17; see instructions)  ¥                        18                1,500.
Payment due or overpayment to be credited/refunded (see instructions)
19a Underpayment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥ 19a                    997.


                                                                                                             b
19b Additional amount for 2022 MFI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ¥ 19b
19c Balance due ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    19c                  997.
20a Excess prepayments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥ 20a
20b Amount previously credited to 2022 MFI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   ¥ 20b
                                                                                                                                          0.

                                                                                                             b
20c Overpayment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥ 20c
 21 Amount of overpayment to be credited to next period ~~~~~~~~~~~~~~~~~~~~~~~~~                                21
 22 Balance of overpayment available (subtract line 21 from line 20c) ~~~~~~~~~~~~~~~~~~~~                   ¥   22


                                                                                                             b
 23 Amount of overpayment to be credited to Form CT-3-M ~~~~~~~~~~~~~~~~~~~~~~~~                             ¥   23


                                                                          b
 24 Balance of overpayment to be refunded (subtract line 23 from line 22)                       24


                                                                          b
 25 Unused tax credits to be refunded ~~~~~~~~~~~~~~~~                        25
 26 Unused tax credits applied to next period                    26




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  TENTRR, INC.                                                                                            XX-XXXXXXX

Part 3 - Computation of tax on business income base
   1 Federal taxable income (FTI) before net operating loss (NOL) and special deductions (see instructions) ~ ¥         1          -6,113,971.
   2 Additions to FTI (from Form CT-225, line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                       2               2,475.
   3 Add lines 1 and 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                    3          -6,111,496.
   4 Subtractions from FTI (from Form CT-225, line 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                    4
   5 Subtract line 4 from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                              5          -6,111,496.
   6 Subtraction modification for qualified banks (from Form CT-3.2, Schedule A, line 1; see instructions) ~~ ¥         6
   7 Entire net income (ENI) (subtract line 6 from line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                7          -6,111,496.
   8 Investment and other exempt income (from Form CT-3.1, Schedule D, line 1) ~~~~~~~~~~~~~~ ¥                         8
  9 Subtract line 8 from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥     9          -6,111,496.
 10 Excess interest deductions attributable to investment income, investment capital, and other
      exempt income (from Form CT-3.1, Schedule D, line 2) ~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    10
 11 Business income (add lines 9 and 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        ¥    11          -6,111,496.
 12 Addback of income previously reported as investment income (from Form CT-3.1, Schedule F,
     line 6; if zero, enter 0; see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  ¥    12
 13 Business income after addback (add lines 11 and 12) ~~~~~~~~~~~~~~~~~~~~~~~~~                                 ¥    13          -6,111,496.
 14 Business apportionment factor (from Part 6, line 56) ~~~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    14            0.440625
 15 Apportioned business income after addback (multiply line 13 by line 14) ~~~~~~~~~~~~~~~~                      ¥    15          -2,692,878.
 16 Prior net operating loss conversion subtraction (from Form CT-3.3, Schedule C, line 4) ~~~~~~~~~              ¥    16
 17 Subtract line 16 from line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥    17          -2,692,878.
 18 NOL deduction (from Form CT-3.4, line 6) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ¥    18
 19 Business income base (subtract line 18 from line 17) ~~~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    19          -2,692,878.
 20 Business income base tax (multiply line 19 by the appropriate business income tax rate from the tax
     rates schedule in Form CT-3-I; enter here and on Part 2, line 1a; see instructions)               ¥    20                   0.

Note: If you make any entry on line 2, 4, 6, 8, 10, 12, 16, or 18, you must complete and file the appropriate attachment form, or any tax
benefit claimed may be disallowed, or there may be a delay in receiving such benefit. In addition, all amounts entered on these lines
must be entered as positive numbers.




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 TENTRR, INC.                                                                                                       XX-XXXXXXX
Part 4 - Computation of tax on capital base (see instructions)
                                                                           A                                   B                                    C
                                                                    Beginning of year                      End of year                         Average value

  1 Total assets from federal return ~~~~ ¥               1             5,227,792. ¥                       12,332,543. ¥                          8,780,168.
  2 Real property and marketable securities                                                                                             ¥
         included on line 1 ~~~~~~~~~                     2
  3 Subtract line 2 from line 1 ~~~~~~~                   3             5,227,792.                         12,332,543. ¥                          8,780,168.
  4 Real property and marketable securities                                                                                             ¥
       at fair market value ~~~~~~~~                   4
  5 Adjusted total assets (add lines 3 and 4)          5            5,227,792.       12,332,543. ¥                                                8,780,168.
  6 Total liabilities ~~~~~~~~~~~~                     6            4,265,828.        7,437,500. ¥                                                5,851,664.
  7 Total net assets  (subtract line 6, column C, from line 5, column C) ~~~~~~~~~~~~~~~~~~~ ¥  7                                                 2,928,504.
  8 Investment capital (from Part 5, line 19; if zero or less, enter 0) ~~~~~~~~~~~~~~~~~~~~~ ¥                                         8
  9 Business capital (subtract line 8 from line 7) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                     9         2,928,504.
 10 Addback of capital previously reported as investment capital (from Part 5, line 20, column C; if zero or less, enter 0) ¥       10
 11 Total business capital (add lines 9 and 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥    11            2,928,504.
 12 Business apportionment factor (from Part 6, line 56) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            ¥    12             0.440625
 13 Apportioned business capital (multiply line 11 by line 12)                                         ¥    13            1,290,372.
 14
 15 Capital base tax (multiply line 13 by the appropriate capital base tax rate from the tax rates schedule in
     Form CT-3-I; enter here and on Part 2, line 1b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              ¥    15                    2,419.

Part 5 - Computation of investment capital for the current tax year                                (see instructions)
                                                                            A                                     B                                   C
                                                                       Average fair                  Liabilities attributable to              Net average value
                                                                       market value                     column A amount                     (column A - column B)
 16 Total capital that generates income                                                        ¥                                        ¥
      claimed to not be taxable by New York
        under the U.S. Constitution
        (from Form CT-3.1, Schedule E, line 1)      ¥    16
 17 Total of stocks actually held for more than                                                ¥                                        ¥
      one year (from Form CT-3.1, Schedule E,
      line 2) ~~~~~~~~~~~~~~~~ ¥                         17
 18 Total of stocks presumed held for more                                                     ¥                                        ¥
      than one year (from Form CT-3.1,
      Schedule E, line 3) ~~~~~~~~~                ¥ 18
 19 Total investment capital for the current year (Add column C lines 16, 17, and 18; enter the result here
      and on Part 4, line 8. If zero or less, enter 0. ) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ¥       19


Addback of capital previously reported as investment capital
                                                                            A                                     B                                C
                                                                  Average fair market          Liabilities attributable to column A  Net average value as previously
                                                              value as previously reported       amount as previously reported      reported (column  A - column B)
 20 Total of stocks previously presumed held                                                   ¥                                        ¥
     for more than one year, but did not meet
     the holding period (from Form CT-3.1,
        Schedule F, line 1; enter here and on
        Part 4, line 10)                ¥    20




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 TENTRR, INC.                                                         XX-XXXXXXX
Part 6 - Computation of business apportionment factor (see instructions)
Mark an X in this box only if you have no receipts required to be included in the denominator of the apportionment factor (see instr.)  ¥
                                                                                              A - New York State                B - Everywhere
Section 210-A.2                                                                                                     ¥
  1 Sales of tangible personal property ~~~~~~~~~~~~~~~~~~                      ¥    1          2,132,139.                     4,846,290.
  2 Sales of electricity ~~~~~~~~~~~~~~~~~~~~~~~~~~                             ¥    2                              ¥
  3 Net gains from sales of real property                      ¥    3                              ¥
Section 210-A.3                                                                                                     ¥
  4 Rentals of real and tangible personal property ~~~~~~~~~~~~~                ¥    4
  5 Royalties from patents, copyrights, trademarks, and similar intangible                                          ¥
     personal property ~~~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    5
  6 Sales of rights for certain closed-circuit and cable TV transmissions                                           ¥
     of an event                                   ¥    6
Section 210-A.4                                                                                                     ¥
  7 Sale, licensing, or granting access to digital products            ¥        7
Section 210-A.5(a)(1) - Fixed percentage method for qualified financial instruments (QFIs)
  8 To make this irrevocable election, mark an X in the box (see instructions)  ¥                              8
Section 210-A.5(a)(2) - Mark an X in each box that is applicable (see line 8 instructions)
Section 210-A.5(a)(2)(A)                                                                                            ¥
 9 Interest from loans secured by real property ~~~~~~~~~~~~~~                  ¥    9
 10 Net gains from sales of loans secured by real property              ¥   10                              ¥
 11 Interest from loans not secured by real property (QFI ¥  )             ¥   11                              ¥
12 Net gains from sales of loans not secured by real property (QFI ¥       )    ¥   12                              ¥
Section 210-A.5(a)(2)(B) (QFI ¥  )                                                                                  ¥
 13 Interest from federal debt ~~~~~~~~~~~~~~~~~~~~~~~                          ¥   13
 14
 15 Interest from NYS and its political subdivisions debt ~~~~~~~~~~ ¥              15                              ¥
 16 Net gains from federal, NYS, and NYS political subdivisions debt ~~~ ¥          16                              ¥
 17 Interest from other states and their political subdivisions debt ~~~~~ ¥        17                              ¥
 18 Net gains from other states and their political subdivisions debt ~~~~ ¥        18                              ¥
Section 210-A.5(a)(2)(C) (QFI ¥  )                                                                                  ¥
19 Interest from asset-backed securities and other government agency debt       ¥   19
 20 Net gains from government agency debt or asset-backed securities                                                ¥
     sold through an exchange ~~~~~~~~~~~~~~~~~~~~~                             ¥   20
 21 Net gains from all other asset-backed securities ~~~~~~~~~~~~               ¥   21                              ¥
Section 210-A.5(a)(2)(D) (QFI ¥ )                                                                                   ¥
22 Interest from corporate bonds ~~~~~~~~~~~~~~~~~~~~                           ¥   22
 23 Net gains from corporate bonds sold through broker/dealer or                                                    ¥
     licensed exchange ~~~~~~~~~~~~~~~~~~~~~~~~~                                ¥   23
 24 Net gains from other corporate bonds     ~~~~~~~~~~~~~~~~                   ¥   24                              ¥
Section 210-A.5(a)(2)(E)                                                                                            ¥
25 Net interest from reverse repurchase and securities borrowing agreements ~~~ ¥   25
Section 210-A.5(a)(2)(F)                                                                                            ¥
26 Net interest from federal funds ~~~~~~~~~~~~~~~~~~~~                         ¥   26
Section 210-A.5(a)(2)(I) (QFI ¥ )                                                                                   ¥
27 Net income from sales of physical commodities ~~~~~~~~~~~~                   ¥   27
Section 210-A.5(a)(2)(J) (QFI ¥ )                                                                                   ¥
28 Marked to market net gains ~~~~~~~~~~~~~~~~~~~~~~                            ¥   28
Section 210-A.5(a)(2)(H) (QFI ¥    )                                                                                ¥
        210-A.5(a)(2)(G) (QFI ¥    )
 29 Interest from other financial instruments ~~~~~~~~~~~~~~~                   ¥   29
 30 Net gains and other income from other financial instruments ~~~~~           ¥   30                              ¥




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  TENTRR, INC.                                                                               XX-XXXXXXX

Part 6 - Computation of business apportionment factor (continued)
                                                                                                 A - New York State                B - Everywhere
Section 210-A.5(b)                                                                                                       ¥
 31 Brokerage commissions       ~~~~~~~~~~~~~~~~~~~~~~~                          ¥      31
 32 Margin interest earned on behalf of brokerage accounts ~~~~~~~~ ¥                   32                               ¥
 33 Fees for advisory services for underwriting or management of underwriting ~~~ ¥     33                               ¥
 34 Receipts from primary spread of selling concessions ~~~~~~~~~                ¥      34                               ¥
 35 Receipts from account maintenance fees ~~~~~~~~~~~~~~~                       ¥      35                               ¥
 36 Fees for management or advisory services ~~~~~~~~~~~~~~                      ¥      36                               ¥
 37 Interest from an affiliated corporation                     ¥      37                               ¥
Section 210-A.5(c)                                                                                                       ¥
 38 Interest, fees, and penalties from credit cards ~~~~~~~~~~~~~                ¥      38
 39 Service charges and fees from credit cards ~~~~~~~~~~~~~~                    ¥      39                               ¥
 40 Receipts from merchant discounts ~~~~~~~~~~~~~~~~~~                          ¥      40                               ¥
 41 Receipts from credit card authorizations and settlement processing ~~ ¥             41                               ¥
 42 Other credit card processing receipts  ¥                           42                               ¥
Section 210-A.5(d)                                                                                                       ¥
 43 Receipts from certain services to investment companies        ¥              43
Section 210-A.5-a                                                                                                        ¥
 44 Global intangible low-taxed income                               44                        0.00
Section 210-A.6                                                                                                          ¥
 45 Receipts from railroad and trucking business                    ¥      45
Section 210-A.6-a                                                                                                        ¥
 46 Receipts from the operation of vessels                       ¥      46
Section 210-A.7                                                                                                          ¥
 47 Receipts from air freight forwarding ~~~~~~~~~~~~~~~~~~                      ¥      47
 48 Receipts from other aviation services                       ¥      48                               ¥
Section 210-A.8                                                                                                          ¥
 49 Advertising in newspapers or periodicals ~~~~~~~~~~~~~~~                     ¥      49
 50 Advertising on television or radio ~~~~~~~~~~~~~~~~~~~                       ¥      50                               ¥
 51 Advertising via other means                             ¥      51                               ¥
Section 210-A.9                                                                                                          ¥
 52 Transportation or transmission of gas through pipes                ¥      52
Section 210-A.10                                                                                                         ¥
 53 Receipts from other services/activities not specified              ¥      53                  5,821.                           5,821.
Section 210-A.11                                                                                                         ¥
 54 Discretionary adjustments                              ¥      54
Total receipts                                                                                                           ¥
 55 Add lines 1 through 54 in columns A and B                      ¥      55           2,137,960.                       4,852,111.
Calculation of business apportionment factor
 56 New York State business apportionment factor (divide line 55, column A by line 55, column B and enter the resulting
       decimal here; round to the sixth decimal place after the decimal point; see instructions) ~~~~~~~~~~~~~ ¥               56          .440625


Enter line 56 on Part 3, Computation of tax on business income base, line 14; and on Part 4, Computation of tax on capital base,
line 12.




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 TENTRR, INC.                                                                           XX-XXXXXXX
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Part 7- Summary of tax credits claimed


                                                                                                                                    b
  1 Have you been convicted of an offense, or are you an owner of an entity convicted of an offense, defined in New York State
     Penal Law, Article 200 or 496, or section 195.20? (see Form CT-1; mark an X in one box) ~~~~~~~~~~                1    Yes                No   X

Enter in the appropriate box below the amount of each tax credit used to reduce the tax due shown on Part 2, line 2, and attach the
corresponding properly completed claim form. The amount of credit to enter is computed on each credit form and carried to this section.

CT-37 ~~~ ¥                                       CT-607 ~~~ ¥                                      CT-651 ~~~~ ¥
CT-40 ~~~ ¥                                       CT-611 ~~~ ¥                                      CT-652 ~~~~
                                                                                                           ~~~  ¥
CT-41 ~~~ ¥                                       CT-611.1 ~~ ¥                                     CT-654 ~~~~ ¥
CT-43 ~~~ ¥                                       CT-611.2 ~~ ¥                                     CT-655 ~~~~ ¥
CT-44 ~~~ ¥                                       CT-612    ~~ ¥                                    DTF-621 ~~~ ¥
CT-46 ~~~ ¥                                       CT-613 ~~~ ¥                                      DTF-622 ~~~ ¥
CT-47 ~~~ ¥                                       CT-631 ~~~ ¥                                      DTF-624 ~~~ ¥
CT-236 ~~~ ¥                                      CT-633 ~~~ ¥                                      DTF-630 ~~~ ¥
CT-238 ~~~ ¥                                      CT-634 ~~~ ¥                                      Other credits ~ ¥
CT-239 ~~~ ¥                                      CT-635 ~~~ ¥
CT-241 ~~~ ¥                                      CT-636 ~~~ ¥
CT-242 ~~~ ¥                                      CT-637 ~~~ ¥
CT-246 ~~~ ¥                                      CT-638 ~~~ ¥
CT-248 ~~~ ¥                                      CT-640 ~~~ ¥
CT-249 ~~~ ¥                                      CT-641 ~~~ ¥
CT-250 ~~~ ¥                                      CT-642 ~~~ ¥
CT-261 ~~~ ¥                                      CT-643 ~~~ ¥
CT-501 ~~~ ¥                                      CT-644 ~~~ ¥
CT-601 ~~~ ¥                                      CT-645 ~~~ ¥
CT-602 ~~~ ¥                                      CT-646 ~~~ ¥
CT-603 ~~~ ¥                                      CT-647 ~~~ ¥
CT-604 ~~~ ¥                                      CT-648 ~~~ ¥
CT-605 ~~~ ¥                                      CT-649 ~~~ ¥
CT-606 ~~~ ¥                                      CT-650 ~~~ ¥


  2 Total tax credits claimed above (enter here and on Part 2, line 3; attach appropriate form for each credit
      claimed) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    ¥    2
  3 Total tax credits claimed that are refund eligible (see instructions) ~~~~~~~~~~~~~~~~~~~                    ¥    3


 4a If you claimed the QEZE tax reduction credit and you had a 100% zone allocation factor, mark an X in the box ~~~~~~~~~~ ¥                  4a


 4b If you claimed the tax-free NY area tax elimination credit, and you had a 100% area allocation factor, mark an X
       in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               ¥   4b
 4c If you claimed the tax-free NY area excise tax on telecommunications credit and you had a 100% area allocation
       factor, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      ¥   4c




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                                     Department of Taxation and Finance

                                     Net Operating Loss Deduction (NOLD)                                                          CT-3.4

Legal name of corporation                                                                Employer identification number (EIN)

 TENTRR, INC.                                                                                   XX-XXXXXXX

Attach to Form CT-3 or CT-3-A; see Form CT-3.4-I before completing.


 1   Multiply Form CT-3 or CT-3-A, Part 3, line 17, by your appropriate business income base tax rate
       for the current year from the Tax rates schedule in Form CT-3-I or CT-3-A-I (see instructions) ~~~~~ ¥       1                   0.
 2   Enter the greater of the capital base tax or the fixed dollar minimum tax for the current tax year
        (from Form CT-3 or CT-3-A, Part 2, line 1b or 1c) ~~~~~~~~~~~~~~~~~~~~~~~~~~                           ¥    2               2,419.
 3   Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥    3                   0.
 4   NOLD that is required to be utilized, if available (divide line 3 by the same business income base tax
        rate used for line 1; do not enter less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         ¥    4                   0.
Computation of net operating loss (NOL) to be used (see instructions)
5a   NOL carryforward from prior year's Form CT-3.4 ~~~~~~~~~~            ¥   5a          13,449,907.
5b   NOL carryforwards from new members who entered the group
       during the current tax year ~~~~~~~~~~~~~~~~~~~ ¥ 5b
5c   NOL carryback ~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 5c
5d   Subtotal (add lines 5a, 5b, and 5c)                                     ¥   5d           13,449,907.
5e   NOL carryforwards that have expired ~~~~~~~~~~~~~~~                  ¥   5e
5f   NOL carryforwards unavailable for use in the current tax year ~~~ ¥           5f
5g   Add lines 5e and 5f   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥   5g
 5   Total NOLs available to be used in the current tax year (subtract line 5g from line 5d)         ¥    5           13,449,907.
 6 NOL to be used in the current tax year ~~~~~~~~~~~~~~ ¥      6                                             0.
Computation of NOL carryforward (see instructions)
7a NOL incurred in the current tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                        7a            2,692,878.
                                                                         STMT 1 ¥
7b Net NOLs available (add lines 5, 5f, and 7a)                                      7b           16,142,785.
7c   NOL carryforwards from members who left the group during the
       current tax year ~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 7c
7d   Add lines 6 and 7c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥   7d
 7   NOL available to be carried forward (subtract line 7d from 7b) ~~~~~~~~~~~~~~~~~~~~~                      ¥    7           16,142,785.




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       TENTRR, INC.                                                                                              XX-XXXXXXX
Schedule A - Apportioned business income or loss (must be completed for each tax period; see instructions).


If you are making the election to waive carryback of the current-year NOL, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~ ¥

                 A                               B                                                             C
     Tax period beginning and       Amount from Form CT-3 or                        When column B is not a loss, enter the ending dates
           ending dates            CT-3-A, Part 3, line 17 for the                   of the tax period(s) that generated an NOL used to
                                       period in column A                        reduce the amount in column B (see instr.; if necessary)
01-01-21          12-31-21              -2,692,878.
01-01-20          12-31-20              -1,581,438.
01-01-19          12-31-19              -1,687,378.
01-01-18          12-31-18              -5,999,578.
01-01-17          12-31-17              -2,408,164.
01-01-16          12-31-16              -1,773,349.




                                Note: You must complete and attach Form CT-3.4 to Form CT-3 or CT-3-A each tax year.




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       TENTRR, INC.                                                                                       XX-XXXXXXX
Schedule B - New members included in the combined group for the current tax period;
Form CT-3-A filers only (see instructions)

                         A                                     B                        C                          D                 E           F
                        Name                                  EIN               NOL available at              Beginning        Ending date   Subject
                                                                                the beginning of              date of this        of this     to IRC
                                                                                 this tax period              tax period        tax period   ¤¤ 381-
                                                                                                             (mm-dd-yy)       (mm-dd-yy)
                                                                                                                                              384 or
                                                                                                                                              SRLY




Schedule C - Former members not included in the combined group at the end of the current
tax period; Form CT-3-A filers only (see instructions)

                         A                                           B                            C                    Former member's tax period
                        Name                                        EIN               NOL available upon leaving           in combined group
                                                                                        the combined group                 D                E
                                                                                                                     Beginning date    Ending date
                                                                                                                      (mm-dd-yy)      (mm-dd-yy)




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                                                                                                                                   CT-225
                                            Department of Taxation and Finance

                                            New York State Modifications
                                            Tax Law - Articles 9-A, 22, and 33


 Legal name of corporation                                                                                     Employer identification number (EIN)

  TENTRR, INC.                                                                                                    XX-XXXXXXX
File this form with Form CT-3, CT-3-S, or CT-33.

Complete all parts that apply to you. See Form CT-225-I, Instructions for Form CT-225.


Schedule A - Certain New York State additions to federal income

Part 1 - For certain additions to federal income that did not flow through from a partnership, estate, or trust

  1 New York State additions (see instructions)
       Modification                                                          Modification
                                     Amount                                                        Amount
         number                                                               number
  1a   ¥ A- 505         ¥                  2,475 00                 1i   ¥ A-               ¥                00             STATEMENT 2
  1b   ¥ A-             ¥                               00          1j   ¥ A-               ¥                00
  1c   ¥ A-             ¥                               00          1k   ¥ A-               ¥                00
  1d   ¥ A-             ¥                               00          1l   ¥ A-               ¥                00
  1e   ¥ A-             ¥                               00         1m ¥ A-                  ¥                00
  1f   ¥ A-             ¥                               00         1n ¥ A-                  ¥                00
  1g   ¥ A-             ¥                               00          1o   ¥ A-               ¥                00
  1h   ¥ A-             ¥                               00          1p   ¥ A-               ¥                00
 Total from additional Form(s) CT-225, if any                                00
  2 Total (add lines 1a through 1p and the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥ 2                                    2,475 00

Part 2 - Corporation's share of certain additions to federal income from a partnership, estate, or trust

  3 New York State additions (see instructions)
       Modification                                                          Modification
                                     Amount                                                        Amount
         number                                                               number
  3a   ¥ EA-            ¥                               00          3i   ¥ EA-              ¥                00
  3b   ¥ EA-            ¥                               00          3j   ¥ EA-              ¥                00
  3c   ¥ EA-            ¥                               00          3k   ¥ EA-              ¥                00
  3d   ¥ EA-            ¥                               00          3l   ¥ EA-              ¥                00
  3e   ¥ EA-            ¥                               00         3m ¥ EA-                 ¥                00
  3f   ¥ EA-            ¥                               00         3n ¥ EA-                 ¥                00
  3g   ¥ EA-            ¥                               00          3o   ¥ EA-              ¥                00
  3h   ¥ EA-            ¥                               00          3p   ¥ EA-              ¥                00
 Total from additional Form(s) CT-225, if any                                00
  4 Total (add lines 3a through 3p and the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥ 4                                                  00
  5 Total additions (add lines 2 and 4; see instructions)  ¥ 5                                              2,475 00




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TENTRR, INC.                                                                                     XX-XXXXXXX

Schedule B - Certain New York State subtractions from federal income

Part 1 - For certain subtractions from federal income that did not flow through from a partnership, estate, or trust

 6 New York State subtractions (see instructions)
      Modification                                                   Modification
                                   Amount                                                    Amount
        number                                                        number
 6a    ¥ S-           ¥                             00         6i   ¥ S-            ¥                  00
 6b    ¥ S-           ¥                             00         6j   ¥ S-            ¥                  00
 6c    ¥ S-           ¥                             00        6k    ¥ S-            ¥                  00
 6d    ¥ S-           ¥                             00         6l   ¥ S-            ¥                  00
 6e    ¥ S-           ¥                             00        6m ¥ S-               ¥                  00
  6f   ¥ S-           ¥                             00        6n ¥ S-               ¥                  00
 6g    ¥ S-           ¥                             00        6o    ¥ S-            ¥                  00
 6h    ¥ S-           ¥                             00        6p    ¥ S-            ¥                  00
Total from additional Form(s) CT-225, if any                                   0 00
 7 Total  (add  lines 6a through  6p and   the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥ 7               0 00

Part 2 - Corporation's share of certain subtractions from federal income from a partnership, estate, or trust

 8 New York State subtractions (see instructions)
      Modification                                                   Modification
                                   Amount                                                    Amount
        number                                                        number
 8a    ¥ ES-          ¥                             00         8i   ¥ ES-           ¥                  00
 8b    ¥ ES-          ¥                             00         8j   ¥ ES-           ¥                  00
 8c    ¥ ES-          ¥                             00        8k    ¥ ES-           ¥                  00
 8d    ¥ ES-          ¥                             00         8l   ¥ ES-           ¥                  00
 8e    ¥ ES-          ¥                             00        8m ¥ ES-              ¥                  00
  8f   ¥ ES-          ¥                             00        8n ¥ ES-              ¥                  00
 8g    ¥ ES-          ¥                             00        8o    ¥ ES-           ¥                  00
 8h    ¥ ES-          ¥                             00        8p    ¥ ES-           ¥                  00
Total from additional Form(s) CT-225, if any                                   0 00
  9 Total (add  lines 8a through  8p and   the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥      9          0 00
 10 Total subtractions (add lines 7 and 9; see instructions)                 ¥ 10           0 00




                                                         168662
                                                         11-04-21
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                                               Department of Taxation and Finance

                                               Underpayment of Estimated Tax                                                                            CT-222
                                               By a Corporation
                                               Tax Law - Article 27, Section 1085
                                                                                                  All filers must enter tax period:
Tax return filed:            CT-3                                                                 beginning 01-01-21               ending               12-31-21

 Legal name of corporation                                                                                    Employer identification number


 TENTRR, INC.                                                                                                XX-XXXXXXX
Read the instructions, Form CT-222-I, before completing.
Part 1 - Annual payment
   1 Enter your 2021 corporation franchise, excise, or gross receipts tax after credits or enter the 2021
        metropolitan transportation business tax (MTA surcharge) (if both, use separate forms) ~~~~~~~                           1                          2,419.
   2 Multiply line 1 by 91% (.91) or, if a large corporation, 100% (1.0). Large corporations enter this
       amount on line 5 and skip lines 3 and 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2                          2,201.
   3 Enter your 2020 corporation franchise, excise, or gross receipts tax after credits or enter the 2020 MTA surcharge ~        3                          1,500.
   4 Enter the amount from line 101; if not using the line 9 exception, skip this line ~~~~~~~~~~~~~                             4
   5 Annual payment. Enter the lesser of lines 2, 3, or 4. Large corporations, enter the line 2 amount                       5                          1,500.
Part 2 - Reasons for filing
Mark an X in the boxes below that apply. If any boxes are marked, you must file Form CT-222 even if you do not owe a penalty.


   6 You are using the adjusted seasonal installment method (see instructions; complete applicable parts of Schedule A) ~~~~ ¥


   7 You are using the annualized income installment method (see instructions; complete applicable parts of Schedule A) ~~~~ ¥
   8 You are not a large corporation and figure your estimated tax based on the prior year's tax (the prior year cannot be a
             short year, and your return must have shown a tax liability) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               ¥   X
   9 You are not a large corporation and figure your estimated tax by applying to the tax base on which the current year's tax
     was paid the facts shown on your return for, and the law applicable to, the preceding tax year, but using the rates
     applicable to the current year (complete Schedule B) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           ¥

Part 3 - Computing the underpayment - for lines 11 through 19, complete one column before going to the next column.
                                                     A                    B                         C                  D
 10 Installment due dates (see instructions) ~ ¥ 03-15-21      ¥    06-15-21           ¥     09-15-21            ¥  12-15-21
 11 Required installments (see instructions) ~ ¥       375. ¥                   375. ¥                   375. ¥          375.
  12 Estimated tax timely paid or credited for each                                      ¥                      ¥                                   ¥
        period (see instructions). For column A only,
             also enter the amount from this line on line 16 ¥
  13 Enter amount, if any, from line 19 of the
        preceding column ~~~~~~~~~~~
  14 Add lines 12 and 13 ~~~~~~~~~~~
  15 In column B, enter line 18, column A amount.
             In columns C and D, add amounts on
             lines 17 and 18 of the preceding column ~~                                                375.                             750.                1,125.
  16 In column A, enter the line 12 amount. For other
         columns, subtract line 15 from line 14. If zero
         or less, enter 0 ~~~~~~~~~~~~~                                             0.                     0.                                  0.                0.
  17 If the amount on line 16 is zero, subtract line 14
         from line 15. Otherwise, enter 0 ~~~~~~                                                       375.                             750.
  18 Underpayment - If line 16 is less than or equal
       to line 11, subtract line 16 from line 11.
       Otherwise, go to line 19 (see instructions) ~                          375.                     375.                             375.                    375.
  19 Overpayment - If line 11 is less than line 16,
       subtract line 11 from line 16 

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Part 4 - Computation of the                                             A                        B                           C                           D
        underpayment penalty (see instr.)                              First                   Second                       Third                      Fourth


  20 Enter the date of payment or the 15th day of the
       4th month after the end of the tax year,
       whichever is earlier (mm-dd-yy) ~~~~~~~                04-18-22                       04-18-22                   04-18-22                    04-18-22
     Number of days:
  21 From due date of installment to the date
       shown on line 20 ~~~~~~~~~~~~~                                          396                  304                             212                         121
  22 On line 21 after 3/15/21 and before 4/1/21        ~                        16
  23 On line 21 after 3/31/21 and before 7/1/21        ~                        91                      15
  24 On line 21 after 6/30/21 and before 10/1/21 ~                              92                      92                           15
  25 On line 21 after 9/30/21 and before 1/1/22 ~                               92                      92                           92                          16
  26 On line 21 after 12/31/21 and before 4/1/22 ~                              90                      90                           90                          90
  27 On line 21 after 3/31/22 and before 7/1/22 ~                               15                      15                           15                          15
  28 On line 21 after 6/30/22 and before 10/1/22 ~
  29 On line 21 after 9/30/22 and before 1/1/23 ~
  30 On line 21 after 12/31/22 and before 3/15/23
  31 On line 22 ^ 365 x %* x amount on line 18 ~~                                 1.
  32 On line 23 ^ 365 x %* x amount on line 18 ~~                                 7.                    1.
  33 On line 24 ^ 365 x %* x amount on line 18 ~~                                 7.                    7.                           1.
  34 On line 25 ^ 365 x %* x amount on line 18 ~~                                 7.                    7.                           7.                          1.
  35 On line 26 ^ 365 x %* x amount on line 18 ~~                                 7.                    7.                           7.                          7.
  36 On line 27 ^ 365 x %* x amount on line 18 ~~                                 1.                    1.                           1.                          1.
  37 On line 28 ^ 365 x %* x amount on line 18 ~~
  38 On line 29 ^ 365 x %* x amount on line 18 ~~
  39 On line 30 ^ 365 x %* x amount on line 18 ~~
  40 Add lines 31 through 39 ~~~~~~~~~~                                        30.                  23.                             16.                          9.
  41 Underpayment penalty (see instructions) ~ ¥                               30.       ¥          23. ¥                           16.         ¥                9.
                                    SEE STATEMENT 3
  42 Add line 41, columns A through D; enter here and on your franchise tax return or MTA surcharge return ~~~~~            42                               78.
  43 Multiply line 1 by 80% (.8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          43                                       1,935.
  44 Subtract line 11, column A from line 43 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     44                                       1,560.
  45 Divide line 44 by three                                              45                                         520.
* For applicable rates, access our website or call the Corporation Tax Information Center (see Need help? in Form CT-1).

Schedule A, Part 1 - Adjusted seasonal installment method (see instructions)
Note: Use this method only if the base period percentage for any 6 consecutive months is at least 70%. Use lines 46
through 51 below to compute the base period percentage. When appropriate, in lieu of ENI, use the applicable tax base.
                                                                                 A - 2018                 B - 2019                                  C - 2020
  46 Enter the period of 6 consecutive months for which the base period
        percentage is to be computed:


    ¥                            through      ¥


  47 Enter the ENI for the same 6 consecutive month period in
        preceding periods ~~~~~~~~~~~~~~~~~~~~~ ¥                                                           ¥                               ¥
  48 Enter the total ENI for the entire year in preceding periods ~~~ ¥                                     ¥                               ¥
  49 In each column, enter as a percentage the result of dividing that
         column's line 47 by that column's line 48 ~~~~~~~~~~                                           %                               %                               %
  50 Add the percentages in ln 49, columns A, B, and C; enter the result here ~                         %
  51 Base period percentage: Divide line 50 by three; enter the result here ~~                          %       If 70% or higher, continue with Schedule A, line 52a.

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                                                              A          B - 1st 5 months         C - 1st 8 months        D - 1st 11 months
Enter ENI for the following:
52a Tax year beginning in 2018 ~~~~~~~~~~                            ¥                        ¥                       ¥
52b Tax year beginning in 2019 ~~~~~~~~~~                            ¥                        ¥                       ¥
52c    Tax year beginning in 2020 ~~~~~~~~~~                         ¥                        ¥                       ¥
 53    Enter the total of the amounts that enter into the            ¥                        ¥                       ¥
           computation of the business income base for
           2021 for the months delineated in each column
Enter ENI for the following periods:                                        1st 6 months             1st 9 months               Entire year
54a Tax year beginning in 2018 ~~~~~~~~~~                            ¥                        ¥                       ¥
54b Tax year beginning in 2019 ~~~~~~~~~~                            ¥                        ¥                       ¥
54c    Tax year beginning in 2020 ~~~~~~~~~~                         ¥                        ¥                       ¥
 55    Divide the amount in each column on line 52a by
           the amount in column D on line 54a ~~~~
 56    Divide the amount in each column on line 52b by
           the amount in column D on line 54b ~~~~
 57    Divide the amount in each column on line 52c by
           the amount in column D on line 54c ~~~~
 58    Add lines 55 through 57    ~~~~~~~~~~~
 59    Divide line 58 by three ~~~~~~~~~~~~
 60    Divide line 53 by line 59 ~~~~~~~~~~~~
 61    Figure the tax on the amount on line 60 using the             ¥                        ¥                       ¥
           instructions for your corporation's return
           (see instructions for MTA surcharge) ~~~~
 62    Divide the amount in each of columns B and C on
           line 54a by the amount in column D on line 54a
 63    Divide the amount in each of columns B and C on
           line 54b by the amount in column D on line 54b
 64    Divide the amount in each of columns B and C on
           line 54c by the amount in column D on line 54c
 65    Add lines 62 through 64    ~~~~~~~~~~~
 66    Divide line 65 by three ~~~~~~~~~~~~
 67    Multiply the amounts in columns B and C of line
           61 by columns B and C of line 66. In column
           D, enter the amount from line 61, column D ~
 68    Enter any other taxes for each payment period                 ¥                        ¥                       ¥
          (see instructions) ~~~~~~~~~~~~~~
 69    Total tax before credits (add lines 67 and 68)
 70    Enter the amount of tax credits your corporation              ¥                        ¥                       ¥
           is entitled to for the months shown in each
           column heading above line 52a     ~~~~~~
 71    Total tax after credits. Subtract line 70 from
          line 69. If zero or less, enter 0 ~~~~~~~
 72    If not a large corporation, enter .91 (91%).
           Otherwise, enter 1 ~~~~~~~~~~~~~
 73    Multiply line 71 by line 72 


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Schedule A, Part 2 - Annualized income installment method
                                               A                                              B                          C                      D

 74 Annualized periods (see instructions) ~~~                                       1st   ¥       months   1st     ¥         months   1st   ¥       months
                                                                                    ¥                      ¥                          ¥
 75 See instructions ~~~~~~~~~~~~~
 76 See instructions ~~~~~~~~~~~~~
 77 Annualized taxable inc. Multiply line 75 by line 76
 78 Figure the tax on the line 77 amount using the                                  ¥                      ¥                          ¥
          instructions for your corporation's return
          (see instructions for MTA surcharge) ~~
 79   Enter any other taxes for each payment period     (see instr.)                ¥                      ¥                          ¥
 80 Total tax before credits (add lines 78 and 79)
 81 Tax credits (see instructions) ~~~~~~~                                          ¥                      ¥                          ¥
 82 Total tax after credits. Subtract line 81 from
       line 80; if zero or less, enter 0 ~~~~~
 83 If not a large corporation, enter .91 (91%).
        Otherwise, enter 1 ~~~~~~~~~~~
 84 Multiply line 82 by line 83 ~~~~~~~~~
 85 Applicable percentage ~~~~~~~~~~                                                                50%                        75%                    100%
 86 Multiply line 84 by line 85 ~~~~~~~~~

Schedule A, Part 3 - Required installment - In completing Part 3, complete one column before going to the next column.
                                                  A                        B                        C                                           D
 87   If only Schedule A, Part 1 or Part 2 is completed, enter the

         amount in each column from line 73 or line 86. If both

         parts are completed, enter the smaller of the amounts in

         each column from line 73 or line 86     ~~~~~~~
 88 Add the amounts in all preceding columns of line 93
 89 Subtract line 88 from line 87. If zero or less, enter 0
 90   Subtract line 11, column A (MFI), from line 5. Divide the

         result by three and enter in each of columns B, C, and D

 91   In column C, subtract line 89, column B from line 90,

         column B. If zero or less, enter 0. In column D,

         subtract line 93 , column C from line 92, column C

         and enter the result   ~~~~~~~~~~~~~
 92 Add lines 90 and 91 ~~~~~~~~~~~~
 93 Required installments - For column A, enter the
         amount from line 11, column A (MFI). For column B, enter

         the smaller of line 89, column B or line 90, column B.

         For columns C and D, respectively, enter the smaller

         of line 89 or line 92. Also enter each result on line 11   ~

Schedule B - Line 9 exception (see instructions)
 94 2020 ENI or business income (as applicable) base multiplied by 2021 ENI or business
      income base tax rate (as applicable) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        ¥    94
 95 2020 capital base multiplied by 2021 capital tax rate ~~~~~~~~~~~~~~~~~~~~~                                ¥    95
 96 Enter the amount from line 94 or 95 as applicable ~~~~~~~~~~~~~~~~~~~~~~~                                       96
 97 2020 subsidiary capital base multiplied by 2021 subsidiary capital tax rate ~~~~~~~~~~~~~~~                ¥    97
 98 Any other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         ¥    98
 99 Add lines 96, 97, and 98 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    99
100 2020 tax credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   ¥   100
101 Recomputed tax (subtract line 100 from line 99); enter here and on line 4 ~~~~~~~~~~~~                         101


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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NY                    NET OPERATING LOSS INCURRED AFTER 2014     STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                   LOSS
                                PREVIOUSLY         LOSS         AVAILABLE
TAX YEAR     LOSS SUSTAINED       APPLIED        REMAINING      THIS YEAR
}}}}}}}}     }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
12/31/16         1,773,349.                0.      1,773,349.      1,773,349.
12/31/17         2,408,164.                0.      2,408,164.      2,408,164.
12/31/18         5,999,578.                0.      5,999,578.      5,999,578.
12/31/19         1,687,378.                0.      1,687,378.      1,687,378.
12/31/20         1,581,438.                0.      1,581,438.      1,581,438.
12/31/21         2,692,878.                0.      2,692,878.      2,692,878.
                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}}
 TOTAL NOLD AFTER 2014                            16,142,785.     16,142,785.
 NOLD USED THIS YEAR - FORM CT-3.4, LINE 6                 0.
                                               }}}}}}}}}}}}}}
 NOLD CARRIED FORWARD - FORM CT-3.4, LINE 7       16,142,785.
                                               ~~~~~~~~~~~~~~




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NY FORM CT-225                OTHER ADDITIONS                    STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 MODIFICATION
    NUMBER                      DESCRIPTION                          AMOUNT
 }}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}
 A-505        STATE & LOCAL TAXES DEDUCTED ON FEDERAL RETURN            2,475.
                                                                }}}}}}}}}}}}}}
TOTAL TO FORM CT-225, PAGE 1                                            2,475.
                                                                ~~~~~~~~~~~~~~




                                                                       STATEMENT(S) 1, 2
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TENTRR, INC.                                                         XX-XXXXXXX
}}}}}}}}}}}}                                                         }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NY FORM CT-3/3A                                                   STATEMENT 3
NY FORM CT-3-S           UNDERPAYMENT OF ESTIMATED TAX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
Q
T      EVENT     REMAINING          PERIOD OF       DAYS INTEREST AMOUNT OF
R   AMOUNT TYPE UNDERPAYMENT       UNDERPAYMENT            RATE      PENALTY
- }}}}}}}}}}}}}} }}}}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}} }}}}}}}}} }}}}}}}}}}}
A
               Q        375. 03/15/2021 03/31/2021 16      7.5000           1.
               R        375. 03/31/2021 06/30/2021 91      7.5000           7.
               R        375. 06/30/2021 09/30/2021 92      7.5000           7.
               R        375. 09/30/2021 12/31/2021 92      7.5000           7.
               R        375. 12/31/2021 03/31/2022 90      7.5000           7.
               R        375. 03/31/2022 04/15/2022 15      8.0000           1.
      -1,500. P      -1,125. 04/15/2022               0    8.0000           0.

B
                   Q            375.   06/15/2021 06/30/2021        15     7.5000            1.
                   R            375.   06/30/2021 09/30/2021        92     7.5000            7.
                   R            375.   09/30/2021 12/31/2021        92     7.5000            7.
                   R            375.   12/31/2021 03/31/2022        90     7.5000            7.
                   R            375.   03/31/2022 04/15/2022        15     8.0000            1.
         -1,125.   P           -750.   04/15/2022                    0     8.0000            0.

C
                   Q            375.   09/15/2021 09/30/2021        15     7.5000            1.
                   R            375.   09/30/2021 12/31/2021        92     7.5000            7.
                   R            375.   12/31/2021 03/31/2022        90     7.5000            7.
                   R            375.   03/31/2022 04/15/2022        15     8.0000            1.
           -750.   P           -375.   04/15/2022                    0     8.0000            0.

D
                   Q            375.   12/15/2021 12/31/2021        16     7.5000            1.
                   R            375.   12/31/2021 03/31/2022        90     7.5000            7.
                   R            375.   03/31/2022 04/15/2022        15     8.0000            1.
           -375.   P              0.   04/15/2022                    0     8.0000            0.
                                                                                    }}}}}}}}}}}
    TOTAL TO FORM CT-222 LINE 42                                                            78.
                                                                                    ~~~~~~~~~~~
      EVENT TYPE: Q    =   QUARTERLY AMOUNT DUE
                  P    =   PAYMENT
                  R    =   INTEREST RATE CHANGE
                  L    =   LEAP YEAR CHANGE
                  O    =   OVERPAYMENT FROM PRIOR YEAR/QUARTER




                                                                                    STATEMENT(S) 3
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                 2021 TAX RETURN FILING INSTRUCTIONS
                              PENNSYLVANIA FORM RCT-101

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                         0
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            NO PAYMENT REQUIRED             $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE PADOR, PLEASE SIGN, DATE AND RETURN FORM
            PA-8879-C TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE
            PADOR. DO NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
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                                                                                            1010021164


                                                                                                                                     DEPARTMENT USE ONLY

                                                                                                                               2021
                        RCT-101 07-21 PAGE 1 OF 4
                        PA CORPORATE NET INCOME TAX REPORT
IRS Filing Type               A = 1120         B = 1120S           C = Other          A

STEP A:
Tax Year Beginning                             01012021                       Tax Year Ending                        12312021

STEP B:
Amended Report                                 N          52-53 Week Filer                     N            First Report                            N           File Period Change                            N
Economic Nexus                                 N          Address Change                       N            KOZ/EIP/SDA Credit                      N           S Corp Taxable Built-in Gains                 N
                                                          Change Fed Group                     N            Royalty/Related Interest                N           Section 381/382/Merger                        N
                                                                                                            Add-Back (Act 52 of 2013)                           NOLs/Alternate Apportionment
STEP C:
Revenue ID                                     1001348250    Parent Corporation EIN
Federal EIN                                    473054018
Business Activity Code                         454110
Corporation Name                               TENTRR, INC
Address Line 1                                 25 W 39TH STREET 7TH F
Address Line 2
City                                           NEW YORK                                                             Province
State                                          NY                                                                   Country Code
ZIP                                            10018                                                                Foreign Postal Code



STEP D: PA CORPORATE NET INCOME TAX                                                            USE WHOLE DOLLARS ONLY
                                                                                                                                                                                   STEP E:
                                A. Tax Liability                                 B. Estimated                                                                            Payment Due/Overpayment
                                 from Page 2                                      Payments &                                      C. Restricted                           Calculation: A minus B minus C
                          (can not be less than zero)                          Credits on Deposit                                    Credits                                     See instructions.




CNI                                                       0                                              0                                               0                                               0




STEP F: Transfer/Refund Method (See instructions*)                                                                            E-File Opt Out (See instructions*)                                    N


                        0           Transfer : Amount to be credited to the next
                                    tax year after offsetting all unpaid liabilities.


                        0           Refund : Amount to be refunded after
                                    offsetting all unpaid liabilities.


STEP G: Corporate Officer (Must sign affirmation below)

NAME                    ANAND SUBRAMANIAN
PHONE                   6462301040                                                                                                                                   FORM                           1019
EMAIL                   ANAND@TENTRR.COM                                                                                                                             BARCODE                        0000

                                                                                                                                      174301 11-29-21        CCH
 I affirm under penalties prescribed by law, this report, including any accompanying schedules and statements, has been examined by me and to the best of my knowledge and belief is a true, correct
 and complete report. If this report is an amended report, the taxpayer hereby consents to the extension of the assessment period for this tax year to one year from the date of filing of this amended
 report or three years from the filing of the original report, whichever period last expires, and agrees to retain all required records pertaining to that tax and tax period until the end of the extended
 assessment period, regardless of any statutory provision providing for a shorter period of retention. For purposes of this extension, an original report filed before the due date is deemed filed on the
 due date. I am authorized to execute this consent to the extension of the assessment period.

 Corporate Officer Signature                                                                                                                                                      Date
                                Case 23-10000-BLS                        Doc 1          Filed 01/02/23        Page 236 of 304

                                                                               1010021264


                     REVENUE ID                     1001348250
                     TAX YEAR END                   12312021                     NAME          TENTRR, INC
RCT-101 07-21               PAGE 2 OF 4                   PA CORPORATE NET INCOME TAX REPORT 2021

SECTION A: BONUS DEPRECIATION                                                                                                        USE WHOLE DOLLARS ONLY
(Include REV-1834, Schedule C-8 and C-9, if claiming bonus depreciation.)
1. Current year federal depreciation of 168k prop.                                                                         1                            0
2. Current year adjustment for disposition of 168k prop.                                                                   2                            0
3. Other adjustments.                                                                                                      3                            0

SECTION B: PA CORPORATE NET INCOME TAX
1. Income or loss from federal return on a separate-company basis.                                                         1                 -6113971

2. DEDUCTIONS:
   2A. Corporate dividends received (from REV-798, Schedule C-2, Line 7).                                               2A                             0
    2B. Interest on U.S. securities (GROSS INTEREST minus EXPENSES).                                                    2B                             0
    2C. Current yr. addtl. PA deprec. plus adjust. for sale (REV-1834, Sched. C-8, Line 8).                             2C                           123
    2D. Other (from REV-860, Schedule OD) See instructions.                                                             2D                             0
    TOTAL DEDUCTIONS - Add Lines 2A through 2D and enter the result on Line 2.                                           2                           123

3. ADDITIONS:
   3A. Taxes imposed on or measured by net income (from REV-860, Schedule C-5, Line 6).                                 3A                          2500
    3B. Employment incentive payment credit adjustment (Include Schedule W).                                            3B                             0
    3C. Current year bonus depreciation (REV-1834, Sched. C-8, Line 3).                                                 3C                             0
    3D. Intangible expense or related interest expense (REV-802, Sched. C-6; must include REV-802).                     3D                             0
    3E. Other (from REV-860, Schedule OA) See instructions.                                                             3E                             0
    TOTAL ADDITIONS - Add Lines 3A through 3E and enter the result on Line 3.                                            3                          2500


4. Income or loss with Pennsylvania adjustments (Line 1 minus Line 2 plus Line 3).                                       4                   -6111594
5. Total nonbusiness income or loss (from REV-934, Column C, Total; must include REV-934).                               5                          0
6. Income or loss to be apportioned (Line 4 minus Line 5).                                                               6                   -6111594
7. Apportionment (from Schedule C-1, 1C, or 2C if using Special Apportionment).                                          7                   0.066980
8. Income or loss apportioned to PA (Line 6 times Line 7).                                                               8                    -409355
9. Nonbusiness income or loss allocated to PA (from REV-934, Column A, Total; must include REV-934).                     9                          0
10. PA taxable income or loss after apportionment (Line 8 plus Line 9).                                                 10                    -409355
11. Total net operating loss deduction (from RCT-103, Part A, Line 4).                                                  11                          0
12. PA taxable income or loss (Line 10 minus Line 11).                                                                  12                    -409355
13. PA corporate net income tax (Line 12 times 0.0999). If Line 12 is less than zero, enter "0".                        13                          0
14. Less: Credit for tax paid by affiliate(s) for intangible expense or related interest expense                        14                          0
    (from REV-803, Sched. C-7; must include REV-803).
15. Tax Due (Line 13 minus Line 14.)                                                                                    15                              0

SCHEDULE C-1: Apportionment Schedule For Corporate Net Income Tax (Include RCT-106.) *

Sales Factor                                                                                          Special Apportionment
Sales - PA           1A                       324992                 1C        0.066980               Numerator         2A                              0
Sales - Total        1B                      4852111                                                  Denominator       2B                              0

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                                                                                                      Proportion

                                       * Refer to REV-1200, PA Corporate Net Income Tax Instructions, found at www.revenue.pa.gov.




                                                                                                                               1010021264
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                                                                               1010021364


                     REVENUE ID                     1001348250
                     TAX YEAR END                   12312021                    NAME          TENTRR, INC
RCT-101 07-21                PAGE 3 OF 4                 PA CORPORATE NET INCOME TAX REPORT 2021
SECTION C: CORPORATE STATUS CHANGES

                                                                Final Report                  N
PA Corporations:
Did you ever transact business anywhere?                                                      N         If yes, enter date all business activity ceased
Did you hold assets anywhere?                                                                 N         If yes, enter date of final disposition of assets*


Foreign Corporations:
Did you ever transact business in PA on your own or through an unincorporated entity?         N         If yes, enter date PA business activity ceased
Did you hold assets in PA on your own or through an unincorporated entity?                    N         If yes, enter date of final disposition of
                                                                                                        PA assets*


*Schedule of Disposition of Assets, REV-861, must be completed and filed with this report.
Has the corporation sold or transferred in bulk, 51 percent or more of any class of assets? (See instructions.)                                              N
If yes, enter the following information. (Include a separate schedule if additional space is needed.)


    Purchaser Name
    Address Line 1
    Address Line 2
    City                                                                                          Province
    State                                                                                         Country Code
    ZIP                                                                                           Foreign Postal Code

SECTION D: GENERAL INFORMATION QUESTIONNAIRE

Describe corporate activity in PA                       CAMPING ONLINE MARKETPLACE
Describe corporate activity outside PA
Other states in which taxpayer has activity             ME, NY

State of Incorporation                        DE           Incorporation Date                           02032015

1. Does any corporation, individual or other business entity hold all or a majority of the stock of this corporation?                                             1   Y
2. Does this corporation own all or a majority of stock in other corporations? If yes, include REV-798, Schedule X.                                               2   N
3. Is this taxpayer a partnership or other unincorporated entity that elects to file federal taxes as a corporation?                                              3   N
4. Has the federal government changed taxable income as originally reported for any prior period for which reports of change                                      4   N
   have not been filed in PA?
If yes: First Period End Date:                                                  Last Period End Date:


Accounting Method - Federal Tax Return                                                         Accounting Method - Financial Statements

            A        A = Accrual      C = Cash      O = Other                                               A          A = Accrual      C = Cash      O = Other

Other                                                                                          Other


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                                                                                                                                        1010021364
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                                                                          1010021464


                    REVENUE ID                   1001348250
                    TAX YEAR END                 12312021                   NAME            TENTRR, INC
RCT-101 07-21             PAGE 4 OF 4                PA CORPORATE NET INCOME TAX REPORT 2021
SCHEDULE OF REAL PROPERTY IN PA (Include a separate schedule if additional space is needed.)
Did you own or rent property in PA titled to the corporation or any Single Member LLC during this filing period?                              N
If yes, the below section must be completed.
          O = Own
         R = Rent              Street Address                                        City                               County         KOZ/KOEZ




CORPORATE OFFICERS
(See instructions.)                                      SSN                                 Last Name                                  First Name           MI
Must provide requested information
for all filled officer positions.
President/Managing Partner
Vice President
Secretary
Treasurer/Tax Manager



PREPARER'S INFORMATION

Firm Federal EIN                                 813215466
Firm Name                                        GUTTERSON & COHEN TAX SPECIALISTS LLC
Address Line 1                                   445 BROADHOLLOW ROAD ST
Address Line 2
City                                             MELVILLE                                                Province
State                                            NY                                                      Country Code
ZIP                                              11747                                                   Foreign Postal Code

  I affirm under penalties prescribed by law, this report, including any accompanying schedules and statements, has been prepared by me and
  to the best of my knowledge and belief is a true, correct and complete report.
  Tax Preparer's Signature                                                                                                                    Date
                                                                                                                                                  10 11 22


INDIVIDUAL PREPARER                     ALAN J COHEN
PHONE                                   6316294344
EMAIL                                   ALAN@ZERAHCO.COM
PTIN/SSN                                P00185030




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                                                                                                                               1010021464
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                    RCT-103 07-21 NET OPERATING LOSS SCHEDULE
                    (File with RCT-101.)
                                                                                                                  2021
                          Tax Year Beginning            01012021                              Revenue ID        1001348250
                          Tax Year Ending               12312021
                          Corporation Name              TENTRR, INC

Part A
1. Taxable income from RCT-101, Section B, Line 10.                                                               1                       0
2. Total net operating loss carryforward to current period. (Total, Column C below.)                              2                 1230870
3. Line 1 multiplied by   0.400000             percent. (See Instructions in the REV-1200.)                       3                       0
4. Net operating loss deduction allowed for current tax period. (Carry to RCT-101, Page 2, Line 11.)              4                       0


Part B          A. Tax Period           B. Tax Period                     C. Net Loss                      D. Amount Deducted            E. Net Loss
                 Beginning                 Ending                   Carryforward to Current                  (Current Period)          Carryforward to
                                                                            Period                                                      Next Period


  1          01012018                 12312018                                  543295                                          0             543295
  2          01012019                 12312019                                  251631                                          0             251631
  3          01012020                 12312020                                  435944                                          0             435944
  4
  5
  6
  7
  8
  9
 10


11
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17
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19
20

                   CURRENT TAX YEAR                                                                                                   LOSS ONLY

             01012021                 12312021                                                                                                409355

 TOTAL (Columns C and D Lines 1-20 ONLY)                                     1230870                                            0




 175401
 11-29-21 CCH




                                                                                                                                1030021164
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          pennsylvania
          DEPARTMENT OF REVENUE



REV-1834 (CT) 08-18
SCHEDULE C-8
ADJUSTMENT FOR BONUS DEPRECIATION
                                                                                                           TAX YEAR    01012021
                                                                                                           BEGINNING

                         TENTRR, INC                                                                     TAX YEAR
CORPORATION NAME                                                                   REVENUE ID 1001348250 ENDING        12312021

                     This Schedule is required to be completed annually and submitted with the RCT-101


1. Unused Bonus Depreciation Balance from prior year:                                            0
   1A. Unrecovered Bonus Depreciation Balance: ~~~~~~~~~~~~~~~~~~~~~~~                  0
          On Qualified Property Acquired in Transactions Where Asset Basis is Carried Over
          Date of Transaction:                    Type of Transaction:
          Revenue ID of Corporation from Whom Assets Acquired:                           FEIN:


2. Amount of Federal Bonus Depreciation claimed in this tax year:
   2A. Property placed in service prior to Sept. 28, 2017 ~~~~~~~~~~~~~~~~~~~~                                     0
   2B.    Property placed in service on or after Sept. 28, 2017   ~~~~~~~~~~~~~~~~~~                               0

3. Current Year Bonus Deprec. Addition (Line 2A plus 2B)
   TOTAL (Carry to Line 3C, Page 2, of RCT-101) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              0


4. Additional PA Bonus Depreciation Deduction:
   4A. Property placed in service prior to Sept. 28, 2017 (MACRS x 3/7)      ~~~~~~~~~~~~                     123
   4B.    Property placed in service on or after Sept. 28, 2017 (MACRS w/o regard to Bonus) ~~~                 0

5. PA Bonus Depreciation Deduction
   TOTAL (Line 4A plus 4B) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    123

6. Deduction for Property Which is Fully Depreciated, Sold or Otherwise Disposed:
   6A. Property placed in service prior to Sept. 28, 2017 (Schedule C-9 Line 2) ~~~~~~~~~                          0
   6B.    Property placed in service on or after Sept. 28, 2017 (Schedule C-9 Line 4)   ~~~~~~~                    0

7. PA Deduction for Property Which is Fully Depreciated, Sold or Otherwise Disposed:
   TOTAL (Line 6A plus 6B) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        0

8. PA Bonus Depreciation Deduction (Line 5 plus 7)
   TOTAL (Carry to line 2C, Page 2, of RCT-101) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         123


9. Remaining Unused Bonus Depreciation Balance Carry-Forward:
   TOTAL (Line 1 plus Line 1A plus Line 3 minus Line 8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         0




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REV-798 (CT) 07-19
                                          SCHEDULE C-2 PA DIVIDEND DEDUCTION SCHEDULE
      pennsylvania
                                                                                                                         TAX YEAR
      DEPARTMENT OF REVENUE
                                                                                                                         BEGINNING
                                                                                                                                     01012021

                                                                                                                         TAX YEAR
CORPORATION NAME      TENTRR, INC                                                     REVENUE ID   1001348250            ENDING
                                                                                                                                     12312021


 1   Federal Schedule C, Line (24), Total Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1                  0
 2   Federal Schedule C, Line (18), Foreign Dividend Gross-Up (Section 78) ~~~~~~~~~~~~~~~~~~~~~~                              2                  0
 3   Federal Schedule C, Line (22) (Attach federal Form 8993) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    3                  0
 4   Dividends from less-than-20-percent-owned foreign corporations listed on Lines (14), (16b), (16c)
     and (17) of federal Schedule C x 50 percent - 0.50 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4                  0
 5   Dividends from 20-percent-or-more-owned foreign corporations listed on Lines (14), (16b), (16c)
     and (17) of federal Schedule C x 65 percent - 0.65 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       5                  0
 6   Dividends listed on Lines (14), (16b), (16c) and (17) of federal Schedule C from foreign
     corporations that meet the "80 percent voting and value test" of IRC ¤ 1504(a)(2)
     and otherwise would qualify for 100 percent deduction under IRC ¤ 243(a)(3)
     if they were a domestic corporation. Do not list any amounts included above. ~~~~~~~~~~~~~~~~~~                           6                  0
 7   Total PA Dividend Deduction - Add Lines 1, 2, 4, 5 and 6. Subtract Line 3.
     Enter this amount on RCT-101, Section B, Line 2A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         7                  0




                                                                      SCHEDULE X
                  Taxpayers completing this schedule must include beginning and ending consolidating schedules reflecting the activity of all
                                     members of the consolidated group, along with all consolidations and eliminations.
                                                                                                                         TAX YEAR
                                                                                                                         BEGINNING
                                                                                                                                     01012021

                                                                                                                         TAX YEAR
CORPORATION NAME      TENTRR, INC                                                     REVENUE ID   1001348250            ENDING
                                                                                                                                     12312021

                                           Name                                           File in PA          Revenue ID                    EIN




Name, SSN, EIN and/or Revenue ID of any individual or business entity owning all or a majority of the stock of the taxpayer.

 Name                                                                                   SSN or EIN                         Revenue ID
MICHAEL D'AGOSTINO                                                                       041826873




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                                                                         1060017101
                                pennsylvania
                                DEPARTMENT OF REVENUE


                    RCT-106 (CT) 03-17
                    DETERMINATION OF
                    APPORTIONMENT PERCENTAGE
                    INSERT SHEET
                    FILE WITH RCT-101

                                                                                                                         TAX YEAR        01012021
                                                                                                                         BEGINNING

                                                                                                                         TAX YEAR
CORPORATION NAME TENTRR,                INC                                             REVENUE ID 1001348250            ENDING
                                                                                                                                         12312021


SALES FACTOR *                               Description                                Inside PA                           Inside and Outside PA

1. Sales (net of returns and allowances) ~~~~~~~~~~~~                                               324992                                   4846290
2. Interest, Rents, Royalties     ~~~~~~~~~~~~~~~~~                                                      0                                         0
3. Gross Receipts from the Sale of Other Business Assets
   (except securities, unless you are a securities dealer) ~~~~                                          0                                         0
4. Other Sales (receipts only) ~~~~~~~~~~~~~~~~~                                                         0                                      5821
5. Partner's Share of Sales from Partnerships ~~~~~~~~~                                                  0                                         0
6. Total Sales ~~~~~~~~~~~~~~~~~~~~~~~~                                  (A)                        324992 (B)                               4852111

                                                                                                    Carry (A), (B) and (C) to RCT-101,
(C) Sales Factor (Divide A by B; calculate to six decimal places.)     (C)     .066980
                                                                               ¥                    Schedule C-1, Lines 1A, 1B and 1C.


SPECIAL APPORTIONMENT
Special apportionment to be completed only by railroad, truck, bus and airline companies; pipeline or natural gas companies; and water transportation
companies. Refer to instructions.
(A) NUMERATOR
                                                                                                    Carry (A), (B) and (C) to RCT-101,
                                                                     = (C)     ¥                    Schedule C-1, Lines 2A, 2B and 2C.
(B) DENOMINATOR

(C) Special Apportionment (Divide A by B; calculate to six decimal places.)

* Use applicable figure from the chart in REV-1200, PA Corporate Net Income
 Tax Instructions, found at www.revenue.pa.gov.




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                                                                                                                    1060017101
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  pennsylvania
DEPARTMENT OF REVENUE


REV-860 (CT) 04-18
C-5 SCHEDULE OF TAXES                                                                                  TAX YEAR
                                                                                                       BEGINNING   01012021
CORPORATION                                                                                            TAX YEAR
NAME          TENTRR, INC                                               REVENUE ID 1001348250          ENDING      12312021


 1.    PA Corporate Net Income Tax     ~~~~~~~~~~~~~~~~~~~~~~~~~                                            0
 2.    Philadelphia Business Income and Receipts Tax (BIRT)
       - Net Income Portion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  0

 3.    Income Taxes - Other States ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          2475

 4.    Local Income Taxes    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               25

 5.    Other Income Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    0
 6.    Total Income Taxes (Add Lines 1 through 5)
       Carry to RCT-101, Page 2, Line 3A                                                2500
 7.    PA Capital Stock/Foreign Franchise Tax
       (Not applicable for tax years beginning on or after Jan. 1, 2016) ~~~~~~~~~
 8.    Philadelphia Business Income and Receipts Tax (BIRT)
       - Gross Receipts Portion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                0

 9.    Payroll Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     0

10.    Real Estate Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   0

11.    Sales and Use Tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    0

12.    Business Privilege Tax - Other than Income ~~~~~~~~~~~~~~~~~~~                                       0

13.    Occupancy Tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      0

14.    Local Taxes - Not Based on Income ~~~~~~~~~~~~~~~~~~~~~~~                                            0

15.    Other Taxes - Not Based on Income ~~~~~~~~~~~~~~~~~~~~~~~                                            0
16.    Total Taxes Not Imposed on or Measured by Income
       (Add Lines 7 through 15) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     0
17.    Total Tax Expense Reported on Federal Income Tax Return
       (Add Lines 6 and 16) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     2500

                                                           Schedule OA - Other Additions
                                      Description                                             Amount

             Tax Preference Items




             Total Carry to RCT-101, Section B, Line 3-E


                                                      Schedule OD - Other Deductions
                                      Description                                             Amount
              Federal Wages Disallowed as a Result of Tax
              Credits Under IRC Sec 45B or IRC Sec 51




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174491
04-01-21     Total Carry to RCT-101, Section B, Line 2-D
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2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.              Description    Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


      1 FURNITURE & FIXTURES       06/30/15 200DB 7.00        HY17            6,418.                               3,209.            3,209.        2,741.                       287.        3,028.

      2 COMPUTERS                  06/30/15 200DB 5.00        HY17            5,677.                               2,839.            2,838.        2,790.                          0.       2,790.

      3 EQUIPMENT                  06/30/15 200DB 5.00        HY17            5,412.                               2,706.            2,706.        2,662.                          0.       2,662.

      4 CAMPSITES                  06/30/15 SL         39.00 MM17          169,941.                                               169,941.        24,145.                    4,357.       28,502.

      5 CAMPSITES                  06/30/16 SL         39.00 MM17          276,720.                                               276,720.        32,229.                    7,095.       39,324.

      6 COMPUTERS                  06/30/16 200DB 5.00        HY17          11,995.                                                11,995.        11,304.                       691.      11,995.

      7 EQUIPMENT                  06/30/16 200DB 7.00        HY17            1,736.                                                 1,736.        1,349.                       155.        1,504.

      8 FURNITURE & FIXTURES       06/30/16 200DB 7.00        HY17          21,876.                                                21,876.        16,995.                    1,951.       18,946.

      9 COMPUTERS                  06/30/17 200DB 5.00        HY17          11,531.                                                11,531.         9,538.                    1,328.       10,866.

    10 CAMPSITES                   06/30/17 SL         39.00 MM17           28,955.                                                28,955.         2,629.                       742.        3,371.

    11 COMPUTERS                   06/30/18 200DB 5.00        HY17          28,074.                                                28,074.        19,989.                    3,234.       23,223.

    12 DOMAIN NAME                 01/16/18            180M       43          6,000.                                                 6,000.        1,167.                       400.        1,567.

    13 CAMPSITES                   06/30/18 SL         39.00 MM17 1,228,736.                                                   1,228,736.         83,395.                   31,505.      114,900.

    14 FURNITURE & FIXTURES        06/30/18 200DB 7.00        HY17          25,987.                                                25,987.        14,623.                    3,246.       17,869.

    15 (D)TRAILERS                 06/15/18 200DB 5.00        HY17          21,038.                                                21,038.        14,979.                    1,212.       16,191.

    16 FARNAM CAP INSTALL          01/31/19            36M        43             123.                                                   123.           79.                       41.          120.

    17 FARNAM CAP INSTALL          03/31/19            36M        43          2,745.                                                 2,745.        1,601.                       915.        2,516.

    18 FARNAM CAP INSTALL          04/30/19            36M        43        12,314.                                                12,314.         6,841.                    4,105.       10,946.
128111 04-01-21
                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
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2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.            Description      Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


    19 FARNAM CAP INSTALL          05/31/19            36M        43        42,834.                                                42,834.        22,607.                   14,278.       36,885.

    20 FARNAM CAP INSTALL          06/30/19            36M        43        45,069.                                                45,069.        22,535.                   15,023.       37,558.

    21 FARNAM CAP INSTALL          07/31/19            36M        43        68,283.                                                68,283.        32,245.                   22,761.       55,006.

    22 FARNAM CAP INSTALL          08/31/19            36M        43        25,783.                                                25,783.        11,459.                    8,594.       20,053.

    23 FARNAM CAP INSTALL          09/30/19            36M        43        11,011.                                                11,011.         4,588.                    3,670.         8,258.

    24 FARNAM CAP INSTALL          10/31/19            36M        43        10,756.                                                10,756.         4,183.                    3,585.         7,768.

    25 FARNAM CAP INSTALL          11/30/19            36M        43          5,818.                                                 5,818.        2,101.                    1,939.         4,040.

    26 TENTKITS                    04/30/19 200DB 3.00        HY17          54,258.                                                54,258.        42,202.                    8,036.       50,238.

    27 TENTKITS                    05/31/19 200DB 3.00        HY17          59,190.                                                59,190.        46,038.                    8,766.       54,804.

    28 TENTKITS                    06/30/19 200DB 3.00        HY17          64,122.                                                64,122.        49,874.                    9,496.       59,370.

    29 FARNAM CAP MATERIALS        01/30/19 200DB 3.00        HY17         690,820.                                               690,820.      537,319.                  102,310.       639,629.

    30 FARNAM CAP MATERIALS        02/28/19 200DB 3.00        HY17            3,012.                                                 3,012.        2,343.                       446.        2,789.

    31 FARNAM CAP MATERIALS        03/31/19 200DB 3.00        HY17            1,601.                                                 1,601.        1,246.                       237.        1,483.

    32 FARNAM CAP MATERIALS        04/30/19 200DB 3.00        HY17            4,219.                                                 4,219.        3,281.                       625.        3,906.

    33 FARNAM CAP MATERIALS        05/31/19 200DB 3.00        HY17            9,586.                                                 9,586.        7,456.                    1,420.         8,876.

    34 FARNAM CAP MATERIALS        06/30/19 200DB 3.00        HY17          29,395.                                                29,395.        22,863.                    4,353.       27,216.

    35 FARNAM CAP MATERIALS        07/31/19 200DB 3.00        HY17          62,879.                                                62,879.        48,908.                    9,312.       58,220.

    36 FARNAM CAP MATERIALS        08/31/19 200DB 3.00        HY17          14,751.                                                14,751.        11,474.                    2,185.       13,659.
128111 04-01-21
                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
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2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.             Description     Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


    37 FARNAM CAP MATERIALS        09/30/19 200DB 3.00        HY17          17,989.                                                17,989.        13,992.                    2,664.       16,656.

    38 FARNAM CAP MATERIALS        10/31/19 200DB 3.00        HY17          11,320.                                                11,320.         8,805.                    1,676.       10,481.

    39 FARNAM CAP MATERIALS        11/30/19 200DB 3.00        HY17               853.                                                   853.          663.                      126.          789.

    40 FARNAM CAP MATERIALS        12/31/19 200DB 3.00        HY17               467.                                                   467.          364.                       69.          433.

    41 COMPUTERS                   06/01/19 200DB 5.00        HY17          21,609.                                                21,609.        11,237.                    4,149.       15,386.

    42 EQUIPMENT                   06/15/18 200DB 7.00        HY17          23,110.                                                23,110.        13,101.                    2,886.       15,987.

    43 COMPUTERS                   06/01/20 200DB 5.00        HY17            8,797.                                                 8,797.        1,759.                    2,815.         4,574.

    44 FARNAM CAP MATERIALS        06/01/20 200DB 3.00        HY17 1,650,543.                                                  1,650,543.       550,126.                  733,666.1,283,792.

    45 FARNAM CAP INSTALL          01/01/20            36M        43        59,374.                                                59,374.        19,791.                   19,791.       39,582.

    46 TENTKITS                    06/01/20 200DB 3.00        HY17         204,992.                                               204,992.      129,023.                    75,969.      204,992.

    47 TRAILERS                    04/01/21 200DB 5.00        HY19B           7,000.                                                 7,000.                                  1,400.         1,400.

    48 EQUIPMENT                   09/23/21 200DB 7.00        HY19C           8,000.                                                 8,000.                                  1,143.         1,143.

    49 COMPUTERS                   06/01/21 200DB 5.00        HY19B         14,286.                                                14,286.                                   2,857.         2,857.

    50 FARNAM CAP INSTALL          01/31/21            36M        42       145,077.                                               145,077.                                  44,329.       44,329.

    51 FARNAM CAP INSTALL          02/28/21            36M        42        27,550.                                                27,550.                                   7,653.         7,653.

    52 FARNAM CAP INSTALL          03/31/21            36M        42        21,051.                                                21,051.                                   5,263.         5,263.

    53 FARNAM CAP INSTALL          04/30/21            36M        42        64,533.                                                64,533.                                  14,341.       14,341.

    54 FARNAM CAP INSTALL          05/31/21            36M        42       203,188.                                               203,188.                                  39,509.       39,509.
128111 04-01-21
                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                      Case 23-10000-BLS                     Doc 1         Filed 01/02/23            Page 247 of 304

2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                        OTHER
                                                              C                                                      *
  Asset                              Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.            Description      Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                              v
                                                                                           Excl                                                 Depreciation   Expense                  Depreciation


    55 FARNAM CAP INSTALL          06/30/21            36M        42        29,530.                                                29,530.                                   4,922.         4,922.

    56 FARNAM CAP INSTALL          07/31/21            36M        42        48,952.                                                48,952.                                   6,799.         6,799.

    57 FARNAM CAP INSTALL          08/31/21            36M        42       116,226.                                               116,226.                                  12,914.       12,914.

    58 FARNAM CAP INSTALL          09/30/21            36M        42       104,244.                                               104,244.                                   8,687.         8,687.

    59 FARNAM CAP INSTALL          10/31/21            36M        42        32,804.                                                32,804.                                   1,822.         1,822.

    60 FARNAM CAP INSTALL          11/30/21            36M        42        96,932.                                                96,932.                                   2,693.         2,693.

    61 FARNAM CAP INSTALL          12/31/21            36M        42        81,400.                                                81,400.                                         0.

    62 FARNAM CAP MATERIALS        01/31/21 200DB 3.00        HY19A 895,771.                                                      895,771.                                298,560.       298,560.

    63 FARNAM CAP MATERIALS        02/28/21 200DB 3.00        HY19A 171,058.                                                      171,058.                                  57,014.       57,014.

    64 FARNAM CAP MATERIALS        03/31/21 200DB 3.00        HY19A         91,149.                                                91,149.                                  30,380.       30,380.

    65 FARNAM CAP MATERIALS        04/30/21 200DB 3.00        HY19A         27,151.                                                27,151.                                   9,049.         9,049.

    66 FARNAM CAP MATERIALS        05/31/21 200DB 3.00        HY19A 306,166.                                                      306,166.                                102,045.       102,045.

    67 FARNAM CAP MATERIALS        06/30/21 200DB 3.00        HY19A 323,703.                                                      323,703.                                107,890.       107,890.

    68 FARNAM CAP MATERIALS        07/30/21 200DB 3.00        HY19A 383,356.                                                      383,356.                                127,773.       127,773.

    69 FARNAM CAP MATERIALS        08/31/21 200DB 3.00        HY19A 210,100.                                                      210,100.                                  70,026.       70,026.

    70 FARNAM CAP MATERIALS        09/30/21 200DB 3.00        HY19A           1,912.                                                 1,912.                                     637.          637.

    71 FARNAM CAP MATERIALS        10/31/21 200DB 3.00        HY19A         44,305.                                                44,305.                                  14,767.       14,767.

    72 FARNAM CAP MATERIALS        11/30/21 200DB 3.00        HY19A           7,941.                                                 7,941.                                  2,647.         2,647.
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                                                                         (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
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2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                              OTHER
                                                                    C                                                      *
  Asset                                    Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year      Ending
   No.                  Description      Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction      Accumulated
                                                                    v
                                                                                                 Excl                                                 Depreciation   Expense                   Depreciation
          * TOTAL OTHER DEPRECIATION &
          AMORT                                                            8,531,104.                                    8,754. 8,522,350.1,870,639.                           2,097,231.3,967,870.



          CURRENT YEAR ACTIVITY

             BEGINNING BALANCE                                             5,067,719.                           0.       8,754. 5,058,965.1,870,639.                                          2,992,750.

                  ACQUISITIONS                                             3,463,385.                           0.             0. 3,463,385.                   0.                               975,120.

                  DISPOSITIONS/RETIRED                                            21,038.                       0.             0.        21,038.        14,979.                                  16,191.

             ENDING BALANCE                                                8,510,066.                           0.       8,754. 8,501,312.1,855,660.                                          3,951,679.




128111 04-01-21
                                                                               (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
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     pennsylvania
     DEPARTMENT OF REVENUE
                                       e-file Signature Authorization for
                                 RCT-101, PA Corporate Net Income Tax Report                                                                               2021
PA-8879 C (SU) 11-21
See instructions.
For calendar year 2021 or tax year beginning                                         , 2021, ending                                                , 20     .
Name of Corporation                                                                                               Federal Employer Identification Number (FEIN)
TENTRR, INC                                                                                                                     XX-XXXXXXX
Corporation Address                                              City                                    State       ZIP Code                      Revenue ID Number
25 W 39TH STREET 7TH F              NEW YORK                                                            NY          10018                     1001348250
SECTION I TAX REPORT INFORMATION (Whole dollars only.)

  1. Income or Loss from Federal Return on a Separate Company Basis (From RCT-101, Section B, Line 1)                         1.                   -6,113,971.

  2. PA Taxable Income or Loss (From RCT-101, Section B, Line 12)                                                             2.                          -409,355.

  3. PA Corporate Net Income Tax Due (From RCT-101, Section B, Line 15)                                                       3.
SECTION II DECLARATION AND SIGNATURE AUTHORIZATION OF OFFICER                                                    (Keep a copy of the corporation's tax report.)
Under penalties of perjury, I declare I am an officer of the above-named corporation and I examined a copy of the corporation's 2021 electronic tax
report, accompanying schedules and statements, and to the best of my knowledge and belief they are true, correct and complete. I further declare
the amounts in Section I above are the amounts shown on the copy of the corporation's electronic tax report. I consent to allow my electronic return
originator (ERO) and/or transmitter to send the corporation's report to the PA Department of Revenue and receive from the PA Department of
Revenue an acknowledgement of receipt or reason for rejection of the transmission. If applicable, I authorize the PA Department of Revenue and its
designated financial institution to initiate an electronic funds withdrawal entry to the financial institution account indicated in the tax preparation
software for payment of the corporation's state taxes owed on this report, and I authorize the financial institution to debit the entry to this account. To
revoke a payment, I must contact my financial institution account indicated in the tax preparation software for payment of the corporation state taxes.
I also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential information necessary to
answer inquiries and resolve issues related to the payment. I selected a federal self-select PIN as my signature for the corporation's electronic tax
report and, if applicable, the corporation's consent to electronic funds withdrawal.

Officer's Federal Self-Select PIN (Check one box only.):

  X I authorize GUTTERSON & COHEN TAX SPECIALI                                                  to enter my federal self-select PIN           12345                  as my
                                                 ERO firm name                                                                             Do not enter all zeros.


      signature on the corporation's electronically filed tax report.


      As an officer of the corporation, I will enter my federal self-select PIN as my signature on the corporation's electronically filed tax report.



Signature of Officer                                               Date                 Title                                          Social Security number
                                                                                       PRESIDENT                                      XXX-XX-XXXX
Address                                                            City                                                  State         ZIP Code
25 W 39TH STREET 7TH F                NEW YORK                                                                          NY            10018
SECTION III CERTIFICATION AND AUTHENTICATION

ERO's EFIN/PIN (Enter your six-digit EFIN followed by your five-digit federal self-select PIN.):                      11357722752
                                                                                                                         Do not enter all zeros.


As a participant in the Practitioner PIN Program, I certify the above numeric entry is my federal self-select PIN, which is my signature on the tax year
2021 electronically filed PA corporate net income tax report for the taxpayer(s) indicated above. I confirm I am participating in the Practitioner PIN
Program in accordance with the requirements established for this program.


ERO's Signature |                                                                                                   Date |         10 11 22




       Electronic Return Originators (EROs) must retain this form and supporting documents for three years.
      DO NOT SUBMIT THIS FORM TO THE PA DEPARTMENT OF REVENUE UNLESS REQUESTED TO DO SO.
174065 12-03-21   CCH
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     pennsylvania
     DEPARTMENT OF REVENUE


                                                                                                            Appendix for PA-8879 C
PA-8879 C APP (SU) 11-21                                       e-file Signature Authorization for RCT-101, PA Corporate Net Income Tax Report


ELECTRONIC SIGNATURE SPECIFICATIONS                                                   institution account indicated in the tax preparation software
Below, find the Perjury Statement, Consent to Disclosure and                          for payment of the corporation state taxes.
Electronic Funds Withdrawal Consent used to develop jurat
language statements for electronic filing tax preparation
software where the practitioner federal self-select PIN                               OFFICER'S SIGNATURE
method is selected. The software must provide the capability                          I am signing this tax return/report and Electronic Funds
to incorporate these elements into the appropriate text for                           Withdrawal Consent, if applicable, by entering my federal
presentation to a taxpayer for his or her review.                                     self select PIN below.

PERJURY STATEMENT                                                                      Officer's PIN:    12345
Under penalties of perjury, I declare I am an officer of
the above-named corporation; I have examined a copy of                                        Date:
the corporation's 2021 electronic RCT-101, PA Corporate
Net Income Tax Report, accompanying schedules and                                     ERO DECLARATION
statements; and to the best of my knowledge and belief                                I declare the information in this electronic tax return/report
they are true, correct and complete.                                                  is the information furnished to me by the corporation. If the
                                                                                      corporation furnished me a completed tax return/report, I
CONSENT TO DISCLOSURE                                                                 declare that the information contained in this electronic tax
I consent to allow my electronic return originator (ERO) or                           return/report is identical to that contained in the
transmitter to send the corporation's return/report to the                            return/report provided by the corporation. If the furnished
Internal Revenue Service (IRS) and subsequently by the                                return/report was signed by a paid preparer, I declare I
IRS to the PA Department of Revenue.                                                  entered the paid preparer's identifying information in the
                                                                                      appropriate portion of this electronic return/report. If I am
ELECTRONIC FUNDS WITHDRAWAL CONSENT                                                   the paid preparer, under penalties of perjury, I declare I
I authorize the PA Department of Revenue and its designated                           examined this electronic return/report, and to the best of my
financial institution to initiate an electronic funds withdrawal                      knowledge and belief it is true, correct and complete.
entry to my financial institution account designated in the
electronic payment portion of my 2021 RCT-101 for payment                             ERO SIGNATURE
of my Pennsylvania taxes owed; and my financial institution                           I am signing this tax return/report by entering my federal
to debit the entry to my account. I also authorize the financial                      self select PIN below.
institutions involved in the processing of my electronic
payment of taxes to receive confidential information neces-                           ERO's EFIN:       113577 (EFIN)
sary to answer inquiries and resolve issues related to my
payment. To revoke a payment, I must contact my financial                               and PIN:        22752      (PIN)




www.revenue.pa.gov                                                                                                                          PA-8879 C   1
174066 12-07-21   CCH
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                 2021 TAX RETURN FILING INSTRUCTIONS
                                TENNESSEE FORM FAE 170

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                       240
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            BALANCE DUE                     $                       240

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            WHEN THE RETURN IS FILED THE AMOUNT DUE SHOULD BE ELECTRONICALLY
            TRANSFERRED.

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            TENNESSEE DEPT. OF REVENUE
            ANDREW JACKSON STATE OFFICE BLDG.
            500 DEADERICK STREET
            NASHVILLE, TN 37242

RETURN MUST BE MAILED ON OR BEFORE:

            DECEMBER 15, 2022

SPECIAL INSTRUCTIONS:


            PAYMENT OF TAX MUST BE MADE ELECTRONICALLY VIA THE TENNESSEE DEPT.
            OF REVENUE WEBSITE AT:

            HTTPS://TNTAP.TN.GOV/ESERVICES/_/
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1019                                                                                                                                                                         RV-R0011001 (9/21)
                  TENNESSEE DEPARTMENT OF REVENUE
                  2021 Franchise and Excise Tax Return
                   Tax Year Beginning                            Account Number                                             Check all that apply:
  FAE              01/01/21                                                                                                                                                                      ¡
  170                                                                                                                       a)    Amended return

                   Tax Year Ending                               FEIN
                                                                                                                            b) Final return                                                      ¡
                   12/31/21                                     XX-XXXXXXX
                   NAICS                                         SOS Control Number                                         c)    Public Law 86-272 applied to excise tax                        ¡
                                                                                                                            d) Taxpayer has made an election to
                   454110                                                                                                      calculate net worth per the provisions of                         ¡
                                                                                                                               Tenn. Code Ann. ¤ 67-4-2103(g)-(i)
  Legal Name
                                                                                                                            e)    Taxpayer has filed the prescribed form
  TENTRR, INC.                                                                                                                    to revoke its election made per Tenn.
                                                                                                                                                                                                 ¡
                                                                                                                                  Code Ann. ¤ 67-4-2103(g)-(i)
  Mailing Address
                                                                                                                                  Annualized income installment method
                                                                                                                            f)    for quarterly estimates election                               ¡
  25 W. 39TH STREET, 7TH FLOOR
                                                                                                                            g) Manufacturer single sales factor election                         ¡
  City

                                                                                                                            h) Taxpayer has filed for federal extension                          ¡
  NEW YORK
  State                                                                      ZIP Code                                       Date Tennessee operations began (see instructions)

  NEW YORK                                                                    10018                                                 02/03/2015
 Schedule A - Computation of Franchise Tax                                                                                                                        Round to the nearest dollar
 1. Total net worth Schedule F1, Line 5 or Schedule F2, Line 3 ~~~~~~~~~~~~~~~~~~~~~~~                                                                (1)                                    95808.
 2. Total real and tangible personal property from Schedule G, Line 15 ~~~~~~~~~~~~~~~~~~~                                                            (2)
 3. Franchise tax (25` per $100 or major fraction thereof on the greater of Lines 1 or 2; minimum $100) ~~~                                           (3)                                       240.
 Schedule B - Computation of Excise Tax
 4. Income subject to excise tax from Schedule J, Line 34 ~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   (4)                           -119765.
 5. Excise tax (6.5% of Line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               (5)                                 0.
 6. Recapture of tax credit (Schedule T, Line 13) and additional excise tax on certified distribution sales ~~                                        (6)
 7. Total excise tax due (add Lines 5 and 6)                                                                          (7)                                        0.
 Schedule C - Computation of Total Tax Due or Overpayment
 8. Total franchise and excise taxes (add Lines 3 and 7) ~~~~~~~~~~~~~~~~                                                                             (8)                                       240.
 9. Total credit from Schedule D, Line 10 (cannot exceed Schedule C, Line 8) ~~~~~~                                                                   (9)
10. Net tax (subtract Line 9 from Line 8; if Line 9 exceeds Line 8, enter zero here) ~~~~                                                            (10)                                       240.
11. Total payments from Schedule E, Line 7 ~~~~~~~~~~~~~~~~~~~~~~                                                                                    (11)
12. Penalty (see instructions)      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    (12)
13. Interest (see instructions)     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       (13)
14. Penalty on estimated franchise and excise tax payments ~~~~~~~~~~~~~~~~~~~~~~~~ (14)
15. Interest on estimated franchise and excise tax payments ~~~~~~~~~~~~~~~~~~~~~~~~ (15)
16. Total amount due (overpaid) (add Lines 10, 12, 13, 14, and 15, subtract Line 11) ~~~~~~~~~~~~ (16)                                                                                          240.
      If overpayment reported on Line 16, complete A and/or B below:
         A. Credit to next year's tax $                                                   B. Refund $

 Power of Attorney - Check YES      Under penalties of perjury, I declare that I have examined this report, and to the best of my knowledge and belief, it is true, correct, and complete.
 if this taxpayer's signature
 certifies that this tax preparer
                                                                                                                                                        PRESIDENT
 has the authority to execute         Taxpayer's Signature                                                                             Date                                      Title
 this form on behalf of the
 taxpayer and is authorized to
                                                                                            P00185030                            10/11/22                     631-629-4344
 receive and inspect confidential     Tax Preparer's Signature                              Preparer's PTIN                            Date                                   Telephone
 tax information and to perform
 any and all acts relating to
 respective tax matters.            445 BROADHOLLOW ROAD                                                                         MELVILLE                          NY 11747
             X YES                    Preparer's Address                                                                                      City                  State            ZIP Code

                                      Preparer's Email Address          ALAN@ZERAHCO.COM
179351 10-01-21
                                                                                                                                   FOR OFFICE USE ONLY
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page 2     1019
 Taxable Year                          Taxpayer Name                                                                       Account No./FEIN
01/01/21 12/31/21 TENTRR, INC.                                                                                                   XX-XXXXXXX
Schedule D - Schedule of Credits
 1. Gross Premiums Tax Credit (cannot exceed Schedule C, Line 8) ~~~~~~~~~~~~~~~~~~~~~~~                                   (1)
 2. Tennessee income tax (cannot exceed Schedule B, Line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     (2)
 3. Green Energy Tax Credit from business plans filed prior to July 1, 2015 ~~~~~~~~~~~~~~~~~~~~                           (3)
 4. Brownfield Property Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  (4)
 5. Broadband Internet Access Tax Credit carryover for service providers          ~~~~~~~~~~~~~~~~~~~~                     (5)
 6. Industrial Machinery and Research and Development Tax Credit from Schedule T, Line 11          ~~~~~~~~~~              (6)
 7. Job Tax Credit from Schedule X, Line 46 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            (7)
 8. Additional Annual Job Tax Credit from Schedule X, Line 38 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   (8)
 9. Qualified Production Credit from Schedule QP, Line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     (9)
10. Total credit (add Lines 1 through 9; enter here and on Schedule C, Line 9)        ~~~~~~~~~~~~~~~~~~ (10)

Schedule E - Schedule of Required Quarterly Installments and Payments
                                                                                               Required Quarterly
                                                                                                  Installments                       Amount Paid
 1. Overpayment from previous year, if available ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         (1)
 2. First quarterly estimate      ~~~~~~~~~~~~~~~~~~~~~~~~~~ (2a)                                               0.        (2b)
 3. Second quarterly estimate ~~~~~~~~~~~~~~~~~~~~~~~~~ (3a)                                                    0.        (3b)
 4. Third quarterly estimate ~~~~~~~~~~~~~~~~~~~~~~~~~~ (4a)                                                    0.        (4b)
 5. Fourth quarterly estimate ~~~~~~~~~~~~~~~~~~~~~~~~~ (5a)                                                    0.        (5b)
 6. Extension payment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        (6)
 7. Total payments (add Lines 1 through 6; enter here and on Schedule C, Line 11) ~~~~~~~~~~~~~~                          (7)
Computation of Franchise Tax
Schedule F1 - Non-Consolidated Net Worth
 1. Net worth (total assets less total liabilities) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (1)             4895043.
 2. Indebtedness to or guaranteed by parent or affiliated corporation (cannot be a deduction)      ~~~~~~~~~~             (2)
 3. Total (add Lines 1 and 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 (3)           4895043.
 4. Franchise tax apportionment ratio (Schedules N, O, P, R or S if applicable or 100%) ~~~~~~~~~~~~~~                    (4)         1.957254 %
 5. Total (multiply Line 3 by Line 4; enter here and on Schedule A, Line 1)       ~~~~~~~~~~~~~~~~~~~~                    (5)             95808.
Schedule F2 - Consolidated Net Worth
Schedule F2 is to be completed only if the Consolidated Net Worth Election Registration Application has been filed.
 1. Consolidated net worth (total assets less total liabilities of the affiliated group)   ~~~~~~~~~~~~~~~~               (1)
 2. Franchise tax apportionment ratio (Schedule 170NC, 170SF or 170SC) ~~~~~~~~~~~~~~~~~~~~                               (2)                       %
 3. Total (multiply Line 1 by Line 2; enter here and on Schedule A, Line 1)       ~~~~~~~~~~~~~~~~~~~~                    (3)
Schedule G - Determination of Real and Tangible Property
  Book Value of Property Owned - Cost less accumulated depreciation                                                                  In Tennessee
 1. Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             (1)
 2. Buildings, leaseholds, and improvements          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   (2)                       0.
 3. Machinery, equipment, furniture, and fixtures        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 (3)
 4. Automobiles and trucks ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    (4)
 5. Prepaid supplies and other tangible personal property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (5)
 6. Ownership share of real and tangible property of a partnership that does not file a return   ~~~~~~~~~~~              (6)
 7. a. Inventories and work in progress ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ (7a)
         b. Exempt finished goods inventory in excess of $30 million ~~~~~~~~~~~~~~~~~~~~~~~~~ (7b)
 8. Certified pollution control equipment (include copy of certificate) and equipment used to
         produce electricity at a certified green energy production facility ~~~~~~~~~~~~~~~~~~~~~~~                      (8)
 9. Exempt required capital investment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              (9)
10. Subtotal (add Lines 1 through 7a, subtract Lines 7b through 9) ~~~~~~~~~~~~~~~~~~~~~~~~ (10)                                                    0.
   Rental Value of Property Used but Not Owned
         Net Annual Rental Paid for:                                                         In Tennessee
11. Real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   x8   (11)
12. Machinery and equipment used in manufacturing and processing             ~~~~~                                  x3   (12)
13. Furniture, office machinery, and equipment         ~~~~~~~~~~~~~~~~                                             x2   (13)
14. Delivery or mobile equipment        ~~~~~~~~~~~~~~~~~~~~~~~                                                     x1   (14)
15. Tennessee total (add Lines 10 through 14; enter here and on Schedule A, Line 2) ~~~~~~~~~~~~~~                       (15)                       0.

Schedule H - Gross Receipts
 1.       Gross receipts or sales per federal income tax return   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            (1)             4846290.
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page 3        1019
 Taxable Year                           Taxpayer Name                                                               Account No./FEIN
01/01/21 12/31/21 TENTRR, INC.                                                                                              XX-XXXXXXX
Computation of Excise Tax
Schedule J1 - Computation of Net Earnings for Entities Treated as Partnerships
         Additions:
  1. Ordinary income or loss (federal Form 1065, Line 22)        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       (1)
  2. Income items specifically allocated to partners, including guaranteed payments to partners ~~~~~~~~~~~ (2)
  3. Any net loss or expense distributed to a publicly traded REIT ~~~~~~~~~~~~~~~~~~~~~~~~~~ (3)
  4. Total additions (add Lines 1 through 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (4)
     Deductions:
  5. Expense items specifically allocated to partners not deducted elsewhere         ~~~~~~~~~~~~~~~~~~~~ (5)
  6. Amount subject to self-employment taxes distributable or paid to each partner or member net of
         any pass-through expense deducted elsewhere on this return (if negative, enter zero) (include on
         Schedule K, Line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          (6)
  7. Amount of contribution to qualified pension or benefit plans of any partner or member, including
         all IRC 401 plans (include on Schedule K, Line 3)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           (7)
  8. Any net gain or income distributed to a publicly traded REIT ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         (8)
  9. Any loss on the sale of an asset sold within 12 months after the date of distribution        ~~~~~~~~~~~~~~~ (9)
 10. Total deductions (add Lines 5 through 9) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (10)
 11. Total (subtract Line 10 from Line 4; enter here and on Schedule J, Line 1)                   (11)
Schedule J2 - Computation of Net Earnings for a Single Member LLC Filing as an Individual
     Additions:
  1. Business Income or loss from federal Form 1040, Schedule C ~~~~~~~~~~~~~~~~~~~~~~~~~~ (1)
  2. Business Income or loss from federal Form 1040, Schedule D ~~~~~~~~~~~~~~~~~~~~~~~~~~ (2)
  3. Business Income or loss from federal Form 1040, Schedule E ~~~~~~~~~~~~~~~~~~~~~~~~~~ (3)
  4. Business Income or loss from federal Form 1040, Schedule F ~~~~~~~~~~~~~~~~~~~~~~~~~~ (4)
  5. Business Income or loss from federal Form 4797          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         (5)
  6. Other: federal Form                    , Schedule             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                      (6)
  7. Total additions (add Lines 1 through 6) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (7)
         Deductions:
  8. Amount subject to self-employment taxes distributable or paid to the single member (if negative,
     enter zero; include on Schedule K, Line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ (8)
  9. Total (subtract Line 8 from Line 7; enter here and on Schedule J, Line 1)  (9)
Schedule J3 - Computation of Net Earnings for Entities Treated as Subchapter S Corporations
     Additions:
  1. Ordinary income or loss (federal Form 1120S, Line 21)         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                      (1)
  2. Income items to extent includable in federal income were it not for "S" status election ~~~~~~~~~~~~~~ (2)
  3. Total additions (add Lines 1 and 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                   ~~~~~~~~~~~~~ (3)
     Deductions:
  4. Expense items to extent includable in federal expenses were it not for "S" status election ~~~~~~~~~~~~ (4)
  5. Any loss on the sale of an asset sold within 12 months after the date of distribution ~~~~~~~~~~~~~~~ (5)
  6. Total deductions (add Lines 4 and 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ (6)
  7. Total (subtract Line 6 from Line 3; enter here and on Schedule J, Line 1)  (7)
Schedule J4 - Computation of Net Earnings for Entities Treated as Corporations and Other Entities
     Additions:
  1. Taxable income or loss before net operating loss deduction and special deductions (federal Form 1120, Line 28) ~ (1)        -6113971.
  2. a.        REIT taxable income before net operating loss deduction and special deductions (federal Form
               1120-REIT, Line 20) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             (2a)
         b. REIT deduction for dividends paid (federal Form 1120-REIT, Line 21b) ~~        (2b)
         c.    REIT taxable income after dividends paid deduction (subtract Line 2b from Line 2a)   ~~~~~~~~~~~~~ (2c)
  3. Unrelated business taxable income (federal Form 990-T, Line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~ (3)
  4. Other: federal Form                     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 (4)
  5. Contribution carryover from prior period(s)         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          (5)
  6. Capital gains offset by capital loss carryover or carryback ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         (6)
  7. Total additions (add Lines 1 through 6) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (7)        -6113971.
     Deductions:
  8. Contributions in excess of amount allowed by federal government ~~~~~~~~~~~~~~~~~~~~~~~~ (8)                                      5050.
  9. Portion of current year's capital loss not included in federal taxable income     ~~~~~~~~~~~~~~~~~~~ (9)
 10. Total deductions (add Lines 8 and 9) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      (10)            5050.
 11. Total (subtract Line 10 from Line 7; enter here and on Schedule J, Line 1)                   (11)        -6119021.
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                             Case 23-10000-BLS                 Doc 1        Filed 01/02/23            Page 255 of 304
page 4   1019
 Taxable Year                       Taxpayer Name                                                                        Account No./FEIN
01/01/21 12/31/21 TENTRR, INC.                                                                                             XX-XXXXXXX

Schedule J - Computation of Net Earnings Subject to Excise Tax

  1. Adjusted federal income or loss (enter amount from Schedule J1, J2, J3, or J4)      ~~~~~~~~~~~~~~~~                  (1)        -6119021.
     Additions:
  2. Intangible expenses paid, accrued, or incurred to an affiliated business entity or entities deducted for
         federal income tax purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             (2)
  3. Any depreciation under the provisions of IRC Section 168 not permitted for excise tax purposes due to
         Tennessee permanently decoupling from federal bonus depreciation       ~~~~~~~~~~~~~~~~~~~~~                      (3)
  4. Gain on the sale of an asset sold within 12 months after the date of distribution to a nontaxable entity ~~~~~        (4)
  5. Tennessee excise tax expense (to the extent reported for federal income tax purposes)       ~~~~~~~~~~~~              (5)
  6. Gross premiums tax deducted in determining federal income and used as an excise tax credit ~~~~~~~~~                  (6)
  7. Interest income on obligations of states and their political subdivisions, less allowable amortization     ~~~~~~     (7)
  8. Depletion not based on actual recovery of cost ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       (8)
  9. Excess fair market value over book value of property donated ~~~~~~~~~~~~~~~~~~~~~~~~~                                (9)
 10. Excess rent to/from an affiliate ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            (10)
 11. Net loss or expense received from a pass-through entity subject to the excise tax (attach schedule)        ~~~~~~    (11)
 12. An amount equal to five percent of IRC Section 951A global intangible low-taxed income
         deducted on Line 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                (12)
 13. Business interest expense deducted in arriving at the amount reported on Sch. J, Line 1. Only
         complete if federal Form 8990 was filed. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            (13)
 14. Total additions (add Lines 2 through 13) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        (14)


     Deductions:
 15. Any depreciation under the provisions of IRC Section 168 permitted for excise tax purposes due to
         Tennessee permanently decoupling from federal bonus depreciation       ~~~~~~~~~~~~~~~~~~~~~                     (15)
 16. Any excess gain (or loss) from the basis adjustment resulting from Tennessee permanently
         decoupling from federal bonus depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (16)
 17. Dividends received from corporations at least 80% owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  (17)
 18. Donations to qualified public school support groups and nonprofit organizations ~~~~~~~~~~~~~~~~                     (18)
 19. Any expense other than income taxes not deducted in determining federal taxable income for which
         a credit against the federal income tax was allowed ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               (19)
 20. Adjustments related to the safe harbor lease election (see instructions)    ~~~~~~~~~~~~~~~~~~~~                     (20)
 21. Nonbusiness earnings (from Schedule M, Line 8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       (21)
 22. Intangible expenses paid, accrued, or incurred to an affiliated entity or entities (from Form IE, Line 4)
     Attach Form IE - Intangible Expense Disclosure ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      (22)
 23. Intangible income from an affiliated business entity or entities if the corresponding intangible
         expenses have not been deducted by the affiliate(s) under Tenn. Code Ann. ¤ 67-4-2006(b)(2)(N) ~~~~~~~~          (23)
 24. Net gain or income received from a pass-through entity subject to the excise tax (attach schedule) ~~~~~~~           (24)
 25. Deductible Grants from governmental units and Eligible Relief Payments Received ~~~~~~~~~~~~~~~                      (25)
 26. IRC Section 951A global intangible low-taxed income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (26)
 27. a. Business interest expense currently deductible. See instructions ~~~~~~~~~~~~~~~~~~~~~~ (27a)
         b. Business interest expense carryforward available for future tax years ~~~~~ (27b)
 28. Total deductions (add Lines 15 through 27a)     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (28)


     Computation of Taxable Income
 29. Total business income (loss) (add Lines 1 and 14, subtract Line 28; if loss, enter on Schedule K, Line 1)    ~~~~    (29)       -6119021.
 30. Excise tax apportionment ratio (Schedules N, O, P, R or S if applicable or 100%) ~~~~~~~~~~~~~~~~                    (30)      1.957254 %
 31. Apportioned business income (loss) (multiply Line 29 by Line 30)     ~~~~~~~~~~~~~~~~~~~~~~~                         (31)        -119765.
 32. Nonbusiness earnings directly allocated to Tennessee (from Schedule M, Line 9)        ~~~~~~~~~~~~~~~                (32)
 33. Loss carryover from prior years (from Schedule U) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    (33)
 34. Subject to excise tax (add Line 31 and 32, subtract Line 33; enter here and on Schedule B, Line 4) ~~~~~~~           (34)          -119765.




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                             Case 23-10000-BLS                 Doc 1        Filed 01/02/23            Page 256 of 304
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 Taxable Year                        Taxpayer Name                                                                          Account No./FEIN
01/01/21 12/31/21 TENTRR, INC.                                                                                                 XX-XXXXXXX
Schedule K - Determination of Loss Carryover Available
  1. Net loss from Schedule J, Line 29 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 (1)        -6119021.
     Additions:
  2. Amounts reported on Schedule J, Lines 17 and 21        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     (2)
  3. Amounts reported on Schedule J1, Lines 6 and 7, or Schedule J2, Line 8        ~~~~~~~~~~~~~~~~~~~                         (3)        -6119021.
  4. Reduced loss (add Lines 1 through 3; if net amount is positive, enter zero) ~~~~~~~~~~~~~~~~~~~                           (4)
  5. Excise tax apportionment ratio (Schedules N, O, P, R or S if applicable or 100%) ~~~~~~~~~~~~~~~~                         (5)       1.957254 %
  6. Current year loss carryover available (multiply Line 4 by Line 5)    ~~~~~~~~~~~~~~~~~~~~~~~~                             (6)         -119765.

Schedule M - Nonbusiness Earnings Allocation
Allocation and apportionment schedules may be used only by taxpayers doing business outside the state of Tennessee within the meaning of
Tenn. Code Ann. ¤¤ 67-4-2010 and 67-4-2110. The burden is on the taxpayer to show that the taxpayer has the right to apportion.
If all earnings are business earnings as defined below, do not complete this schedule. Any nonbusiness earnings, less related expenses, are
subject to direct allocation and should be reported in this schedule.
"Business Earnings" - 1) earnings arising from transactions and activity in the regular course of the taxpayer's trade or business, or
2) earnings from tangible and intangible property if the acquisition, use, management, or disposition of the property constitutes an
integral part of the taxpayer's regular trade or business operations.
Earnings which arise from the conduct of the trade or trades or business operations of a taxpayer are business earnings, and the taxpayer
must show by clear and cogent evidence that particular earnings are classifiable as nonbusiness earnings. A taxpayer may have more than
one regular trade or business in determining whether income is business earnings.
"Nonbusiness Earnings" - all earnings other than business earnings

                                                                                                                                           Net Amounts
               Description of Nonbusiness Earnings                        Gross             *Less Related              Net
                                                                                                                                         Allocated Directly
         (If further description is necessary, see below)                Amounts              Expenses               Amounts
                                                                                                                                           to Tennessee



 1.


 2.


 3.


 4.


 5.


 6.


 7.


 8. Total nonbusiness earnings (Enter here and on Schedule J, Line 21)                                                           0.

 9. Nonbusiness earnings allocated directly (Enter here and on Schedule J, Line 32)                                                                     0.
If necessary, describe source of nonbusiness earnings and explain why such earnings do not constitute business earnings as defined above.
Enumerate these items to correspond with items listed above.




*As a general rule, the allowable deductions for expenses of a taxpayer are related to both business and nonbusiness earnings. Items
such as administrative costs, taxes, insurance, repairs, maintenance, and depreciation are to be considered. In the absence of evidence
to the contrary, it is assumed that the expenses related to nonbusiness rental earnings will be an amount equal to 50% of such earnings
and that expenses related to other nonbusiness earnings will be an amount equal to 5% of such earnings (see T ENN. COMP. R. & REGS.
1320-06-01.23(3)).
179361 10-01-21
                                        Case 23-10000-BLS                               Doc 1            Filed 01/02/23                Page 257 of 304
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 Taxable Year                                      Taxpayer Name                                                                                                 Account No./FEIN
01/01/21 12/31/21 TENTRR, INC.                                                                                                                                     XX-XXXXXXX
Schedule N - Apportionment - Standard

                           Property                                                           In Tennessee                                              Total Everywhere
Use original cost of assets                                        a. Beginning of Taxable Year             b. End of Taxable Year     a. Beginning of Taxable Year          b. End of Taxable Year


 1.      Land, buildings, leaseholds, and improvements        ~
 2. Machinery, equipment, furniture, and fixtures
 3. Automobiles and trucks ~~~~~~~
 4. Inventories and work in progress ~~~
 5. Prepaid supplies and other property ~
         Ownership share of real and tangible property of a
 6.      partnership that does not file a return ~~~~~

 7. Excise tax total (add Lines 1 through 6)                       a.                                  b.                              a.                               b.
 8. Exempt inventory ~~~~~~~~~~
 9. Franchise tax total (subtract Line 8 from Line 7)              a.                                  b.                              a.                               b.
         Excise tax average value (add Lines 7(a) & (b),
10. divide by two) ~~~~~~~~~~~~~~
         Franchise tax average value (add Lines 9(a) & (b),
11. divide by two) ~~~~~~~~~~~~~~
12. Rented property (rent paid x 8) ~~~~

Use triple weighted sales factor                                           a. In Tennessee                   b. Total Everywhere            c. Franchise Ratio                  d. Excise Ratio

13. Excise tax property factor (add Lines 10 and 12)                                                                                                                                                  %
14. Franchise tax property factor (add Lines 11 and 12)                                                                                                             %
15. Payroll factor ~~~~~~~~~~~~                                                       58617.                         2863161.                  2.047283 %                         2.047283 %
16. Sales factor ( business gross receipts) ~~                                        93512.                         4852111.                  1.927244 %                         1.927244 %
17. Total ratios (add Lines 13-15 and (Line 16 x three))                                                                                       7.829015 %                         7.829015 %
18. Apportionment ratio (divide Line 17 by five, or by the number of factors with everywhere values greater than zero)
         (Enter franchise tax apportionment ratio on Sch. F1, Line 4. Enter excise tax apportionment ratio on Sch. J, Line 30.)   ~~           1.957254 %                         1.957254 %
Schedule O - Apportionment - Common Carriers (railroads, motor carriers, pipelines and barges)
                                                                                                                 In Tennessee               Total Everywhere                         Ratio

 1. Total franchise mileage (odometer miles) ~~~~~~~~~~~~
 2.      Tennessee gross intrastate receipts and interstate gross receipts everywhere         ~~~                                                                                                     %
 3. Total ratios (add Lines 1 and 2) ~~~~~~~~~~~~~~~~~                                                                                                                                                %
 4. Apportionment ratio (divide Line 3 by two, or by the number of factors with everywhere values greater than zero) (Enter franchise tax
         apportionment ratio on Schedule F1, Line 4. Enter excise tax apportionment ratio on Schedule J, Line 30.)                                                                        %
Schedule P - Apportionment - Air Carriers
                                                                                                                 In Tennessee               Total Everywhere                         Ratio

 1. Originating revenue ~~~~~~~~~~~~~~~~~~~~~~
         Air miles flown (Include in Tennessee column only air miles flown on flights either
 2.      originating from or ending in Tennessee or both) ~~~~~~~~~~~~~~                                                                                                                              %
 3. Total ratios (add Lines 1 and 2) ~~~~~~~~~~~~~~~~~                                                                                                                                                %
 4. Apportionment ratio (divide Line 3 by two, or by the number of factors with everywhere values greater than zero) (Enter franchise tax
         apportionment ratio on Schedule F1, Line 4. Enter excise tax apportionment ratio on Schedule J, Line 30.)                                                                        %
Schedule R - Apportionment - Air Express Carriers
                                                                                                                 In Tennessee               Total Everywhere                         Ratio

 1. Originating revenue ~~~~~~~~~~~~~~~~~~~~~~                                                                                                                                                        %
         Air miles flown and ground miles traveled (Include in Tennessee column only
 2.      air miles flown on flights either originating from or ending in Tennessee or both.
         Include only ground miles traveled with respect to actual common carriage of
         persons or property for hire.) ~~~~~~~~~~~~~~~~~~~~~                                                                                                                                         %
 3. Total ratios ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                                                           %
 4. Apportionment ratio (divide Line 3 by two, or by the number of factors with everywhere values greater than zero) (Enter franchise tax
         apportionment ratio on Schedule F1, Line 4. Enter excise tax apportionment ratio on Schedule J, Line 30.)                                                                        %
Schedule S - Apportionment - Manufacturer Single Sales Factor
                                                                                                                 In Tennessee               Total Everywhere                         Ratio

 1.      Sales factor (business gross receipts) (Enter franchise tax apportionment ratio on

         Schedule F1, Line 4. Enter excise tax apportionment ratio on Schedule J, Line 30.)      ~                                                                                                    %




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                 2021 TAX RETURN FILING INSTRUCTIONS
                                     UTAH FORM TC-20

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                       $                       100
            LESS: PAYMENTS AND CREDITS      $                       100
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            NO PAYMENT REQUIRED             $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE USTC, PLEASE CONTACT OUR OFFICE AND WE
            WILL SUBMIT YOUR ELECTRONIC RETURN. DO NOT MAIL THE PAPER COPY TO
            THE USTC.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
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                  kkkkkkkkkkkkkkkkkkkk
                  llllllllllllllllllll                                             Utah Corporation                                                                2021
20101
                  llllllllllllllllllll                                     Franchise and Income Tax Return                                                        TC-20
1019              llllllllllllllllllll
                                                                                             For calendar year 2021 or fiscal year (mm/dd/yyyy):
                  kkkkkkkkkkkkkkkkkkkk
                  llllllllllllllllllll                                                       beginning -                               and ending -

                                                                      {           Amended Return (code 1-4)             {         Mark "X" if you filed federal form 8886
 Corporation name
TENTRR, INC.
 Address                                                                                                                          Employer Identification Number
25 W 39TH STREET 7TH FLOOR                                                                                                       473054018
 City                                                                                   State      ZIP + 4                        UT Incorporation/Qualification No.
NEW YORK                                                                                NY      10018
 Foreign country (if not U.S.)                                                          Telephone number
                                                                                        6462301040

 1      If this corporation conducted any Utah business activity during the taxable year, enter "X"                                        { 1     X

 2      If this corporation joined in a federal consolidated return, enter "X"                                                             { 2
                                                                                                               "water's edge"
 3      Mark "X" (one only) if this                          "water's edge"                                    election under                            "worldwide"
         return constitutes a:                 { 3a          combined report                  { 3b             UC ¤59-7-402(2)             { 3c          combined report


 4      If this corporation made an election for any member of the federal affiliated group
          during the taxable year, enter "X"                                                                   IRC Section
                                               { 4a          IRC Section 338                  { 4b             338(h)(10)                  { 4c          IRC Section 336(e)


 5      If this return includes any financial institution defined by Tax Commission Rule R865-6F-32, enter "X"                             { 5

 6      Ultimate U.S. parent's name                                                                                                 EIN    { 6

 7      Total tax - enter amount from Schedule A, line 27                                                                                  { 7                          100

 8      Total refundable credits and prepayments - enter amount from Schedule A, line 31                                                   { 8                          100

 9      Tax Due - subtract line 8 from line 7 (not less than zero)                                                                         { 9

 10 Penalties and interest (see instructions)                                                                                                10                               0

 11 Total Due - Pay this amount - add line 9 and line 10                                                                                   { 11                               0

 12 Overpayment - subtract the sum of line 7 and line 10 from line 8 (not less than zero)                                                    12


 13 Amount of overpayment on line 12 to be applied to next taxable year                                                                    { 13

 14 Refund - subtract line 13 from line 12                                                                                                 { 14                               0

 15 Mark "X" for each quarterly estimated prepayment                             {           1st         {           2nd
          meeting an exception (attach documentation):                                                                                             USTC USE ONLY
                                                                                 {           3rd         {           4th


 Under penalties of perjury, I declare to the best of my knowledge and belief,
 this return and accompanying schedules are true, correct and complete.

 SIGN          Signature of officer                                              Date                        Title                         "X" if USTC may discuss
 HERE                                                                                                    PRESIDENT                         this return with preparer below:   X
                   Preparer's signature                                          Date                        Preparer's telephone number   Preparer's PTIN
      Paid                                                  10/11/22      6316294344                                                          {             P00185030
  Preparer's       Firm's name and address     GUTTERSON & COHEN TAX SPECIALISTS L                                                         Preparer's EIN
     Section                                   445 BROADHOLLOW ROAD STE 230                                                                   {             813215466
                                               MELVILLE              NY 11747
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                  Supplemental information to be Supplied by All Corporations                                              TC-20                      Pg. 2
20102             EIN      XX-XXXXXXX                                                                                      2021


     1    Date of incorporation:       02/03/2015                           State or country in which incorporated: DELAWARE
                                              mm/dd/yyyy
     2    If this corporation is dissolved or withdrawn, see Dissolution or Withdrawal in the General Instructions.


     3    If this corporation at any time during its tax year owned more than 50 percent of the voting stock of another corporation(s),
          provide the following for each corporation so owned. Attach additional pages if needed.


                    Name of corporation:


                    Address:


                    City, State, ZIP Code:


                    Percent of stock owned:                       %         Date stock acquired:
                                                                                                     mm/dd/yyyy
     4    If more than 50 percent of the voting stock of this corporation is owned by another corporation, provide the following information
          about the other corporation.


                    Name of corporation:


                    Address:


                    City, State, ZIP Code:


                    Percent of stock owned:                       %


     5              Check here if this corporation or its subsidiary(ies) had a change in control or ownership or acquired control or ownership of any other
                    legal entity this year.


     6    Enter the location where the corporate books and records are maintained:

                   411 W 39TH ST 4TH FL NEW YORK, NY                                       10018

     7    Enter the state or country of commercial domicile:      DELAWARE

 ¥   8    Enter the year-end date of the last year for which a federal examination has been completed:
                                                                                                               mm/dd/yyyy
                    Under separate cover, send a summary and supporting schedules for all federal adjustments and the federal tax
                    liability for each year for which federal audit adjustments have not been reported to the Tax Commission. Include the
                    date of final determination. Send the information to:
                            Auditing Division, Utah State Tax Commission, 210 North 1950 West, Salt Lake City, UT 84134-2000


 ¥   9    Enter the year-end dates of years with federal examinations now in progress, and/or final determination of past examinations still pending.



                        mm/dd/yyyy                  mm/dd/yyyy                   mm/dd/yyyy                mm/dd/yyyy
 ¥   10 Enter the year-end dates of years for which extensions for proposing additional assessments of federal tax were agreed to with the
          Internal Revenue Service.



                        mm/dd/yyyy                  mm/dd/yyyy                   mm/dd/yyyy                mm/dd/yyyy


 Note: Utah Code ¤59-7-519 extends the Statute of Limitations for tax assessment if federal audit adjustments are not fully reported.



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                  Schedule A - Utah Net Taxable Income and Tax Calculation                                   TC-20, Sch. A      Pg. 1
20103             EIN  XX-XXXXXXX                                                                            2021


 1   Unadjusted income (loss) before NOL and special deductions from federal form 1120, line 28              { 1       -6113971

 2   Additions to unadjusted income from Schedule B, line 19                                                 { 2              2475

 3   Add line 1 and line 2                                                                                     3       -6111496

 4   Subtractions from unadjusted income from Schedule C, line 21                                            { 4

 5   Adjusted income (loss) - subtract line 4 from line 3                                                    { 5       -6111496

 6   Utah net nonbusiness income from Schedule H, line 14                                                    { 6

 7   Non-Utah net nonbusiness income from Schedule H, line 28                                                { 7

 8   Total nonbusiness income net of expenses - add line 6 and line 7                                          8


 9   Apportionable income (loss) before contributions deduction - subtract line 8 from line 5                { 9       -6111496

 10 Utah contributions deduction from Schedule D, line 6                                                     { 10

 11 Apportionable income (loss) - subtract line 10 from line 9                                                 11      -6111496

 12 Apportionment fraction - enter 1.000000, or Schedule J, line 9 or 10, if applicable                        12        .011534

 13 Apportioned income (loss) - multiply line 11 by line 12                                                  { 13            -70490

 14 Utah net nonbusiness income (from line 6 above)                                                            14


 15 Utah income (loss) before Utah net loss deduction - add line 13 and line 14                              { 15            -70490

 16 Utah net loss carried forward from prior years (see instructions and attach documentation)               { 16

 17 Net Utah taxable income (loss) - subtract line 16 from line 15                                           { 17            -70490

 18 Calculation of tax (see instructions):


     a     Multiply line 17 by 4.95% (.0495) (not less than zero)                 18a                 0

     b     Minimum tax - enter $100 or amount from Schedule M, line b         { 18b                 100

     Tax amount - enter the greater of line 18a or line 18b                                                  { 18              100

 19 Interest on installment sales                                                                            { 19

 20 IRC 965(a) deferred foreign income installment amount                                                    { 20

 21 Recapture of low-income housing credit                                                                   { 21

 22 Total tax - add lines 18 through 21                                                                      { 22              100
         Carry to Schedule A, page 2, line 23




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                  Schedule A - Utah Net Taxable Income and Tax Calculation                                  TC-20, Sch. A   Pg. 2
20104             EIN  XX-XXXXXXX                                                                           2021


 23 Enter tax from Schedule A, page 1, line 22                                                                23            100

 24 Nonrefundable credits (see instructions or incometax.utah.gov/credits for codes)
                       Code     Amount                                        Code      Amount

              { 24a                                                  { 24b

              { 24c                                                  { 24d

              { 24e                                                  { 24f

     Total nonrefundable credits - add lines 24a through 24f                                                { 24

 25 Net tax - subtract line 24 from line 23 (cannot be less than line 18b or less than zero)                { 25            100

 26 Utah use tax                                                                                            { 26

 27 Total tax - add line 25 and line 26                                                                     { 27            100
        Enter here and on TC-20, line 7


 28 Refundable credits (see instructions or incometax.utah.gov/credits for codes)
                       Code     Amount                                        Code      Amount

              { 28a                                                  { 28b

              { 28c                                                  { 28d

     Total refundable credits - add lines 28a through 28d                                                   { 28

 29 Prepayments from Schedule E, line 4                                                                     { 29            100

 30 Amended return only (see instructions)                                                                  { 30

 31 Total refundable credits and prepayments - add lines 28 through 30                                      { 31            100
        Enter here and on TC-20, line 8




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                  Schedule B - Additions to Unadjusted Income                                                    TC-20, Sch. B
20105             EIN  XX-XXXXXXX                                                                                2021


 1   Interest from state obligations                                                                             {1

 2   a    Income taxes paid to any state                                                                         { 2a            2475

     b    Franchise or privilege taxes paid to any state                                                         { 2b

     c    Corporate stock taxes paid to any state                                                                { 2c

     d    Any income, franchise or capital stock taxes imposed by a foreign country                              { 2d

     e    Business and occupation taxes paid to any state                                                        { 2e

 3   Safe harbor lease adjustments                                                                               {3

 4   Capital loss carryover                                                                                      {4

 5   Federal deductions taken previously on a Utah return                                                        {5

 6   Federal charitable contributions from federal form 1120, line 19                                            {6

 7   Gain (loss) on IRC Sections 338(h)(10) or 336(e)                                                            {7

 8   Adjustments due to basis difference                                                                         {8

 9   Expenses attributable to 50 percent unitary foreign dividend exclusion                                      {9

 10 Installment sales income previously reported for federal but not Utah purposes                               { 10

 11 Nonqualified withdrawal from my529                                                                           { 11

 12 Income (loss) from IRC Section 936 corporations                                                              { 12

 13 Foreign income (loss) for worldwide combined filers                                                          { 13

 14 Income (loss) of unitary corporations not included in federal consolidated return                            { 14

 15 Deductions for a royalty or other expense paid to an entity related by common ownership (see instructions)   { 15

 16 Payroll Protection Program grant or loan addback (see instructions)                                          { 16

 17 (Reserved, see instructions)                                                                                 { 17

 18 (Reserved, see instructions)                                                                                 { 18

 19 Total additions - add lines 1 through 18                                                                     { 19            2475
         Enter here and on Schedule A, line 2




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                  Schedule C - Subtractions from Unadjusted Income                                               TC-20, Sch. C
20106             EIN  XX-XXXXXXX                                                                                2021


 1   Intercompany dividend elimination (see instructions)                                                        {1

 2   Foreign dividend gross-up                                                                                   {2

 3   Net capital loss                                                                                            {3

 4   a    Federal jobs credit salary reduction                                                                   { 4a

     b    Federal research and development credit expense reduction                                              { 4b

     c    Federal orphan drug credit clinical testing expense reduction                                          { 4c

     d    Expense reduction for other federal credits (attach schedule)                                          { 4d

     e    Federal qualified tax credit bond credit, income increase                                              { 4e

     f    Federal qualified zone academy bond credit, income increase                                            { 4f

 5   Safe harbor lease adjustments                                                                               {5

 6   Federal income previously taxed by Utah                                                                     {6

 7   Fifty percent exclusion for dividends from unitary foreign subsidiaries                                     {7

 8   Fifty percent exclusion for foreign operating company income (loss)                                         {8

 9   Gain (loss) on stock sale not recognized for federal purposes (but included in taxable income)              {9
         when IRC Section 338(h)(10) or 336(e) has been elected


 10 Basis adjustments                                                                                            { 10

 11 Interest expense not deducted on federal return under IRC Section 265(b) or 291(e)                           { 11

 12 Dividends received from admitted insurance company subsidiaries exempt under UC ¤59-7-102(1)(c)              { 12

 13 Contributions to my529 account(s)                                                                            { 13

 14 (Reserved, see instructions)                                                                                 { 14

 15 Dividends received or deemed received by a member of the unitary group from a captive REIT                   { 15

 16 IRC Section 857(b)(2)(E) deduction from a captive REIT                                                       { 16

 17 FDIC Premiums disallowed as a deduction for federal income tax purposes                                      { 17

 18 COVID-19 Utah grant funds included in unadjusted income                                                      { 18

 19 (Reserved, see instructions)                                                                                 { 19

 20 (Reserved, see instructions)                                                                                 { 20

 21 Total subtractions - add lines 1 through 20                                                                  { 21
         Enter here and on Schedule A, line 4



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                  Schedule D - Utah Contributions Deduction                                                             TC-20, Sch. D
20107             EIN  XX-XXXXXXX                                                                                       2021


 1    Apportionable income before contributions deduction from Schedule A, line 9                                      {1          -6111496
        If a loss, no contribution deduction is allowed
 2    Utah contribution limitation - multiply line 1 by 10% (.10) (not less than zero)                                   2                0

 3    Current year contributions                                                                                       {3               5050

 4    Utah contributions carryforward (attach schedule)                                                                {4

 5    Total contributions available - add line 3 and line 4                                                              5              5050

 6    Utah contributions deduction - lesser of line 2 or line 5                                                        {6                 0
       Enter here and on Schedule A, line 10


 7    Contribution carryover to next year - subtract line 6 from line 5                  { 7             5050




     Schedule E - Prepayments of Any Type                                                                              TC-20, Sch. E


 1    Overpayment applied from prior year                                                                                1                0

 2    Extension prepayment              Date:   04/15/2022                 Check no.:                                    2              100
        Enter the date and amount of any extension prepayment. If paid by check, enter the check number.


 3    Other prepayments (attach additional pages if necessary)
        Enter the date and amount of any prepayment for the filing period. If paid by check, enter the check number.


      a Date:                               Check no.:                           3a


      b Date:                               Check no.:                           3b


      c Date:                               Check no.:                           3c


      d Date:                               Check no.:                           3d


      Total of all prepayments - add lines 3a through 3d                                                                 3


 4    Total prepayments - add lines 1 through 3                                                                          4              100
        Enter here and on Schedule A, line 29




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              Case 23-10000-BLS   Doc 1   Filed 01/02/23   Page 266 of 304
TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
UT TC-20        UTAH NET LOSS CARRIED FORWARD FROM PRIOR YEARS   STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                               LOSS
                                            PREVIOUSLY              LOSS
TAX YEAR          LOSS SUSTAINED              APPLIED             REMAINING
}}}}}}}}          }}}}}}}}}}}}}}          }}}}}}}}}}}}}}        }}}}}}}}}}}}}}
12/31/20                 68,230.                       0.              68,230.
                                                                }}}}}}}}}}}}}}
NET LOSS CARRYFORWARD AVAILABLE THIS YEAR                              68,230.
                                                                ~~~~~~~~~~~~~~




                                                                             STATEMENT(S) 1
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                   Schedule J - Apportionment Schedule                                                              TC-20, Sch. J              Pg. 1
20163              EIN  XX-XXXXXXX                                                                                  2021
                                                                                                                    (use with TC-20, TC-20S,
                                                                                                                    TC-20MC and TC-65)
 Note: Use this schedule only if the entity does business in Utah and one or more other states and income must be apportioned to Utah.


 Briefly describe the nature and location(s) of your Utah business activities:
      CAMP SITES AT UTAH NATIONAL PARKS


 Apportionable Income Factors
                                                                                             Column A                  Column B
     1    Property Factor                                                                    Inside Utah               Inside and Outside Utah


          a       Land                                                             { 1a                            {

          b       Depreciable assets                                               { 1b                            {

          c       Inventory and supplies                                           { 1c                            {

          d       Rented property                                                  { 1d                            {

          e       Other allowable property (see instructions)                      { 1e                            {

          f       Total tangible property - add lines 1a through 1e                { 1f                            {

     2    Property factor - divide line 1f, Column A, by line 1f, Column B (to six decimal places)                 { 2

     3    Payroll Factor


          a       Total wages, salaries, commissions and other compensation        { 3a                            {

     4    Payroll factor - divide line 3a, Column A, by line 3a, Column B (to six decimal places)                  { 4

     5    Sales Factor


          a       Total sales (gross receipts less returns and allowances)                                         { 5a              4846290

          b       Sales delivered or shipped to Utah buyers from outside Utah      { 5b                    55899

          c       Sales delivered or shipped to Utah buyers from within Utah       { 5c                       0

          d       Sales shipped from Utah to the United States government          { 5d                       0

          e       Sales shipped from Utah to buyers in states where the corp.      { 5e                       0
                    has no nexus (corporation not taxable in buyer's state)


          f       Rent and royalty income                                          { 5f                       0    {                             0

          g       Services and other allowable sales (see instructions)            { 5g                       0    {                             0

          h       Total sales (add lines 5a through 5g)                            { 5h                    55899   {                 4846290

     6    Sales factor - line 5h, Column A, divided by line 5h, Column B (to six decimals)                         { 6       .011534

                  Continued on page 2




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                             Case 23-10000-BLS                   Doc 1   Filed 01/02/23   Page 268 of 304

                  Schedule J - Apportionment Schedule                                                TC-20, Sch. J              Pg. 2
20164             EIN  XX-XXXXXXX                                                                    2021
                                                                                                     (use with TC-20, TC-20S,
                                                                                                     TC-20MC and TC-65)



 | 7      All entities - enter your NAICS code here (see instructions)                               {7      454110


 Apportionment Fraction

     Optional apportionment taxpayers (see instructions) complete Part 1 or Part 2.


     Sales factor weighted taxpayers (see instructions) complete Part 2.



     Part 1: Equally-Weighted Three Factor Formula (see instructions for those who qualify)

     8    Total factors - add lines 2, 4 and 6                                                         8


     9    Calculate the Apportionment Fraction to SIX DECIMALS                                       {9
            Divide line 8 by 3 (or the number of factors present)



     Part 2: Sales Factor Formula (see instructions for those who qualify)

     10 Apportionment Fraction - enter the six-decimal sales factor from line 6                      { 10      .011534




 Enter the fraction from line 9 or line 10, above, as follows:
          TC-20 filers: Enter on TC-20, Schedule A, line 12
          TC-20S filers: Enter on TC-20S, Schedule A, line 12
          TC-20MC filers: Enter on TC-20MC, Schedule A, where indicated
          TC-65 filers: Enter on TC-65, Schedule A, line 15




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                 2021 TAX RETURN FILING INSTRUCTIONS
                                 VERMONT FORM CO-411

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                       300
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            BALANCE DUE                     $                       300

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE VT DOT, PLEASE SIGN, DATE AND RETURN
            FORM 8879-VT-C TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE
            VT DOT. DO NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:


            YOUR BALANCE DUE OF $300 WILL BE AUTOMATICALLY WITHDRAWN FROM THE
            BANK ACCOUNT ENDING IN 1386 ON OR AFTER OCTOBER 11, 2022 FOR THE
            FORM CO-411 BALANCE DUE. REFER TO FORM CO-411 ON THE DIRECT
            DEPOSIT/DEBIT REPORT FOR COMPLETE ACCOUNT INFORMATION.
                               Case 23-10000-BLS                   Doc 1      Filed 01/02/23            Page 270 of 304

                                                                                                                                 For office use only
 VT Form                                                 VERMONT                                                        Date received
                               Corporation or Business Income Tax Declaration for Electronic Filing
8879-VT-C                       (SEE INSTRUCTIONS IN THE VT FED/STATE E-FILE HANDBOOK)

Part I
 Entity Name                                                                                                            Federal ID Number
TENTRR, INC.                                                                                                                    XX-XXXXXXX
 Address                                                                                                                Fiscal Year END Date (YYYYMMDD)
25 W. 39TH STREET, 7TH FLOOR                                                                                                      20211231


 City                                                                                       State     ZIP Code          Telephone Number
NEW YORK                                                                                      NY 10018                  646-230-1040
 Foreign Country                                                                            E-mail Address
                                                                                           ANAND@TENTRR.COM

Part II Tax Return Information (whole dollars only)
1. Form being filed ~~~         BI-471         BI-476        X CO-411
2. Refund credited to next year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 2.
3. Refund amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          3.
4. Amount due ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           4.                            300.


)
Part III
                    DO NOT MAIL THIS FORM-- KEEP THIS FORM AND REQUIRED ATTACHMENTS ON FILE FOR 3 YEARS
                   Direct Deposit of Refund    X ACH Debit Payment Amount $                     300. Payment Date 10/11/2022
                                                                                                                                                         (
Routing transit number (RTN)   1    2   1   1 4 0  3  9   9    The first two numbers of the RTN must be 01 through 12 or 21 through 32.
Depositor account number (DAN) 3 3 0 2 5 5 1 3 8 6                                             Type of account:    Savings X Checking

Part IV Declaration of Taxpayer                           By signing below, you agree that:
¥ Under penalties of perjury, I declare the information I provided to my Electronic Return Originator (ERO) and the amounts shown in Part II agree
  with the amounts shown on the corresponding lines of my Vermont Corporate or Business Income tax return noted above, and is, to the best of
  my knowledge and belief, true, accurate and complete.
¥ If making an ACH Debit Payment, I authorize the Department to withdraw funds from my account in the amount and on the date specified.
¥ I consent to have the ERO forward my return, including this declaration and accompanying schedules and statements, to the Vermont Department
  of Taxes upon the Department's request.
¥ If the Vermont Department of Taxes does not receive full and timely payment of the amount due, I am liable for the tax and any applicable charges.



             =
Please                                                                                                                                PRESIDENT
Sign Here         Your Signature                                    Date                   Printed Name                               Title
Part V Declaration of Electronic Return Originator (ERO) Only
As an ERO, I am not responsible for review of the taxpayer's return but declare this form accurately reflects the data on the return. The taxpayer(s)
signed this form before I submitted the return. I will give the taxpayer a copy of all forms and information to be filed with Vermont.



                               =
                                                                                                                 Date                  Check if:
                  ERO's                                                                                                                  paid preparer    X
Electronic        signature                                                                                      10/11/22
Return                                                                                                                                   self-employed



                                          = 445 BROADHOLLOW ROAD
Originator's      Firm's name (or yours                                                                                         EIN
Use Only          if self-employed) and       GUTTERSON & COHEN TAX SPECIALISTS LLC                                               XX-XXXXXXX
                  address
                                                                    STE 230                                                     Phone Number
                                              MELVILLE, NY 11747                                                                631-629-4344
                                              E-mail address:
Part VI Declaration of Paid Preparer
Under penalties of perjury, I declare that I have examined the above taxpayer's return and accompanying schedules and statement. To the best of my
knowledge and belief, they are true, correct and complete. This declaration is based on all information of which I have knowledge.



                               =
                                                                                                                 Date                  Check if
                  Preparer's                                                                                                           self-employed
Paid              signature
Preparer's


                                          =
Use Only          Firm's name (or yours                                                                                         EIN
                  if self-employed) and
                  address
                                                                                                                                Phone Number

                                              E-mail address:
182131 04-01-21   1019                                                                                                                        Form 8879-VT-C
                                                                                                                                                        10/14
                           Case 23-10000-BLS                        Doc 1      Filed 01/02/23                    Page 271 of 304

               Vermont Department of Taxes

                    Form CO-411
                                                                                                          * 2 1 4 1 1 1 1 0 2 *
      Vermont Corporate Income Tax Return


                        Name                              Accounting                 Extended                            Unitary                             PL 86-272 is
 Check                  Change                            Period Change              Return                              Combined                            Applicable
 Appropriate
 Box(es)                Address                           Amended                    Federal Extension                   Unitary                             Final Return
                        Change                            Return                     Requested                           Consolidated                        (Cancels Account)

                       Entity Name (Principal Vermont Corporation)                                               FEIN                           Primary 6-digit NAICS number
      TENTRR, INC.                                                                                473054018                                        454110
                                          Address                                                  Tax year BEGIN date (YYYYMMDD)                Tax year END date (YYYYMMDD)

      25 W. 39TH STREET, 7TH FLOOR                                                                  20210101                                      20211231
                                       Address (Line 2)                                          Number of companies                           Number of companies
                                                                                                 in Water's Edge Group                         with Vermont Nexus

                         City                               State         ZIP Code
      NEW YORK                                               NY      10018                      Federal tax              X 1120                     1120-F               990-T
                                                                                                return filed
                                       Foreign Country
                                                                                                (Check one box)
                                                                                                                           1120-H                   Other



Place an "X" in the box left of the line number to indicate a loss amount.                                                          Enter all amounts in whole dollars.


 1. FEDERAL TAXABLE INCOME (Federal Form 1120, Line 30 plus any deduction                                                Check to
    for a federal net operating loss, Line 29a.) ~~~~~~~~~~~~~~~~~~~~~~~~                                        X s indicate 1.                              6113971 .00
                                                                                                                     loss
                                                                                                                         Check to
 2. Bonus Depreciation Adjustment (See instructions) ~~~~~~~~~~~~~~~~~~~~                                            s indicate
                                                                                                                       loss
                                                                                                                                    2.                                           .00
 3. Federal Taxable Income adjusted for disallowance of Bonus Depreciation                                               Check to
      (Add Lines 1 and 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    X s indicate 3.                              6113971 .00
                                                                                                                     loss


 4.    ADD (a) Interest on non-Vermont state and local obligations ~~~~~                  4a.                                            .00
                                                                               Check to
            (b) State and local income or franchise taxes ~~~~               s indicate 4b.                                 2500 .00
                                                                               loss
      LESS (c) Non-business income or loss allocated everywhere                Check to
               (Schedule BA-402, Line 1a, or leave blank) ~~~                s indicate
                                                                               loss     4c.                                              .00

            (d) Foreign dividends received.         ~~~~~~~~~~~~~~~~                      4d.                                            .00

            (e) Interest on U.S. Government obligations ~~~~~~~~~~                        4e.                                            .00
            (f) "Gross Up" required by IRC sec. 78 and other
                excludable income ~~~~~~~~~~~~~~~~~~~~~                                   4f.                                            .00

           (g) Targeted Job Credit salary and wage expense addback ~~~ 4g.                                                               .00
 5. NET APPORTIONABLE INCOME                                                                                             Check to
    (Add Lines 3, 4(a), and 4(b). Then subtract Lines 4(c) through 4(g).) ~~~~~~~~~~~~                           X s indicate
                                                                                                                     loss     5.                              6111471 .00




 Check box if exception                           SMALL FARM CORPORATION                  NO VERMONT ACTIVITY                             HOMEOWNER'S / CONDO ASSOC.
 to minimum tax applies:                          ($75 minimum)                           ($0)                                            (Federal Form 1120-H only) ($0)




                                                                                                                                                     Form CO-411
                                                                                                                                                       Page 1 of 3
                            182301
                1019        11-09-21                                                                                                                        Rev. 10/21
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                                             Entity Name
             TENTRR, INC.
                                FEIN                       Fiscal Year Ending (YYYYMMDD)
                 473054018                                      20211231                       * 2 1 4 1 1 1 2 0 2 *




 6. Vermont Percentage (100% or amount from Schedule BA-402, Line 22)
    Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~~~~~~~ 6.                           1.902729           %
                                                                                                         Check to
 7. Apportionable Income (from Form CO-411, Line 5) ~~~~~~~~~~~~~~~~~~~~                            Xs   indicate
                                                                                                                    7.         6111471 .00
                                                                                                         loss
                                                                                                         Check to
 8. Income Apportioned to Vermont (Multiply Lines 6 and 7) ~~~~~~~~~~~~~~~~~                        X s indicate 8.              116285 .00
                                                                                                        loss
                                                                                                         Check to
 9. Income Allocated to Vermont (Schedule BA-402, Line 1b) ~~~~~~~~~~~~~~~~~                           s indicate
                                                                                                         loss
                                                                                                                  9.                         .00

10. Foreign Dividends Allocated to Vermont (Schedule BA-402, Line 1d)     ~~~~~~~~~~~~~~~~~~ 10.                                             .00
11. Net Vermont Income Allocated and Apportioned to Vermont                                              Check to
    (Add Lines 8, 9, and 10.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     X s indicate 11.             116285 .00
                                                                                                         loss


12. Vermont Net Operating Loss deduction applied (Attach schedule)      ~~~~~~~~~~~~~~~~~~~ 12.                                              .00
                                                                                                         Check to
13. Vermont Net taxable income for this entity (Line 11 minus Line 12) ~~~~~~~~~~~~                 X s indicate 13.             116285 .00
                                                                                                         loss


14. Vermont Tax. Apply Vermont Tax Rates (below) to amount on Line 13 ~~~~~~~~~~~~~~~~~~ 14.                                          300 .00

15. Credits (Schedule BA-404, Column C, Line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 15.                                                           .00

16. Use Tax for taxable items on which no sales tax was charged, including online purchases ~~~~~~~~ 16.                                     .00

17. Tax Due for this entity (Subtract Line 15 from Line 14. To that result, add Line 16) ~~~~~~~~~~~~ 17.                             300 .00

18. Gross Receipts (For purpose of minimum tax calculation. See instructions) ~~~~~~~~~~~~~~~ 18.                                127099 .00



               TAX COMPUTATION SCHEDULE
            (Effective for taxable periods beginning January 1, 2012)
                                                                                           File the return on the due date required under the
IF VERMONT NET INCOME IS                                      TAX IS                       Internal Revenue Code, unless extended.
   $10,000 or less ~~~~~~~~~~~~~~~~~~~~~~~~~~ 6.00%
   $10,001 - $25,000 ~~~~~~~ $600 plus 7.00% of excess over $10,000
   $25,001 and over ~~~~~~~ $1,650 plus 8.50% of excess over $25,000
                                                                                           Pay by the due date required under the Internal
                                                                                           Revenue Code, even if the return is extended.
IF VERMONT GROSS RECEIPTS ARE              MINIMUM TAX IS
   $2,000,000 or less ~~~~~~~~~~~~~~~~~~~~~~~~~ $300                                       Corporations with liabilities over $500, see
   $2,000,001 - $5,000,000 ~~~~~~~~~~~~~~~~~~~~~~ $500                                     instructions for estimated payments on Vermont
   $5,000,001 and over ~~~~~~~~~~~~~~~~~~~~~~~~ $750                                       Form CO-414.




                                                                                                                          Form CO-411
                                                                                                                            Page 2 of 3
               1019                182302 12-13-21                                                                           Rev. 10/21
                                Case 23-10000-BLS                        Doc 1         Filed 01/02/23         Page 273 of 304
                                                        Entity Name
                 TENTRR, INC.
                                       FEIN                           Fiscal Year Ending (YYYYMMDD)
                     473054018                                                 20211231                    * 2 1 4 1 1 1 3 0 2 *

Amount from Line 17                                     300.

19. Total Tax Due (Add Line 17 plus Line 13 of all attached Schedules CO-421 ~~~~~~~~~~~~~~                               19.                              300 .00
20. Payments
     20a. Estimated Payments ~~~~~~~~~~~~~~~~~~~~~~ 20a.                                                                        .00

     20b. Payment with Extension            ~~~~~~~~~~~~~~~~~~~~ 20b.                                                           .00

     20c. Nonresident Estimated Payments (Form WH-435) ~~~~~~~~ 20c.                                                            .00

     20d. Real Estate Withholding Payments (Form RW-171)                  ~~~~~~~ 20d.                                          .00

     20e. Prior Year Overpayment Applied ~~~~~~~~~~~~~~~~ 20e.                                                                  .00

20f. Total Payments (Add Lines 20a through 20e) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 20f.                                                                                  .00
21. Balance Due. If Line 19 is more than Line 20f, subtract Line 20f from Line 19.
    Make checks payable to Vermont Department of Taxes ~~~~~~~~~~~~~~~~~~~~~~~                                            21.                              300 .00

22. Payment submitted with this return            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       22.                                       .00

23. Overpayment. If Line 20f is more than Line 19, Subtract Line 19 from Line 20f               ~~~~~~~~~~~~ 23.                                                    .00

24. Overpayment to be applied to next tax year               ~~~~~~~~~~~~~ 24.                                                  .00

25. Overpayment to be refunded (Subtract Line 24 from Line 23) ~~~~~~~~~~~~~~~~~~~~~                                      25.                                       .00

I hereby certify that I am an officer or authorized agent responsible for the taxpayer's compliance with the requirements of Title 32 of the Vermont Statutes and
that this return is true, correct, and complete to the best of my knowledge. If prepared by a person other than the taxpayer, this declaration further provides
that under 32 V.S.A. ¤ 5901, this information has not been and will not be used for any other purpose, or made available to any other person, other than for the
preparation of this return unless a separate valid consent form is signed by the taxpayer and retained by the preparer.


  Signature of Responsible Officer                                                              Date (MMDDYYYY)                       Daytime Telephone Number


                                                                                                                                          646-230-1040
  Printed Name                                                  Email Address
  ANAND SUBRAMANIAN                                              ANAND@TENTRR.COM

             X Check if the Department of Taxes may discuss this return with the preparer shown.

  Paid Preparer's Signature                                                                     Date (MMDDYYYY)                       Preparer's Telephone Number


                                                                                                  10112022                                631-629-4344
  Preparer's Printed Name                                       Email Address (optional)


  Firm's Name (or yours if self-employed)                                                       EIN                                   Preparer's SSN or PTIN
  GUTTERSON & COHEN TAX SPECIALISTS LLC                                                               813215466                         P00185030
  Firm's Address (or yours if self-employed) (Street, City, State, ZIP Code)
  445 BROADHOLLOW ROAD                                  STE 2          MELVILLE, NY 11747                                                  Check if self-employed




                  Send return                 Vermont Department of Taxes
                  and check to:               133 State Street
                                                                                                      For Department Use Only
                                              Montpelier, VT 05633-1401                                                                     Form CO-411
                                                                                                Ck. Amt.                Init.
                                                                                                                                              Page 3 of 3
                  1019                182303 12-13-21                                                                                          Rev. 10/21
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TENTRR, INC.
                                                                                 VNOL Tracking Schedule
Year   2021           Original Loss Amount          116,285.
Exp-         Amount           Amount         Amount            Amount   Amount         Amount         Amount      Amount      Amount   Amount   Available
ired          Used             Used           Used              Used     Used           Used           Used        Used        Used     Used    Carryover
             2021            2022            2023              2024     2025           2026          2027         2028        2029     2030
                                                                                                                                                  116,285.

Year                  Original Loss Amount

Exp-         Amount           Amount         Amount            Amount   Amount         Amount         Amount      Amount      Amount   Amount   Available
ired          Used             Used           Used              Used     Used           Used           Used        Used        Used     Used    Carryover




Year                  Original Loss Amount

Exp-         Amount           Amount         Amount            Amount   Amount         Amount         Amount      Amount      Amount   Amount   Available
ired          Used             Used           Used              Used     Used           Used           Used        Used        Used     Used    Carryover




Year                  Original Loss Amount

Exp-         Amount           Amount         Amount            Amount   Amount         Amount         Amount      Amount      Amount   Amount   Available
ired          Used             Used           Used              Used     Used           Used           Used        Used        Used     Used    Carryover




Year                  Original Loss Amount

Exp-         Amount           Amount         Amount            Amount   Amount         Amount         Amount      Amount      Amount   Amount   Available
ired          Used             Used           Used              Used     Used           Used           Used        Used        Used     Used    Carryover




Year                  Original Loss Amount

Exp-         Amount           Amount         Amount            Amount   Amount         Amount         Amount      Amount      Amount   Amount   Available
ired          Used             Used           Used              Used     Used           Used           Used        Used        Used     Used    Carryover




  182641
  04-01-21
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             Vermont Department of Taxes

                 Schedule BA-402
                                                                                            * 2 1 4 0 2 1 1 0 2 *
   Vermont Apportionment & Allocation

           For Unitary filers, complete a separate                                                 Attach to Form CO-411
          Schedule BA-402 for each taxable affiliate                                                   or Form BI-471


                 Entity Name (same as on Form CO-411 or Form BI-471)                  Fiscal Year Ending (YYYYMMDD)              FEIN
    TENTRR, INC.                                                                          20211231                      473054018
                                       FOR UNITARY GROUPS ONLY - Name of Affiliate                                           Affiliate's FEIN


PART 1       Directly Allocated Non-Business Income, Other Non-Apportionable Income and Foreign Dividends
Place an "x" in the box left of the line number to indicate a loss amount.                                  Enter all amounts in WHOLE DOLLARS.

                                                                        Everywhere                                          Vermont
1a-b. Non-Business Income or
      Other Non-Apportionable                    Check to                                              Check to
      Income ~~~~~~~~~~~                       s indicate
                                                 loss     1a.                            .00         s indicate
                                                                                                       loss     1b.                             .00
                                                 Check to                                              Check to
1c-d. Foreign Dividends ~~~~~~                 s indicate
                                                 loss     1c.                            .00         s indicate
                                                                                                       loss     1d.                             .00

PART 2       Sales and Receipts Factor
Section A     Sales and Receipts Factor
                                                                        Everywhere                                          Vermont


  2. Sales or gross receipts ~~~~~~~~~~                      2.              4846290 .00

  3. Services received in or delivered to Vermont           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          3.                            .00

  4. Sales delivered or shipped to purchasers in Vermont from outside Vermont        ~~~~~~~~~~~~~                4.              127099 .00

  5. Sales delivered or shipped to purchasers in Vermont from within Vermont ~~~~~~~~~~~~~~                       5.                            .00

  6. Sales shipped from Vermont to the U.S. Government ~~~~~~~~~~~~~~~~~~~~~~~~                                   6.                            .00

  7. Sales shipped from Vermont to purchasers in a state where the entity is not taxable ~~~~~~~~~                7.                            .00

  8. Business interest and dividends      ~~~~~             8a.                          .00                   8b.                              .00

  9. Royalties ~~~~~~~~~~~~~~~~~                            9a.                          .00                   9b.                              .00

 10. Gross rents ~~~~~~~~~~~~~~~~ 10a.                                                   .00                 10b.                               .00
 11. Other business income (attach detailed
                                   STMT 1 11a.
     supporting statement) ~~~~~~~~~~                                            5821 .00                    11b.                               .00
 12. TOTAL INCOME, SALES, AND
     GROSS RECEIPTS (Add Lines 2-11) ~~~~ 12a.                               4852111 .00                     12b.                 127099 .00

          12c. Vermont Sales and Receipts factor as percent of Everywhere.
               (Divide Line 12b by Line 12a).
               Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~ 12c.                    2.619458              %




                                                                                                                       Schedule BA-402
                                                                                                                            Page 1 of 2
                1019         182571 12-03-21                                                                                 Rev. 10/21
                         Case 23-10000-BLS                   Doc 1            Filed 01/02/23    Page 276 of 304

                        Entity Name (same as on Form CO-411 or Form BI-471)
             TENTRR, INC.
                              FEIN                        Fiscal Year Ending (YYYYMMDD)
                    473054018                                    20211231                   * 2 1 4 0 2 1 2 0 2 *



Section B      Salaries and Wages Factor
                                                                      Everywhere                                      Vermont

13. TOTAL SALARIES AND WAGES ~~~~~~ 13a.                                      2863161 .00              13b.                 13436 .00
         13c. Vermont as percent of Everywhere (Divide Line 13b by Line 13a).
              Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~        13c.          .469272       %
Section C      Property Factor (Average value during year)
                                                                      Everywhere                                      Vermont

14.   Inventories    ~~~~~~~~~~~~~~~ 14a.                                                 .00          14b.                        .00
15.   Buildings and other depreciable
      assets (original cost) ~~~~~~~~~~~ 15a.                                             .00          15b.                        .00

16.   Depletable assets (original cost) ~~~~~ 16a.                                        .00          16b.                        .00

17.   Land ~~~~~~~~~~~~~~~~~~ 17a.                                                        .00          17b.                        .00

18.   Other assets (Attach schedule) ~~~~~~ 18a.                                          .00          18b.                        .00
19.   Rented real and personal property
      (Multiply annual rent by 8) ~~~~~~~~ 19a.                                           .00          19b.                        .00
20.   TOTAL PROPERTY
      (Add Lines 14 through 19) ~~~~~~~~ 20a.                                             .00          20b.                        .00
         20c. Vermont as percent of Everywhere (Divide Line 20b by Line 20a)
              Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~        20c.                        %
Section D     Vermont Apportionment Factors
21.   VERMONT COMBINED FACTORS (Sales and Receipts, Double-weighted)
      (Add Line 12c twice, and Lines 13c and 20c above).
      Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~~~~~            21.        5.708188        %
22.   VERMONT APPORTIONMENT FACTOR (Divide Line 21 by 4 or as indicated below).
      Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~~~~~            22.        1.902729        %
                          Express as a decimal to six places. If there are fewer than three factors with
                              an "Everywhere" denominator, then divide Line 21 as follows:
         ¥ Sales/Receipts and Salaries and Wages - divide by 3                       ¥ Sales/Receipts only - divide by 2
         ¥ Sales/Receipts and Property - divide by 3                                 ¥ Salaries and Wages only - divide by 1
         ¥ Salaries and Wages and Property - divide by 2                             ¥ Property only - divide by 1

                                     (Transcribe to Form CO-411, Line 6; or Schedule CO-421, Line 1;
                                        or Schedule BI-472, Line 10; or Schedule BI-473, Line 11.)




                                                                                                                Schedule BA-402
                                                                                                                     Page 2 of 2
               1019           182581 12-03-21                                                                         Rev. 10/21
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
VT BA-402               SECTION A OTHER BUSINESS INCOME          STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                 EVERYWHERE      VERMONT
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
OTHER RECEIPTS                                                    5,821.             0.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO FORM BA-402, PAGE 1, LINE 11                            5,821.             0.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                                STATEMENT(S) 1
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                                                                  State Sale of Assets Worksheet



Name: TENTRR, INC.                                                                                                                       FEIN:   XX-XXXXXXX
State:   VERMONT
                                                                                                               Long Term    Short Term
                                         Date     Date                              Accumulated    Adjusted                                Ordinary        Other        Casualty
                   Asset Description                      Sale Price      Cost                                  Capital       Capital
                                       Acquired   Sold                                 Depr.        Basis                                  Gain/Loss     Gain/Loss      Gain/Loss
                                                                                                                 Gain       Gain/Loss
DISPOSITION OF TRAILER                 06/15/1804/01/21       3,432.      21,038.       16,191.       4,847.                                        0.        -1,415.
TOTAL STATE GAIN OR LOSS                                                                                               0.            0.             0.        -1,415.           0.
TOTAL FEDERAL GAIN OR LOSS                                                                                             0.            0.             0.        -1,415.           0.
DIFFERENCE                                                                                                             0.            0.             0.             0.           0.




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  04-01-21
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                                    CT-3-M                     Department of Taxation and Finance
                                                               General Business Corporation
                                                               MTA Surcharge Return
                                                               Tax Law - Article 9-A, Section 209-B


Caution: This form must be used only for tax periods beginning on or after January 1, 2021. If you use it for any prior periods, the


                                             b                                                                                   b 01-01-21                                  b 12-31-21
return will not be processed and will not be considered timely filed. As a result, penalties and interest may be incurred.
                        Amended return                               All filers must enter tax period: beginning                                                ending


  b                                                            b
      Employer identification number (EIN)                         File number        Business telephone number                                                              If you claim an
                                                                                                                                                                             overpayment, mark
        XX-XXXXXXX                                                      AA3             646-230-1040                                                                         an X in the box
      Legal name of corporation TENTRR, INC.                                                                       Trade name/
                                                                                                                   DBA


      Mailing address                                                                                              State or country of incorporation

      Care of (c/o)   ANAND SUBRAMANIAN                                                                             DE
      Number and street or PO box                                                                                  Date of incorporation               Foreign corporations: date began business in NYS

      25 W. 39TH STREET, 7TH FLOOR                                                                                  02-03-15                           02-03-15
      City                                       U.S. state/Canadian province    ZIP/Postal code                  Country (if not United States)       For office use only

      NEW YORK                                                            NY 10018
      If you need to update your address or phone information for corporation tax, or other tax types, you
      can do so online. See Business information in Form CT-1.
File this form with your Form CT-3 or CT-3-A. Before completing this return, see Form CT-3-M-I,
Instructions for Form CT-3-M.


/                                                                                                                                                  b
 A.     Pay amount shown on line 12. Make payable to: New York State Corporation Tax                                                                                    Payment enclosed
        Attach your payment here. Detach all check stubs. (See instructions for details.)                                                              A                                        253.
Computation of MTA surcharge
 1a New York State franchise tax (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                                     1a                                 2,419.
 1b Sum of fixed dollar minimum taxes for members subject to the MTA surcharge (see instructions) ~~~~ ¥                                               1b
  1 Total New York State franchise tax (add lines 1a and 1b) ~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                                   1                         2,419.
    2 MCTD apportionment percentage from line 83 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     ¥     2                      33.4241 %
                                                                                                                                                                                     809.

                                                                                                                                                   b
    3 Apportioned franchise tax (multiply line 1 by line 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            ¥     3
    4 MTA surcharge (multiply line 3 by 30% (.30)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        4                           243.
  5a, 5b, 6
   7 Total prepayments from line 92 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           ¥     7
  8a Underpayment (subtract line 7 from line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    ¥   8a                                       243.
  8b Additional amount for 2022 MFI (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                                   8b
  8c Total of lines 8a and 8b  ¥                                                                               8c                                       243.
   9 Estimated tax penalty (see instructions; mark an X in the box if Form CT-222 is attached) ¥ X ~~~~~ ¥                                               9                                       10.
  10 Interest on late payment (see instructions for Form CT-3 or CT-3-A) ~~~~~~~~~~~~~~~~~~ ¥                                                          10


                                                                                                                                                   b
  11 Late filing and late payment penalties (see instructions for Form CT-3 or CT-3-A) ~~~~~~~~~~~~ ¥ 11
  12 Balance due (add lines 8c through 11 and enter here; enter the payment amount on line A above) ~~ 12                                                                                       253.
 13a Excess prepayments (subtract line 4 from line 7) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 13a
 13b Amount previously credited to 2022 MFI (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~ ¥ 13b
 13c Overpayment (subtract line 13b from line 13a) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 13c                                                                                                                0.


                                                                                                                                                   b
  14 Amount of overpayment to be credited to New York State franchise tax (see instructions) ~~~~~~~ ¥                                                 14


                                                                                                                                                   b
  15 Amount of overpayment to be credited to MTA surcharge for next period (see instructions) ~~~~~~~                                                  15
  16 Amount of overpayment to be refunded (see instructions)                                                                    16

Schedule A - Computation of MCTD apportionment percentage (see instructions)

                                                                                                          A                                       B
Average value of property (see instructions)                                                             MCTD                                New York State

  17 Real estate owned (see instructions) ~~~~~~~~~~~                                 17
  18 Real estate rented (see instructions) ~~~~~~~~~~~                                18
  19 Inventories owned ~~~~~~~~~~~~~~~~~~~                                            19
  20 Tangible personal property owned (see instructions) ~~~                          20
  21 Tangible personal property rented (see instructions) ~~~           21
  22 Total (add lines 17 through 21 in columns A and B) ~~~~¥ 22                         0. ¥   6,104,099.
  23 MCTD property factor    (divide line 22, column A, by line 22, column B) ~~~~~~~~~~~~~~~~~~~~~ ¥ 23                                                                              .0000 %

                                                                           168871
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            TENTRR, INC.                                                                                           XX-XXXXXXX
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                                                                                                              A                              B
Receipts from: (see instructions for lines 24 through 77)                                                    MCTD                       New York State

Section 210-A.2
 24 Sales of tangible personal property ~~~~~~~~~~~~~~~~~~~~                                24                              0.             2,132,139.
 25 Sales of electricity ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       25
 26 Net gains from sales of real property                                26
Section 210-A.3
 27 Rentals of real and tangible personal property ~~~~~~~~~~~~~~~                          27
 28 Royalties from patents, copyrights, trademarks, and similar intangible
      personal property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         28
 29 Sales of rights for certain closed-circuit and cable TV transmissions
       of an event                                            29
Section 210-A.4
 30 Sale, licensing, or granting access to digital products                      30
Section 210-A.5(a)(1) - Fixed percentage method for qualified financial instruments (QFIs)
 31 If this irrevocable election was made on Form CT-3 or CT-3-A, mark an X in the box (see Form CT-3-I or CT-3-A-I, Part 6, line 8 instructions)   31

Section 210-A.5(a)(2) - Mark an X in each box that is applicable (see Form CT-3-I or CT-3-A-I, Part 6, line 8 instructions)
 Section 210-A.5(a)(2)(A)
 32 Interest from loans secured by real property ~~~~~~~~~~~~~~~~                           32
 33 Net gains from sales of loans secured by real property ~~~~~~~~~~~                      33
 34 Interest from loans not secured by real property
         (QFI        ) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       34
 35 Net gains from sales of loans not secured by real property
      (QFI        )                                           35
 Section 210-A.5(a)(2)(B) (QFI  )
 36 Interest from federal debt ~~~~~~~~~~~~~~~~~~~~~~~~~                                    36
 37
 38 Interest from NYS and its political subdivisions debt ~~~~~~~~~~~~                      38
 39 Net gains from federal, NYS, and NYS political subdivisions debt ~~~~~                  39
 40 Interest from other states and their political subdivisions debt ~~~~~~~                40
 41 Net gains from other states and their political subdivisions debt ~~~~~~                41
 Section 210-A.5(a)(2)(C) (QFI  )
 42 Interest from asset-backed securities and other government agency debt           ~      42
 43 Net gains from government agency debt or asset-backed securities
      sold through an exchange ~~~~~~~~~~~~~~~~~~~~~~~                                      43
 44 Net gains from all other asset-backed securities ~~~~~~~~~~~~~~                         44
 Section 210-A.5(a)(2)(D) (QFI   )
 45 Interest from corporate bonds ~~~~~~~~~~~~~~~~~~~~~~                                    45
 46 Net gains from corporate bonds sold through broker/dealer or
         licensed exchange ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      46
 47 Net gains from other corporate bonds ~~~~~~~~~~~~~~~~~~~                                47
 Section 210-A.5(a)(2)(E)
 48 Net interest from reverse repurchase and securities borrowing agreements ~~~~~          48
 Section 210-A.5(a)(2)(F)
 49 Net interest from federal funds ~~~~~~~~~~~~~~~~~~~~~~                                  49
 Section 210-A.5(a)(2)(I) (QFI )
 50 Net income from sales of physical commodities ~~~~~~~~~~~~~~                            50
 Section 210-A.5(a)(2)(J) (QFI )
 51 Marked to market net gains ~~~~~~~~~~~~~~~~~~~~~~~~                                     51
 Section 210-A.5(a)(2)(H) (QFI      )
         210-A.5(a)(2)(G) (QFI      )
 52 Interest from other financial instruments ~~~~~~~~~~~~~~~~~                             52
 53 Net gains and other income from other financial instruments ~~~~~~~~                    53


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           TENTRR, INC.                                                                           XX-XXXXXXX
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                                                                                             A                       B
Receipts from: (continued)                                                                  MCTD                New York State

Section 210-A.5(b)
 54 Brokerage commissions      ~~~~~~~~~~~~~~~~~~~~~~~~~                             54
 55 Margin interest earned on behalf of brokerage accounts ~~~~~~~~~~                55
 56 Fees for advisory services for underwriting or management of underwriting ~~~~   56
 57 Receipts from primary spread of selling concessions ~~~~~~~~~~~                  57
 58 Receipts from account maintenance fees ~~~~~~~~~~~~~~~~~                         58
 59 Fees for management or advisory services ~~~~~~~~~~~~~~~~                        59
 60 Interest from an affiliated corporation                       60
Section 210-A.5(c)
 61 Interest, fees, and penalties from credit cards ~~~~~~~~~~~~~~~                  61
 62 Service charges and fees from credit cards ~~~~~~~~~~~~~~~~                      62
 63 Receipts from merchant discounts ~~~~~~~~~~~~~~~~~~~~                            63
 64 Receipts from credit card authorizations and settlement processing ~~~~          64
 65 Other credit card processing receipts                         65
Section 210-A.5(d)
 66 Receipts from certain services to investment companies                  66
Section 210-A.5-a
 67 Global intangible low-taxed income                           67
Section 210-A.6
 68 Receipts from railroad and trucking business                      68
Section 210-A.6-a
 69 Receipts from the operation of vessels                         69
Section 210-A.7
 70 Receipts from air freight forwarding ~~~~~~~~~~~~~~~~~~~~                        70
 71 Receipts from other aviation services                         71
Section 210-A.8
 72 Advertising in newspapers or periodicals ~~~~~~~~~~~~~~~~~                       72
 73 Advertising on television or radio ~~~~~~~~~~~~~~~~~~~~~                         73
 74 Advertising via other means                              74
Section 210-A.9
 75 Transportation or transmission of gas through pipes                  75
Section 210-A.10
 76 Receipts from other services/activities not specified                76           5,821.                 5,821.
Section 210-A.11
 77 Discretionary adjustments ~~~~~~~~~~~~~~~~~~~~~~~~                               77
 78 Total (add lines 24 through 77 in columns A and B) ~~~~~~~~~~~~ ¥           78        5,821. ¥                2,137,960.
 79 MCTD receipts factor (divide line 78, column A, by line 78, column B)  ¥ 79                .2723 %
                                                                                            A                        B
Payroll                                                                                                         New York State
                                                                                           MCTD
 80 Wages and other compensation of employees except general                                    ¥
      executive officers ~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 80                              1,557,540.                   1,557,540.
 81 MCTD payroll factor (divide line 80, column A, by line 80, column B) ~~~~~~~~~~~~~~~~~~~~~ ¥ 81               100.0000 %
 82 Total MCTD factors (add lines 23, 79, and 81) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        82     100.2723 %
 83 MCTD apportionment percentage (Divide line 82 by three; if a factor is missing, see instructions.
       Enter here and on line 2.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                              83       33.4241 %




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                TENTRR, INC.                                                                                                                 XX-XXXXXXX
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Composition of prepayments claimed on line 7 (see instructions)                                                                            Date paid                          Amount

 84 Mandatory first installment from Form CT-300 (see instructions) ~~~~~~~~~~~                                           84
 85 Second installment from Form CT-400 ~~~~~~~~~~~~~~~~~~~~~~~~                                                          85
 86 Third installment from Form CT-400 ~~~~~~~~~~~~~~~~~~~~~~~~~                                                          86
 87 Fourth installment from Form CT-400 ~~~~~~~~~~~~~~~~~~~~~~~~                        87
 88 Payment with extension request from Form CT-5, line 10, or Form CT-5.3, line 13 ~~~ 88
 89 Overpayment credited from prior years (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 89
 90 Add lines 84 through 89  ¥                                                                                  90
                                                           Period
 91 Overpayment credited from Form CT-                                          ~~~~~~~~~ ¥                                                            91
 92 Total prepayments (add lines 90 and 91; enter here and on line 7) ~~~~~~~~~~~~~~~~~~~~                                                             92

                                                           Designee's name (print)                                                                                  Designee's phone number
 Third - party
   designee                Yes     X      No               ALAN J. COHEN                                                                                             631-629-4344
 (see instructions)        Designee's email address          ALAN@ZERAHCO.COM                                                                                             PIN 22752

Certification: I certify that this return and any attachments are to the best of my knowledge and belief true, correct, and complete.
                      Printed name of authorized person                 Signature of authorized person                                             Official title

Authorized ANAND SUBRAMANIAN                                                                                                                           PRESIDENT
  person              Email address of authorized person                                                                               Telephone number                          Date

                ANAND@TENTRR.COM                                                                                                       646-230-1040                              10-11-22


                                                                                                                          b XX-XXXXXXX
                      Firm's name (or yours if self-employed)                                                                 Firm's EIN                             Preparer's PTIN or SSN

    Paid     GUTTERSON & COHEN TAX SPECIALISTS LLC                                                                                                                   P00185030
  preparer    Signature of individual preparing this return     Address                                               City                                      State        ZIP code
    use
    only                                                        445 BROADHOLLOW ROA                                   MELVILLE                                  NY           11747


                                                                                                                          b                                 b 03
 (see instr.) Email address of individual preparing this return                                                               Preparer's NYTPRIN       or       Excl. code      Date

                      ALAN@ZERAHCO.COM                                                                                                                                         10-11-22
See instructions for where to file.




                                                                                        168874
                                                                                        10-07-21
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                                               Department of Taxation and Finance

                                               Underpayment of Estimated Tax                                                                            CT-222
                                               By a Corporation
                                               Tax Law - Article 27, Section 1085
                                                                                                  All filers must enter tax period:
Tax return filed:            CT-3M                                                                beginning 01-01-21               ending               12-31-21

 Legal name of corporation                                                                                    Employer identification number


 TENTRR, INC.                                                                                                XX-XXXXXXX
Read the instructions, Form CT-222-I, before completing.
Part 1 - Annual payment
   1 Enter your 2021 corporation franchise, excise, or gross receipts tax after credits or enter the 2021
        metropolitan transportation business tax (MTA surcharge) (if both, use separate forms) ~~~~~~~                           1                             243.
   2 Multiply line 1 by 91% (.91) or, if a large corporation, 100% (1.0). Large corporations enter this
       amount on line 5 and skip lines 3 and 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2                             221.
   3 Enter your 2020 corporation franchise, excise, or gross receipts tax after credits or enter the 2020 MTA surcharge ~        3                             294.
   4 Enter the amount from line 101; if not using the line 9 exception, skip this line ~~~~~~~~~~~~~                             4
   5 Annual payment. Enter the lesser of lines 2, 3, or 4. Large corporations, enter the line 2 amount                       5                             221.
Part 2 - Reasons for filing
Mark an X in the boxes below that apply. If any boxes are marked, you must file Form CT-222 even if you do not owe a penalty.


   6 You are using the adjusted seasonal installment method (see instructions; complete applicable parts of Schedule A) ~~~~ ¥


   7 You are using the annualized income installment method (see instructions; complete applicable parts of Schedule A) ~~~~ ¥
   8 You are not a large corporation and figure your estimated tax based on the prior year's tax (the prior year cannot be a
             short year, and your return must have shown a tax liability) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               ¥
   9 You are not a large corporation and figure your estimated tax by applying to the tax base on which the current year's tax
     was paid the facts shown on your return for, and the law applicable to, the preceding tax year, but using the rates
     applicable to the current year (complete Schedule B) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           ¥

Part 3 - Computing the underpayment - for lines 11 through 19, complete one column before going to the next column.
                                                     A                    B                         C                                                         D
 10 Installment due dates (see instructions) ~ ¥ 04-15-21      ¥    06-15-21           ¥     09-15-21            ¥                                          12-15-21
 11 Required installments (see instructions) ~ ¥         74. ¥                   49. ¥                     49. ¥                                                 49.
  12 Estimated tax timely paid or credited for each                                      ¥                      ¥                                   ¥
        period (see instructions). For column A only,
             also enter the amount from this line on line 16 ¥
  13 Enter amount, if any, from line 19 of the
        preceding column ~~~~~~~~~~~
  14 Add lines 12 and 13 ~~~~~~~~~~~
  15 In column B, enter line 18, column A amount.
             In columns C and D, add amounts on
             lines 17 and 18 of the preceding column ~~                                                  74.                            123.                   172.
  16 In column A, enter the line 12 amount. For other
         columns, subtract line 15 from line 14. If zero
         or less, enter 0 ~~~~~~~~~~~~~                                             0.                     0.                                  0.                0.
  17 If the amount on line 16 is zero, subtract line 14
         from line 15. Otherwise, enter 0 ~~~~~~                                                         74.                            123.
  18 Underpayment - If line 16 is less than or equal
       to line 11, subtract line 16 from line 11.
       Otherwise, go to line 19 (see instructions) ~                              74.                    49.                              49.                   49.
  19 Overpayment - If line 11 is less than line 16,
       subtract line 11 from line 16 

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Part 4 - Computation of the                                             A                        B                           C                           D
        underpayment penalty (see instr.)                              First                   Second                       Third                      Fourth


  20 Enter the date of payment or the 15th day of the
       4th month after the end of the tax year,
       whichever is earlier (mm-dd-yy) ~~~~~~~                04-18-22                       04-18-22                   04-18-22                      04-18-22
     Number of days:
  21 From due date of installment to the date
       shown on line 20 ~~~~~~~~~~~~~                                          365                  304                             212                         121
  22 On line 21 after 3/15/21 and before 4/1/21        ~
  23 On line 21 after 3/31/21 and before 7/1/21        ~                          76                    15
  24 On line 21 after 6/30/21 and before 10/1/21 ~                                92                    92                           15
  25 On line 21 after 9/30/21 and before 1/1/22 ~                                 92                    92                           92                          16
  26 On line 21 after 12/31/21 and before 4/1/22 ~                                90                    90                           90                          90
  27 On line 21 after 3/31/22 and before 7/1/22 ~                                 15                    15                           15                          15
  28 On line 21 after 6/30/22 and before 10/1/22 ~
  29 On line 21 after 9/30/22 and before 1/1/23 ~
  30 On line 21 after 12/31/22 and before 3/15/23
  31 On line 22 ^ 365 x %* x amount on line 18 ~~
  32 On line 23 ^ 365 x %* x amount on line 18 ~~                                 1.
  33 On line 24 ^ 365 x %* x amount on line 18 ~~                                 1.                    1.
  34 On line 25 ^ 365 x %* x amount on line 18 ~~                                 1.                    1.                           1.
  35 On line 26 ^ 365 x %* x amount on line 18 ~~                                 1.                    1.                           1.                          1.
  36 On line 27 ^ 365 x %* x amount on line 18 ~~
  37 On line 28 ^ 365 x %* x amount on line 18 ~~
  38 On line 29 ^ 365 x %* x amount on line 18 ~~
  39 On line 30 ^ 365 x %* x amount on line 18 ~~
  40 Add lines 31 through 39 ~~~~~~~~~~                                           4.                    3.                           2.                          1.
  41 Underpayment penalty (see instructions) ~ ¥                                  4.     ¥              3. ¥                         2.         ¥                1.
                                    SEE STATEMENT 1
  42 Add line 41, columns A through D; enter here and on your franchise tax return or MTA surcharge return ~~~~~            42                                   10.
  43 Multiply line 1 by 80% (.8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          43                                             194.
  44 Subtract line 11, column A from line 43 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     44                                             120.
  45 Divide line 44 by three                                              45                                              40.
* For applicable rates, access our website or call the Corporation Tax Information Center (see Need help? in Form CT-1).

Schedule A, Part 1 - Adjusted seasonal installment method (see instructions)
Note: Use this method only if the base period percentage for any 6 consecutive months is at least 70%. Use lines 46
through 51 below to compute the base period percentage. When appropriate, in lieu of ENI, use the applicable tax base.
                                                                                 A - 2018                 B - 2019                                  C - 2020
  46 Enter the period of 6 consecutive months for which the base period
        percentage is to be computed:


    ¥                            through      ¥


  47 Enter the ENI for the same 6 consecutive month period in
        preceding periods ~~~~~~~~~~~~~~~~~~~~~ ¥                                                           ¥                               ¥
  48 Enter the total ENI for the entire year in preceding periods ~~~ ¥                                     ¥                               ¥
  49 In each column, enter as a percentage the result of dividing that
         column's line 47 by that column's line 48 ~~~~~~~~~~                                           %                               %                               %
  50 Add the percentages in ln 49, columns A, B, and C; enter the result here ~                         %
  51 Base period percentage: Divide line 50 by three; enter the result here ~~                          %       If 70% or higher, continue with Schedule A, line 52a.

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                                                              A          B - 1st 5 months         C - 1st 8 months        D - 1st 11 months
Enter ENI for the following:
52a Tax year beginning in 2018 ~~~~~~~~~~                            ¥                        ¥                       ¥
52b Tax year beginning in 2019 ~~~~~~~~~~                            ¥                        ¥                       ¥
52c    Tax year beginning in 2020 ~~~~~~~~~~                         ¥                        ¥                       ¥
 53    Enter the total of the amounts that enter into the            ¥                        ¥                       ¥
           computation of the business income base for
           2021 for the months delineated in each column
Enter ENI for the following periods:                                        1st 6 months             1st 9 months               Entire year
54a Tax year beginning in 2018 ~~~~~~~~~~                            ¥                        ¥                       ¥
54b Tax year beginning in 2019 ~~~~~~~~~~                            ¥                        ¥                       ¥
54c    Tax year beginning in 2020 ~~~~~~~~~~                         ¥                        ¥                       ¥
 55    Divide the amount in each column on line 52a by
           the amount in column D on line 54a ~~~~
 56    Divide the amount in each column on line 52b by
           the amount in column D on line 54b ~~~~
 57    Divide the amount in each column on line 52c by
           the amount in column D on line 54c ~~~~
 58    Add lines 55 through 57    ~~~~~~~~~~~
 59    Divide line 58 by three ~~~~~~~~~~~~
 60    Divide line 53 by line 59 ~~~~~~~~~~~~
 61    Figure the tax on the amount on line 60 using the             ¥                        ¥                       ¥
           instructions for your corporation's return
           (see instructions for MTA surcharge) ~~~~
 62    Divide the amount in each of columns B and C on
           line 54a by the amount in column D on line 54a
 63    Divide the amount in each of columns B and C on
           line 54b by the amount in column D on line 54b
 64    Divide the amount in each of columns B and C on
           line 54c by the amount in column D on line 54c
 65    Add lines 62 through 64    ~~~~~~~~~~~
 66    Divide line 65 by three ~~~~~~~~~~~~
 67    Multiply the amounts in columns B and C of line
           61 by columns B and C of line 66. In column
           D, enter the amount from line 61, column D ~
 68    Enter any other taxes for each payment period                 ¥                        ¥                       ¥
          (see instructions) ~~~~~~~~~~~~~~
 69    Total tax before credits (add lines 67 and 68)
 70    Enter the amount of tax credits your corporation              ¥                        ¥                       ¥
           is entitled to for the months shown in each
           column heading above line 52a     ~~~~~~
 71    Total tax after credits. Subtract line 70 from
          line 69. If zero or less, enter 0 ~~~~~~~
 72    If not a large corporation, enter .91 (91%).
           Otherwise, enter 1 ~~~~~~~~~~~~~
 73    Multiply line 71 by line 72 


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Schedule A, Part 2 - Annualized income installment method
                                               A                                              B                          C                      D

 74 Annualized periods (see instructions) ~~~                                       1st   ¥       months   1st     ¥         months   1st   ¥       months
                                                                                    ¥                      ¥                          ¥
 75 See instructions ~~~~~~~~~~~~~
 76 See instructions ~~~~~~~~~~~~~
 77 Annualized taxable inc. Multiply line 75 by line 76
 78 Figure the tax on the line 77 amount using the                                  ¥                      ¥                          ¥
          instructions for your corporation's return
          (see instructions for MTA surcharge) ~~
 79   Enter any other taxes for each payment period     (see instr.)                ¥                      ¥                          ¥
 80 Total tax before credits (add lines 78 and 79)
 81 Tax credits (see instructions) ~~~~~~~                                          ¥                      ¥                          ¥
 82 Total tax after credits. Subtract line 81 from
       line 80; if zero or less, enter 0 ~~~~~
 83 If not a large corporation, enter .91 (91%).
        Otherwise, enter 1 ~~~~~~~~~~~
 84 Multiply line 82 by line 83 ~~~~~~~~~
 85 Applicable percentage ~~~~~~~~~~                                                                50%                        75%                    100%
 86 Multiply line 84 by line 85 ~~~~~~~~~

Schedule A, Part 3 - Required installment - In completing Part 3, complete one column before going to the next column.
                                                  A                        B                        C                                           D
 87   If only Schedule A, Part 1 or Part 2 is completed, enter the

         amount in each column from line 73 or line 86. If both

         parts are completed, enter the smaller of the amounts in

         each column from line 73 or line 86     ~~~~~~~
 88 Add the amounts in all preceding columns of line 93
 89 Subtract line 88 from line 87. If zero or less, enter 0
 90   Subtract line 11, column A (MFI), from line 5. Divide the

         result by three and enter in each of columns B, C, and D

 91   In column C, subtract line 89, column B from line 90,

         column B. If zero or less, enter 0. In column D,

         subtract line 93 , column C from line 92, column C

         and enter the result   ~~~~~~~~~~~~~
 92 Add lines 90 and 91 ~~~~~~~~~~~~
 93 Required installments - For column A, enter the
         amount from line 11, column A (MFI). For column B, enter

         the smaller of line 89, column B or line 90, column B.

         For columns C and D, respectively, enter the smaller

         of line 89 or line 92. Also enter each result on line 11   ~

Schedule B - Line 9 exception (see instructions)
 94 2020 ENI or business income (as applicable) base multiplied by 2021 ENI or business
      income base tax rate (as applicable) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        ¥    94
 95 2020 capital base multiplied by 2021 capital tax rate ~~~~~~~~~~~~~~~~~~~~~                                ¥    95
 96 Enter the amount from line 94 or 95 as applicable ~~~~~~~~~~~~~~~~~~~~~~~                                       96
 97 2020 subsidiary capital base multiplied by 2021 subsidiary capital tax rate ~~~~~~~~~~~~~~~                ¥    97
 98 Any other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         ¥    98
 99 Add lines 96, 97, and 98 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    99
100 2020 tax credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   ¥   100
101 Recomputed tax (subtract line 100 from line 99); enter here and on line 4 ~~~~~~~~~~~~                         101


                                                                        168724
                                                                        10-07-21    1019
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TENTRR, INC.                                                         XX-XXXXXXX
}}}}}}}}}}}}                                                         }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NY FORM CT-3M                                                     STATEMENT 1
NY FORM CT-33M           UNDERPAYMENT OF ESTIMATED TAX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
Q
T      EVENT     REMAINING          PERIOD OF       DAYS INTEREST AMOUNT OF
R   AMOUNT TYPE UNDERPAYMENT       UNDERPAYMENT            RATE      PENALTY
- }}}}}}}}}}}}}} }}}}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}} }}}}}}}}} }}}}}}}}}}}
A
               Q         74. 04/15/2021 06/30/2021 76      7.5000           1.
               R         74. 06/30/2021 09/30/2021 92      7.5000           1.
               R         74. 09/30/2021 12/31/2021 92      7.5000           1.
               R         74. 12/31/2021 03/31/2022 90      7.5000           1.
               R         74. 03/31/2022 04/15/2022 15      8.0000           0.

B
                 Q              49.   06/15/2021 06/30/2021        15     7.5000            0.
                 R              49.   06/30/2021 09/30/2021        92     7.5000            1.
                 R              49.   09/30/2021 12/31/2021        92     7.5000            1.
                 R              49.   12/31/2021 03/31/2022        90     7.5000            1.
                 R              49.   03/31/2022 04/15/2022        15     8.0000            0.

C
                 Q              49.   09/15/2021 09/30/2021        15     7.5000            0.
                 R              49.   09/30/2021 12/31/2021        92     7.5000            1.
                 R              49.   12/31/2021 03/31/2022        90     7.5000            1.
                 R              49.   03/31/2022 04/15/2022        15     8.0000            0.

D
                 Q              49.   12/15/2021 12/31/2021        16     7.5000            0.
                 R              49.   12/31/2021 03/31/2022        90     7.5000            1.
                 R              49.   03/31/2022 04/15/2022        15     8.0000            0.
                                                                                   }}}}}}}}}}}
    TOTAL TO FORM CT-222 LINE 42                                                           10.
                                                                                   ~~~~~~~~~~~
      EVENT TYPE: Q   =   QUARTERLY AMOUNT DUE
                  P   =   PAYMENT
                  R   =   INTEREST RATE CHANGE
                  L   =   LEAP YEAR CHANGE
                  O   =   OVERPAYMENT FROM PRIOR YEAR/QUARTER




                                                                                   STATEMENT(S) 1
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                 2021 TAX RETURN FILING INSTRUCTIONS
                               NEW YORK CITY FORM NYC-2

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2021

PREPARED FOR:


            TENTRR, INC.
            25 W. 39TH STREET, 7TH FLOOR
            NEW YORK, NY 10018

PREPARED BY:

            GUTTERSON & COHEN TAX SPECIALISTS LLC
            445 BROADHOLLOW ROAD STE 230
            MELVILLE, NY 11747


TO BE SIGNED AND DATED BY:

            THE APPROPRIATE CORPORATE OFFICER(S).

AMOUNT OF TAX:

            TOTAL TAX                       $                        25
            LESS: PAYMENTS AND CREDITS      $                        25
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            NO PAYMENT REQUIRED             $

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN AND CHECK (IF APPLICABLE) TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU WISH TO
            HAVE IT TRANSMITTED TO THE NYC DOF, PLEASE SIGN, DATE AND RETURN
            NYC-579-COR TO OUR OFFICE. WE WILL THEN SUBMIT THE RETURN TO THE
            NYC DOF. DO NOT MAIL A PAPER COPY OF THE RETURN.

RETURN MUST BE MAILED ON OR BEFORE:

            NOT APPLICABLE

SPECIAL INSTRUCTIONS:
                               Case 23-10000-BLS                       Doc 1          Filed 01/02/23               Page 289 of 304

                                                                NEW YORK CITY DEPARTMENT OF FINANCE
                          N Y C
    NYC                                                       Signature Authorization for                                                                           2021
Department of Finance   579-COR
                                                       E-Filed Business Corporation Tax Return
         ELECTRONIC RETURN ORIGINATORS (ERO): DO NOT MAIL THIS FORM TO THE DEPARTMENT OF FINANCE. KEEP THIS FOR YOUR RECORDS.
 LEGAL NAME OF CORPORATION:                                                                  EMPLOYER IDENTIFICATION NUMBER
TENTRR, INC.                                                                                                                       XX-XXXXXXX
 EMAIL ADDRESS:                                                      TYPE OF           NYC-EXT           NYC-EXT.1             NYC-300 (2022)              NYC-400 (2022)
ANAND@TENTRR.COM                                                     RETURN:      X NYC-2                NYC-2A                NYC-2S

 Financial Institution Information - must be included if electronic payment is authorized
 AMOUNT OF AUTHORIZED DEBIT:                      FINANCIAL INSTITUTION ROUTING NUMBER:                           FINANCIAL INSTITUTION ACCOUNT NUMBER:

 Part A - Declaration and authorization of corporate officer for Forms NYC-2, NYC-2A, NYC-2S, NYC-EXT, NYC-EXT.1, NYC-300 or NYC-400
 Under penalty of perjury, I declare that I am an officer of the corporation authorized to act on behalf of the above-named corporation, and that I have examined
 the information on its 2021 New York City electronically filed corporation tax return, including any accompanying schedules, attachments, and statements or
 other report checked above, and to the best of my knowledge and belief, the electronically filed corporation tax return or other report is true, correct, and complete.
 The ERO has my consent to send the 2021 New York City electronically filed corporation tax return or other report checked above to New York City Department
 of Finance through the Internal Revenue Service. I authorize the ERO to enter my PIN as my signature on the 2021 New York City electronically filed
 corporation tax return or other report, or I will enter my PIN as my signature on the 2021 New York City electronically filed corporation tax return or other report.
 If I am paying the New York City corporation tax owed by electronic funds withdrawal, I authorize the New York City Department of Finance and its designated
 financial agents to initiate an electronic funds withdrawal from the financial institution account indicated on the corporation's 2021 New York City
 electronically filed corporation tax return or other report, and I authorize the financial institution to debit the amount from that account.
 Officer's PIN (mark an X in one box only)

  X         I authorize   GUTTERSON & COHEN TAX SPECIALISTS LLC                                                         to enter my PIN:                12345
                                                            ERO FIRM NAME
            as my signature on the corporation's 2021 electronically filed corporation tax return or other report checked above.
            As an authorized person of the corporation, I will enter my PIN as my signature on the corporation's 2021 electronically filed corporation
            tax return or other report checked above.

                                                                                      PRESIDENT
  Signature of authorized person                                                       Official title                                               Date

 Part B - Declaration of electronic return originator (ERO) and paid preparer
 Under penalty of perjury, I declare that the information contained in the above-named corporation's 2021 New York City electronically filed corporation tax return or other
 report checked above is the information furnished to me by the corporation's authorized officer. If the corporate officer furnished me with a completed 2021 New York
 City paper corporation tax return or other report signed by a paid preparer, I declare that the information contained in the corporation's 2021 New York City electronically
 filed corporation tax return or report is identical to that contained in the paper return or report. If I am the paid preparer, under penalty of perjury I declare that I have
 examined this 2021 New York City electronically filed corporation tax return or other report, and, to the best of my knowledge and belief, the return or other report is true,
 correct, and complete. I have based this declaration on all information available to me.


  ERO EFIN/PIN: Enter your six-digit EFIN followed by your five digit PIN:               11357722752


    ERO's Signature                                                         Print Name                                                      Date

                                                                           ALAN J. COHEN                                                              10/11/22
    Paid Preparer's Signature                                               Print Name                                                      Date

 PURPOSE - A completed Form NYC-579-COR provides documentation that an ERO has been authorized to electronically file the Business Corporation Tax return or
 other report. The officer of the corporation who is authorized to sign the corporation's returns may designate the ERO to electronically sign the return or other report by
 entering the officer's personal identification number (PIN). The form also authorizes payment of tax due on an electronically submitted return or report by an automatic
 clearing house (ACH) debit from a designated checking or savings account of the corporation. You cannot revoke this authorization.
 GENERAL INSTRUCTIONS - Part A must be completed by an officer of the corporation who is authorized to sign the corporation's return or report before the ERO
 transmits the electronically filed Form NYC-2A (Combined Business Corporation Tax Return); NYC-2 (Business Corporation Tax Return); NYC-2S (Business Corporation
 Tax Return); NYC-EXT (Application for 6-month Extension to File Business Income Tax Return); NYC-EXT.1 (Application for Additional Extension); NYC-300 (Mandatory
 First Installment (MFI) by Business C Corporations) or NYC-400 (Declaration of Estimated Tax by Business Corporations and Subchapter S General Corporations).
 EROs/paid preparers must complete Part B prior to transmitting electronically filed corporation tax returns or reports (Forms NYC-2, NYC-2A, NYC-2S, NYC-EXT,
 NYC-EXT.1, NYC-300 or NYC-400). Both the paid preparer and the ERO are required to sign Part B. However, if an individual performs as both the paid preparer and
 the ERO, he or she is only required to sign as the paid preparer. It is not necessary to include the ERO signature in this case.
 Do not mail Form NYC-579-COR to the Department of Finance. The EROs/paid preparers must keep the completed Form NYC-579-COR for three years from
 the due date of the return or report or the date the return or report was filed, whichever is later, and must present it to the Department of Finance upon request.


194321 11-30-21                                                                                                                    05                       NYC-579-COR 2021
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                                        NYC-2                                         BUSINESS CORPORATION TAX RETURN                                                                                                              2021
                                        Department of Finance                         To be filed by C Corporations ONLY - All Subchapter S Corporations must file Form NYC-1, NYC-3L, NYC-4S or NYC-4SEZ

                                                                                      For CALENDAR YEAR 2021 or FISCAL YEAR beginning                                                                  and ending
                                          Name and Address                                                                                                                                      Name                      Employer Identification
                                                                                                                                                                                                Change                          Number:


                                        TENTRR, INC.                                                                                                                                            Address
                                                                                                                                                                                                Change              XX-XXXXXXX
                                        ANAND SUBRAMANIAN
                                                                                                                                                                                                                         Business Code Number
                                        25 W. 39TH STREET, 7TH FLOOR                                                                                                             Country (if not US)                      as per federal return:
                                        NEW YORK, NY 10018                                                                                                                                                                 454110
                                         Business telephone
                                         number             646-230-1040 Taxpayer's
                                                                         email address:                                                          ANAND@TENTRR.COM
                                         State or country
                                         of organization  DELAWARE       Date organized
                                                                                                                                                 02-03-15                                                          2-character special condition
                                          Date business                                                  Final - Check this box if you have           If final return, date business ended in NYC                  code, if applicable
                                          began in NYC                                                   Return ceased operations in NYC                                                                           (See instructions):
                                                                02-03-2015
  CHECK ALL
  THAT APPLY                                    Special short period return                            52/53-week taxable year                   Pro-forma federal return attached                     Claim any 9/11/01 - related federal tax benefits

                                                                                                          IRS change
                                            If the purpose of the amended return is to report a                                  Date of Final
            Amended return                  federal or state change, check the appropriate box:           NYS change             Determination

   Have you attached any of the following
   forms to this return? If yes, check all that apply.                 Form NYC-2.1                          Form NYC-2.2                           Form NYC-2.3                      X      Form NYC-2.4                      X      Form NYC-2.5
   SCHEDULE A - Computation of Balance Due or Overpayment                                                                                                                                                         Payment Amount

  A. Payment       Amount being paid electronically with this return                                                                                                    A.
 1. Tax on business income base (from Schedule B, line 38) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                         1.
 2. Tax on capital base (from Schedule C, Part 3, line 5) Maximum Tax is $10,000,000 ~~~~~~~~~~~~~~~                                                                                           2.                                               0.
 3. Minimum tax - (see instructions) - NYC Gross Receipts:                        5,821.   ~~~~~~~~~                                                                                           3.                                              25.
 4. Tax (enter the amount from line 1, 2 or 3, whichever is largest) ~~~~~~~~~~~~~~~~~~~~~~~                                                                                                   4.                                              25.
 5. UBT Paid Credit (attach Form NYC-9.7C) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                  5.
 6. Tax after UBT Paid Credit (subtract line 5 from line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                      6.                                              25.
 7. REAP Credit (attach Form NYC-9.5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                     7.
 8. Real Estate Tax Escalation, Employment Opportunity Relocation and IBZ Credits (attach Form NYC-9.6) ~~~~~~~                                                                                8.
 9. LMREAP Credit (see instructions and attach Form NYC-9.8) ~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                         9.
10. Intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                      10.
11. Beer Production Credit (attach Form NYC-9.12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            11.
12. Net Tax after credits (subtract lines 7, 8, 9 and 11 from line 6) ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               12.                                               25.
13. Total prepayments (from Composition of Prepayments Schedule, page 2, line G) ~~~~~~~~~~~~~~~                                                                                             13.                                               25.
14. Balance due (subtract line 13 from line 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            14.
15. Overpayment (subtract line 12 from line 13)                                                                                                             15.
16a. Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~ 16a.
16b. Additional charges (see instructions) ~~~~~~~~~~~~~~~~~~~~ 16b.
16c. Penalty for underpayment of estimated tax (attach Form NYC-222) ~~~~~~~ 16c.                                                                                                           0.
17. Total of lines 16a, 16b and 16c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17.
18. Net overpayment (line 15 less line 17) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18.
19. Amount of line 18 to be: a. Refunded -     Direct deposit - fill out line 19c OR Paper check ~~~~~~ 19a.
                                                b. Credited to 2022 estimated tax                   ~~~~~~~~~~~~~~~~~~~~~~~~~~ 19b.
19c. Routing                                                           Account                       Checking
                                                                                     Account Type:
    Number:                                    Number:                                               Savings
20. TOTAL REMITTANCE DUE. (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                               20.
21. NYC rent deducted on federal tax return or NYC rent from Schedule E, part 1 ~~~~~~~~~~~~~~~~~~~                                                                                          21.                                  18,333.
22. Federal Return Filed: X 1120            1120C         1120F       1120-RIC    1120-REIT      1120-H       Other / None

23. Gross receipts or sales from federal return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           23.                     4,846,290.
24. Total assets from federal return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                 24.                    12,332,543.

30712105                                                   ATTACH COPY OF YOUR FEDERAL RETURN. SEE PAGE 2 FOR PAYMENT AND MAILING INSTRUCTIONS                                                                                           NYC-2 - 2021




188661
12-07-21                                                                                                                                                                                                                                             05
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Form NYC-2 - 2021           NAME:      TENTRR, INC.                                                                               EIN:     XX-XXXXXXX                             Page 2


COMPOSITION OF PREPAYMENTS SCHEDULE
   PREPAYMENTS CLAIMED ON SCHEDULE A, LINE 13                                                                                             DATE                 AMOUNT
A. Mandatory First Installment paid for tax year 2021
    (Do not include your mandatory first installment paid for tax year 2022) ~~~~~~~~
B. Payment with Declaration, Form NYC-400 ~~~~~~~~~~~~~~~~~~~~~~
C. Payment with Notice of Estimated Tax Due ~~~~~~~~~~~~~~~~~~~~~~
D. Payment with Notice of Estimated Tax Due ~~~~~~~~~~~~~~~~~~~~~~
E. Payment with extension, Form NYC-EXT ~~~~~~~~~~~~~~~~~~~~~~~                                                                   04-15-22                                         25.
F. Overpayment from preceding year credited to this year                          ~~~~~~~~~~~~~~~
G. TOTAL of A through F (enter on Schedule A, line 13)                                                                                                            25.




                                                 CERTIFICATION OF AN ELECTED OFFICER OF THE CORPORATION
                                                                                                                                                                  Firm's email address
              I hereby certify that this return, including any accompanying rider, is,to the best of my knowledge and belief, true, correct and

              complete. I authorize the Dept. of Finance to discuss this return with the preparer listed below. (See instructions) ~~~~~~~ YES X              ALAN@ZERAHCO
SIGN HERE     Signature of officer                                                                        Title   PRESIDENT             Date
                                                                                                                                                                 Preparer's Social Se-
                                                                                                                                                                 curity Number or PTIN



                                                                                                                                    g
                                                       Preparer's
                                                                 Check if self-
                                                                                             P00185030
PREPARER'S Preparer's                                  printed
                                            ALAN J. COHEN        employed             10-11-22
USE        signature                                   name                      Date
ONLY                                                    445 BROADHOLLOW ROAD STE 230            Firm's Employer
 GUTTERSON & COHEN TAX SPECIALIST                       MELVILLE, NY 11747                      Identification No.
 K Firm's name (or yours, if self-employed)          K Address                  K Zip Code   XX-XXXXXXX


                                                                                 MAILING INSTRUCTIONS


 Attach copy of all pages of your federal tax return or pro forma federal tax return. The due date for the calendar year 2021 return is
 on or before April 15, 2022. For fiscal years beginning in 2021, file on or before the 15th day of the 4th month following the close of the
 fiscal year.



    ALL RETURNS EXCEPT REFUND RETURNS                                                   REMITTANCES                                               RETURNS CLAIMING REFUNDS
    NYC DEPARTMENT OF FINANCE                                                  PAY ONLINE WITH FORM NYC-200V                                      NYC DEPARTMENT OF FINANCE
                                                                                    AT NYC.GOV/ESERVICES
    BUSINESS CORPORATION TAX                                                                  OR                                                  BUSINESS CORPORATION TAX
    P.O. BOX 5564                                                          Mail Payment and Form NYC-200V ONLY to:                                P.O. BOX 5563
    BINGHAMTON, NY 13902-5564                                                    NYC DEPARTMENT OF FINANCE                                        BINGHAMTON, NY 13902-5563
                                                                                        P.O. BOX 3933
                                                                                  NEW YORK, NY 10008-3933




                                                                      30722105                  188669 12-07-21                                                                          05
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Form NYC-2 - 2021            NAME: TENTRR,                INC.                                                             EIN:    XX-XXXXXXX                       Page 3

 SCHEDULE B - Computation of Tax on Business Income Base
 1. Federal taxable income (FTI) before net operating loss (NOL) and special deductions (see instructions) ~~~~~~~~~~ 1.                                     -6,113,971.
 2. Dividends and interest effectively connected with the conduct of a trade or business in the United States NOT included on
    line 1 by alien corporations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           2.
 3. Any other income not included on line 1 which is exempt by treaty from federal income tax but would otherwise be treated
    as effectively connected with the conduct of a trade or business in the United States by alien corporations ~~~~~~~~~ 3.
 4. Dividends not included on line 1 by non-alien corporations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4.
 5. Interest on federal, state, municipal and other obligations not included on line 1 by non-alien corporations ~~~~~~~~~ 5.
 6. Income taxes paid to the US or its possessions deducted on federal return ~~~~~~~~~~~~~~~~~~~~~~~ 6.
                                                                                                                            STATEMENT 1 7.
 7. NYS Franchise Tax, including MTA taxes and other business taxes deducted on the federal return (see inst; attach rider) ~~~~~~~~~~~                          2,475.
 8. NYC Corporate Taxes deducted on federal return          (see  instructions)   ~~~~~~~~~~~~~~~~~~~~~~~~~~ 8.                                                     25.
 9. Adjustments relating to employment opportunity relocation cost credit and IBZ credit ~~~~~~~~~~~~~~~~~~ 9.
10. Adjustments relating to real estate tax escalation credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10.
11. ACRS depreciation and/or adjustments (attach Form NYC-399 and/or NYC-399Z) ~~~~~~~~~~~~~~~~~~ 11.
12. Payment for use of intangibles ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12.
13. Intentionally omitted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13.
14. Other additions (see instructions; attach rider) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 14.
15. Total of lines 1 through 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 15.                                                                              -6,111,471.
16. Gain on sale of certain property acquired prior to 1/1/66 (see instructions) ~~~~~~~~~~~~~~~~~~~~~~ 16.
17. NYC and NYS tax refunds included in line 15 (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17.
18. Wages and salaries subject to IRC ¤280C deduction disallowance (see instructions) ~~~~~~~~~~~~~~~~~~ 18.
19. Depreciation and/or adjustment calculated under pre-ACRS or pre-9/11/01 rules (attach Form NYC-399
    and/or NYC-399Z; see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 19.
20. Other subtractions (see instructions) (attach rider) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 20.
21. Total subtractions (add lines 16 through 20) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 21.
22. Net modifications to federal taxable income (subtract line 21 from line 15) ~~~~~~~~~~~~~~~~~~~~~~ 22.                                                   -6,111,471.
23. Subtraction modification for qualified banks and other qualified lenders (from Form NYC-2.2, Schedule A, line 1; see instructions) ~~~~~~~~ 23.
24. Entire net income (ENI) (subtract line 23 from line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 24.                                                              -6,111,471.
25. Investment and other exempt income (from Form NYC-2.1, Schedule D, line 1) ~~~~~~~~~~~~~~~~~~~ 25.
26. Entire net income less investment and other exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 26.                                                              -6,111,471.
27. Excess interest deductions attributable to investment income, investment capital and other exempt income (from Form NYC-2.1, Schedule D, line 2) ~ 27.
28. Business income (add lines 26 and 27) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 28.                                                                          -6,111,471.
29. Addback of income previously reported as investment income (from Form NYC-2.1, Schedule F,
    Part 2, line 6; if zero or less, enter 0; see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 29.
30. Business income after addback (add lines 28 and 29) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 30.                                                                  -6,111,471.
31. Intentionally Omitted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 31.
32a. Allocated business income after addback (Multiply Line 30 by the business allocation percentage from
    Schedule F, Part 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      32a.                                 -7,334.
32b. If the amount on line 32a is not correct, enter correct amount here and explain in rider (see instructions) ~~~~~~~~~ 32b.
33. Prior net operating loss conversion subtraction (from Form NYC-2.3, Schedule C, line 4) ~~~~~~~~~~~~~~~ 33.
34. Allocated business income less prior net operating loss conversion subtraction (see instructions) ~~~~~~~~~~~~ 34.                                          -7,334.
35. Net operating loss deduction (from Form NYC-2.4, Schedule A, line 6) ~~~~~~~~~~~~~~~~~~~~~~~ 35.
36. Business income base (subtract line 35 from line 34) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 36.                                                                    -7,334.
37. Tax rate (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 37.                                                                                 6.5000 %
38. Tax on business income base (multiply line 36 by line 37 and enter here and on Schedule A, line 1) ~~~~~~~~~ 38.

            Note: If you make an entry on line 23, 25, 27, 29, 33 or 35, you must complete and file the appropriate attachment form.




                                                             30732105                                                188662 12-07-21                                   05
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Form NYC-2 - 2021                 NAME:       TENTRR, INC.                                                               EIN:   XX-XXXXXXX                      Page 4

SCHEDULE C - Computation of Tax on Capital Base
 Part 1 - Computation of Total Business Capital
Basis used to determine average value in column C. Check one. (Attach detailed schedule.)
  X - Annually           - Semi-
                           annually      - Quarterly
                                                         COLUMN A                                                    COLUMN B                 COLUMN C
                                                      Beginning of Year                                              End of Year             Average Value
      - Monthly          - Weekly        - Daily
  1. Total assets from federal return ~~~~~~               5,227,792.                                                12,332,543.                  8,780,168.
  2. Real property and marketable securities included in line 1 ~~~
  3. Subtract line 2 from line 1 ~~~~~~~~~                                                                                                        8,780,168.
  4. Real property and marketable securities at fair market value
  5. Adjusted total assets (add lines 3 and 4) ~~                                                                                                 8,780,168.
  6. Total liabilities ~~~~~~~~~~~~~~                                                     4,265,828.                     7,437,500.               5,851,664.
  7. Total capital (subtract line 6, column C, from line 5, column C) ~~~~~~~~~~~~~~~~~~~~~~~ 7.                                                  2,928,504.
  8. Investment capital (from Schedule D, line 4; if zero or less, enter 0) ~~~~~~~~~~~~~~~~~~~~~~ 8.
  9. Business capital (subtract line 8 from line 7) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 9.                                                          2,928,504.
10. Addback of capital previously reported as investment capital (from Schedule D, line 5, column C; if zero or less, enter 0) 10.
11. Total business capital (add lines 9 and 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 11.                                                            2,928,504.

Part 2 - Computation of Liabilities Attributable to Investment Capital and
                                                                                                                     COLUMN A                   COLUMN B
         Within Business Capital
 1. Total liabilities (Schedule C, Part 1, line 6) (see instructions) ~~~~~~~~ 1.                                                                 5,851,664.
 2. Liabilities directly attributable to investment capital
      (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          2.
  3. Liabilities directly attributable to business capital ~~~~~~~~~~~~~~~ 3.
  4. Total liabilities directly attributable (add lines 2 and 3) ~~~~~~~~~~~~~ 4.
  5. Total liabilities indirectly attributable (subtract line 4 from line 1) ~~~~~~~~ 5.                                                          5,851,664.
  6. Average FMV of investment capital before subtraction of liabilities attributable
     (Form NYC-2.1, Schedule E, Part 4, Column F, line 4) (see instructions) ~~ 6.
  7. Average FMV of adjusted total assets (Schedule C, Part 1, line 5) (see instr.) ~ 7.                                 8,780,168.
 8. Investment capital factor (divide line 6 by line 7) ~~~~~~~~~~~~~~~ 8.                                                                                   .0000 %
 9. Liabilities indirectly attributable to investment capital (multiply line 5 by line 8) ~~ 9.
10. Average FMV of business capital before subtraction of liabilities attributable
      (subtract line 6 from line 7) ~~~~~~~~~~~~~~~~~~~~~~~~ 10.                                                         8,780,168.
11. Liabilities indirectly attributable to business capital (subtract line 9 from line 5) ~~ 11.                         5,851,664.
12. Liabilities directly and indirectly attributable to business capital (add lines 3
    and 11; if this line 12 exceeds line 10, STOP and do not go further) (see instr.)~~ 12.                              5,851,664.
13. Liabilities directly attributable to Insurance and Utility Capital ~~~~~~~~~ 13.
14. Liabilities directly attributable to General Business Capital ~~~~~~~~~~~ 14.
15. Average FMV of Insurance and Utility Capital before subtraction of
    liabilities attributable ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 15.
16. Insurance and Utility Capital factor (divide line 15 by line 10) ~~~~~~~~~ 16.                                                                                  %
17. Liabilities indirectly attributable to Insurance and Utility Capital (multiply line
    16 by line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17.
18. Liabilities attributable to Insurance and Utility Capital (add lines 13 and 17) ~~~ 18.
19. Net Insurance and Utility Capital (subtract ln. 18 from line 15 and add any negative
      value from line 22, if this line 19 has a positive value without such addition) (see instr.)   ~~~~ 19.
20. Allocated Insurance and Utility Capital (multiply line 19 by the business allocation
    percentage from Schedule F, Part 3) ~~~~~~~~~~~~~~~~~~~~ 20.
21. Liabilities attributable to General Business Capital (subtract line 2, line 9,
    line 13 and line 17 from line 1) ~~~~~~~~~~~~~~~~~~~~~~~ 21.                                                         5,851,664.
22. Net General Business Capital (subtract line 15 and line 21 from line 10, add any
    amount on Schedule C, Part 1, line 10 and add any negative value from line 19,
    if this line 22 has a positive value without such addition) (see instructions) ~~~ 22.                               2,928,504.




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SCHEDULE C - (Continued)
Part 3 - Computation of tax on capital base
1a. Allocated General Business Capital (multiply Schedule C, Part 2, line 22 by the business allocation percentage
    from Schedule F, Part 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           1a.                  3,514.

1b. At tax rate 0.15% (multiply line 1a by 0.15%)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1b.                           5.

2a. Allocated insurance and utility capital (Schedule C, Part 2 line 20) (see instructions) ~~~~~~~~~~~~~~~                                      2a.


2b. At tax rate 0.075%. Check the appropriate box:                             Utility Corp.         Insurance Corp. (multiply line 2a by 0.075%) 2b.


3a. Cooperative housing corporations (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            3a.


3b. At tax rate 0.04% Enter Boro            Block         Lot
    (multiply line 3a by 0.04%) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         3b.


  4. Sum of taxes on capital (Enter the sum of lines 1b, 2b and 3b here) ~~~~~~~~~~~~~~~~~~~~~~~                                                   4.                          5.

  5. Tax on capital base (Subtract $10,000 from line 4; If zero or less, enter 0 here and
     on Schedule A, line 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              5.                          0.


SCHEDULE D - Computation of Investment Capital for the Current Year (see instructions)
                                                                                        A                                        B                                 C
                                                                               Average fair market                   Liabilities attributable              Net average value
                                                                                value as reported                    to column A amount                 (column A- column B)
  1. Total capital that generates income claimed to not
      be apportionable to New York under the U.S.

      Constitution (from Form NYC-2.1, Sch. E, line 1)                 1.                                                                          1.
  2. Total of stocks actually held for more than one
      year (from Form NYC-2.1, Schedule E, line 2)               ~ 2.                                                                              2.
  3. Total of stocks presumed held for more than one
     year (from Form NYC-2.1, Schedule E, line 3) ~ 3.                                                                                             3.
  4. Total investment capital for the current year (add Column C, lines 1, 2 and 3; enter the result here
      and on Schedule C, Part 1, line 8; if zero or less, enter 0) ~~~~~~~~~~~~~~~~~~~~~~~~                                                        4.


Addback to business capital of stock presumed and claimed as investment capital in previous year
                                                                A                                       B                                                          C
                                                       Average fair market                  Liabilities attributable                                       Net average value
                                                        value as reported                    to column A amount                                         (column A- column B)
  5. Total of stocks previously presumed held for more than one
      yr., but did not meet the holding period (from Form NYC-2.1,

      Sch. F, line 1; enter here and on Schedule C, Part 1, line 10)   5.                                                                          5.




                                                                            30752105           188664 12-07-21                                                                 05
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SCHEDULE E - Location of Places of Business Inside and Outside New York City
All taxpayers must complete Schedule E, Parts 1 and 2.


Part 1 - List location for each place of business INSIDE New York City (see instructions; attach rider if necessary)
                                                                                                                 No. of
               Complete Address                              Rent                   Nature of Activities         Employees     Wages, Salaries, Etc.            Duties




Total ~~~~~~~~~~~~~~~~                       |


Part 2 - List location for each place of business OUTSIDE New York City (see instructions; attach rider if necessary)
                                                                                                                 No. of
               Complete Address                              Rent                   Nature of Activities         Employees     Wages, Salaries, Etc.            Duties




Total ~~~~~~~~~~~~~~~~                       |

SCHEDULE F - Computation of Business Allocation Percentage
                                                      Complete ONLY Schedule F, Part 1 or Schedule F, Part 2
                           Taxpayers must report their Business Allocation Percentage in Schedule F, Part 3 for this return to be accepted


A. If this is your first Business Corporation Tax return after January 1, 2018 -

    1.   If your NYC receipts are:
         a.   Greater than $50,000,000, complete Part 1.
         b.   Less than or equal to $50,000,000, you have a one-time opportunity to elect the special three-factor allocation method.
              1.   If you choose NOT to elect the three-factor formula allocation method, complete Part 1.
              2.   If you choose to elect the three-factor formula allocation method, check the box below and complete Part 2.
                   Once the election is made, you must continue to use this method of allocation unless the election is revoked.

                        ELECTION CHECKBOX - by checking this box, the taxpayer elects to use the special three-factor allocation method.


B. If this is NOT your first Business Corporation Tax return after January 1, 2018 -

    1.   If you previously DID NOT elect to use the three-factor allocation method, or have revoked the election on a prior return, complete Part 1.
    2.   If you have previously elected to use the three-factor allocation method and choose to continue to use it, complete Part 2.
    3.   If you have previously made the election to use the three-factor allocation method and choose to revoke it on this return, check the revocation
         box below and complete Part 1. Once this election is revoked, you are ineligible to use the three-factor allocation method in future filing periods.

               REVOCATION CHECKBOX - by checking this box, the taxpayer revokes its election to use the three-factor allocation method
                                     on this return and on all future tax filings.




                                                       30762105           188665 12-07-21                                                                                   05
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 SCHEDULE F, Part 1 - Computation of Single Receipts Factor Business Allocation Percentage (see instructions)
 Taxpayers who do not allocate business income and business capital outside New York City must enter 100% on Schedule F, Part 3.
 Taxpayers who allocate business income both inside and outside New York City must complete Schedule F, Part 1, unless they made a valid election
 to use the three factor Business Allocation Percentage.
                                                                                                      COLUMN A - NEW YORK CITY            COLUMN B - EVERYWHERE
1. Receipts (from Form NYC-2.5, line 54.) Continue to Part 3 ~~~~~~~~~~~~~ 1.                                           5,821.                  4,852,111.

 SCHEDULE F, Part 2 - Computation of Three Factor Business Allocation Percentage (see instructions)
 Taxpayers who are using the three factor Business Allocation Percentage should complete this Part.



                                                                                                COLUMN A - NEW YORK CITY                COLUMN B - EVERYWHERE
1a.   Real estate owned ~~~~~~~~~~~~~~~~~~~~~~~~~ 1a.                                                                           1a.
1b.   Real estate rented - multiply by 8 (see instr.) (attach rider) ~~~~~~~ 1b.                                                1b.
1c.   Inventories owned ~~~~~~~~~~~~~~~~~~~~~~~~~ 1c.                                                                           1c.
1d.   Tangible personal property owned (see instructions) ~~~~~~~~~ 1d.                                                         1d.
1e.   Tangible personal property rented - multiply by 8 (see instr., attach rider) 1e.                                          1e.
1f.   Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1f.                                                                                1f.
1g.   Percentage in New York City (divide line 1f, column A by line 1f, column B) ~~~~~~~~~~~~~~~~                              1g.                               %
1h.   Multiply line 1g by 3.5                                                         1h.
2a.   Receipts (from Form NYC-2.5, line 54) ~~~~~~~~~~~~~~~~ 2a.                                                                2a.
2b.   Percentage in New York City (divide line 2a, column A by line 2a, column B) ~~~~~~~~~~~~~~~                               2b.                               %
2c.   Multiply line 2b by 93                                                          2c.
3a.   Wages, salaries and other compensation of employees,
      except general executive officers (see instructions) ~~~~~~~~~           3a.
3b.   Percentage in New York City (divide line 3a, column A by line 3a, column B) ~~~~~~~~~~~~~~~                               3b.                               %
3c. Multiply line 3b by 3.5                                                           3c.
Sum of Weighted Factors
4.    Add lines 1h, 2c and 3c. Continue to Part 3                                                   4.
 SCHEDULE F, Part 3 - Enter your business allocation percentage either from Part 1 or Part 2. Enter as a percentage and round to
                               ten-thousandth of a percentage point. (See instructions)

 ¥ If you are not allocating, enter 100%.
 ¥ If you are using Part 1, divide Part 1, column A by column B.
 ¥ If you are using Part 2, divide Part 2, line 4 by 100 if no factors are missing.
   If a factor is missing, divide line 4 by the total of the weights of the factors present                                           .1200 %




                                                      30772105            188666 12-07-21                                                                       05
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 SCHEDULE G - Additional Required Information
1.   List all significant business activities in NYC and everywhere (see instructions; if necessary, attach list) CAMPING                ONLINE MARKETP
2.   Enter your Secondary Business Code (see instructions)
3.   Trade name of reporting corporation, if different from name entered on page 1
4.   Is this corporation included in a consolidated federal return? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         YES   X       NO
     If "YES", give parent's name:                                                                                           EIN:
5.   Is this corporation a member of a controlled group of corporations as defined in IRC section 1563, disregarding
     any exclusion by reason of paragraph (b)(2) of that section?         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   YES   X       NO
     If "YES", give common parent corporation's name                                                                         EIN:
6.   Has the Internal Revenue Service or the New York State Department of Taxation and Finance corrected any
     taxable income or other tax base reported in a prior year, or are you currently under audit? ~~~~~~~~~~~~~~~                                          YES   X       NO
                                    Internal Revenue Service                                State period(s):      Beg.:                     End.:
     If "YES",                                                                                                               MMDDYY                          MMDDYY
     by whom?
                                    New York State Department of Taxation and Finance       State period(s):      Beg.:                     End.:
                                                                                                                             MMDDYY                          MMDDYY

7.   If "YES" to question 6:
     7a. For years prior to 1/1/15, has Form(s) NYC-3360 (Report of Federal/State Change in Tax Base) been filed? ~~~~~                                    YES           NO
     7b. For years beginning on or after 1/1/15, has an amended return(s) been filed? ~~~~~~~~~~~~~~~~~~~~                                                 YES           NO
8.   Did this corporation make any payments treated as interest in the computation of business income to shareholders owning
     directly or indirectly, individually or in the aggregate, more than 50% of the corporation's issued and outstanding capital stock?
     If "YES", please attach a schedule giving Shareholder's name, SSN/EIN, Interest paid to shareholder,
     Total indebtedness to shareholder and Total interest paid         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     YES   X       NO


9.   Was this corporation a member of a partnership or joint venture during the tax year? ~~~~~~~~~~~~~~~~~~                                               YES   X       NO
     If "YES", attach schedule listing name(s) and Employer Identification Number(s).
10. At any time during the taxable year, did the corporation have an interest in real property (including a leasehold interest)
    located in NYC or a controlling interest in an entity owning such real property? ~~~~~~~~~~~~~~~~~~~~~                                                 YES   X       NO
11a. If "YES" to question 10, attach a schedule of such property, indicating the nature of the interest and including the street address,
     borough, block and lot number.
11b. Was any NYC real property (including a leasehold interest) or controlling interest in an entity owning NYC real property
     acquired or transferred with or without consideration? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              YES           NO
11c. Was there a partial or complete liquidation of the corporation? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         YES           NO
11d. Was 50% or more of the corporation's ownership transferred during the tax year, over a three-year period or according to a plan? ~~~                  YES           NO
12. If "YES" to questions 11b, 11c or 11d, was a Real Property Transfer Tax Return (Form NYC-RPT) filed? ~~~~~~~~~                                         YES           NO
13. If "NO" to question 12, explain:
14. Does this taxpayer pay rent greater than $200,000 for any premises in NYC in the borough of Manhattan south of 96th
     Street for the purpose of carrying on any trade, business, profession, vocation or commercial activity?              ~~~~~~~~~                        YES   X       NO
15. If "YES" to question 14, were all required Commercial Rent Tax Returns filed? ~~~~~~~~~~~~~~~~~~~~~                                                    YES           NO
    Please enter Employer Identification Number which was used on the Commercial Rent Tax Return:
16. Are you claiming an exception to the related member expense addback under Administrative Code section 11-652(8)(n)(2)(ii)?        ~~~~                 YES   X       NO
    If yes, enter applicable exception and amount of royalty payments.
                                                                                                  EXCEPTION                                       AMOUNT

17. If you filed federal form 1120F, did you have Effectively Connected Income (ECI)? ~~~~~~~~~~~~~~~~~~~~                                                 YES   X       NO


18. Did this corporation carry out any commercial banking business (as defined by Section 11-640(b) of the Ad. Code) during this filing period?            YES   X       NO


19. Did you include a disregarded entity in this return? If YES, attach a schedule giving the legal name and EIN of each
    disregarded entity included ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             YES   X       NO




                                                      30782105            188667 12-07-21                                                                                05
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 SCHEDULE H - DETERMINATION OF TAX RATE
A. Enter the tax rate computed or used below (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~                                                 A.                    6.5000
B. Enter the line number of the tax rate computed or used below ~~~~~~~~~~~~~~~~~~~~~~~~                                                 B.                         1
Ca. Enter your unallocated business income from Schedule B, line 30 (see instructions) ~~~~~~~~~~~~~                                    Ca.               -6,111,471.
Cb. If the amount on line Ca is not correct, enter correct amount here and explain in rider (see instructions) ~~~~ Cb.
D. Enter your allocated business income from Schedule B, line 32a or 32b if used ~~~~~~~~~~~~~~~                                    D.               -7,334.
E. If you are a Qualified Manufacturing Corporation as defined in Administrative Code Section 11-654(1)(k)(4), mark an X in the box (see instr.) ~~~~~~ E.
F. If you are a Financial Corporation as defined in Administrative Code Section 11-654(1)(e)(1)(i), mark an X in the box (see instr.)  F.

 TAX RATE COMPUTATION FOR BUSINESS CORPORATIONS NOT SPECIFIED BELOW (see instructions)
1. If unallocated business income (Schedule B, line 30) is less than $2M and allocated                                                              6.50%
   business income (Schedule B, line 32a or 32b if used) is less than $1M
2. If unallocated business income (Schedule B, line 30) is equal to or greater than $3M                                                             8.85%
    (regardless of the amount of allocated business income)
3. If allocated business income (Schedule B, line 32a or 32b if used) is equal to or greater                                                        8.85%
   than $1.5M (regardless of the amount of unallocated business income)
4. If unallocated business income (Schedule B, line 30) is equal to or greater than $2M but less than $3M and                             line 30 - 2,000,000              %
                                                                                                                    6.50 + (2.35% X                           )=
                                                                                                                                               1,000,000
   allocated business income (Schedule B, line 32a or 32b if used) is less than $1M, use unallocated formula
5. If unallocated business income (Schedule B, line 30) is less than $2M and allocated business income (Schedule                         line 32a or 32b-1,000,000         %
                                                                                                                    6.50 + (2.35% X                               )=
                                                                                                                                                 500,000
   B, line 32a or 32b if used) is equal to or greater than $1M but less than $1.5M, use allocated formula
                                                                                                                                          line 30 - 2,000,000              %
                                                                                                                    6.50 + (2.35% X                           )=
6. If unallocated business income (Schedule B, line 30) is equal to or greater than $2M                                                        1,000,000
   but less than $3M and allocated business income (Schedule B, line 32a or 32b if used) is                                              line 32a or 32b-1,000,000         %
                                                                                                                    6.50 + (2.35% X                               )=
    equal to or greater than $1M but less than $1.5M, compute tax rates using both formulas.                                                     500,000
    Use the greater of the two computed tax rates.                                                                  Enter the greater of the
                                                                                                                    two computed tax rates:                                %
 TAX RATE COMPUTATION FOR QUALIFIED MANUFACTURING CORPORATIONS (see instructions)
7. If unallocated business income (Schedule B, line 30) is less than $20M and allocated                                                            4.425%
   business income (Schedule B, line 32a or 32b if used) is less than $10M
8. If unallocated business income (Schedule B, line 30) is equal to or greater than $40M                                                            8.85%
    (regardless of the amount of allocated business income)
9. If allocated business income (Schedule B, line 32a or 32b if used) is equal to or greater                                                        8.85%
    than $20M (regardless of the amount of unallocated business income)
10. If unallocated business income (Schedule B, line 30) is equal to or greater than $20M
    but less than $40M and allocated business income (Schedule B, line 32a or 32b if used)                                                 line 30 - 20,000,000            %
                                                                                                                    4.425 + (4.425% X                           )=
                                                                                                                                               20,000,000
    is less than $10M, use unallocated formula
11. If unallocated business income (Schedule B, line 30) is less than $20M and allocated
    business income (Schedule B, line 32a or 32b if used) is equal to or greater than $10M                                              line 32a or 32b-10,000,000         %
                                                                                                                    4.425 + (4.425% X                            )=
                                                                                                                                               10,000,000
    but less than $20M, use allocated formula
                                                                                                                                           line 30 - 20,000,000            %
12. If unallocated business income (Schedule B, line 30) is equal to or greater than $20M                           4.425 + (4.425% X                           )=
                                                                                                                                               20,000,000
    but less than $40M and allocated business income (Schedule B, line 32a or 32b if used)                                              line 32a or 32b-10,000,000         %
                                                                                                                    4.425 + (4.425% X                            )=
    is equal to or greater than $10M but less than $20M, compute tax rates using both formulas.                                                10,000,000
    Use the greater of the two computed tax rates                                                                   Enter the greater of the
                                                                                                                    two computed tax rates:                                %
 TAX RATE COMPUTATION FOR CERTAIN FINANCIAL CORPORATIONS (see instructions)
13. Financial Corporations as defined in Administrative Code Section 11-654(1)(e)(1)(i)                                                             9.00%




                                                       30792105             188668 12-07-21                                                                               05
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                       NYC-2.4                                                   NET OPERATING LOSS DEDUCTION (NOLD)
                       Department of Finance
                                                                                 You MUST attach this form to Form NYC-2 or NYC-2A each tax year

                       For Calendar Year 2021 or Fiscal Year Beginning                                               , and ending
                        Name as shown on NYC-2 or NYC-2A:                                                                                     Employer Identification Number


                           TENTRR, INC.                                                                                                        XX-XXXXXXX

                       A. Were there any special federal Net Operating Loss elections? ~~~~~~~~~~~~~~~~~~~~~~~~~                                                 YES       X NO

                       B. NYC-2A filers: Have there been any changes in the composition of the group of corporations included in this Combined Business
                          Corporation Tax Return from the prior tax period? If "YES," please complete Schedules B and C. (See instructions) ~~       YES                        NO


                       C. Are you making an election to waive the carryback period for NOLs generated in the current tax period? ~~~~~~                          YES       X NO

 SCHEDULE A - COMPUTATION OF CURRENT NYC NET OPERATING LOSS DEDUCTION (NOLD)
1.  Multiply Form NYC-2 or NYC-2A, Schedule B, line 34 by your appropriate business income base
     tax rate for the current year from Schedule H, Determination of Tax Rate in Form NYC-2 or NYC-2A (see instructions) ~~~~ 1.                                               0.
2.   Enter the greater of the capital base tax or the fixed dollar minimum tax for the current tax year
     (from Form NYC-2 or NYC-2A, Schedule A, line 2 or 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 2.                                                                                   25.
3.   Subtract line 2 from line 1. If less than zero, enter "0" (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~ 3.                                                                   0.
4.   NOLD that is required to be utilized, if available (divide line 3 by the same
    business income base tax rate used for line 1; do not enter less than zero) ~~~~~~~~~~~~~~~~~~~~~~~ 4.                                                                     0.
Computation of net operating loss (NOL) to be used (see instructions)
5a. NOL carryforward from prior year's Form NYC-2.4 ~~~~~~~~~~~~~~~~~                                5a.             4,181,413.
5b. NOL carryforwards from new members who entered the group
    during the current tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 5b.
5c. NOL carryback ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 5c.
5d. Subtotal (add lines 5a, 5b and 5c)                                                           5d.                 4,181,413.
5e. NOLs carryforwards that have expired ~~~~~~~~~~~~~~~~~~~~~~                                      5e.
5f. NOL carryforwards unavailable for use in the current tax year ~~~~~~~~~~~~                   5f.
5g. Add lines 5e and 5f ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   5g.
5h. Total of NOLs available to be used in the current tax year (subtract line 5g from line 5d)                          5h.                 4,181,413.
6. NOLs to be used in the current tax year ~~~~~~~~~~~~~~~~~~~~~~~ 6.                                                                   0.
Computation of NOL carryforward (see instructions)
7a. NOL incurred in the current tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         7a.                     7,334.
                                                                           STMT 2
7b. Net NOLs available (add lines 5h, 5f and 7a)                                                     7b.                 4,188,747.
7c. NOL carryforwards from members who left the group
    during the current tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~                     7c.
7d. Add lines 6 and 7c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   7d.
7e. NOL available to be carried forward (subtract line 7d from 7b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          7e.                 4,188,747.

 SCHEDULE B - FORM NYC-2A FILERS ONLY: ENTITIES NOT INCLUDED IN PRIOR COMBINED RETURN
 Are any entities included in the Combined Business Corporation Tax Return that were not included in the return for the prior period?                    YES                    NO
 Complete this schedule for each corporation included in the Combined Business Corporation Tax Return that was not included in the
 Combined Business Corporation Tax Return for the prior tax period.
             A                           B                           C                        D                  E                          F                                G
          Name                       Employer                NOL available            Beginning date    Ending date of this
                                                                                                                                   Reason(s) INCLUDED                    Subject to
                                                                                     of this tax period     tax period
             of                    Identification           at the beginning            (mm-dd-yy)         (mm-dd-yy)                 in combined                           IRC
       corporation                    Number                of this tax period                                               business corporation tax return             ¤¤381-384
                                                                                                                                                                          or SRLY




                                      If additional space is required, please use this format on a separate sheet and attach to this page.




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31612105                  12-07-21                                                                                                                            NYC-2.4 - 2021    05
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SCHEDULE C - FORM NYC-2A FILERS ONLY: ENTITIES NO LONGER INCLUDED IN COMBINED GROUP (See Instructions)
Are there any entities in the combined group for which this will be the last tax period of inclusion in the group?                                 YES           NO
Complete this schedule for each corporation included in the combined group for any part of the group's current tax period that are no
longer part of the combined group as of the beginning of the combined group's subsequent tax period.
                                                                                  Former Member's Tax Periodin Combined Group

            A                       B                          C                          D                  E                               F
        Name of                 Employer              NOL available upon            Beginning date       Ending date         Reason(s) EXCLUDED from combined
                                                                                     (mm-dd-yy)          (mm-dd-yy)            business corporation tax return
       corporation       Identification Number      leaving combined group




                                 If additional space is required, please use this format on a separate sheet and attach to this page.



SCHEDULE D - NYC NET OPERATING LOSS DEDUCTION SCHEDULE (NOLD)
                  COLUMN A -       COLUMN B -           COLUMN C -                              COLUMN D -                  COLUMN E -           COLUMN F -
   APPLICABLE         Tax         Amount from             NYC Net
      YEAR                      NYC-2A or NYC-2,      Operating Loss                          NYC Net Operating         NYC Net Operating      NYC Net Operating
                      Year        Sch. B, line 34        Generated                              Loss Utilized             Loss Expired          Loss Remaining
1. 19th preceding yr
2. 18th preceding yr
3. 17th preceding yr
4. 16th preceding yr
5. 15th preceding yr
6. 14th preceding yr
7. 13th preceding yr
8. 12th preceding yr
9. 11th preceding yr
10. 10th preceding yr
11. 9th preceding yr
12. 8th preceding yr
13. 7th preceding yr
14. 6th preceding yr    2015
15. 5th preceding yr    2016      -1,773,324. -1,773,324.                                                        0.                            1,773,324.
16. 4th preceding yr    2017      -2,408,089. -2,408,089.                                                        0.                            4,181,413.
17. 3rd preceding yr    2018               0.          0.                                                        0.                            4,181,413.
18. 2nd preceding yr    2019               0.          0.                                                        0.                            4,181,413.
19. 1st preceding yr    2020               0.          0.                                                        0.                            4,181,413.
20. Current year        2021          -7,334.     -7,334.                                                                                      4,188,747.




                                                                                         188762
                                                            31622105                     12-07-21                                                                  05
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                                                        NYC-2.5                                    COMPUTATION OF RECEIPTS FACTOR
                                                        Department of Finance
                                                                                                   You MUST attach this form to Form NYC-2 if you have ANY entries
                                                                                                   on Form NYC-2, Schedule F, Part 1, line 1, or Part 2, line 2a.

 Name as shown on NYC-2                                                                                                                 Employer Identification Number


     TENTRR, INC.                                                                                                                            XX-XXXXXXX

                                                                                                   COLUMN A - NEW YORK CITY             COLUMN B - EVERYWHERE
      Section 11-654.2(2)
1.    Sales of tangible personal property
                                    ~~~~~~~~~~~~~~~~~~~~ 1.                                                                  0. 1.                  4,846,290.
2.    Sales of electricity ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 2.                                                                        2.
3.    Net gains from sales of real property  3.                                                                3.
      Section 11-654.2(3)
4.    Rentals of real and tangible personal property ~~~~~~~~~~~~~~~ 4.                                                            4.
5.    Royalties from patents, copyrights, trademarks, and similar
      intangible personal property ~~~~~~~~~~~~~~~~~~~~~~~~ 5.                                                                     5.
6.    Sales of rights for certain closed-circuit and cable TV transmissions of an event  6.                                     6.
      Section 11-654.2(4)
7.    Sale, licensing, or granting access to digital products  7.                                                      7.
      Section 11-654.2(5)(a)(1) Fixed percentage method for qualified financial instruments (QFIs)
8.    To make this irrevocable election, check Yes; otherwise, check No.                       YES                  X NO
      Section 11-654.2(5)(a)(2) Mark an X in each box that is applicable (see line 8 instructions)
      Section 11-654.2(5)(a)(2)(i)
9.    Interest from loans secured by real property ~~~~~~~~~~~~~~~         9.                                                      9.
10. Net gains from sales of loans secured by real property ~~~~~~~~~~ 10.                                                        10.
11. Interest from loans not secured by real property (QFI      ) ~~~~~~~ 11.                                                     11.
12. Net gains from sales of loans not secured by real property (QFI  ) ~~ 12.                                                    12.
    Section 11-654.2(5)(a)(2)(ii) (QFI  )
13. Interest from federal debt ~~~~~~~~~~~~~~~~~~~~~~~~                                     13.                                  13.
14. This line intentionally omitted ~~~~~~~~~~~~~~~~~~~~~~                                  14.
15. Interest from debt of NYS or its political subdivisions, including NYC ~~~ 15.                                               15.
16. Net gains from federal debt and debt of NYS or its political subdivisions, including NYC 16.                                 16.
17. Interest from debt of other states or their political subdivisions ~~~~~~ 17.                                                17.
18. Net gains from debt of other states or their political subdivisions ~~~~~ 18.                                                18.
    Section 11-654.2(5)(a)(2)(iii) (QFI         )
19. Interest from asset-backed securities and other government agency debt ~ 19.                                                 19.
20. Net gains from government agency debt or asset-backed
      securities sold through an exchange ~~~~~~~~~~~~~~~~~~~              20.                                                   20.
21. Net gains from all other asset-backed securities         ~~~~~~~~~~~~~ 21.                                                   21.
    Section 11-654.2(5)(a)(2)(iv) (QFI       )
22. Interest from corporate bonds ~~~~~~~~~~~~~~~~~~~~~~                                    22.                                  22.
23. Net gains from corporate bonds sold through broker/dealer
      or licensed exchange ~~~~~~~~~~~~~~~~~~~~~~~~~~                                       23.                                  23.
24. Net gains from other corporate bonds ~~~~~~~~~~~~~~~~~~                                 24.                                  24.
    Section 11-654.2(5)(a)(2)(v)
25. Net interest from reverse repurchase or securities borrowing agreements ~ 25.                                                25.
    Section 11-654.2(5)(a)(2)(vi)
26. Net interest from federal funds ~~~~~~~~~~~~~~~~~~~~~~                                  26.                                  26.
    Section 11-654.2(5)(a)(2)(ix) (QFI   )
27. Net income from sales of physical commodities            ~~~~~~~~~~~~~ 27.                                                   27.
    Section 11-654.2(5)(a)(2)(x) (QFI      )
28. Marked to market net gains ~~~~~~~~~~~~~~~~~~~~~~~                                      28.                                  28.
    Section 11-654.2(5)(a)(2)(viii) (QFI )
              11-654.2(5)(a)(2)(vii) (QFI     )
29. Interest from other financial instruments ~~~~~~~~~~~~~~~~~ 29.                                                              29.
30. Net gains and other income from other financial instruments  30.                                                      30.



31412105            188721 12-07-21                                                                                                NYC-2.5 - 2021                        05
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                                                                                        COLUMN A - NEW YORK CITY          COLUMN B - EVERYWHERE
    Section 11-654.2(5)(b)
31. Brokerage commissions ~~~~~~~~~~~~~~~~~~~~~~~~~ 31.                                                            31.
32. Margin interest earned on behalf of brokerage accounts ~~~~~~~~~ 32.                                           32.
33. Fees for advisory services for underwriting or management
    of underwriting ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 33.                                                              33.
34. Receipts from primary spread of selling concessions ~~~~~~~~~~~ 34.                                            34.
35. Receipts from account maintenance fees ~~~~~~~~~~~~~~~~ 35.                                                    35.
36. Fees for management or advisory services ~~~~~~~~~~~~~~~~ 36.                                                  36.
37. Interest from an affiliated corporation                     37.                              37.
    Section 11-654.2(5)(c)
38. Interest, fees, and penalties from credit cards ~~~~~~~~~~~~~~                38.                              38.
39. Service charges and fees from credit cards ~~~~~~~~~~~~~~~                    39.                              39.
40. Receipts from merchant discounts ~~~~~~~~~~~~~~~~~~~ 40.                                                       40.
41. Receipts from credit card authorizations and settlement processing ~~~ 41.                                     41.
42. Other credit card processing receipts  42.                                                   42.
    Section 11-654.2(5)(d)
43. Receipts from certain services to investment companies  43.                                           43.
    Section 11-654.2(6)
44. Receipts from railroad and trucking business                   44.                              44.
    Section 11-654.2(12)
45. Receipts from the operation of vessels                      45.                              45.
    Section 11-654.2(7)
46. Receipts from air freight forwarding ~~~~~~~~~~~~~~~~~~~                      46.                              46.
47. Receipts from other aviation services                       47.                              47.
    Section 11-654.2(8)
48. Advertising in newspapers or periodicals ~~~~~~~~~~~~~~~~~                    48.                              48.
49. Advertising on television or radio ~~~~~~~~~~~~~~~~~~~~~                      49.                              49.
50. Advertising via other means                            50.                              50.
    Section 11-654.2(9)
51. Transportation or transmission of gas through pipes  51.                                            51.
    Section 11-654.2(10)
52. Receipts from other services/activities not specified  52.                             5,821. 52.                        5,821.
     Section 11-654.2(11)
53a. Discretionary adjustments  53a.                                                       53a.
     Section 11-654.2(5-a)
53b. Net global intangible low-taxed income (see instructions)                           53b.
    Total receipts
54. Total of columns A and B, pages 1 and 2, lines 1 through 53b.
    Enter here and on NYC-2, Schedule F, Part 1, line 1, Column A and
     line 1, Column B, or Part 2, line 2a, column A and line 2a, column B ~~~~ 54.                    5,821. 54.                 4,852,111.




                                                 31422105       188722 12-07-21                                                                   05
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM NYC-2/2S         NYS FRANCHISE TAX AND BUSINESS TAXES       STATEMENT 1
                           DEDUCTED ON FEDERAL RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                      AMOUNT
}}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
LOUISIANA TAXES - BASED ON INCOME                                                       549.
NEW YORK TAXES - BASED ON INCOME                                                     1,826.
UTAH TAXES - BASED ON INCOME                                                            100.
                                                                             }}}}}}}}}}}}}}
TOTAL                                                                                2,475.
                                                                             ~~~~~~~~~~~~~~




                                                                              STATEMENT(S) 1
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TENTRR, INC.                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NYC                   NET OPERATING LOSS INCURRED AFTER 2014     STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                   LOSS
                                PREVIOUSLY         LOSS         AVAILABLE
TAX YEAR     LOSS SUSTAINED       APPLIED        REMAINING      THIS YEAR
}}}}}}}}     }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
12/31/16         1,773,324.                0.      1,773,324.      1,773,324.
12/31/17         2,408,089.                0.      2,408,089.      2,408,089.
12/31/21             7,334.                0.           7,334.         7,334.
                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}}
 TOTAL NOLD AFTER 2014                             4,188,747.      4,188,747.
 NOLD USED THIS YEAR - FORM NYC-2.4, LINE 6                 0.
                                               }}}}}}}}}}}}}}
 NOLD CARRIED FORWARD - FORM NYC-2.4, LINE 7E      4,188,747.
                                               ~~~~~~~~~~~~~~




                                                                             STATEMENT(S) 2
